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  Bailey 1985, Wakelyn 1987). Desert bighorn sheep                  are known to move farther away from security cover
  have abandoned traditional home ranges because fire               than females, presumably because of a combination
  suppression allowed vegetation to grow and obstruct               of factors including exclusion from some habitats by
  visibility (Etchberger et al. 1989, Krausman et al. 1989,         adult ewes and lambs, selection for optimal forage
  Etchberger et al. 1990). Deforge (1980) observed that             to maximize their growth rate, and greater ability
  reduced visibility in maturing chaparral lowered the              to defend themselves from predators (Shank 1979,
  suitability of this habitat for desert bighorns, resulting        Hansen 1982).
  in decreased carrying capacity and eventual loss of
  bighorn range. Fire is an important tool available to land               Escape terrain is critical for ewes during lambing
  managers for producing and maintaining sub-climax                 (Blood 1961, Kornet 1978, Hall 1981), to the extent
  grassland and parkland habitats that provide greater              that they will sacrifice access to high quality forage for
  visibility for bighorn sheep (Geist 1971, Erickson 1972,          security (Festa-Bianchet 1989a, Cook 1990, Bleich et al.
  Arnett 1990).                                                     1997). Both ewes and lambs are vulnerable to predation
                                                                    immediately prior to and for 1 to 2 days after parturition
         Climate, elevation, and latitude influence the             (Shackleton and Haywood 1985). Shackleton et al.
  vegetative structure and composition in bighorn sheep             (1999) suggested that bighorn lambing habitat served
  habitat (Demarchi 1965, Todd 1972, Risenhoover                    three primary functions: 1) escape cover from predators,
  and Bailey 1985, Dale 1987, Krausman et al. 1989,                 2) a favorable microsite that afforded lambs protection
  Bleich et al. 1997). Within individual home ranges,               from bad weather, and 3) a secure, secluded area where
  different habitats meet the specific requirements of wild         the ewe and lamb could cement the mother/young bond.
  sheep, including foraging, resting, mating, lambing,              Rachlow and Bowyer (1998) indicated that several
  thermal cover, and predator avoidance (Hansen 1982,               variables were useful in discriminating Dall sheep
  Risenhoover and Bailey 1985, Dale 1987). Seasonal                 lambing sites in Alaska; these included distance to
  use of different slopes and aspects results in a mosaic           escape cover, cover of grasses, slope aspect, brokenness,
  of plant communities and phenological patterns which              steepness, and the presence of snow. Although there are
  provide foraging and security opportunities for bighorn           exceptions, bighorns in the Rocky Mountains often
  sheep (Valdez and Krausman 1999).                                 lamb on or very near their winter ranges in steep,
                                                                    rugged terrain (Geist 1971, Horejsi 1976, Becker et al.
        Warm temperatures on south-facing slopes result             1978, Smith et al. 1991). Adult female bighorns exhibit
  in earlier green-up, marking the transition from winter           strong fidelity to parturition sites and often use the same
  range to spring range (Hudson 1976, Stelfox 1976).                lambing grounds year after year (Geist 1971, Becker et
  During the spring green-up, mineral licks appear to               al. 1978, Etchberger and Krausman 1999).
  be an important component of bighorn sheep habitats
  where soils are derived from granitic materials. As                      Key elements of winter ranges for bighorn sheep
  temperatures continue to rise during late spring and              include low snow depth and wind-swept areas with
  early summer, bighorn sheep make greater use of north,            sufficient forage and adjacent escape terrain for eluding
  east, and west-facing slopes at higher elevations for             predators (Krausman and Bowyer 2003). Wind, cold
  foraging (Smith 1954, McCullough and Schneegas                    temperatures, and heavy snow accumulation are likely
  1966, Stelfox 1975, Goodson 1978). Alpine meadows                 limiting factors for Rocky Mountain bighorn sheep in
  and high elevation plateaus are important summer                  some areas. Slopes with snow accumulation in excess
  foraging areas for many Rocky Mountain sheep                      of 30 cm increased the metabolic cost of foraging and
  populations (Blood 1961, Sugden 1961, Pallister 1974,             travel for thinhorn sheep, and were generally avoided
  Shannon et al. 1975). The elevation and aspect preferred          (Hoefs and Cowan 1979, Seip and Bunnell 1985b,
  by bighorn sheep varies according to forage succulence            Nichols 1988). Stelfox (1975) suggested that the critical
  and ambient temperature (Stelfox 1975).                           snow depth for Rocky Mountain bighorn lambs was 30
                                                                    to 44 cm, 32 to 48 cm for yearlings and adult females,
        While bighorns feed in open areas, they are rarely          and 36 to 54 cm for adult males. Consequently, most
  found more than 400 m from escape cover, where they               bighorn winter ranges occur on steep south, southwest,
  have an advantage over most predators (Oldemeyer et               or southeast-facing slopes where maximum heat gain
  al. 1971, Erickson 1972, Pallister 1974, Krausman and             reduces cold stress and snow cover, and increases
  Leopold 1986, Krausman and Bowyer 2003). Talus                    the availability of forage (Smith 1954, Blood 1961,
  slopes, rock outcrops, and cliffs provide habitat for             McCullough and Schneegas 1966, Stelfox and Tabor
  resting, lambing, and escape cover (Erickson 1972,                1969, Morgan 1970, Geist 1971, Riggs 1977, Krausman
  Kornet 1978, Van Dyke 1978). Adult male sheep                     and Bowyer 2003). In some areas, bighorn sheep may
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  remain at or move to high elevation, wind-swept ridges            and that trace mineral (selenium) deficiencies may
  to avoid heavy snow depths at lower elevations (Nichols           have played a minor role in influencing lamb survival
  and Erickson 1969, Geist 1971, Geist and Petocz 1977).            in the decade following the pneumonia die-off
  Snow quality (Sugden 1961) and the proximity of                   (Wyoming Game and Fish Department 2003). Cook
  security cover (Wishart 1958, Shannon et al. 1975) are            (1990) suggested that poor quality summer ranges
  other factors influencing sheep use of winter ranges.             also influenced mid-summer mortality rates in lambs
                                                                    in Wyoming.
         Very little is known about the mineral
  requirements of bighorn sheep. Bighorns commonly                  Food and feeding habits
  use mineral licks through their range in North America
  (Jorgensen personal communication 2006) and are                         Bighorn sheep occur over a wide range of habitats
  known to consume relatively large quantities of soil              in western North America, and their diet reflects
  in Wyoming, Colorado, Utah, and Idaho. Dietary                    the availability of forage species across their range
  deficiencies in sodium, phosphorous, and calcium were             (Lawson and Johnson 1982). In general, bighorn sheep
  thought to be responsible for this behavior, but the              forage opportunistically, feeding on palatable plant
  reasons remain speculative (Honess and Frost 1942,                species that are available seasonally (Sugden 1961,
  Packard 1946, Smith 1954, Wilson 1968). Selenium                  Todd 1975, Browning and Monson 1980, Shackleton
  deficiencies are suspected of contributing to pneumonia           et al. 1999). Seasonal forage consumption depends
  outbreaks in domestic and wild sheep lambs (Hnlicka               on plant succulence, nutrient quality, and availability
  et al. 2002), but the relationship is not clear. Rock             (Todd 1975). The breadth of their diet can be extensive
  et al. (2001) reported that the immune system was                 within individual populations, ranging from 69 to 88
  apparently the first physiological function affected              plant species used over the course of a year (Johnson
  by low selenium levels in pregnant domestic ewes.                 1975, Stewart 1975, Hansen 1982, Wikeem and Pitt
  However, at least two bighorn sheep herds in Idaho and            1992). Rocky Mountain and California bighorn sheep
  Alberta, known to have low average blood selenium                 select forbs most frequently, followed by grasses, and
  levels, have not experienced any pneumonia outbreaks              then shrubs.
  in either adult sheep or lambs (Cassirer personal
  communication 2004).                                                    Forbs are the most palatable forage for bighorn
                                                                    sheep, but they are only available seasonally (Todd
        Wyoming’s Whiskey Mountain bighorn sheep                    1972). Forbs frequently consumed by bighorns include
  herd was one of the state’s most productive herds until           phlox (Phlox spp.), cinquefoils (Potentilla spp.),
  1990, when a pneumonia related die-off occurred. Lamb             twinflower (Linnaea americana), and clover (Trfolium
  survival remained very low in the decade following the            spp.) (Constan 1972, Todd 1972, 1975, Stelfox 1976,
  die-off, and it was hypothesized that mineral deficiencies        Thorne 1976). Blood (1967) observed bighorn sheep
  may have been responsible for low recruitment rates               feeding on both death camas (Zygadenus venenosus)
  (Anderson 2004). Mioncyzinski (2003) initiated a                  and lupine (Lupinus spp.) without apparent ill effects.
  study to examine relative trace mineral deficiencies in           Although forbs contribute the greatest number of
  Whiskey Mountain lambs, and concluded that while                  species to the diet during the warm months of the
  trace mineral deficiencies may be a periodic problem,             year, grasses, based on percent composition, typically
  they did not appear to be a chronic issue for the herd.           dominate bighorn sheep diets (Valdez and Krausman
  Mineral blocks were provided on summer range, but                 1999). Common grasses used by sheep include
  these were not successful in reducing the high lamb               bluegrasses (Poa spp.), wheat grasses (Agropyron spp.),
  mortality (Anderson 2004).                                        bromes (Bromus spp.), and fescues (Festuca spp.).
                                                                    Estes (1979) found that bighorn sheep in Washington
        Low lamb survival in mid-summer is not an                   preferred bluegrasses and bromes to wheatgrasses and
  uncommon mortality pattern following a pneumonia                  fescues. Browse is more important as a forage class
  outbreak (Woodard et al. 1972, Spraker 1974, Akenson              in the fall and winter for some populations (Lawson
  and Akenson 1992, Cassirer personal communication                 and Johnson 1982). Browse species used by bighorns
  2004, Jorgenson In litt. July 2006). The high loss of             include sagebrush (Artemisia spp.), willow (Salix spp.),
  lambs during the mid-summer period in the Whiskey                 rabbitbrush (Chrysothamnus spp.), curlleaf mountain
  Mountain bighorn sheep herd suggests that pneumonia               mahogany (Cercocarpus ledifolius), winterfat (Eurotia
  die-offs could affect bighorn herd demographics for               lanata), bitterbrush (Purshia spp.), and green ephedra
  many years after the initial outbreak of the disease,             (Ephedra spp.).

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         Bighorn sheep graze opportunistically rather than            of different forages has been attributed to precipitation
  selecting for specific plant species. However, marked               patterns and the effects of soil moisture on vegetation
  preferences for individual species are found within all             classes (Brown et al. 1977, Krausman et al. 1989).
  forage classes among sites and seasons (Oldemeyer
  et al. 1971, Stelfox 1975, Stewart 1975, Wikeem and                 Breeding biology
  Pitt 1992). In Montana, Rocky Mountain bighorn diets
  contained 43 percent big sagebrush, while in British                     The breeding season for bighorn sheep extends
  Columbia, big sagebrush made up only one percent of                 from late October to early January (Wishart 1958,
  their diet even though it was the most common shrub                 Buechner 1960), but it usually peaks between mid­
  species available to them (Stewart 1975, Wikeem                     November and mid-December for Rocky Mountain
  and Pitt 1992). The differences in observed use of                  bighorn sheep (Honess and Frost 1942, Smith 1954,
  big sagebrush in these areas may be associated with                 Sugden 1961, Blood 1963, Geist 1971, Shackleton
  differences in essential oils and palatability between the          1973, Nichols 1978). In contrast, the rut for desert
  two sagebrush ecotypes (Plummer 1972).                              bighorns may last nine months and peak in August and
                                                                      September (Welles and Welles 1961).
         Plant selection is related to forage availability and
  the type of habitat used by bighorn sheep (Todd 1972),                    The age of maturity for female bighorn sheep
  but weather, snow cover, topography, soil fertility, slope,         is quite variable and dependent upon habitat quality.
  aspect, and management practices may also influence                 Ovulation and spermatogenesis begins at about 18
  selection (Valdez and Krausman 1999). Diet quality,                 months of age in Rocky Mountain bighorn sheep, but
  indexed by fecal crude protein, increased rapidly during            most ewes are 30 months old when they first mate
  early spring, peaked in June, and began declining to pre­           (Woodgerd 1964, Geist 1971, Blunt et al. 1972). In
  spring levels by October (Cook 1990). A similar pattern             expanding or highly productive sheep herds, ewes have
  was observed for digestible nitrogen and energy (Hansen             given birth to their first lamb at 12 to 24 months of age
  1996). Blanchard et al. (2003) reported that bighorn                (Woodgerd 1964, Shackleton 1973, McCutchen 1976,
  sheep population density was negatively correlated with             Van Dyke 1978, Sandoval 1981, Morgart and Krausman
  fecal nitrogen levels, while summer precipitation levels            1983). Nichols (1978) reported that 75 percent of
  were positively related, suggesting that diet quality               yearling Dall sheep was pregnant in Alaska.
  declined as population density increased and improved
  with higher precipitation. Although forage nutrient                        Bighorn ewes are monestrous, and their estrous
  quality does not correlate well with diet composition               cycle lasts 2 days (Nichols 1978). Gestation for Rocky
  (Shackleton et al. 1999), plant cover explained up to               Mountain bighorns lasts approximately 175 days (Geist
  62 percent of all variation in the diet of bighorn sheep            1971), after which ewes typically give birth to a single
  (Wikeem and Pitt 1992).                                             lamb although twins do rarely occur (Welles and Welles
                                                                      1961, Spaulding 1966, Geist 1971, Hoefs 1978, Nichols
         Seasonal variations in the diet of bighorn sheep             1978, Eccles and Shackleton 1979). Fetal sex ratios do
  are reported for many sheep populations. These                      not differ from parity in wild, free-ranging sheep (Geist
  variations are complicated by age-sex classes of                    1971). Captive adult ewes on a high nutritional diet have
  sheep and environmental factors (Smith 1954, Todd                   produced more female than male young (Hoefs and
  1972, Pallister 1974, Johnson 1975, Bear 1978, Shank                Nowlan 1994), indicating that the nutritional condition
  1982, Irwin et al. 1993). Shank (1982) reported that                of ewes may influence their reproductive rate and the
  the winter diets of Rocky Mountain bighorn females,                 sex ratio of their offspring. However, Blanchard et al
  lambs, and yearlings were more similar to each other                (2005), in a 29-year study of bighorn sheep in Alberta,
  than to the diet of adult males. This was attributed to             found that maternal condition did not influence lamb sex
  spatial segregation on their winter range, with different           ratios at birth. There is no evidence that social status of
  proportions of plant species available. During spring               an adult ewe is correlated with her reproductive fitness
  and summer, bighorn sheep feed in areas of green-up                 or to any differential investment in her male or female
  to maximize nutrient uptake. The quality of summer                  offspring (Eccles and Shackleton 1986, Festa-Bianchet
  forage may be more important in determining lamb                    1991a, Hass 1991, Blanchard et al. 2005).
  survival than the quality of winter forage available to
  the lambs throughout the winter. Cook et al. (1990)                       The duration and degree of sexual segregation in
  found that summer forage nutrient quality was strongly              wild sheep are functions of seasonality in the breeding
  correlated with winter lamb survival in a low-elevation             cycle (Shackleton and Shank 1984). In some bighorn
  sheep herd in Wyoming. In desert regions, seasonal use              populations, male sheep gather on their fall or winter
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  ranges 1 to 2 months prior to the breeding season,                the ratio of males to females is high, and it involves one
  to establish and reinforce dominance relationships                or more males pursuing a female that is being defended
  between individuals (Shackleton et al. 1999). It                  by a tending male in an attempt to gain temporary
  is during this pre-rut period that physical contact               access to a female (Geist 1971, Shackleton 1973). The
  between males occurs. This competition for mating                 “coursing” method rarely succeeds because the female
  rights has led to the evolution of significant sexual             runs away, followed by the subordinate males and
  dimorphism in horn and body size in wild sheep                    the dominant male. In these situations, the dominant
  (Krausman and Shackleton 2000). Males with large                  male will attack subordinate males in an attempt to
  horns typically dominate and do most of the breeding              chase them away. Occasionally, males will attempt to
  (Geist 1971, Hogg 1984, Hogg 1987, Shackleton                     “block” a female’s access to traditional tending areas
  1991). However, near the end of the rutting period,               where dominant males are located (Hogg 1984, 1987).
  or when male:female ratios are low, subadult males                The blocking action often occurs before the female is
  may have an opportunity to mate with estrous females              in estrous. Males that are able to keep the female away
  (Shackleton 1973, 1976, 1991). Breeding by subadult               from the rutting area until she comes into estrous are
  males has resulted in more females serviced per male,             more successful in copulating than males using the
  fewer copulations per female, and more females                    “coursing” strategy, but less so than males using the
  successfully breeding during their second estrous in              tending method. In areas with low male:female ratios,
  domestic sheep (Valdez and Krausman 1999). The                    males will also “herd” one or more females (Shackleton
  probability of pregnancy, particularly of yearlings, is           1973). When herding behavior occurs, there is always
  lowered as the number of rams declines. However, too              more than one male present, but the dominant male is
  many rams can cause mating interference and alter                 not always the male herding the females. However,
  pregnancy rates (Smith 1954).                                     when the female does come into estrous herding
                                                                    behavior ends and the dominant male begins tending
        Mountain sheep are gregarious and polygamous                the female (Shackleton et al. 1999).
  (Geist 1971). Shackleton et al. (1999) suggested that,
  like domestic sheep, the presence of adult males in                      The observed variation in timing and duration
  maternal groups acts to stimulate behavioral estrous and          of the birthing season for bighorn sheep is correlated
  possibly the synchronization of estrous among females.            with latitude. The season is later and of shorter duration
  The first sign of rut activity by males includes the males        with increasing latitude (Bunnell 1982, Thompson
  moving through maternal groups in “low-stretches,”                and Turner 1982), and it is related to thermal stress
  approaching the rear of females, and occasionally                 on newborn lambs and the need for sufficient high
  kicking the females with their foreleg (Geist 1971).              quality nutrition for lactating ewes (Sadlier 1969,
  Lip curling by males allows them to detect estrous with           Geist 1971, Festa-Bianchet 1988a, b). There is also
  their vomeronasal organs (Estes 1972, Ladewig and                 a need for adequate time for growth by lambs before
  Hart 1980), using a chemical pathway parallel to, but             their first winter season. Lambs that are born late in the
  separate from the olfactory system. Before a female in            breeding season typically have higher mortality rates
  estrous will accept copulation from any male, he must             (Festa-Bianchet 1988c). Thus, the breeding season
  perform specific courtship behavior patterns (Geist               is a trade-off between giving birth early enough for
  1971, Shackleton 1973, 1991): 1) nosing her flanks                adequate pre-winter growth and late enough to avoid
  and rump, often while twisting his head and flicking              thermal stress and poor forage conditions associated
  his tongue in and out, 2) kicking the female with his             with late winter (Sadlier 1987). The birthing season
  foreleg, 3) standing with his chin on her rump, 4)                for Rocky Mountain bighorn sheep begins in late
  pushing his chest against her rump, and 5) rising up to a         April and early May, and it coincides with the timing
  pre-mount position (Shackleton et al. 1999). The adult            of vegetation green-up and milder climatic conditions.
  ewe may reciprocate by actively courting a male, and              Few lambs are born after June (Shackleton et al. 1999).
  she may even mount him in an effort to stimulate his              The situation is somewhat different for desert bighorns,
  interest (Geist 1971, Shackleton 1973).                           where plant production is related to temporal and spatial
                                                                    precipitation patterns, which vary considerably. The
        Rocky Mountain bighorn males use four main                  non-seasonal reproductive pattern of desert bighorns
  mating tactics during the rut (Geist 1971, Shackleton             may be an adaptive strategy to ensure lamb survival
  1973, Hogg 1987, Shackleton 1991). The most common                during periods of unpredictable forage production
  method is “tending,” in which a dominant male defends             (Leslie and Douglas 1979, Sandoval 1979a, Thompson
  and copulates with a single, estrous female. The                  and Turner 1982). Rachlow and Bowyer (1991) reported
  “coursing” method occurs most often in situation where            marked interannual differences in median birth dates for
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  Dall sheep in Alaska, and increasing evidence suggests             static and remains somewhat flexible throughout
  that adjustments in gestation length may be under the              the year (Geist 1971, Leslie and Douglas 1979).
  proximal control of female Dall sheep (Berger 1992,                Group composition consists of spatially and sexually
  Bowyer et al. 1998).                                               segregated units of all male or female-juvenile groups
                                                                     made up of adult females, lambs, and 1 and 2-year-old
         Lambing areas are usually on or very close to               offspring (Geist 1971). The size of these groups varies
  wintering areas and may be used year after year by the             considerably depending on group type, season, and
  same maternal group (Geist 1971, Becker et al.1978).               geographic location, and can consist of two to over
  Adult ewes seek out steep, rugged topography for                   100 individuals (Geist 1971, Ashcroft 1986, Shackleton
  giving birth (Pitzman 1970, Rachlow and Bowyer                     et al. 1999). There are two primary advantages to
  1991, 1994, 1998), which provides protection from                  residing in groups: 1) improved foraging efficiency
  predation, shelter from inclement weather, and isolation           and 2) avoidance of predators (Pulliam and Caraco
  during the development of the mother-young bond                    1984). Predator avoidance appears to be the primary
  (Shackleton et al. 1999). The shelter and isolation                force in the formation and maintenance of groups in
  requirements for birthing ewes are generally short-term            bighorn sheep (Jarman 1974, Jarman and Jarman 1979,
  needs, suggesting that protection from predators may be            Berger 1991). Rachlow and Bowyer (1998) found that
  a key factor resulting in relatively long isolation periods        individual animals in larger groups of thinhorn sheep
  (Shackleton and Haywood 1985). Festa-Bianchet                      spent more time feeding than those in smaller groups
  (1988a) reported that near-term ewes selected more                 did and less time in vigilance or alarm behaviors. The
  secure habitat with poorer forage conditions over high-            distance sheep fed from secure cover also increased
  risk birthing areas with better forage, and suggested that         as group size increased (Hamilton 1971, Rachlow and
  predator constraints were an important consideration in            Bowyer 1998).
  selecting lambing sites. Cook (1990) observed a similar
  pattern with bighorn ewes in Wyoming.                                     Male and maternal groups of bighorns occupy
                                                                     separate seasonal ranges, but spatial and temporal
         The duration of labor in wild sheep is short, often         overlap does occur during the breeding season (Geist
  lasting less than 20 minutes (Pitzman 1970). Lambs are             and Petocz 1977, Morgantini and Hudson 1981,
  precocial, typically standing within an hour, suckling in          Krausman et al. 1989, Bleich et al. 1997). Differences
  less than 3 hours, and walking within 2 hours of birth             in reproductive strategies between male and female
  (Shackleton and Haywood 1985). Lambs are capable of                bighorns are probably responsible for females selecting
  traveling with their mothers within 24 hours of birth,             relatively secure areas for raising their offspring, while
  feed on vegetation by 2 weeks of age, and are usually              males generally choose areas with greater forage quality
  weaned between 3 and 5 months of age (Murie 1944,                  and quantity to maximize their body size (Main and
  Pitzman 1970, Bunnell and Olsen 1976).                             Coblentz 1990, Main et al. 1996).

        A variety of factors influence nursing behavior              Fecundity and natality
  both among and within bighorn sheep populations.
  Festa-Bianchet (1988b) reported that maternal condition                  Although Rocky Mountain bighorn females
  affected nursing during mid-lactation. He found young              typically mate at 2.5 years of age, females in expanding
  females, females with late born lambs, and females with            populations and those under favorable environmental
  heavy lungworm (Protostrongylus spp.) infestations                 conditions can produce their first lamb at 2 years of
  allowed shorter suckling times and nuzzled their lambs             age (Woodgerd 1964, Shackleton 1973, Jorgenson
  less frequently than older, healthier females. Lambs               and Wishart 1984, Festa-Bianchet 1988b). For desert
  born in an expanding bighorn population suckled less               bighorns, mating at 1.5 years of age is not uncommon
  frequently but for longer periods, were refused by their           (McCutchen 1976, Sandoval 1981, Morgart and
  mothers less often, and began grazing later than lambs             Krausman 1983).
  from a stable population (Shackleton 1973).
                                                                            Fecundity (i.e., mean number of live births in
  Demography                                                         each age class) increases in bighorn sheep up to 5
                                                                     years of age, after which there is a slight decline in
  Social behavior                                                    productivity (Smith and Wishart 1978). Festa-Bianchet
                                                                     (1988b) observed a similar decline after 8 years of age,
      Mountain sheep are very gregarious and spend                   but it was not statistically significant. Despite limited
  much of their life in groups. Group integrity is not               evidence from Dall sheep (Singer and Nichols 1992),
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  it does not appear likely that bighorn sheep pregnancy            quality habitats and the opposite situation in expanding
  rates are influenced by the age structure of the male             populations on high quality ranges, suggesting that
  segment of the population. Shackleton (1973, 1991)                environmental conditions may influence differences
  showed that courtship behavior by males is a function             in juvenile survival. Blanchard et al. (2005) reported
  of physical development and relative social status, not           that maternal condition had no detectable influence
  merely chronological age, and that most females were              on the sex ratio of lambs but did observe a non­
  bred in a sheep population with no Class IV (FULL                 significant trend towards fewer males being produced
  CURL) rams and a male:female ratio of 1:8. Pregnancy              at high densities in a bighorn sheep population in
  rates for bighorn sheep are over 90 percent in most               Alberta. Festa-Bianchet (1989b) showed that male
  Rocky Mountain bighorn populations (Sadlier 1987,                 offspring were more energetically “costly” to rear than
  Hass 1989, Jorgenson 1992). Although ewes have been               females because they grew faster and required greater
  observed suckling two lambs, and maternal groups have             investment in lactation. These data are contrary to an
  been observed with more lambs than adult ewes, bighorn            expectation that adult ewes would be more likely to
  sheep usually produce one lamb per year. Substantiated            raise the least “costly” sex successfully on low quality
  reports of twinning exist from observations of twin               ranges (Krausman et al. 1999).
  births (Gammill 1941, cited in Buechner 1960), of
  twin fetuses in utero (Spaulding 1966), and from                  Mortality
  cases where researchers were closely observing sheep
  populations (Van Dyke 1978, Eccles and Shackleton                        Factors other than disease that influence mortality
  1979). However, twinning is so infrequent in bighorn              rates in bighorns may include inclement weather,
  sheep that it has little effect on population growth rates        inbreeding depression, poor maternal condition, poor
  (Krausman et al. 1999).                                           mothering skills, human disturbance, and predators. At
                                                                    the root of these proximal mortality factors are those
         The genetic potential for growth in an ungulate            population and habitat conditions that lead to extreme
  population equates to the intrinsic rate of natural               birthing dates, poor range conditions, high population
  increase in a population where no resources are limiting          density, and the quality of escape cover (Hass 1989).
  (Caughley 1977). Bighorn sheep have the biotic
  potential, in the absence of disease, to double their                    Bighorn lambs are particularly vulnerable to death
  population size every 4 to 5 years, and are relatively            in their first year of life (Blood 1961, Morgan 1970). In
  robust to significant variations in annual recruitment            many ungulate species, maternal condition and birth
  rates and mortality (McCarty and Miller 1998).                    weight are linked to mortality in the first year (Geist
  Buechner (1960) calculated a conservative estimate                1971, Clutton-Brock et al. 1987, 1992). Other factors
  for the intrinsic rate of increase for bighorns at 0.258,         influencing neonatal mortality in bighorn sheep are birth
  using the assumptions of one lamb per female per year,            date, range condition, population density, the quality of
  first birth at 3 years of age, an even sex ratio, stable          security cover, and predation (Shackleton et al. 1999).
  age distribution, and no mortality. Empirical data show           Mortality in bighorn lambs is generally concentrated
  wild, free-ranging bighorn herds increasing at a rate of          during two periods, post-natal and the lamb’s first winter
  0.288 on the National Bison Range, and at 0.265 over              (Clutton-Brock et al. 1997). Mortality of lambs is often
  11 years and 0.305 over 4 years in the Fort Peck sheep            highest in the first few weeks after parturition (Blood
  herd (Hass 1989). However, the high rates that Hass               1961, Stewart 1980, Hoefs et al. 1986, Festa-Bianchet
  (1989) observed may have resulted from sex ratios that            1988c) and commonly results from predation, while
  were skewed towards ewes.                                         winter mortality is often a result of poor nutritional
                                                                    condition (Festa-Bianchet 1988c). However, significant
  Sex ratio                                                         mortality can also occur in mid-summer due to disease
                                                                    epizootics (Woodard et al. 1972, Spraker 1974) or poor
        In unmanipulated bighorn sheep populations,                 quality summer forage, which predisposes lambs to
  adult sex ratios are usually near unity (Buechner                 enzootic disease pathogens (Cook 1990).
  1960, Geist 1971). McQuivey (1978) reported similar
  sex ratios in hunted (60:100) and unhunted (57:100)                     Birth date can be a very important influence on
  desert bighorn populations. Woodgerd (1964) reported              survival in the first year (Bunnell 1982, Thompson and
  a sex ratio shift on Wild Horse Island, Montana in                Turner 1982, Clutton-Brock 1987). Festa-Bianchet
  favor of males as population growth declined. Geist               (1988c) found that 71 percent of bighorn sheep lambs
  (1971) and Shackleton (1973) found more male than                 were born during the first 15 days of the lambing season
  female yearlings in stable sheep population on low                and their birth date affected subsequent survival. Lambs
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  born early in the lambing season (May-June 10) were                    Several authors have suggested that female
  more likely to live to 5 months of age than those born           mortality rates are higher than those of male bighorns
  later in the season, and only 5 percent of lambs born            (Sugden 1961, Woodgerd 1964, Bradley and Baker
  after June 10 survived to reproduce. Festa-Bianchet              1967, Hansen 1980b, Stewart 1980). Using radio­
  (1988c) speculated that lambs born late in the season            telemetry, Hengel et al. (1992) estimated annual female
  missed the nutritional peak and were not able to put on          mortality rates at almost 11 percent in a Wyoming
  the growth needed for long-term survival. Cook (1990)            bighorn population. Shackleton et al. (1999) thought
  observed a similar pattern in a bighorn sheep population         it was reasonable to expect that adult female bighorns
  in south-central Wyoming. Hass (1989), on the other              would suffer higher mortality rates than males would
  hand, found no relationship between birth date and               because females are subjected to the stressors of
  survival in a less severe climate.                               reproduction some 5 to 6 years earlier than males, who
                                                                   typically do not begin breeding until they are 7 to 8
         Woodgerd (1964) recorded no early mortality               years of age.
  in a rapidly expanding population of bighorns. Festa-
  Bianchet (1988c) reported 96 to 97 percent survivorship          Population limitation and regulation
  of lambs in another population, and suggested that high
  early mortality often occurs when predation is a major                 Many bighorn sheep populations can be broadly
  factor. Predation rates upon lambs vary among bighorn            described as numerically stable, but occasionally
  populations, and can be as high as 80 percent in some            subjected to large-scale, catastrophic die-offs
  populations (Hebert and Harrison 1988). Harper (1984)            (Shackleton et al. 1999). A variety of factors potentially
  and Hass (1989) reported that high coyote (Canis                 function to limit or reduce bighorn numbers, including
  latrans) predation levels on lambs tended to occur in            food availability, interspecific competition, predation,
  areas with limited security cover or in areas that were          and disease. Skogland (1991) documented six studies
  not historical sheep ranges.                                     that found food resources limiting for ungulates;
                                                                   however, no data are available to demonstrate that food
        Based on data from skulls collected in the field,          regulates or limits bighorn populations (Krausman and
  Murie (1944) and Geist (1971) estimated very low                 Bowyer 2003). Although abundant, good quality foods
  mortality rates for yearling and 2-year-old bighorns.            are generally available to sheep at other times of the
  However, estimates derived from declines in cohort               year, winter forage availability, in most cases, has the
  numbers from several bighorn populations suggest                 capacity to be a primary limiting resource for bighorns
  that mortality rates for yearlings and 2-year-olds were          (Shackleton et al. 1999). Cook (1990), however,
  considerably higher than those reported from studies             suggested that the quality and quantity of summer and
  using collected skulls (Festa-Bianchet 1989b). Stewart           early fall forage could influence bighorn sheep lamb
  (1980) estimated yearling mortality at 33 and 41 percent         survival and was more critical to bighorns than winter
  for males and females, and 41 and 16 percent for male            forage quality in south-central Wyoming.
  and female 2-year-olds, respectively. Festa-Bianchet
  (1989b) reported estimates of 33 percent for yearling                   Localized interspecific competition for forage,
  males and 18 percent for 2-year-old males.                       space, and water between bighorn sheep and domestic
                                                                   livestock, elk, feral burros, and exotic wild sheep
        Comparisons of age-specific mortalities in adult           and goats is a potential limiting factor for many
  male Rocky Mountain bighorn sheep showed that                    bighorn populations (Streeter 1969). Overgrazing
  populations exhibited similar mortality patterns of 3            by domestic livestock, particularly goats and sheep,
  to 14 percent for 3 to 5-year-old rams, after which              has the potential to degrade bighorn habitat through
  mortality rates dramatically diverged. Stable, unhunted          significant changes in plant composition and density,
  bighorn populations that were nutritionally limited              leading to reduced carrying capacity for bighorn sheep.
  tended to exhibit slowly increasing mortality rates              McQuivey (1978) and Steinkamp (1990) found that
  and long life expectancy. On the other hand, rapidly             bighorn sheep avoided habitats occupied by cattle, and
  increasing and hunted populations on excellent ranges            Bavin (1982) showed that cattle could be significant
  tended to show rapidly increasing male mortality rates           competitors with bighorns, especially in years with
  with shorter life expectancies (Geist 1971, Jorgenson            limited forage production due to drought. Cook (1990)
  and Wishart 1984, Festa-Bianchet 1989b). Survivorship            suggested that heavy use of vegetation in riparian
  of older age classes of males can be also be expected to         areas by cattle might preclude bighorn sheep access to
  drop dramatically due to vigorous rutting activity (Geist        critical vegetation resources during summer months.
  1971) or hunting strategies that target older rams.              The conversion of grasslands to large shrub fields as a
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  result of overgrazing by domestic livestock reduces the                  Wehausen et al. (1987) described two principal
  overall carrying capacity of bighorn sheep range and              ways that disease reduces the survival of bighorn
  may lead to more predation by increasing hiding cover             sheep: 1) through pathogens introduced from external
  for stalking predators. The conversion of grasslands to           reservoirs and 2) from enzootic pathogens carried
  shrub communities may also lead to higher numbers                 by bighorns. They suggested that disease pathogens
  of deer and increased population densities of cougars             affect mortality patterns in lambs differently based
  (Puma concolor), which could compound the effects of              on the nutritional status of the lambs. However,
  competition and predation on bighorn herds.                       lambs exposed to pathogens from domestic livestock
                                                                    experienced high mortality rates regardless of the
         Predation can also act as a limiting factor for            nutritional status of the lambs. In contrast, mortality
  bighorn sheep inhabiting ranges with inadequate escape            was low from enzootic pathogens unless predisposing
  cover (Harper 1984, Hass 1989). While predation on                conditions (e.g., poor quality summer forage) resulted
  sheep occupying habitat with good escape cover is                 in compromised immunological response in the lambs
  probably less important as a limiting factor, predation by        (Cook 1990). Other researchers have hypothesized
  cougars can be a significant factor limiting the growth           that enzootic pneumonia pathogens may exist for
  of small, isolated sheep herds (Wehausen 1996, Hayes              many years in bighorn herds without causing major
  et al. 2000). Predation also has the potential to limit           die-offs, and then become virulent throughout the herd
  the recovery of bighorn populations that have declined            when a member of the herd is weakened because of
  precipitously because of a disease epizootic (Cassirer            old age or environmental stress (Cassirer personal
  personal communication 2006). The major predators of              communication 2006).
  bighorn lambs are probably coyotes and bobcats (Lynx
  rufus); golden eagles (Aquila chrysaetos) are known to                  Jorgenson et al. (1997) reported that juvenile
  kill lambs (Moser 1962, Wilson 1968, Watts 1979).                 females were the only class whose survival was
                                                                    affected when a bighorn population was allowed to
         Disease is probably the most important limiting            increase to equilibrium numbers. No density-dependent
  factor affecting bighorn sheep, often causing large (over         effects on survival were detected in populations that
  50 percent) and sudden (under 12 months) declines                 were held below carrying capacity. Festa-Bianchet
  (Shackleton et al. 1999). Major bighorn sheep population          et al. (1995) showed that age-at-first-reproduction
  declines have occurred in North America since the late            shifted from 2 to 3 years of age as the number of
  1800’s, often resulting from contact with domestic                females dramatically increased. A similar shift was not
  sheep and environmental stress (DeForge et al. 1981,              observed in another population where female numbers
  Goodson 1982, Onderka and Wishart 1984, Onderka                   did not vary as much.
  et al. 1988, Brown 1989, de Vos 1989, Foreyt 1989,
  Ryder et al. 1994). Bighorns are susceptible to a variety               These relationships suggest that density-dependent
  of parasites and diseases, but Pasteurellosis appears to          forces on fecundity and lamb survival regulated bighorn
  be responsible for many large-scale die-offs (Jaworski            sheep populations, and that density-dependence may
  et al. 1993, Foreyt 1994). Lungworm infestations were             begin to manifest itself at “intermediate” population
  originally thought to play a significant role in bighorn          levels (Jorgenson et al. 1997). Population growth in
  pneumonia episodes. However, Festa-Bianchet (1991b)               bighorn sheep is a function of adult female survival and
  argued that lungworm infestations are a “normal”                  recruitment of young into the population. Population
  condition in wild sheep and high levels of infestation do         modeling demonstrates that growth is very sensitive to
  not predict pneumonia epidemics or indicate poor health           changes in adult female survival and less so to variability
  in sheep. Dall sheep are also infected and infested with          in annual recruitment. However, disease epizootics are
  many disease organisms, including lungworms, but they             known to cause chronically low lamb survival, resulting
  have not suffered any major die-offs from lungworms               in significant reductions in recruitment in many bighorn
  and associated pneumonia (Gable and Murie 1942,                   herds. Therefore, large reductions in recruitment over
  Stelfox 1971, Shackleton 1985). In fact, there is no              several years can seriously affect population growth
  evidence that disease plays a major role in limiting              rates and may be as important as adult female survival
  or regulating Dall sheep populations (Krausman and                in determining population status (Cassirer personal
  Bowyer 2003). However, a major difference between                 communication 2006).
  Dall sheep and bighorn sheep populations has been
  the relative insulation of Dall sheep populations from                  A hypothetical flow chart depicting biotic and
  exposure to domestic sheep and widespread contact of              abiotic factors that potentially limit bighorn sheep
  bighorn populations with domestic sheep.                          populations in Region 2 is presented in Figure 6.
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        Figure 6. Hypothetical flow diagram of biotic and abiotic factors that influence bighorn sheep populations in USDA
        Forest Service Region 2.

  Population persistence                                            at greater risk of extirpation than large populations
                                                                    occupying large contiguous habitats (Krausman and
        Bighorn sheep occupy only a portion of their                Leopold 1986, Berger 1990, Bleich et al. 1990b, Berger
  historical range in the western United States. In many            1999, Wehausen 1999).
  cases, bighorns occur in isolated habitats and in small
  (less than 150) numbers (Toweill and Geist 1999).                       Berger (1990) suggested that bighorn herds
  Although population size alone may not be an accurate             consisting of less than 50 individuals were highly
  predictor of bighorn sheep persistence in any given area          susceptible to rapid extirpation. He indicated that
  (Krausman et al. 1993), small populations are generally           small population size was likely a driving force in
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   rapid extinctions, and food shortages, changes in                  trigger epizootics. Mollison and Levins (1995) reached
   weather, predation, and interspecific competition                  similar conclusions using epidemiological models that
   were not major factors in the persistence of small                 examined movement rates and the prevalence and spread
   populations. Jorgenson (In litt. July 2006) suggested              of disease. However, Gross et al. (2000) reported that
   that stochastic events, including predation and disease,           there was a tradeoff between high rates of colonization
   could be important factors affecting the persistence of            that resulted in faster and sustained population growth
   small herds. Berger (1990) stated that no empirical                rates, and the risk of disease transmission that might
   data existed to demonstrate effects of inbreeding in               result in the extinction of local bighorn herds. Their
   wild populations, as did Caro and Laurenson (1994).                simulations of population persistence in South Dakota
   However, Berger (1990) implied that loss of genetic                bighorn herds suggested that extinction rates declined
   variability might play a role in the extinction of small           when dispersal rates increased.
   (less than 50) bighorn populations. Krausman et al.
   (1993) and Wehausen (1999) took exception to Berger’s                    Bighorn sheep behavior patterns are extremely
   (1990) conclusions when they identified several small              rigid and ritualized and play an important role in
   bighorn sheep populations in Arizona and California                population persistence (Geist 1971). Studies suggest
   that either continued to persist or increased significantly        that bighorns do not adjust well to perturbations in
   after populations declined below the 50 individuals cited          these behavioral patterns (Geist 1971, Krausman
   by Berger (1990) as an extinction threshold. Krausman              1993, Krausman et al. 1995). Consequently, human
   et al. (1993) and Wehausen (1999) suggested that                   disturbance may be a factor disrupting bighorn
   environmental fluctuations and improved management                 behaviors and movements and may contribute to
   practices (e.g., reduced grazing of domestic sheep in              population declines. Extensive movement patterns
   bighorn habitats, population augmentation efforts,                 by male bighorn sheep during the rutting season may
   lungworm treatment programs) likely contributed to                 increase their risk of coming into contact with domestic
   the observed increases in numbers and persistence                  sheep and contribute to the perpetuation of disease in
   experienced by many small bighorn populations. Berger              this species and significantly influence the probability
   (1999) also concluded that changes in land management              of long-term persistence in isolated sheep populations
   practices might be an important reason that small                  (Gross et al. 2000).
   bighorn sheep populations persist longer today than
   they did prior to 1938. Hogg et al. (2006) examined                       Major epizootics appear to be a proximal cause
   the effects of experimentally restoring immigration                of the extirpation of some bighorn populations and
   to a wild bighorn sheep population (average size of                are a significant threat to populations that have been
   42 individuals over 10 to 12 generations) established              reduced in numbers due to habitat loss (Leslie and
   in 1922 with 12 individual bighorns. They reported                 Douglas 1979, Krausman 1985, Gionfriddo and
   observing improvements in reproduction, survival,                  Krausman 1986, Krausman et al. 1989, Harris 1992).
   and five fitness-related traits among the descendants              In particular, small (less than 150) populations may
   of the 15 recent migrant bighorns, suggesting that                 be vulnerable to extinction as a result of disease
   restoring gene flow by enhancing connectivity among                epizootics. While large (over 250) populations appear
   sheep herds or by augmenting small, isolated herds had             to be less prone to extinction from disease epizootics,
   beneficial conservation implications.                              modeling studies (Singer et al. 2001) suggest that
                                                                      disease can significantly alter population demographics,
          Singer et al. (2001) used empirical models to               also leading to extinction. However, larger population
   predict the effects of disease epizootics and habitat              size and habitat connectivity of herds can increase the
   patch size on the viability of bighorn sheep populations.          likelihood of persistence when faced with a disease
   They suggested that sheep herds with less than 250                 outbreak (Gross et al. 2000).
   individuals were more prone to extinction than large
   herds. Although large herds occupying large blocks                 Community ecology
   of contiguous habitat were less prone to extinction,
   disease epizootics, nevertheless, had the potential to             Predation
   significantly impact the demographic structure of the
   herd and cause disease-induced extinctions (Gross et                     Wild sheep evolved with a variety of potential
   al. 1997, Gross et al. 2000). Hess (1996) explored the             predators, and predation on wild sheep is well
   implications of disease in metapopulation models and               documented in the literature. However, the impacts of
   concluded that increased contact among bighorn sheep               predation on wild sheep were not well studied until
   populations could enhance the spread of disease and                recently (Hoban 1990, Wehausen 1996, Ross et al.
                                                                 31


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   1997, Hayes et al. 2000, Rominger and Weisenberger              by cougars (Hoban 1990). However, identifying and
   2000, Logan and Sweanor 2001). These more recent                removing individual cougars that prey on bighorn sheep
   studies indicate that under some circumstances,                 was an effective method for minimizing bighorn losses
   predation can be an important source of mortality in            to cougar predation (Linnell et al. 1999). Although
   bighorn sheep herds.                                            predation is rarely significant in limiting bighorn
                                                                   sheep population growth, predation on small, remnant
         Most reports of predation on bighorns involve             populations or recently transplanted bighorns can
   coyotes and cougars, but golden eagles, lynx (Lynx              be limiting or cause local extirpations (Welsh 1971,
   canadensis), bobcat, and bears (Ursus spp.) are known           McQuivey 1978, De Forge 1980). Predation by cougars
   to prey on bighorn sheep occasionally (Kelley 1980,             was responsible for transplant failures for desert
   Nichols and Bunnell 1999). Thorne et al. (1979)                 bighorn sheep in Texas, Nevada, and Utah, and it was a
   reported that coyote predation occurred primarily on            major mortality factor on a remnant bighorn herd in the
   lambs in areas of poor escape cover, and was not likely         San Andres Mountains, New Mexico (Broadbent 1969,
   a limiting factor for bighorn sheep. Although numerous          Kilpatric 1982, Hoban 1990, Logan and Sweanor 2001).
   other studies document coyote-bighorn interactions,             Significant predation losses to cougars (over 30 percent)
   none suggests that coyotes are capable of regulating            occurred in recently transplanted bighorn sheep herds
   the growth of free-ranging bighorn sheep (McCann                in Colorado, New Mexico, and Arizona (Creeden and
   1956, Buechner 1960, Moser 1962, Woolf and O’Shea               Schmidt 1983, Elenowitz 1983, Remington 1983).
   1968, Geist 1971, Shank 1977, Berger 1978, Creeden
   and Schmidt 1983, Festa-Bianchet 1988a, Berger 1991,            Competition
   Bleich 1996, Bleich 1999).
                                                                         Interspecific competition for space and forage
         Cougars, however, prey on all age and sex classes         is a serious threat to many bighorn sheep populations.
   of bighorns (Williams et al. 1995, Bleich et al. 1997,          Competition arises when two species use resources that
   Ross et al. 1997, Hayes et al. 2000, Schaefer et al.            are in short supply and one species is harmed in the
   2000) and do appear capable of causing significant              process (Pianka 1978). In particular, competition with
   mortality in bighorn sheep populations, even where              domestic livestock has proved to be a significant factor
   suitable escape habitat exists (Hoban 1990, Ross et al.         in maintaining the distribution, health, and viability
   1997, Hayes et al. 2000, Logan and Sweanor 2001).               of bighorn sheep herds across the West. A variety
   The vulnerability of the various bighorn age and sex            of domestic and exotic ungulates can compete with
   classes depends on the behavior of individual cougars           bighorn sheep for forage, water, and space. Domestic
   rather than on the total number of cougars, as well as          livestock grazing can affect bighorn sheep habitat by
   other factors (Hornocker 1970, Hoban 1990, Ross et al.          reducing carrying capacity through large-scale changes
   1997, Logan and Sweanor 2001). Predation on the non-            in plant composition and density, including changes
   reproductive segment of a bighorn population should             from grassland to shrub-dominated landscapes that
   have minimal impact on bighorn numbers because                  other ungulate species, like mule deer, favor (Krausman
   that mortality is likely to be compensatory in nature           and Bowyer 2003). Overgrazing by livestock in the late
   (Murphy 1998). However, predation on adult ewes                 1800’s and early 1900’s resulted in large-scale changes
   may be additive to natural mortality, and can have an           in the composition of native plant communities,
   impact on bighorn sheep populations, especially small           including the reduction of plant species important to
   herds (Wehausen 1996, Hayes et al 2000). Ross et al.            bighorns, ultimately leading to long-term reductions
   (1997) found no evidence that cougar predation levels           in the carrying capacity of habitats for bighorn sheep.
   could be explained by changes in bighorn numbers or             Competition for space and food, and changes produced
   the availability of alternate prey. Logan and Sweanor           in vegetation communities, are thought to have reduced
   (2001) reported that a decline in the density of primary        population vigor in many bighorn sheep herds, leading
   prey (i.e., mule deer) could exacerbate predation on            to increased mortality, decreased productivity, or
   bighorn sheep; they concluded the density of bighorn            increased dispersal rates (Gallizioli 1977, Krausman et
   sheep was less important than the density of primary            al. 1999). Densities of adult sheep on summer ranges
   prey in determining the predation rates on bighorn              were shown to be inversely correlated with lamb
   sheep in the San Andres Mountains, New Mexico.                  production and survival, suggesting that intraspecific
                                                                   competition is also a factor limiting bighorn sheep
         The indiscriminate removal or population­                 populations (Woodgerd 1964, Geist 1971, Douglas and
   level reductions in cougar numbers does not appear              Leslie 1986). The presence of cattle on bighorn sheep
   successful in reducing the number of bighorns killed            ranges may artificially reduce the amount of habitat
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   available to bighorn sheep, resulting in increased                       There is considerable overlap in the diets of
   densities (Wilson 1968, Jones 1980, Dodd and Brady                bighorn sheep and elk, and to a lesser extent, mule deer
   1986, Steinkamp 1990).                                            and mountain goats (Oreamnos americanus) (Streeter
                                                                     1969). Elk are potentially serious competitors with
         Although cattle prefer gentler slopes than wild             bighorns in areas where their winter ranges overlap
   sheep, bighorn sheep have abandoned traditional ranges            (Lawson and Johnson 1982). Picton (1984) reported
   when cattle were introduced (Wilson 1968, Jones 1980,             that lamb:ewe ratios declined in the spring after heavy
   Dodd and Brady 1986, Steinkamp 1990). Bavin (1975)                grazing by elk on bighorn sheep winter ranges. In some
   concluded that cattle were a serious competitor with              areas, wintering elk can become so numerous that
   bighorn sheep in New Mexico, where he documented                  potential forage for bighorn sheep becomes unavailable
   12 of 18 major forage species were common to the diets            because trampled snow forms an icy crust over the
   of both. Cook (1990) suggested that heavy cattle use              vegetation and prevents access by sheep (Cowan 1947).
   of riparian zones in xeric environments might preclude            However, no deleterious effects were observed from
   bighorn sheep from accessing high quality vegetation              interspecific competition with deer on desert bighorn
   during critical summer months. Competition between                sheep (Halloran and Kennedy 1949, Smith 1954, Jones
   bighorn sheep and cattle was considered a serious                 et al. 1957).
   problem in British Columbia (Demarchi 1965) and
   Idaho (Morgan 1973), and Halloran and Kennedy                     Parasites and diseases
   (1949) reported that cattle often kept desert bighorns
   from habitat adjacent to critical water sources in narrow               Coincident with the introduction of domestic
   canyons in Arizona. Areas grazed by cattle supported              sheep to western ranges in the latter 1800’s and early
   significantly lower densities of desert sheep (2.3                1900’s, bighorn sheep declined dramatically, both
   sheep per km2) than ungrazed ranges (6.6 sheep per                geographically and in total numbers throughout western
   km2) in Nevada (McQuivey 1978). Spatial and forage                United States. This decline appears to have resulted
   competition, especially with cattle, continues to limit           largely from the transmission of diseases common to
   bighorn sheep populations where they overlap, and                 domestic sheep to naive bighorn populations (DeForge et
   may be an important obstacle to the reintroduction of             al. 1981, Brown 1989, de Vos 1989). Between 1900 and
   bighorn sheep into historical habitats (Gallizioli 1977,          1960, the effects of competition with and overgrazing
   Sandoval 1979b).                                                  by domestic livestock, habitat fragmentation, and
                                                                     unregulated harvest for subsistence, further contributed
         Competition with domestic sheep and goats is                to declines in bighorn sheep populations.
   considered even more serious than with cattle because
   of their similar preferences in forage and topography.                   Significant bighorn sheep die-offs have occurred
   Furthermore, domestic sheep and goats harbor                      in every western state from the late 1800’s to the
   parasites and diseases that are lethal to bighorn sheep           present (Martin et al.1996, Toweill and Geist 1999).
   (Krausman and Bowyer 2003). Desert bighorns were                  These large-scale epizootics were thought to be caused
   extirpated from historic habitats in California (Weaver           by macroparasites, bacteria, and viruses (Spraker 1977,
   1972), Arizona (Russo 1956, Gallizioli 1977), Nevada              de Vos et al. 1980, King and Workman 1983, Onderka
   (McQuivey 1978, Kelley 1979), New Mexico (Gross                   and Wishart 1988, Onderka et al. 1988). Transmission
   1960, Mendoza 1976, Sandoval 1979b), Utah (Wilson                 of pneumonia and scabies infections from domestic
   1968, Dean and Spillet 1976), and Texas (Davis and                sheep to bighorns was implicated in epizootics in
   Taylor 1939, Kilpatric 1982) due to competition for               Colorado, Wyoming, Idaho, Arizona, and New Mexico
   forage and space, and from disease transmitted from               (Lange et al. 1980, Jessup 1985, Ward et al. 1997).
   domestic sheep (Bunch et al. 1999). Feral burros                  Chlamydia, possibly in combination with Pasteurella
   (Equus asinus), aoudad (Ammotragus lervia), and                   pneumonia, was a proximate factor in the decline of
   Persian goats (Capra aegagrus) also pose a significant            several bighorn sheep herds in south-central Wyoming
   threat to bighorn sheep where their ranges overlap                (Cook 1990). For the past 20 years, scabies has been a
   (Sandoval 1979b). The habitat requirements of aoudad              significant mortality factor among bighorn sheep in the
   and Persian wild goats are very similar to those of desert        San Andres Mountains in New Mexico (Lange et al.
   bighorns, resulting in direct competition for resources           1980, Hoban 1990, Rominger and Weisenberger 2000).
   (Bavin 1975, Simpson and Krysl 1981). These species               Clark et al. (1985) found evidence of parainfluenza-3
   are capable of excluding bighorn sheep from critical              (PI-3), lungworm, bluetongue (BTV) and epizootic
   resources or out-competing them (Bailey 1980).                    hemorrhagic disease (EHD), respiratory syncytial virus,

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   bovine viral diarrhea, and contagious ecthyma virus in           disease status in the animal (Thorne et al. 1982).
   18 herds of desert bighorn sheep in California.                  Bighorn sheep and other free-ranging ungulates have
                                                                    been documented with positive titers to BTV and EHD,
          Although bighorn sheep have been exposed                  with no evidence of clinical disease, suggesting that
   to many disease pathogens, very few are considered               the viruses are enzootic in the western United States
   a major threat to population viability. Diseases that            (Thorne et al. 1982).
   are widespread in the United States and known to
   occur in bighorns, apparently with little population                    Pasteurellosis is a bacterial disease that ranks as
   level risk, include respiratory syncytial virus,                 one of the most important respiratory diseases found in
   leptospirosis, parainfluenza-3 (PI-3), infectious                bighorn sheep, leading to pneumonia and death (Foreyt
   bovine rhinotracheitis, anaplasmosis, infectious                 1993). Pasteurella spp. (and Mannheimia spp.) is part
   keratoconjunctivitis, and contagious ecthyma (Dubay              of the normal bacterial flora of both domestic and wild
   et al. 2003, Jansen et al. 2006). Bovine viral diarrhea          sheep (Ward et al. 1990). However, very large, all-age
   and brucellosis are also widespread, but little is known         die-offs of bighorn sheep are associated with exposure
   about their potential for causing significant disease            to some species and biotypes of Pasteurella and
   outbreaks in bighorn sheep populations. Contagious               Mannheimia. Over 70 varieties of M. haemolytica and
   ecthyma can be very debilitating and result in stunted           P. trehalosi (formerly known as P. haemolytica biotypes
   growth in bighorn sheep, especially where artificial             A or T) are known to occur in domestic and wild sheep.
   salting is common (Blood 1971, Samuel et al. 1975,               Mannheimia haemolytica is more common in domestic
   L’Heureux et al. 1996). Respiratory syncytial virus              sheep while P. trehalosi is the most common species in
   and PI-3 have been implicated in predisposing bighorn            many wild ungulates, including bighorn sheep (Foreyt
   sheep to Pasteurella spp. (Mannheimia spp.) outbreaks            1993, Jaworski et al. 1993). Mannheimia haemolytica
   (Miller 2001). Infectious keratoconjunctivitis (IKC) is          serotype A2 has been proven to kill bighorn sheep
   a disease that causes temporary blindness and affects            and may be the most important pathogen responsible
   domestic livestock throughout the world (Jones 1991).            for bighorn sheep die-offs after contact with domestic
   IKC has been documented in bighorn sheep in Arizona              sheep (Jaworski et al. 1993, Foreyt 1994).
   as a result of contact with domestic goats (Jansen et al.
   2006). Paratuberculosis (Johne’s Disease) is a bacterial                Martin et al. (1996) documented over 30 cases
   infection that causes chronic enteritis in some free-            where bighorn die-offs were associated with contact
   ranging ungulates. It has been documented in bighorn             with domestic sheep. Experimental exposure of captive
   sheep and has the potential to cause isolated problems           bighorn sheep to elk, deer, mountain goats, cattle,
   throughout bighorn range (Williams 2001). Bighorn                and llamas has not resulted in pneumonia outbreaks
   herds documented with positive titers to paratuberculosis        in bighorns (Foreyt 1992, 1993, 1994). Pastuerella
   may not be suitable candidates as source stock for               multocida and P trehalosi may also be important in the
   transplant programs (Timoney et al. 1988). Despite the           pneumonia complex, and they, as well as Mannheimia
   fact that these disease pathogens appear to pose minor           haemolytica, can be directly transmitted to bighorns
   risks to bighorns, it is not clear how interactions among        from domestic sheep (Onderka and Wishart 1988,
   these disease organisms may predispose bighorns to               Foreyt 1989, 1990, 1992). Virulence may also be
   more significant disease epizootics.                             acquired by normally avirulent types of Mannheimia
                                                                    or Pasteurella through the horizontal transfer of the
          Diseases that do pose a significant health risk           leukotoxin A (lktA) gene between strains. Although this
   include BTV, EHD, scabies, and pasteurellosis. BTV               is not always associated with the occurrence of disease
   and EHD are two closely related viruses that occur in            in bighorn sheep, the detection of horizontal gene
   many ungulates, including bighorn sheep (Robinson                transfer suggests that recombination may be involved in
   et al. 1967, Thorne et al. 1982, Noon et al. 2002). A            the development of virulent strains of Pasteurella and
   Culiocoides gnat transmits BTV and EHD to bighorns,              Mannheimia (Hells Canyon Bighorn Sheep Restoration
   and epizootics are most prevalent during the wet season          Committee 2004). Domestic goats can also carry
   or around water holes in the dry season. Bighorn                 Pasteurella spp. that may be lethal to bighorn sheep
   deaths resulting from exposure to BTV and EHD have               (Ward et al. 2002). Rudolph et al. (2003) reported that
   been documented in California, Wyoming, Arizona,                 some Pasteurella isolates collected from bighorn sheep
   Texas, and Idaho (Robinson et al. 1967, Jessup 1985,             and domestic goats sampled during the Hell’s Canyon
   Heffelfinger et al. 1995, Noon et al. 2002). Positive            epizootic were genetically identical, suggesting that
   titers to BTV and EHD indicate past exposure to the              goats may have played a role in the 1995-1996 die-off
   viruses, but they do not necessarily indicate current            in Hells Canyon, Idaho.
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          All-age mortality occurs during a bighorn sheep                    Some promising research is underway at
   pneumonia die-off, often resulting in the loss of 75 to            Washington State University in which the neutrophil
   100 percent of the herd. Where a pneumonia die-off has             cell-surface protein regions serving as receptor sites for
   occurred, lamb survival may be depressed for three or              pneumonia leukotoxins attachment have been identified.
   more years after the initial episode, and herd recovery            Homologous peptides have been synthesized, which, in
   is slow (Foreyt 1990, Coggins and Mathews 1992,                    vitro, conspicuously reduce the virulence of pneumonia
   Ward et al. 1992). Apparently, lambs born to surviving             leukotoxins. The objective of this research is to use these
   ewes are initially protected from the Pasteurella spp.             peptides to protect the bighorn sheep in a pneumonia
   or Mannheimia spp. pathogen for six to eight weeks                 die-off situation. The long term goal of this research is to
   by passive colostrums in their mother’s milk, but                  develop a vaccine for wild, free-ranging, bighorn sheep
   they usually die within three months as that protective            (Srikumaran personal communication 2007).
   immunity is lost (Foreyt 1990). Although chronically
   low lamb survival is not as dramatic as an all-age die­                   Several intestinal parasites infect bighorn
   off in terms of reducing bighorn sheep population size,            sheep, including thin-necked bladderworms (Taenia
   over the long term, it may be just as important (Cassirer          hydatigena), three species of tapeworms (Moniezia
   personal communication 2006).                                      spp., Thysanosoma actinoides, and Wyominia tetoni),
                                                                      and several abdominal and gastrointestinal nematodes
         The science has so overwhelmingly demonstrated               (Becklund and Singer 1967, Becklund and Walker
   the threat posed by domestic sheep to persistence of               1967, Becklund 1969). Eleven species of Eimeria are
   native wild sheep, that in 1995 the U.S. District Court            found in bighorns and are responsible for coccidiosis,
   in Oregon ruled that domestic sheep and bighorns                   which causes diarrhea or “scours” (Lotze 1956).
   were incompatible and should be kept separated from                External parasites that infest wild sheep include winter
   one another on Hells Canyon National Recreation                    and wood ticks (Dermacentor spp.); the spinose ear
   lands. That ruling led the USFS to develop a process               tick (Otobius megnini); two lice species (Bovicola
   for finding management solutions on National Forest                spp.); and two species of dipterids, the botfly (Oestrous
   System lands to address the issue of incompatibility               ovis) and sheep tick (Melophagus ovinus) (Imes and
   between domestic sheep and free-ranging bighorns                   Babcock 1942, Gobbett 1956, Becklund and Senger
   (Schommer and Woolever 2001). Although horses,                     1967, KeChung 1977). In addition to direct effects
   mules, burros, and llamas are not considered disease               on bighorn sheep health, several of these species have
   threats to bighorn sheep (Miller et al. 1995, Foreyt and           been implicated as potential intermediate hosts for
   Lagerquist 1996), desert bighorn sheep biologists (in              disease agents.
   Trefethen 1975) recommended that wild, free-ranging
   burros, horses and livestock should be removed from                       Scabies is a highly contagious parasitic skin
   desert bighorn sheep habitats as a result of serious               infection caused by Psoroptes mites (Becklund and
   competitive (forage and space) problems.                           Senger 1967). Scabies infection has resulted in clinical
                                                                      disease in free-ranging wildlife, and is commonly found
         Pneumonia die-offs have also occurred in bighorn             in desert and Rocky Mountain bighorn sheep, elk, and
   herds with no known exposure to domestic sheep or                  white-tailed deer (Thorne et al. 1982). The highest
   goats (Goodson 1982, Onderka and Wishart 1984, Foreyt              densities of these mites can be found on domestic sheep
   1989, Ryder et al. 1994, Miller et al. 1995). These die­           bedding grounds (Kemper and Peterson 1956) and
   offs were thought to be caused by Pasteurella trehalosi,           they have been implicated in the historical decline of
   serotypes 3, 4, and 10, and they may have been triggered           bighorn sheep throughout the West, and more recently
   by environmental factors (severe winter or drought), by            in Arizona, Nevada, and New Mexico (Carter 1968,
   association with other bacteria or viruses, or by the              Decker 1970, de Vos et al. 1980, Sandoval 1980).
   sheep population exceeding the carrying capacity of its            Mortalities caused by scabies reduced populations
   habitat. Cook (1990) suggested that protein malnutrition           of bighorns at Greybull River, Wyoming (Honess
   was a significant factor predisposing bighorn lambs to             and Frost 1942, Honess and Winter 1956), in Rocky
   disease by retarding the development of organs that                Mountain National Park, Colorado (Wright et al. 1933,
   regulate their immune system. Although it is clear                 Packard 1946), in the Sierra Nevada mountain range in
   that many strains of Pasteurella and Mannheimia are                California (Jones 1959), and along the Owyhee River in
   pathogenic to bighorn sheep and considerable research              Oregon (Bailey 1936). In general, scabies infection has
   data are available on the effects of Pasteurellosis (Miller        the potential to cause substantial localized morbidity
   2001), there is much that is not known.                            and mortality, especially in naive animals (Dubay et
                                                                      al. 2003).
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                   Conservation                                        domestic sheep allotments in areas of bighorn sheep
                                                                       occupancy, suggesting that disease epizootics may play
                           Threats                                     a significant role in the long-term persistence of many
                                                                       herds in the Region.
         A variety of factors threaten the long-term
   viability of bighorn sheep in Region 2. Developing                         Most bighorn sheep herds occupy public lands in
   an understanding of how these factors act to limit                  the western United States, and federal land management
   or threaten bighorn sheep is especially important                   agencies have taken action to develop policies intended
   because many sheep herds in the Region are small and                to minimize contact between domestic livestock
   susceptible to extirpation (Berger 1990, Fitzsimmons                (primarily sheep) and bighorns. In 1971, the Inyo
   and Buskirk 1992, Krausman et al. 1993). Immediate                  National Forest in California established sanctuaries
   threats to bighorn sheep herds in the Region include:               on the forest to regulate human use and to reduce the
                                                                       potential for contact between domestic and bighorn
         ❖ the risk of deadly epizootics as a result of                sheep, and these are still in place today (Wehausen
             disease transmission from domestic sheep                  1979, Inyo National Forest Land Management Plan
             and goats to bighorns and between bighorn                 1988). The BLM established guidelines in 1992 for
             herds during translocation projects                       managing domestic sheep in bighorn habitat; these
                                                                       guidelines were revised in 1998 to better reflect current
         ❖ the loss of genetic variability in small herds              knowledge regarding the interaction of bighorns and
                                                                       domestic sheep (BLM Memorandum 92-264). The
         ❖ habitat deterioration, loss, and fragmentation              USFS and USFWS published similar guidelines for
                                                                       national forests that issue domestic livestock grazing
         ❖ human disturbance on critical winter and                    permits in bighorn sheep habitat (Schommer and
             lambing ranges                                            Woolever 2001, U.S. Fish and Wildlife Service 2001).
                                                                       Concern about the long-term stabilization of wild sheep
         ❖ competition for forage and space with                       herds and the domestic livestock industry in Wyoming
             livestock and other ungulate species                      led to the formation of the Wyoming Bighorn/Domestic
                                                                       Sheep Interaction Working Group in 2000. This group
         ❖ cougar predation on adult female sheep in                   of stakeholders, including representatives from USFS
             remnant or recently reintroduced herds.                   Region 2, identified issues of concern regarding
                                                                       interactions between bighorn and domestic sheep and
   Disease                                                             produced a final report, including recommendations
                                                                       for actions, to the state in 2004 (Wyoming Statewide
          The importance of disease to the conservation of             Bighorn/Domestic       Sheep     Interaction    Working
   bighorn sheep is likely to increase as habitat loss and             Group 2004). These documents summarized current
   fragmentation restrict their movements and concentrate              information regarding the detrimental effects of
   them in smaller areas, increasing contact rates and the             interactions between domestic livestock and wild sheep,
   spread of disease pathogens (Scott 1988, Levins et al.              and described risk assessment probabilities, strategies
   1994, Schrag and Wiener 1995). The effect of domestic               for preventing contact, and management actions needed
   livestock diseases on bighorn sheep is well documented              when contact between the two species has occurred.
   (DeForge et al. 1981, Brown 1989, de Vos 1989, Foreyt
   1993, Jaworski et al. 1993, Martin et al.1996), and                       Risk assessment involves considering the
   disease continues to represent a significant threat to              probabilities that (1) stray domestic sheep will occur
   bighorn herds in areas where bighorns and livestock,                near established bighorn populations, (2) strays will
   primarily domestic sheep and goats, have an opportunity             enter bighorn habitat, and (3) the two species will come
   to interact. Although habitat fragmentation and loss are            into contact as a result of bighorn rams coming in contact
   frequently cited as important factors influencing the               with domestic sheep during exploratory movements.
   persistence of bighorn sheep populations, disease is                Decisions by management authorities can significantly
   likely the factor that eventually results in the extirpation        influence the potential for stray domestic sheep to occur
   or extinction of many bighorn herds (Flather et al.                 near and gain access to bighorn habitat. The potential
   1994). Berger (1990) reported that bighorn sheep herds              for domestic sheep to access wild sheep habitat is a
   of less than 50 individuals had a much lower probability            function of the distance separating the two species,
   of long-term persistence than larger populations. A                 the presence of potential barriers between them, and
   number of national forests in Region 2 still have active            allotment grazing procedures. The propensity of male
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   bighorns to travel over large areas further complicates              Threats to bighorn habitat range from conversion of
   managing domestic-bighorn interactions. Although                     grasslands to forest types because of fire suppression,
   these documents provide important information and                    to fragmentation and loss due to competition with
   guidance for federal land management agencies in                     domestic livestock and human disturbance. Bighorn
   their efforts to prevent contact between domestic and                sheep are well adapted to open and fragmented habitats
   bighorn sheep, private land in-holdings on many forests              that provide high quality nutrition and allow sheep
   still represent a serious threat to bighorn populations on           to detect predators at relatively long distances. As a
   public lands and should be considered in developing                  result, they prefer areas characterized by openness and
   management plans for bighorn sheep in Region 2. The                  steep, rocky terrain. Historically, wildfires prevented
   use of domestic goats as recreational pack animals and               the encroachment of forests onto open grassland
   for weed control on national forests may also represent              habitats that sheep prefer (Elliott 1978), and they were
   a disease transmission threat (Cassirer et al. 1998).                instrumental in maintaining adequate foraging areas
                                                                        adjacent to escape terrain, as well as in preventing
   Genetic diversity                                                    the encroachment of forests in migration corridors.
                                                                        However, fire suppression efforts in the latter half of the
          The potential loss of genetic variability is a serious        20th century have resulted in the encroachment of forest
   threat to small, isolated bighorn herds throughout                   and shrub communities into bighorn foraging habitat.
   Region 2. Small populations of bighorns depend on                    Encroaching forests are also responsible for effectively
   interactions with other sheep to maintain population                 blocking migration corridors between seasonal
   viability (Berger 1990, Bleich et al. 1990a). Increasing             habitats and dispersal routes that lead to isolation of
   coefficients of inbreeding and genetic drift are products            populations. Prescribed burns, designed to maintain the
   of decreasing population size and can lead to reduced                open character of migration corridors and to enhance
   levels of heterozygosity and inbreeding depression                   the nutritive content of vegetation on winter ranges, are
   (Soule 1980). A growing body of literature suggests                  an important tool in range regeneration efforts by land
   that inbreeding and decreased levels of heterozygosity               management agencies. Prescribed burns and managed
   influence disease resistance, lamb survival rates, and               wildfire policies (especially in wilderness areas that
   horn growth in bighorn sheep (Sausman 1982, Stewart                  are also experiencing vegetation succession that is
   and Butts 1982, Fitzsimmons et al. 1995, Carrington                  detrimental to bighorn sheep) can be used to create
   et al. 1999, Coltman et al. 1999). The majority of                   or regain additional habitat or to reclaim functional
   bighorn herds in Region 2 have an effective population               movement corridors, and they may temporarily increase
   size of less than the 200 to 500 individuals that may                herd reproductive success by maximizing nutrient
   be necessary for long-term survival (Franklin 1980,                  intake (Hebert 1973, Wehausen and Hansen 1988,
   Lande and Barrowclough 1987, Brussard and Gilpin                     Wehausen 1996).
   1989, Berger 1990, Franklin and Frankham 1998). An
   examination of the distribution of herds in Region 2                 Human disturbance
   reveals that many of the herds are isolated due to habitat
   loss, road construction, and human development.                             Wild sheep have habituated to human activity in
   Intrusive management efforts will be necessary under                 many areas where the activity is somewhat predictable
   current conditions to maintain genetic diversity or to               temporally and spatially. However, human disturbance
   improve reproductive performance and survival (Hogg                  (e.g., snowmobiling and heli-skiing on and near winter
   et al. 2006). However, most bighorn herds in Region                  ranges) and human presence near lambing sites may
   2 have experienced at least one disease epizootic, and               be detrimental to bighorns in some locales (Graham
   the threat of disease transmission during augmentation               1980, MacArthur et al. 1982, Etchberger et al. 1989).
   efforts is a more significant risk to the recipient                  Mineral exploration and extraction, road construction,
   herd than loss of genetic variability unless steps are               harassment by low flying aircraft, and other human
   taken to evaluate the disease status of both the donor               disturbances near lambing grounds had potential
   and recipient bighorn herds prior to undertaking an                  detrimental effects on Dall sheep populations (Nichols
   augmentation program.                                                1975, Hoefs and Barichello 1985, Poole and Graf 1985).
                                                                        Human development, especially in valley areas, may
   Habitat loss and degradation                                         function to limit bighorn movements between mountain
                                                                        ranges occupied by bighorn sheep and become a critical
         The preservation and enhancement of critical,                  factor in determining their long-term conservation
   native bighorn sheep habitat are crucial to ensuring                 prospects. In Region 2, human disturbance to bighorns
   viable populations in the future (Stelfox 1976).                     occurs primarily on their winter ranges as a result of
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   winter recreational activities, development projects at          Predation
   lower elevations (Linstrom 2005b; see also discussion
   on Waterton Canyon herd), and the presence of high                      Bighorn sheep have co-existed with predators
   traffic roads through areas used by sheep. At this point,        for thousands of years, and to minimize predation
   the effects of human disturbance on bighorn sheep                risks, they have evolved adaptive behaviors and
   appear to vary considerably among areas, and managers            physical capabilities, such as group living, diurnal
   should consider this treat on a case-by-case basis.              activity patterns, and the ability to move efficiently in
                                                                    rough, precipitous terrain (Hamilton 1971, Alexander
   Competition                                                       1974). However, under some conditions, herds can
                                                                    become vulnerable to population level effects of
          Competition between bighorn sheep and domestic            predation. The impact of predation on bighorn sheep
   livestock for forage, water, and space is another                varies considerably as a result of differences in habitat
   potential threat to bighorns in Region 2. Historically,          characteristics, prey preferences of individual predators
   competition with domestic livestock played a significant         (primarily cougars), and primary prey densities (Ross
   role in the decline of mountain sheep in western North           et al. 1997, Schaefer et al. 2000, Logan and Sweanor
   America. Overgrazing by domestic livestock in the late           2001, Kamler et al. 2002, Sawyer and Lindzey 2002).
   19th and early 20th century resulted in dramatic changes         Small remnant populations are particularly vulnerable
   in the composition and density of plant communities.             to predation by cougars. Predation has been an
   In many cases, preferred forage species for bighorn              important mortality factor leading to decreases in
   sheep either were reduced significantly or disappeared           bighorn sheep numbers in California (Wehausen 1996,
   from native bighorn ranges, resulting in a decrease in           Hayes et al. 2000, Schaefer et al. 2000) and in Arizona
   carrying capacity of the habitat (McQuivey 1978). In             (Kamler et al. 2002). Much of the variation in predation
   those cases where severe overgrazing was responsible             impacts can probably be attributed to disease-related
   for conversion of grasslands to shrub-dominated                  reductions in bighorns across much of their historical
   communities, the habitat became more suitable to mule            range, the fragmented nature of bighorn distribution, the
   deer. Although there may be very little dietary overlap          availability of alternative prey, and fire suppression that
   between bighorns and mule deer, high densities of                has altered bighorn habitat by decreasing forage quality,
   mule deer likely support higher densities of predators,          increasing ambush cover, and increasing the densities of
   including both coyotes and cougars. This situation               deer. The vulnerability of newly transplanted bighorns
   presents a difficult environment for bighorns because            to predation may be influenced by their prior experience
   coyotes are capable of preying heavily on lambs and              with predators, suggesting that bighorns transplanted
   some cougars are successful predators on adult female            from sites where predators were absent may be more
   bighorns. Competition between bighorns and livestock             vulnerable to predation at new transplant sites that
   for forage is especially critical during periods of the          have resident predators (McCutchen 1982). Although
   year when forage is limited or of low quality (Bavin             it is difficult to come to any consensus regarding the
   1975). Although total forage production may exceed               effects of predation on bighorns, it appears clear that the
   the needs of bighorn sheep during stress periods, the            reduction in bighorn numbers and distribution in the last
   presence of cattle in riparian or alpine areas may reduce         150 years has altered the dynamics between predators
   the availability of high quality forage to sheep (Cook           and bighorns across their range.
   1990). In situations where cattle were experimentally
   introduced into occupied bighorn habitat, bighorns have           Conservation Status of Bighorn Sheep
   been displaced from traditional ranges, suggesting that                       in Region 2
   wild sheep were socially intolerant of cattle (Steinkamp
   1990). Other researchers have reported that cattle were                 State heritage programs in Colorado and South
   serious dietary and spatial competitors of bighorn               Dakota classify bighorn sheep as secure, and in Wyoming
   sheep (Wilson 1968, Morgan 1973, Jones 1980).                    as either vulnerable or secure, depending on the size and
   While the conversion of domestic sheep allotments to             connectedness of individual herds (NatureServe 2003).
   cattle allotments on many national forests in Region 2           However, these classifications appear not to have
   has been a positive step in significantly reducing the           fully considered the potential for disease epizootics,
   threat of Pasteurella epidemics, it has not eliminated           population viability issues, and security of individual
   the potential for disease transmission, and competition          bighorn herds in the states. Therefore, these ranks may
   for forage and space with domestic livestock remains             be overly optimistic for many herds. The relatively
   a concern.                                                       large numbers and widely-distributed bighorn herds in

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   Colorado and Wyoming might suggest that populations               inbreeding depression, the inability of the population to
   in these states are reasonably secure. However, this              respond to long-term changes in the environment, and
   superficial picture of bighorn status in Region 2 fails to        a decrease in population resiliency (Gilpin and Soule
   recognize the critical issues of small herd size in many          1986, Lande 1988, Ralls et al. 1988, Meffe and Carroll
   populations, the long history and continued substantial           1994, Fitzsimmons et al. 1995, Lacy 1997). Population
   risk of disease epizootics, increasing levels of habitat          substructuring within a herd, as a result of female groups
   fragmentation, or the degree to which many herds have             using distinct home range patterns, can also restrict gene
   become isolated from other herds.                                 flow (Geist 1971, Holl and Bleich 1983, Festa-Bianchet
                                                                     1986a, Wehausen 1992, Jager 1994, Andrew et al. 1997,
         Diseases contracted from domestic livestock have            Rubin et al. 1998). However, relatively little genetic
   reduced wild sheep populations significantly in the last          exchange is necessary among herds to overcome the
   century and a half, and they are currently one of the most        effects of inbreeding and associated increases in
   important threats to herds in Region 2. Increasing habitat        homozygosity in small, isolated bighorn herds. In areas
   fragmentation in many areas of Region 2 has reduced               where the geographic distance between groups of adult
   or severely limited connectivity among many bighorn               females is small, seasonal movements of males may
   populations and reduced population sizes, exacerbating            be sufficient to allow gene migration to occur among
   the potential for disease to eliminate herds. As habitat          herds (subpopulations) within a larger metapopulation
   is fragmented, the vulnerability of bighorn herds to              (Leslie and Douglas 1979, Witham and Smith 1979,
   extirpation increases as the herds become smaller and             Schwartz et al. 1986, Hogg et al. 2006). The potential
   are confined to smaller and smaller patches of habitat            for significant genetic exchange via the movements of
   that may deny them access to important resources. The             females is low, but intermountain movements have been
   size, distribution, and quality of these habitat patches          reported (Witham and Smith 1979, Bleich et al. 1990b,
   ultimately dictate the number of sheep that they can              Jager 1994).
   support. A number of herds in Region 2 (discussed
   below) are affected by habitat loss or fragmentation                     Bighorns likely evolved within a metapopulation
   due to forest succession and human development on                 structure, but the introduction of domestic livestock,
   bighorn ranges. In some cases, fire suppression policies          especially sheep, into western North America, as well as
   have allowed forest succession to interrupt bighorn               other human related activities, has changed the dynamics
   migration corridors and to encroach on their habitat              of bighorn sheep management relative to the issues of
   to the extent that the carrying capacity in herd units is         gene flow and genetic variability. Activities designed to
   declining. Because bighorns are slow to colonize new              improve the amount of suitable habitat or to increase
   areas and frequently occupy fragmented habitats (Geist            connectivity among habitat patches are less likely to
   1967, 1971, Bleich et al. 1990b, 1996), any changes to            improve population persistence than actions taken to
   the character of their habitat or that further fragment           reduce the impact of disease on bighorn sheep (Gross
   existing herds may be a significant threat to the long­           et al. 2000). However, Hogg et al. (2006) were able to
   term persistence of regional populations (Schwartz et al.         document improvements in reproduction, survival, and
   1986, Bleich et al. 1996).                                        other fitness-related traits by experimentally restoring
                                                                     immigration in a bighorn sheep population in Alberta.
          While bighorn sheep often exist in a naturally             Attempts to increase genetic diversity in small bighorn
   fragmented environment, corridors of suitable habitat             herds in Region 2 by managing them in a metapopulation
   connecting habitat patches increase the effective size of         context or by augmenting sheep herds using transplants
   bighorn populations through metapopulation structuring            may also increase the risk associated with disease
   (Noss 1987, Quinn and Hastings 1987, Simberloff and               transmission among herds, which could lead to the
   Cox 1987, Hudson 1991). The modest size of most                   extirpation of some small herds (Hess 1996, Dubay
   bighorn herds suggests that a metapopulation structure            et al. 2003, Watkins personal communication 2005).
   is, or once was, operative in maintaining genetic                 Implementing a disease testing protocol for donor and
   variability in bighorn sheep (Gilpin and Hanski 1989,             recipient bighorn herds can reduce the potential disease
   Bleich et al. 1990a). Bighorn sheep evolved with                  risk associated with population augmentation.
   relatively conservative philopatric behaviors, and their
   reluctance to disperse from their natal ranges results                   Although the direct effects of competition are
   in low colonization rates and low gene flow among                 difficult to measure, there are data to suggest that
   populations (Geist 1967, 1971). Maintaining gene                  competition with domestic livestock can influence the
   flow is important to the conservation of bighorn sheep            viability of bighorn sheep herds across their range and
   because the loss of genetic variability can result in             in Region 2. Competition with domestic sheep and
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   goats for forage and space is a management concern in                     While hunting is an important source of revenue
   the Region, but the potential for disease transmission             and a highly valued tradition for many residents
   from sheep and goats to bighorns is a far more                     of Region 2, it was not discussed in detail for each
   critical relationship. A number of domestic livestock              individual herd within the Region. This was due to
   allotments in Region 2 have been converted from sheep              the fact that although most herds support some level
   to cattle to reduce the risk of disease transmission to            of harvest, it is generally at a level that has little, if
   bighorns. While the conversion of these domestic                   any, significant effect on the conservation of bighorn
   sheep allotments on many national forests has been                 sheep relative to the threats of disease and habitat loss
   a positive step in significantly reducing the threat               or alteration.
   of Pasteurella epidemics, it has not eliminated the
   potential for disease transmission because bighorns are            Colorado
   also susceptible to some disease pathogens associated
   with cattle (bluetongue) and domestic goats. It also                      CDOW has designated bighorn sheep management
   fails to eliminate problems associated with competition            units (Appendix A), and following that management
   from domestic livestock. Competition with domestic                 scheme, they have recently (December 2005) completed
   livestock in riparian habitats can be critical during              status reports for bighorn sheep herds considered to be
   droughts or other periods of environmental stress. Elk             top priority in the state and abbreviated summaries for
   are potentially an important competitor with bighorns              many other herds. Most of the following information
   in areas where their winter ranges overlap. Heavy                  was drawn from those reports. However, there are no
   grazing by elk on bighorn sheep winter ranges can                  current reports for a significant portion of bighorn herds
   reduce the availability of winter forage and affect                within the state. The following description of bighorn
   lamb:ewe ratios in the spring. Elk are a priority species          herds within Colorado is organized first by national
   in Region 2, and high population levels may play an                forest, then by bighorn sheep management unit within
   important role in bighorn sheep management decisions               each forest. Management units that do not lie within
   in some herd units.                                                a national forest are treated separately. Population
                                                                      estimates for herds that had no additional information
          The following discussion is intended to provide             available are provided in Table 2. The location of
   an in-depth picture of the status of individual bighorn            herd units that have a hunting season can be found in
   sheep herds within Region 2, as well as the vigor of               Appendix A.
   the entire Region 2 bighorn sheep population, to the
   extent that information was available to the authors.              Roosevelt National Forest: 1 herd
   It is focused on those herds found on or near National
   Forest System lands during at least some portion of the                   Bighorn sheep were probably native to the
   year. Where information was available for herds that do            Poudre River Canyon. However, the current Poudre
   not use National Forest System lands extensively, the              River Herd (Unit S1) is a reintroduced herd that was
   limited information available to the authors is presented.         established in 1946 at a site 5 miles upstream of Rustic
   Some herds within Colorado are not discussed because               with 16 translocated sheep from the Tarryall Mountains
   detailed information was not available. The information            southwest of Denver. In an effort to initiate range
   available for these herds (or lack thereof) does not               expansion, 25 sheep were translocated in 1975 from
   necessarily reflect their priority status within the state;        this founder population (the upper herd) to an area 7
   rather, it is more a reflection of the time available to           miles downstream of Rustic (the lower herd). At least
   individual biologists to complete the summaries for                15 sheep subsequently used this transplant area, with
   each herd. The Colorado Division of Wildlife (CDOW)                significant movement between the upper and lower
   intends to prepare summaries for all remaining herds as            herds (Vieira 2005). In 1991, 20 additional bighorns
   time permits (Watkins personal communication 2006).                from Estes Park were released into the lower herd.
   Herds are examined and discussed individually and, to              The Rawah Herd (Unit S18) is adjacent to the Poudre
   the extent possible, in the context of their relationship          River Herd, and the two herds interact during winter
   with surrounding herds. To aid in the organization of              when portions of each herd use the same habitat along
   this discussion, each state was broken down by national            the Poudre River. Radio telemetry data indicate that
   forest, and then by individual herd or management area,            these two herd units function as a single herd, isolated
   as defined by the respective state wildlife management             from other formally named herds. A few sheep inhabit
   agency responsible for bighorn sheep management.                   the area north of the Poudre River unit and may rarely
                                                                      interact with the bighorns in units S1 and S18.

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   Table 2. Population estimates for Colorado bighorn sheep herds that were not discussed in the text.
    Unit or Area Name                     Unit Number   2005 estimate        CDOW Region       National Forest
    Gore-Eagle’s Nest                              S2         100                  NW          White River/Arapaho
    Arkansas River                                 S7         85                   SE          San Isabel
    Collegiate North                            S11           160                  SE          San Isabel
    Snowmass East                               S13           110                  NW          White River
    Collegiate South                            S17           100                  SE          San Isabel
    Never Summer Range                          S19           25                 NW, NE        Routt/Roosevelt
    Snowmass West                               S25           125                  NW          White River
    St. Vraiu                                   S37           100                  NE          Roosevelt
    Basalt                                      S44           100                  NW          White River
    Brown’s Canyon                              S47           150                  SE          Pike/San Isabel
    Big Thompson Canyon                         S57           80                   NE          Roosevelt
    Derby Creek                                 S59           90                   NW          White River/Routt
    Shelf Road                                  S60           150                  SE          NA*
    South Fork White River                      S67           40                   NW          White River
    Cotopaxi                                    S68           60                   SE          San Isabel/Rio Grande
    Beaver Creek                                   S5         30                   SE          Pike
    Cliuetop Mesa                               S14           5                    NW          White River
    Battlement Mesa                             S24           20                   NW          White River/Grand Mesa
    Lone Pine                                   S40           15                   NE          Roosevelt
    Cross Mountain                              S45           0                    NW          White River
    Lower Poudre River                          S58           25                   NE          Roosevelt
    DeBeque Canyon                              NA            40                   NW          Grand Mesa
    Harper’s Corner**                           NA            40                   NW          NA
    Green River**                               NA            90                   NW          NA
    Yampa River**                               NA            35                   NW          NA
    Grizzly/No Name Creek                       NA            35                   NW          White River
    Greenland                                   NA            35                   NE          NA
    Mount Silverheels                           NA            25                   SE          Pike
    Mount Zirkel                                NA            45                   NW          Routt
    Rio Grande/Box Canyon                       NA            35                   SW          Rio Grande
    Fall River/Mummy Range***                   NA            75                   NE          NA
    Continental Divide***                       NA            100                NE, NW        NA
    Never Summer Range***                       NA           200                 NE, NW        NA
    Sawpit                                      NA            10                   SW          Uncompahgre
     *Not applicable.
    **Located within Dinosaur National Monument.
   ***Located within Rocky Mountain National Park.

         The total population of both the Poudre River              having already caused at least one all-age die-off. The
   and Rawah herds is estimated at 100 to 120 individuals           herd also has had significant exposure to lungworm,
   (Vieira 2005). The herd probably has never greatly               and bluetongue has been documented in the herd unit
   exceeded 200, was significantly reduced by a pneumonia-          to the south (Never Summers, Herd Unit S19). There
   related die-off during 1986-1987, and has subsequently           are no public sheep grazing allotments within units S1
   suffered low survival and lamb recruitment, at least in          and S18; however, a few private citizens run domestic
   the lower Poudre Herd. Disease outbreaks, especially             goats within the area of highest winter bighorn use in
   of Pasteurella, are the foremost threat to this herd,            the Poudre River Canyon (Vieira 2005).
                                                             41


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          Habitat conditions throughout the two units are             is highly fragmented. The western one-third of the unit
   considered good, but there are concerns regarding                  is comprised of the Arapaho National Forest, which
   cheatgrass (Bromus tectorum) invasion and juniper/                 is largely undeveloped. The fragmentation of habitat
   mountain shrub encroachment in preferred open                      within the majority of the herd unit will continue to
   habitats. In addition, bighorns apparently prefer several          increase as more areas are developed. Several heavily
   older burns within the unit, suggesting that future                used roads, including Interstate 70, US Highways 6 and
   prescribed burns may be beneficial. Development is not             40, State Highway 119, and the Central City Parkway,
   a major threat to this herd because most of its range lies         run through this herd unit. Prior to the opening of the
   within federal land. However, vehicle collisions in the            Central City Parkway in 2004, 12 to 18 sheep were
   Poudre River Canyon have become a significant source               killed annually by vehicle collisions. The level of
   of direct mortality, and the threat is expected to increase        vehicle-related mortality is expected to rise because the
   as recreational use and vehicle traffic within the area            Parkway runs through sheep migration corridors.
   continue to grow.
                                                                             Since 1986, the Georgetown Herd has been a
   Arapaho National Forest: 2 herds                                   source population for numerous bighorn translocations
                                                                      throughout Colorado and other states. Bighorns from
         1) The Georgetown Herd (Unit S32) has                        this herd have gone to Nevada, South Dakota, Utah,
   fluctuated from less than 50 to over 400 during the                Glenwood Canyon, Spanish Peaks, Big Thompson
   past 60 years, and it is currently estimated at 300 to             Canyon, Dinosaur National Monument, Browns
   350 (Huwer 2005). The population is stable, with an                Canyon, Durango, and Ouray (Huwer 2005). From
   objective of 250 to 300. Few sheep inhabited the unit              1986 to 2002, 280 sheep were removed from the herd
   prior to translocations of 33 and 14 bighorns from                 for translocation.
   the Tarryall Herd in 1946 and 1949, respectively. The
   herd subsequently increased to about 135 in the late                     2) The Mt. Evans (Unit S3) and Grant herds
   1950’s, when the only recorded significant die-off                 (Unit S4) interact to some extent on summer range and
   within the unit occurred. This die-off was attributed to           are therefore managed as one herd (Linstrom 2005a).
   lungworm/pneumonia. There are currently no domestic                The herd originated from a translocation of 16 sheep
   sheep grazing allotments on National Forest System                 from the Tarryall herd in 1945; a second translocation
   land within the herd unit, and hobby flocks of domestic            of seven ewes occurred in 1948 using the same source
   sheep and goats are actively discouraged (Huwer 2005).             stock. The herd generally increased during succeeding
   In 1985, sheep were moved to the junction of Highway               decades, reaching a high of 342 in 1996. Although
   119 and US Highway 6 to extend the range of the                    no die-offs have been reported, population counts
   Georgetown Herd.                                                   declined substantially in 2002 and 2003 (174 and 128,
                                                                      respectively). However, drought during that period may
          The herd is isolated from other bighorn herds,              have influenced count conditions, as well as the actual
   the nearest being the Mt. Evans (Herd Unit 3) Herd,                population size (Linstrom 2005a). Lamb:ewe ratios
   only a half-mile from the boundary of the Georgetown               have fluctuated greatly in recent decades, from a high of
   Herd at their closest points. However, the two units are           106:100 in 1981 to 19:100 in 1998. The current ratio is
   separated by Interstate 70, which sustains very high               estimated at 49:100, with a population estimate of 275
   traffic volume, and Clear Creek, both of which are                 individuals (Linstrom 2005a).
   barriers that sheep from either herd are thought not
   to cross (Huwer 2005). The Colorado Department of                        Current and historic distributions of these two
   Transportation is proposing expansion of Interstate 70             herds do not differ significantly. There are three
   through the area to accommodate ever-increasing traffic            distinct ewe/lamb groups and two distinct ram groups,
   volume. Interchange with any other herds is unlikely               centered in or near the Mt. Evans Wilderness Area, with
   due to the distances that separate the Georgetown sheep            additional use areas located in both the Arapaho and
   from other bighorn herds.                                          Pike national forests. Interaction with other bighorn
                                                                      herds is unlikely.
          Habitat quality is considered good, and it includes
   good forage quantity/quality and rough physiognomy                      Disease has not significantly affected this
   that provides adequate escape cover. Of particular                 population. However, paratuberculosis (Johne’s
   concern are the effects of development and habitat                 Disease) was diagnosed in mountain goats and
   fragmentation (Huwer 2005). Much of the eastern two-               bighorn sheep within the unit during the 1970’s, and
   thirds of the herd unit is privately owned, and the habitat        again in 2000 and 2001 (Linstrom 2005a). While
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   paratuberculosis is a management concern, it has                  have been placed away from the road to lure sheep
   been present for years and is not known to have                   out of harm’s way, but with little success (Linstrom
   caused significant population declines. Lungworm is               2005a). Hazing by CDOW personnel and road signs
   also present but, likewise, has not been linked to any            have been used to try to remedy the situation, again
   appreciable population-level effects.                             with little success.

         The herd units contain abundant alpine habitat,             Pike/San Isabel National Forests: 13 herds
   particularly in the Mt. Evans unit, and the cliffs,
   boulder fields, and rock outcroppings of glacial cirques                 1) The Tarryall and Kenosha Mountain
   provide ample escape terrain and lambing sites. Good              bighorn herd units (Units 23 and 27) are located
   winter habitat is found on many of the south-facing               adjacent to one another, with interchange (primarily of
   slopes in lower elevations, which remain mostly free              rams) between the two units. Thus, the two units are
   of snow during most years. Exotic weed invasions are              managed as a single herd (George and Davies 2005).
   not a primary concern in these herd units, as most of             Historically, this herd was one of the largest (over
   the sheep habitat is designated wilderness where only             1,000) in the state and was used extensively as a source
   weed-free hay is allowed for those who use horses. Fire           for translocation stock from 1944 to 1953. The Tarryall/
   suppression has led to conifer encroachment in lower              Kenosha herd is isolated from other bighorn herds, as
   elevation habitats that were formerly more open, but              radio telemetry data and the extent of the most recent
   because much of the sheep habitat is above timberline,            epizootic have revealed very little, if any, interaction
   conifer encroachment has not had major impacts on the             with other herds.
   sheep population (Linstrom 2005a).
                                                                           Unfortunately, this herd has a long history of
         Human recreational use is a major concern,                  disease epizootics, which have led to wildly fluctuating
   particularly on Mt. Evans, which has a paved road that            numbers over the past century. Epizootics occurred in
   allows people to drive to the top and to access adjacent          1885, 1923-1924, 1950, and most recently in 1997­
   sheep habitat easily. This has led to feeding of bighorn          1999 (Moser 1962, George and Davies 2005). Prior
   sheep along the road, with ewes accepting handouts                to the most recent pneumonia die-off, the combined
   from tourists (Linstrom 2005a). CDOW personnel have               population of the two herd units was estimated at
   placed salt blocks in areas to entice the sheep away from         250 individuals. However, the current population is
   people, and they have initiated an educational program            estimated at about 160 animals. In addition to disease-
   to deter people from feeding or approaching bighorn               related mortality and the concomitant population
   sheep and mountain goats. Other recreational impacts              decline, lamb:ewe ratios fell from pre-epizootic
   include hikers who leave established trails, causing              levels of 40 to 50:100 to a post-epizootic level of 0:
   sheep to move. This happens frequently near the Mt.               100, and they have only increased to about 25:100
   Evans summit, prompting the USFS to design trails                 since 2002. There is no history of domestic sheep and
   such that they will direct hikers away from important             goat allotments on public lands within the herd units,
   sheep habitat (Linstrom 2005a).                                   pointing to hobby flocks on private land as the probable
                                                                     source of exposure to pneumonia. Disease is likely to be
          Competition between sheep and mountain goats is            a significant, chronic threat to this herd.
   also a concern in these two units. A study of interactions
   between sheep and goats in the Mt. Evans area                           2) The Rampart Range Herd (Unit S34) had
   demonstrated that bighorns yielded space or resources             an interesting beginning. In 1946, a vehicle carrying
   to goats in 39 of 107 interactions, while goats exhibited         14 bighorn sheep from the Tarryalls intended for a
   the same response in only eight of the interactions               translocation to Pike’s Peak broke down near Green
   (Reed 2001 in Linstrom 2005a). Sheep have also been               Mountain Falls on Highway 24. The sheep were
   known to stop using historic range in some locations              released there and became the Rampart Range Herd.
   after mountain goats arrived (Martin and Stewart 1977             The herd grew until pneumonia/lungworm mortalities,
   in Linstrom 2005a).                                               beginning in the late 1950’s, caused the herd to stagnate
                                                                     and decline from 40 to 20 animals by 1970. At this time,
        Other concerns include winter concentrations of              treatment for lungworm at bait stations commenced. A
   sheep near Grant, adjacent to Highway 285. Several                supplemental release of 20 sheep from Trickle Mountain
   bighorn sheep have been killed by vehicle collisions, as          in 1978 was the only other translocation into this herd.
   groups of sheep are often found on the shoulder of the            Since 1984, population estimates have varied from a
   road within a few feet of speeding traffic. Salt blocks           high of 225 in 1990, to as few as 45 in 1995 and 1997.
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   The herd currently numbers 60 to 80 animals (Dreher                     Human recreational activities, especially hikers
   2005a). A total of 146 sheep have been translocated out          with dogs, and development are other big factors
   of the herd in eight separate instances between 1984 and         affecting the future of the Rampart Range Herd. Both
   2003 (Dreher 2005a).                                             are expected to increase as development on private
                                                                    lands within the unit continues (Dreher 2005a). Efforts
          Sheep are currently found primarily in Queen’s            to funnel recreational activity away from sheep use­
   Canyon Quarry, Camp Creek, and the areas surrounding             areas and to curtail development on private lands in
   Glen Eyrie. Historically, the overall range occupied by          critical areas will benefit the Rampart Range bighorns.
   the herd was more substantial. Limited interchange
   between the Rampart Range and Dome Rock herds                          3) The Waterton Canyon Herd (no herd unit
   was documented in 2001, when a marked ram from                   designation) is an indigenous population, occupying
   the Pike’s Peak herd was observed at the Rampart bait            canyon habitat along the South Platte River in the
   site (Dreher 2005a). Still, the frequency of interchange         foothills southwest of Denver. Between 1955 and 1980,
   is likely low. About 1994, several sheep disappeared             the population varied from 18 (1970) to 78 (1980).
   from the Rampart Herd. It was discovered later that              During the winter of 1979-1980, construction of the
   some of these sheep established a small population               Strontia Springs Dam began and likely contributed to
   around Greenland in Douglas County. The degree of                an all-age die-off caused by stress-induced pneumonia
   interchange between Rampart Range and the Greenland              (Spraker et al. 1984 in Linstrom 2005b). In addition to
   sheep is unknown.                                                loss of 77 percent of the herd, the new impoundment
                                                                    permanently removed sheep habitat. Among the
         Disease is the primary management concern                  remaining 18 sheep, only one ram is known to have
   in this herd unit. In addition to the pneumonia die­             survived. As is typical following a pneumonia outbreak,
   off in the late 1950’s, lungworm has been a concern.             lamb survival remained depressed for a number of
   Antihelminthic treatment at bait sites has been ongoing          years. By 1989, the herd had increased enough to allow
   since 1974, and has eliminated die-offs and contributed          the removal of 26 sheep for a translocation. Since that
   to some increase in the population. Because of the               time, the herd has remained small, fluctuating between
   close proximity of these sheep to suburban Colorado              15 and 34 individuals. It has been relatively stable
   Springs, domestic sheep are not a potential disease              for the past 10 years and is currently estimated at 25
   factor in the herd unit. There are no nearby domestic            animals (Linstrom 2005b).
   sheep allotments on National Forest System lands and
   hobby flocks are rare. There is no specific disease                     The historic distribution of this herd extended
   monitoring currently in place in the Rampart Range               from the confluence of the north and south forks of the
   unit (Dreher 2005a).                                             South Platte River in the foothills southwest of Denver,
                                                                    to the mouth of Waterton Canyon near Denver Water’s
         Habitat quality and quantity within the unit               Kassler treatment facility (Linstrom 2005b). The herd
   are variable. Vegetation communities consist of                  may have once been part of a larger population that
   mountain shrub associated with mountain-mahogany                 extended all the way to Mt. Evans, but this has not
   (Cercocarpus ledifolius), pinyonyjuniper, ponderosa              been confirmed. Currently, the herd occupies an area
   pine, and some manmade habitats such as the reclaimed            from just above the Strontia Springs Dam to the mouth
   Queen’s Canyon Quarry and landscape plantings in                 of Waterton Canyon. Most of the sheep winter in the
   the Glen Eyrie and neighboring subdivisions. Later               lower canyon below Turkshead Peak and west of the
   stages of habitat succession have resulted in an                 river. Lambing areas are in the upper canyon above the
   increased area of pinyonyjuniper in the unit, which has          dam. Interaction with other bighorn herds is unlikely
   decreased visibility and the amount of available forage          (Linstrom 2005b).
   for bighorns. This is believed to be one major factor
   affecting the current distribution of the Rampart Herd;                 Disease continues to be a concern for this herd.
   water availability is another. Habitat manipulations             Lungworm larvae were found in many sheep that were
   could increase the carrying capacity of the herd unit,           necropsied from the 1980 pneumonia die-off, and have
   and in 2002, a project was initiated to remove oakbrush          been documented in several dead sheep since then.
   from a portion of land northeast of Queen’s Canyon               Sheep continue to be exposed to most of the same
   Quarry. A guzzler was placed in the Queen’s Canyon               stresses that were implicated in the die-off. In addition
   Quarry to offset a lack of available water in other areas        to pneumonia, West Nile Virus was suspected as the
   (Dreher 2005a).                                                  cause for two recent ram mortalities (Linstrom 2005b).

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          Despite the seriousness of the threat of disease,          Protection Agency ultimately denied the permit for this
   habitat quality is the biggest concern for this sheep             reservoir, the concept remains alive. There has recently
   herd. Construction of the Strontia Springs Dam in 1980            been construction activity in the lower part of the canyon
   resulted in the loss of habitat for the herd (Linstrom            during the breeding season, and more road maintenance
   2005b), permanently reducing the area’s carrying                  and construction are likely (Linstrom 2005b).
   capacity. Furthermore, the quality of remaining habitat
   has been declining due to oakbrush encroachment. In                      4) The indigenous Mt. Elbert Herd (Unit S66),
   addition, the South Platte River is the only significant          currently estimated at 75 sheep, has fluctuated greatly
   source of water in the area, so sheep are frequently              over the past several decades. A herd of unknown size
   forced to use the canyon bottom, which is heavily used            was reported in the unit in the 1940’s, 42 were reported
   by people for recreation. Consequently, it is unlikely            in 1956, and none were known to occupy the area in
   that the herd will ever return to the pre-dam population          1971 (Vayhinger 2005a). These variations in herd
   level of 75+ animals.                                             size and presence suggest the occurrence of periodic
                                                                     epizootics, but none have been documented. However,
         Artificial water sources installed at higher                the herd has been relatively stable over the past decade,
   elevations during construction of the dam rarely have             at between 60 and 75 sheep. Sheep appear to avoid
   enough water in them to be useful. Several prescribed             areas of high recreational use within the unit, such as
   burns and manual brush clearing were undertaken                   the climbing approaches to Mt. Elbert and Mt. Massive.
   during the mid-1980’s to improve visibility and forage.           During late summer and early fall, many rams from
   Periodic burning would benefit sheep by opening up                this herd also use ranges to the southwest in the White
   habitat between the lambing area around the dam and               River National Forest. Private lands also fall within the
   the winter range in the lower canyon (Linstrom 2005b),            typical winter range of most of the sheep, and could
   but for various reasons, no habitat improvement                   pose a threat to the herd if domestic sheep or goats are
   projects have been carried out for several years. The             grazed there.
   steepness of the canyon makes burning dangerous and
   costly, and other methods of treatment are less efficient.               5) The Buffalo Peaks Herd (Unit S12)
   Despite these concerns, habitat work may be necessary             is an indigenous population that has received two
   for the survival of this herd (Bailey et al. 1981 in              supplemental translocations (29 total sheep). Both
   Linstrom 2005b).                                                  translocations occurred in 1978 in an effort to replace
                                                                     a lost portion of the herd that historically undertook
         Other threats to the Waterton sheep are nearly as           altitudinal migrations to winter habitat (Vayhinger
   dire as disease and habitat issues. Recreational use of           2005b). This portion of the original herd was lost
   the canyon is high and is expected to remain so or to             subsequent to construction of a water pipeline through
   increase. Motor vehicle access has been restricted, but           those winter ranges in the mid 1960’s. Currently, a
   there have been numerous reports of sheep approaching             portion of the herd displays the original altitudinal
   people and being fed or petted. CDOW has started an               migration behavior, and the remainder of the herd
   education program to inform people of the problems                resides throughout the year at lower elevations near the
   with human/wildlife interaction in Waterton Canyon,               translocation release site.
   and signs have been posted to discourage feeding or
   approaching wildlife. Despite these efforts and others,                 The population size has been relatively stable
   such as hazing by CDOW personnel, people continue to              over the past decade and is currently estimated at
   interact directly with the sheep (Linstrom 2005b).                200 individuals (Vayhinger 2005b). However, the
                                                                     population size has historically fluctuated between 50
         Development, oil and gas exploration, and/or                (1971) and 200 (2005). An apparent disease-related die­
   construction are also major threats to this herd in               off occurred about 1958, leading to a rapid population
   the future. Strong public opposition to a proposed                decline in the succeeding years and cessation of hunting
   development in 1987 was due in large part to concern              between 1966 and 1976. Recreational use has affected
   for bighorn sheep, and it is likely that the public would         the behavior of this herd; sheep appear to avoid areas of
   also oppose any future proposals (Linstrom 2005b).                heavy hiker and mountain bike use near access routes
   Construction of more dams and roads is a potential                to the Buffalo Peaks, Mt. Bross, Mt. Lincoln, and Mt.
   problem for this sheep herd as well. For example,                 Democrat areas (Vayhinger 2005b).
   during the 1980’s the Denver Water Board proposed
   to build the Two Forks Reservoir at the upper extent                   6) The Marshall Pass Herd (Unit S20) is
   of the herd’s range. Although the U.S. Environmental              an indigenous population, ranging from 40 to 150
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   individuals between 1956 and 1992. Since 1992, the                bighorns within portions of the herd unit (Vitt 2005a).
   population has gradually decreased to the current                 Other management concerns include a unique proposal
   level of 75 individuals. No releases have occurred in             by an artist to construct a series of fabric curtains along
   the unit. There may be limited interchange with the               a stretch of the Arkansas River used by a portion of the
   Trickle Mountain herd to the south (Vayhinger 2005c).             herd. The pre-construction phase of the project would
   Lambing and summer ranges are entirely on National                take one year, followed by a 2-week viewing period
   Forest System lands in the San Isabel National Forest             attended by over a million people, and another year to
   but are not well defined. Sheep avoid heavily used                remove the infrastructure. This project, if undertaken,
   recreation areas along the Colorado Trail. This unit              would entail prolonged, disruptive human activity in an
   could support more sheep, with the limiting factor being          important area of seasonal bighorn concentration along
   available winter range. Winter ranges include some                the Arkansas River.
   lower slopes along Willow and Green creeks, but very
   little is known of the winter habits of this population                  8) The Pike’s Peak (Unit S6) and Dome
   (Vayhinger 2005c).                                                Rock herds (Unit S46) are functionally one sheep
                                                                     herd consisting of 275 to 375 sheep (Dreher 2005b).
          7) It is likely that the Grape Creek unit (Unit            Significant interchange has been documented through
   S49) in south-central Colorado was historic bighorn               sightings of sheep marked on Dome Rock being
   habitat, but the indigenous population was extirpated             observed on Pike’s Peak. In addition, numerous marked
   prior to the 1900’s by disease transmitted from                   Dome Rock sheep have been harvested on Pike’s
   domestic livestock and overhunting (Vitt 2005a). The              Peak. The herd was split into two management units in
   current Grape Creek Herd was initiated in the 1980’s              1984 for hunting purposes, with the Dome Rock Unit
   through four separate translocations: 20 sheep from               established as an archery unit. Both Pike’s Peak (1970­
   Trickle Mountain released in 1984, 20 sheep from the              1988; 67 sheep) and Dome Rock (1995-1999; 56 sheep)
   Tarryall Range released in 1985, 20 sheep from Pike’s             have served as source populations for translocations in
   Peak released in 1988, and an additional 20 sheep from            recent decades (Dreher 2005b).
   the Tarryalls released in the same year at a different
   location. The population flourished, growing to about                    Bear and Jones (1972) documented the historic
   290 individuals, and is currently estimated at 225.               distribution of the herd as all of the area on and
                                                                     surrounding Pikes Peak, the area to the west of Pike’s
          Sheep distribution is centered on three major              Peak including the vicinity around Dome Rock on
   areas (Hardscrabble Mountains, Grape Creek, and an                Fourmile Creek, and some ranges to the south of
   area adjacent to the Arkansas River), with other, smaller         Pike’s Peak. The current distribution of sheep does
   isolated pockets of sheep. Interchange with sheep in the          not differ from this historic account (Dreher 2005b).
   Arkansas River Herd (Unit S7) to the north is known               Sheep sign found in the summer of 2005 indicates
   to occur. This interchange primarily involves ram that            that sheep also use the Almagre Mountains to the
   cross the Arkansas River into Unit S7 during the rut and          southeast of Pike’s Peak. The overall range of the
   remain there through the end of the rut, returning to the         Pike’s Peak Herd includes alpine areas above 10,000
   Grape Creek Unit at the conclusion of rutting activity.           ft. on and surrounding Pike’s Peak. Concentration areas
   Some rams may have permanently remained in the                    for the Pike’s Peak portion of the herd include Sheep
   Arkansas River Unit. There is also likely interchange             Mountain, Sentinel Point, Bison Reservoir, the sheep
   with the Cotapaxi Herd (Unit S68) to the west and                 viewing area on the Pike’s Peak Highway, Bottomless
   possible interchange with the Sangre de Cristo (Unit              Pit, East and West forks of Beaver Creek, and Sachett
   S9) and Greenhorn (Unit S35) herds. However, large                Mountain (Dreher 2005b). Known lambing areas for
   expanses of timber separate these last two herds from             sheep in the unit include Sentinel Point and the rugged
   the Grape Creek Herd (Vitt 2005a).                                area northeast of Bison Reservoir. Concentration areas
                                                                     for the Dome Rock herd include Fourmile Creek, areas
          No die-offs have been documented within this herd          around Dome Rock, Cripple Creek Mountain Estates,
   since its reintroduction (Vitt 2005a). Fire suppression in        and Lost Canyon. In the Dome Rock unit, lambing
   the area since the 1950’s has caused a gradual decline in         areas include Dome Rock and the surrounding rock
   habitat quality, especially on winter ranges. It is hoped         formations. The specific migration corridor between
   that changes in the San Isabel National Forest’s fire             Pike’s Peak and Dome Rock is uncertain, but it is
   suppression policy will allow some naturally ignited              believed to exist along Oil Creek (Dreher 2005b). In the
   fires to burn and perhaps improve habitat quality for             process of migrating to the Dome Rock State Wildlife

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   Area, sheep must cross Highway 67, a potentially fatal           1976 with a translocation of 20 sheep from the Trickle
   undertaking that has resulted in occasional documented           Mountain Herd to the northern peak of Greenhorn
   mortalities (Dreher 2005b).                                      Mountain (Vitt 2005b). The population increased
                                                                    to about 85 animals following release, but slightly
          Disease, particularly Pasteurella pneumonia,              decreased to approximately 70 animals following severe
   is the primary management concern for both units.                snowfall events during the winters of 2003 and 2004.
   The first documented die-off of Pike’s Peak sheep                The herd is currently thought to be slowly increasing.
   occurred during 1952-53; it reduced the population               No die-offs have been documented since the herd was
   from 300 to about 35 animals (Bear and Jones 1973                re-established, but lungworm has been confirmed within
   in Dreher 2005b). A herd of domestic sheep on private            the population. Fenbendazole blocks have been placed
   land adjacent to Pike’s Peak was the likely cause (Bear          in several locations on Greenhorn Mountain, with only
   and Jones 1973 in Dreher 2005b). Subsequently, the               limited use by bighorns (Vitt 2005b).
   CDOW purchased property to create the Pike’s Peak
   State Wildlife Area, presumably to create an area free                 Sheep distribution within the unit is currently
   of domestic sheep. The second Pike’s Peak die-off, in            limited to the alpine areas of Greenhorn Mountain and
   the mid-1970’s, reduced the herd by approximately                burned areas on the east side, especially Apache Creek
   50 percent. From 1972 to 1990, wildlife managers                 (Vitt 2005b). During periods of extreme snowfall,
   successfully treated sheep on Pike’s Peak and on                 sheep prefer timbered cliffs along the east side of
   Dome Rock with antihelminthics (Schmidt et al. 1979              Greenhorn Mountain from the summit of the east
   in Dreher 2005b, Dreher 2005b). Although no active               peak to Bandito Cone near Gardner. Because of fire
   domestic sheep allotments are on public land in either           suppression since the 1950’s, habitat quality, especially
   unit, numerous landowners in the general vicinity run            of winter range, has gradually declined. Conifers have
   hobby flocks of sheep and goats, and these pose a threat         slowly encroached on movement corridors from alpine
   to bighorns in both units. Another potential concern             winter ranges to lower elevation winter ranges, causing
   within the herd units includes the increasing use of             a decrease in utilization of certain winter ranges within
   domestic goats as pack animals. There is no specific             the unit (Vitt 2005b). Sheep have started to forgo
   disease monitoring occurring in either herd unit.                migration to lower elevation winter ranges and instead
                                                                    are choosing to remain in alpine areas during winter.
         The habitat quality in the Pike’s Peak unit is             Currently, bighorns use the North Apache Creek burn
   generally good, but late successional stages characterize        heavily, suggesting that the use of prescribed fire or the
   much of the habitat within the Dome Rock unit. This has          adoption of a more liberal let-burn policy would benefit
   resulted in reduced visibility and decreased amounts of          the Greenhorn herd.
   forage, making much of the Dome Rock unit unusable
   to bighorns. Habitat manipulations that set conditions                  There may be limited, although undocumented,
   back to earlier successional stages would benefit                interchange between the Greenhorn, Mt. Maestas, and
   bighorns in this unit (Dreher 2005b).                            Huerfano herds (Vitt 2005b). The area between the
                                                                    Greenhorn and Mt. Maestas herds is not very suitable
          Other management concerns include the recent              for movement between herds, but it does contain patches
   large increase in recreational use, including off-highway        of lower tree density, along with scattered escape cover
   vehicles, hiking, horseback riding, and domestic dogs            that could facilitate long distance movements between
   frequenting sheep range, primarily within the Pike’s             the two areas. Portions of the Mt. Maestas herd winter
   Peak unit. Because most of the Pike’s Peak unit lies             in the Black Hills area approximately 8 miles from
   within federal land, development and the associated              Bandito Cone within the Greenhorn unit. Although open
   fragmentation of habitat are not of great concern.               prairie with pinyon-juniper breaks and canyons separate
   However, much of the land surrounding the Dome Rock              the Greenhorn and Huerfano herds, the mountains that
   unit is private, and has been or likely will be developed        comprise the Huerfano unit are directly to the west,
   in the future, posing a significant threat to the Dome           and it is possible that dispersing animals have come in
   Rock bighorns.                                                   contact with each other (Vitt 2005b).

         9) As with many other areas in Colorado,                         10) The Sangre de Cristo Herd unit (Unit
   bighorn sheep were probably found in the Greenhorn               S9) encompasses portions of two national forests, the
   unit (Unit S35) prior to European settlement, but were           Rio Grande and San Isabel, in the Sangre de Cristo
   extirpated before the 20th century due to disease and            Mountains. Unlike many others within the state, this
   overhunting. The population was re-established in                herd was never extirpated, but probably did suffer
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   declines prior to the 20th century due to competition             Most of the herd ranges throughout the Trinchera Creek
   with and possible disease transmitted from domestic               drainage on the Forbes Ranch, but it is also connected
   livestock, and over-hunting. A rapid decline occurred             to the Culebra Herd unit (Unit S51) east of the southern
   in the 1960’s and 70’s that was attributed to Pasteurella/        end of the Sangre de Cristo Mountains. No information
   lungworm complex (Vitt 2005c), but few other disease              regarding disease outbreaks or domestic sheep grazing
   outbreaks have been observed. The herd was one of the             was available to the authors.
   largest in Colorado historically, and continues to be so
   today, with a current estimate of 400 individuals. Only                  13) The Culebra Herd (Unit S51) is an
   one recorded translocation into the unit has occurred;            introduced herd that has received many translocations.
   Bailey (1990 in Vitt 2005c) reported that 14 (1 ram,              The initial translocation involved releasing an unknown
   7 ewes, and 6 lambs) sheep from the Tarryall Range                number of sheep from an unknown source onto the
   were released to supplement the existing herd in 1945.            Spanish Peaks State Wildlife Area. The bighorns
   Historically and presently, the population has been               promptly moved and established a small herd in
   centered on three areas: Medano Pass, Sand Creek,                 Mauricio Canyon west of Aguilar (Vitt 2005d). Three
   and the area between Kit Carson and Horn peaks (Vitt              additional translocations from 1984 to 1989 involved
   2005c). Some interchange may occur with the Huerfano              releasing 65 bighorns into different areas throughout
   bighorns (Unit S8) in the southern Sangre de Cristo               the herd unit. The source populations for these
   range, but interchange with any other bighorn herds               sheep were the Queen’s Canyon Quarry (20 sheep),
   is unlikely. Because of the remoteness of the habitat,            Georgetown (20 sheep), and the Almont Triangle (25
   sheep have not been treated with Fenbendazol (Vitt                sheep). Some of the sheep from these translocation
   2005c). No information was provided regarding the                 efforts did not remain near their release sites, but the
   threat of domestic sheep grazing in the area.                     population within the herd unit has done well and its
                                                                     currently increasing population is estimated at about
         Habitat quality is becoming an increasing concern           250 individuals (Vitt 2005d).
   within the herd unit. Since the 1950’s, fire suppression
   has detrimentally affected habitat quality, particularly                Sheep inhabit the West Peak of the Spanish Peaks
   winter range (Vitt 2005c). Conifer encroachment into              and the Culebra range of the Sangre de Cristo Mountains
   migration corridors has caused a decrease in utilization          from Stateline Peak on the New Mexico State line north
   of certain wintering areas, and some sheep no longer              to Napoleon Peak (Vitt 2005d). Summer range for
   migrate to lower elevation winter ranges. As with other           this herd is alpine meadows and associated timberline
   herd units, increasing human recreation has become a              habitat, while winter range includes the 14,000 ft.
   management concern. Individual drainages within the               summit of Culebra Mountain to the cliffs and aspen-
   area routinely see as many as 85 recreationalists per day         covered mountainsides around North Lake. Sheep from
   during peak times.                                                West Peak also winter from above timberline to the
                                                                     volcanic dikes that radiate out from the summit, to the
          11) The Huerfano Herd (Unit S8) occupies the               lower elevation hillsides near La Veta (Vitt 2005d).
   southern end of the Sangre de Cristo Mountains, and it
   likely forms a metapopulation with the Sangre de Cristo                 Interchange with other sheep herds has been
   and Costilla bighorn herds. The Huerfano Herd has                 documented through observations of reintroduced
   been relatively productive although six to eight dead             animals in other herd units shortly after being
   sheep were documented in the late summer of 2005                  transplanted into the region. Most of the interchange has
   (Wait 2005a). Some of these deaths may have been due              been with the Mt. Maestas Herd, with several bighorns
   to lightning strikes. The herd is currently estimated at          from three different translocations leaving the Culebra
   65 individuals. No information regarding disease or               Herd and becoming established there (Vitt 2005d). In
   domestic sheep was available to the authors.                      addition, because both the Culebra and Costilla sheep
                                                                     share the same mountain range, there is interchange
         12) The Costilla Herd (Unit S65) is not located             between these two herds. Another potential area of
   on USFS land, but is adjacent to the San Isabel National          interchange is with the Huerfano Herd (Unit S8), but
   Forest. This herd may have been created by a transplant           an expanse of timbered habitat provides a barrier to
   of 34 bighorns from British Columbia onto the Forbes              movement between these units (Vitt 2005d).
   Ranch in 1990, or that transplant might have been
   an augmentation to existing herds in the area (Wait                    Public access to this herd for hunting is restricted
   2005a). In either case, the Costilla Herd has been quite          because of the extensive private holdings within
   productive and is currently estimated at about 400 sheep.         the unit. In addition, there is the serious threat of
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   Pasteurella pneumonia exposure and related die-offs             Grande national forests. See Gunnison National Forest
   because recent court rulings allow the reintroduction of        section for a discussion of this herd unit.
   domestic sheep into the Cielo Vista ranch (Vitt 2005d).
   Monitoring of fecal lungworm loads within the herd                    4) The Alamosa Canyon and Conejos herds
   began in the summer of 2005, but CDOW has not yet               (Units S29 and S30, respectively) would likely serve as
   received results of this study (Vitt 2005d).                    a metapopulation along with the Blanco River/Navajo
                                                                   Herd, but exposure to domestic sheep is probably the
         Other management concerns include development             limiting factor keeping them segregated in isolated
   in the Cordova Pass area, where expected increases              herds (Wait 2005a). The Conejos Herd, estimated at
   in development will likely curtail or even prevent              about 75 sheep, is in jeopardy of exposure to domestic
   interchange between the West Spanish Peak sub-herd              sheep throughout the Conejos drainage. There have
   and other sub-herds within the unit (Vitt 2005d).               been no documented die-offs in the Conejos Herd, but
   In addition, because public land is restricted within           the Alamosa Canyon Herd did experience a die-off in
   the herd unit, it is expected that increases in human           the late 1980’s/early 1990’s. The Alamosa Canyon
   recreational activities such as mountain climbing will          Herd, estimated currently at about 35 sheep, has had
   negatively affect bighorns in publicly owned areas              extensive exposure to domestic sheep grazing in the
   inhabited by sheep.                                             Alamosa and Conejos River basins (Wait 2005a). While
                                                                   these herd units contain vast areas of very good bighorn
         Habitat quality is generally very good within             habitat, they will probably continue to be limited by
   the herd unit, but increasing bighorn sheep and elk             exposure to domestic sheep grazing (Wait 2005a).
   populations are producing negative impacts. The elk
   population in this unit is 4,000 animals over objective,        San Juan National Forest: 5 herds
   and the limited bighorn harvest has led to concerns
   of overpopulation (Vitt 2005d). Fifty years of fire                     1) The Vallecito Creek Herd (Unit S28) is a
   suppression has also caused a slow decline in the               native herd currently comprised of about 125 bighorns;
   quality of winter range. Resulting conifer encroachment         this is larger than it has been in most of its recorded past
   in migration corridors from high to low elevation winter        (there were an estimated 30 to 50 sheep in both 1973
   ranges may decrease utilization of certain winter ranges        and 1988). The only recorded translocation into the
   within the unit, with some sheep foregoing migration to         herd occurred in 1988 and involved 20 sheep from the
   lower elevation winter ranges altogether (Vitt 2005d).          Snowmass unit. This translocation was undertaken to
                                                                   increase the genetic diversity and vigor of the herd, but
   Rio Grande National Forest: 4 herds                             it was considered unsuccessful based on the subsequent
                                                                   performance of the herd (Wait 2005b). No interchange
         1) The Natural Arch Herd (Unit S55),                      with other bighorn herds exists.
   currently estimated at 20 individuals, has been in
   continued decline over the past several years, likely                  Domestic sheep were commonly grazed and
   due to chronic exposure to diseases from domestic               trailed through this herd unit until 1990, and this may
   sheep (Wait 2005a). Lamb recruitment is very low,               have resulted in the translocation failure. At that time,
   and the future of the herd looks bleak. Hunting was             a conflict between domestic and bighorn sheep was
   closed within the unit in 2006 because hunters have             recognized, and the USFS changed the allotments
   not been successful in finding legal rams and have              from domestic sheep to cattle and horse grazing.
   reported no observations of bighorns in the past few            Pasteurella has not been isolated from any of the
   years (Wait 2005a).                                             sheep within the unit (Wait 2005b). Recreational use
                                                                   and development are thought to be minimal threats to
         2) The Bristol Head Herd (Unit S53a) is                   this herd (Wait 2005b).
   currently a stagnant herd estimated at 50 individuals.
   This herd faces probable contact with domestic sheep,                 Vallecito Creek bighorns use two distinct habitat
   but this has not been conclusively documented (Wait             types. Most of the herd winters at lower elevations
   2005a). The sheep within this unit were probably once           characterized by scattered trees within large rocky
   part of a larger population with surrounding herds, but         outcrops, where reduced sight distances may be a
   no interchange currently occurs.                                constraint for sheep by increasing their vulnerability to
                                                                   predators. This area also appears to serve as lambing
        3) The Pole Mountain/Upper Lake Fork                       habitat. Other sheep use the alpine areas year round;
   Herd (Unit S33) occurs in both the Gunnison and Rio             however, extreme snowfall events in alpine areas
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   dramatically limit the availability of habitat in some            of domestic stock has since been eliminated (Wait
   winters (Wait 2005b).                                             2005e). The east side of the Continental Divide is still
                                                                     open to domestic sheep grazing and is regularly grazed,
         2) The Cimmarona/Hossick Herd (Unit                         creating the potential for contact between bighorn and
   S16) is a native herd, currently estimated at about               domestic sheep. The herd is currently estimated at 100
   100 to 125 individuals and experiencing reasonable                to 125 individuals.
   lamb production and recruitment (Wait 2005c). It has
   expanded from the 30 to 40 sheep found in the herd                       5) The Animas Canyon Herd (no herd unit
   from 1944 to 1970 (Bear and Jones 1973 in Wait                    designation) was established with animals translocated
   2005c). This herd is isolated from other bighorn herds,           from the Georgetown Herd in 2000 and 2002-2003.
   and no records of translocations into or out of this herd         The population is currently estimated at 70 animals,
   are known (Wait 2005c).                                           and reproduction and survival have been good in each
                                                                     year since then (Wait 2005a). Sheep use the entire
         Disease, particularly Pasteurella, is a moderate            Animas Canyon from Rockwood up to Needle Creek,
   concern for this herd (Wait 2005c), but it has not                with primary summer range being the Twilight/West
   been isolated from any sheep. Domestic sheep were                 Needles area, and primary winter and lambing range in
   commonly grazed and trailed through this bighorn                  the Animas Canyon from Rockwood up to the Cascade
   herd until 1991, when the allotment was changed from              Wye. Immediately after release, two bighorns dispersed
   domestic sheep to cattle and horses. All grazing of               into the Cow Creek herd unit, where one was hit by a car
   domestic stock has since been eliminated (Wait 2005c).            and killed, and the other joined the Cow Creek animals.
                                                                     Based on ear tag observations, several sheep dispersed
          Most habitats within the unit are in good                  into the Lake Fork/Pole Mountain herd, and six or seven
   or excellent condition. Winter range is somewhat                  sheep moved into the Hermosa Cliffs area, where they
   restricted, particularly following big snowfalls (Wait            have remained and have produced lambs every year
   2005c). Frequent avalanches appear to maintain access             (Wait 2005a).
   into the Williams Creek drainage, which may have
   allowed recent expansion into this area. Recreational             Gunnison National Forest: 8 herds
   activity, development, and habitat fragmentation are not
   major threats to this herd, primarily due to the steep and               1) The Taylor River Herd (Unit S26)
   remote terrain.                                                   historically included two independent sheep herds, the
                                                                     Taylor River and Fossil Ridge herds. Based on seasonal
          3) The history and status of the Sheep                     habitat use and migration patterns, CDOW recognized
   Mountain Herd (Unit S15) are nearly identical to                  that these two herds were independent of one another
   those of the Cimmarona/Hossick Herd described above.              and divided them into separate management units (Units
   Domestic sheep were commonly grazed and trailed                   S26 and S70) beginning in 2006. There are various
   through this herd unit until the mid 1970’s in the Sheep          bighorn sheep herds residing within close proximity
   Mountain area and until 1991 in the Turkey Creek and              to the Taylor River herd, including S11, S13, S54, and
   Deadman areas. The allotments were then changed from              for 2006, S70. Although exchange is now rare between
   domestic sheep to cattle and horses, and then grazing             these herds, it is possible that they once formed a larger
   of all domestic stock was eliminated (Wait 2005d). The            metapopulation. Due to several factors, however, the
   herd is currently estimated at 100 to 125 individuals.            lack of sufficient connectivity does not currently permit
                                                                     significant exchange between different herds.
          4) The history and status of the Blanco River/
   Navajo Herd (Unit S31) are nearly identical to those                    The Taylor River herd is comprised of
   of the Cimmarona/Hossick and Sheep Mountain herds                 approximately 75 animals (Diamond 2005a), down
   described above. The biggest difference is that disease,          from a recent high of about 131 animals in the late
   particularly Pasteurella pneumonia, is a relatively               1990’s. Within the past 3 to 4 years, the herd has
   high management concern for this unit (Wait 2005e).               experienced very poor lamb recruitment, which has led
   Domestic sheep were commonly grazed and trailed                   to the population decline. This herd has experienced
   through this herd unit until the mid 1970’s in the Fish           at least three significant die-offs over the last 40
   Lake area and until 1989 in the Elwood Pass area. At              years: 1961, winter 1978-79, and winter 1991-92.
   that time, a conflict between domestic and wild sheep             The most severe die-off occurred during 1978-79,
   was recognized, and the allotments were changed from              when the population declined by an estimated 75 to
   domestic sheep to cattle and horse grazing. All grazing           80 percent. These die-offs have been attributed to
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   three primary factors: stress, competition for limited           Taylor River Herd for management purposes, but as of
   winter forage, and lungworm parasitism. Stress factors           2006, it is managed as a separate herd. This herd was
   include severe winters, drought, human disturbance,              initiated in the winter of 1992 with a translocation of
   or years where sheep experience unusually high                   20 bighorns from the Trickle Mountain Herd, and it
   lungworm burdens. Prolonged periods of high stress               is currently estimated to contain 60 individuals. Lamb
   may predispose bighorn sheep to infection by various             recruitment has been moderate during most years
   disease pathogens. Recent analysis of the average                but has recently declined and may lead to an overall
   maximum sustained cortisol concentration (AMSCC)                 population decrease. Winter range is extremely limited
   in the Taylor River bighorns indicated that this herd            for this population and may represent a bottleneck
   may have been subject to high stress levels. AMSCC               (Diamond 2005b). As mentioned earlier, there is
   values were obtained from Taylor bighorns on at least            little interchange between the Fossil Ridge Herd and
   six different occasions, and with the exception of 1988,         surrounding bighorn herds.
   AMSCC values indicate a highly stressed herd during
   all years sampled (Diamond 2005a).                                      3) The West Elk and Dillon Mesa herds are
                                                                    distinct herds but comprise one herd unit for management
          Cambendazole and Fenbendazole have been                   purposes (Unit S54) (Diamond 2005b). The indigenous
   administered to Taylor River sheep on bait stations since        West Elk population inhabits the alpine habitats within
   the late 1970’s (Diamond 2005a) with the intention of            the West Elk Wilderness, and the translocated Dillon
   minimizing lungworm burdens and reducing the risk of             Mesa population generally inhabits the area north of
   pneumonia infection. Medical treatment at bait stations          Blue Mesa Reservoir at lower elevations.
   has been the subject of considerable debate among
   wildlife researchers because it is generally not possible               The West Elk sheep remain in alpine habitats year­
   to administer the appropriate dosage to each individual          round, but some exchange is suspected with the Dillon
   animal. Costs are high for medication and maintaining a          Mesa population, particularly between ram groups.
   bait station, and there are concerns about concentrating         Historically, the West Elk Herd probably inhabited
   bighorns at bait sites because it may foment the spread          a much larger area than it does currently. The West
   of disease. Although the Taylor River bighorn herd has           Elk bighorn herd has experienced regular population
   not been medicated in recent years, CDOW intends to              fluctuations common to many other bighorn herds
   distribute Fenbendazole blocks throughout winter and             within Colorado, but it has demonstrated remarkable
   transitional ranges in 2006. These medicated blocks              resiliency over the last century. The herd appears to have
   may provide some relief from lungworm parasitism                 declined by about 50 percent over the last 10 years and
   while minimizing concentration at a single bait site             conservatively consists of 50 to 60 animals today. This
   (Diamond 2005a).                                                 herd has never received a transplant nor been used as a
                                                                    source herd (Diamond 2005b). Stress factors including
          Habitat quality in the herd unit is considered            winter severity, forage quality, and lungworm burden
   good. The unit contains reasonably large blocks of               have all likely exerted an influence over annual survival
   habitat with decent connectivity between seasonal                and recruitment rates in this population (Diamond
   ranges. Summer forage conditions in high-elevation               2005b). It is unknown whether these herds are likely to
   alpine habitats are excellent, and critical, lower               encounter domestic sheep.
   elevation winter ranges provide a diversity of forage
   and escape terrain. However, heavy winter browsing by                   Bighorns were likely indigenous in the area
   ungulates has likely reduced plant vigor, and therefore,         currently inhabited by the Dillon Mesa population, but
   forage quality may not currently be optimal. Conifer             they were extirpated following European settlement.
   encroachment and an increase in cheatgrass are of                Reintroduction efforts began in the 1970’s with the
   concern in the Almont Triangle area, presenting another          release of 25 sheep from the Trickle Mountain herd.
   management concern on already limited winter ranges.             This was followed in 1977 by the augmentation of
   Plant community succession, particularly on transitional         an additional 19 sheep from Pike’s Peak. The initial
   ranges, is also of concern in this unit (Diamond 2005a).         population flourished but experienced a catastrophic
   Other significant concerns facing this herd include              die-off during the severe winter of 1983-84. Twenty-
   increased recreational use and development in critical           five additional sheep were translocated during 1996
   transition ranges.                                               and 2000 to supplement the dwindling herd. Since
                                                                    that time, lamb recruitment has been poor during most
        2) The Fossil Ridge Herd (Unit S70), as                     years, with stress and disease suspected as the primary
   mentioned previously, was formerly included with the             limiting factors (Diamond 2005b). Highway 50 has
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   been a significant mortality source for this population,         drainage. Some records indicate that bighorns in these
   with numerous documented road-kills. Efforts (i.e.,              two units were essentially one herd (Diamond 2005c).
   guzzler installation, salt blocks) to keep sheep off the         It is probable that what are currently designated as
   highway have been largely unsuccessful. This herd                two distinct herd units historically made up one larger
   exhibits seasonal movement between suitable habitats,            population, which was fragmented following population
   and some exchange of rams with the West Elk bighorns             reductions that occurred during European settlement.
   is suspected in the upper reaches of West Elk Creek              There are three bighorn sheep herds residing within
   (Diamond 2005b).                                                 close proximity to the San Luis Unit: the Rock Creek
                                                                    (Cebolla) Herd primarily occupies Cebolla Creek and
          4) The Lower Cochetopa Canyon Herd                        adjacent drainages that lie to the north, and the Bellows
   (Unit S69) originated from two translocations in 1995            Creek and Bristol Head herds reside to the south
   and 1996 of 32 sheep from the Taylor River Herd.                 and southeast of the San Luis unit. It is possible that
   Translocated animals initially flourished, but lamb              these areas once sustained a large, freely exchanging
   recruitment has been poor since the early 2000’s. The            population. However, no regular interaction has been
   Lower Cochetopa Canyon population is currently                   documented during recent years (Diamond 2005c).
   estimated at 55 animals. Sizeable tracts of habitat exist
   throughout the canyon; however, drought, road-kill,                     San Luis sheep often spend the entire year in
   disease, and predation appear to hinder the vigor of             alpine habitats, but some migrate to lower elevations
   this herd. Fenbendazole blocks have been periodically            during winter. Sheep that remain in the alpine during
   distributed throughout Cochetopa Canyon, but it                  winter utilize slopes with southern aspects and
   is difficult to assess their level of effectiveness in           windblown ridges where forage is available, while
   preventing disease (Diamond 2005b). The herd prefers             those that migrate to lower elevations use the broken
   to range within close proximity to Cochetopa Canyon,             terrain available in the lower reaches of the Spring
   which provides escape terrain (Diamond 2005b);                   Creek drainage (Diamond 2005c). Historically, sizeable
   therefore, interchange with other bighorns herds is              groups of rams migrated from the high country into
   likely limited.                                                  the Cebolla Creek drainage during winter where they
                                                                    would undoubtedly encounter sheep from the Cebolla
          5) The Trickle Mountain Herd unit (Unit                   Creek population. However, the Cebolla Creek Herd
   S10) encompasses area in both the Gunnison and Rio               experienced a significant Pasteurella related die-off
   Grande national forests. This unit was once one of               in the early 1990’s (Diamond 2005c). Subsequently,
   the most productive herds in Colorado and a source               large groups of rams were no longer observed in
   for translocation stock for many other herds (Wait               the Cebolla drainage. It is likely that ewe and lamb
   2005a). The herd numbered as many as 400 to 500 in               groups also historically migrated in the Cebolla Creek
   1993 but suffered a catastrophic die-off in 1993-94.             drainage during winter; however, recent monitoring
   The population subsequently crashed to the current               indicates that sheep from the San Luis no longer use
   number of about 50, and it has exhibited very low lamb           the Cebolla Creek drainage during any time of the
   recruitment ever since. Domestic sheep were grazed on            year (Diamond 2005c).
   the edge of bighorn range in 1993 and were the likely
   the source of exposure to disease. The specific disease                 Domestic sheep allotments are still active in
   that led to the die-off was never positively identified          portions of the unit, and domestics were observed
   (Wait 2005a). There are no currently active domestic             during the summer of 2005 in very close proximity
   sheep allotments within this herd unit.                          to bighorns. Without significant modifications to the
                                                                    existing grazing regime and/or closure of specific
          6) Bighorns within the San Luis Peak Herd                 allotments within bighorn range, future die-offs are
   unit (Unit S22) are a native population that was                 likely. No disease monitoring has ever occurred in the
   never extirpated (Diamond 2005c). The current                    San Luis unit, nor have the sheep ever been treated with
   population estimate is 80, and there have never been             Fenbendazole (Diamond 2005c).
   any translocations into or out of the herd. The herd
   is centered close to the La Garita Wilderness and                      Large blocks of quality habitat exist throughout
   surrounding areas, which are considered to constitute            the San Luis unit, with good connectivity between
   critical bighorn habitat. Historically, there was overlap        seasonal ranges (Diamond 2005c). High-elevation
   between the lower elevation winter ranges of San Luis            alpine habitats provide excellent forage during the
   sheep and the overall range of the Cebolla Creek/Rock            summer months and are interspersed with cliffs and
   Creek Herd (Unit S52) inhabiting the Cebolla Creek               rocky outcrops critical for lambing and escape. At lower
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   elevations, broken, south and west facing slopes provide           survey in 1988, three of four radio-collared sheep were
   additional winter ranges complete with abundant forage             found dead in different locations throughout the unit,
   and escape terrain (Diamond 2005c). The primary                    suggesting that a widespread die-off had occurred. At
   habitat concern in this unit is conifer encroachment,              least five bands of domestic sheep were seen across
   especially in lower elevation winter ranges.                       the unit during the survey. Hunting was reinstated
                                                                      within the unit in 2006, with a harvest quota of 2 rams.
          Another potential threat to the overall health of           Domestic sheep grazing has historically occurred
   the San Luis Herd is increased recreation. Bighorn                 throughout the herd unit, and four allotments are
   sheep show strong fidelity to certain areas within the             currently active. Continued domestic sheep grazing is a
   unit, and the potential for conflict will escalate as human        primary concern to managers, as some active allotments
   recreational use increases. There is a significant amount          are situated on the boundary between the Lake Fork
   of off-highway vehicle use year-round to the south of              and the Cow Creek herd units, posing a severe risk
   the La Garita Wilderness, and snowmobile disturbance               of disease transmission to bighorns in both herds. No
   during winter months is of concern to wildlife managers            specific disease monitoring has occurred in the Lake
   (Diamond 2005c).                                                   Fork Herd unit, and the herd has never been treated
                                                                      with Fenbendazole. CDOW attempted to trap sheep in
          7) Occurring in both the Gunnison and Rio                   the Lake Fork unit during the winter of 2005-2006 to
   Grande national forests, the Pole Mountain/Upper                   obtain biological samples for disease testing, but was
   Lake Fork Herd (Unit S33) is likely an indigenous                  unsuccessful due to interference by elk at the bait site
   herd that received two small supplemental transplants              (Diamond personal communication 2007).
   totaling five sheep in 1987. Three of these translocated
   animals were from the Trickle Mountain Herd, and two                      Habitat quality in the unit is excellent. Large
   were from the San Luis area (Diamond 2005d). The                   blocks of high quality habitat are distributed throughout
   herd currently numbers about 60 animals, but because               the unit, with good connectivity between seasonal
   the unit contains large expanses of suitable bighorn               ranges (Diamond 2005d). Summer ranges include alpine
   habitat, it may have supported a larger herd in the past.          habitats containing excellent forage and juxtaposed
   Historically, there were three sub-populations within              with cliffs and rocky outcrops that provide critical
   the unit, described as the Pole Mountain, Lake Fork,               lambing and escape terrain. At lower elevations, broken,
   and Henson Creek sub-herds. Sheep still inhabit these              south-facing slopes provide critical winter range with
   traditional areas, occupying alpine habitats year-round,           abundant forage and escape terrain (Diamond 2005d).
   but typically concentrating above tree line after winter           Plant community succession is of concern, particularly
   snows have receded and new forage becomes available.               on winter ranges. Conifer encroachment, particularly in
   During winter, many of these sheep migrate to lower                traditional bighorn use areas, will become an increasing
   elevations in the broken, south-facing slopes available            threat if not addressed through management action. In
   of the Lake Fork and Henson Creek drainages. Sheep                 addition, large herds of elk and deer inhabiting this unit
   have also been observed below Rio Grande Reservoir                 could cause competition for space and resources, but
   during the winter months.                                          this is not now considered a limiting factor for bighorns
                                                                      (Diamond 2005d).
           The San Luis Peak (S22) and Bristol Head herd
   units (S53) are situated to the east of the Lake Fork                     Other concerns for the Lake Fork Herd include
   Herd across Highway 149, the Cow Creek (S21) Herd is               increased recreational use. Hiking, biking, camping,
   immediately adjacent to the northwest, and the Animas              hunting, fishing, wildlife watching, cross-country
   Canyon Herd resides immediately to the southwest of                skiing, and off-highway vehicle use are some of the
   the unit. Although undocumented at this time, there                activities taking place in the herd unit. Although much
   may be periodic interchange with units S22, S53, but               of the area is remote, bighorns in the unit tend to show
   it is likely minimal due to large, intervening expanses            a strong fidelity to certain areas, creating the potential
   of forest. Exchange with the Animas Canyon Herd                    for conflict as human use escalates in those areas. Areas
   has been documented, and exchange with animals in                  of particular concern are along the Alpine Loop west of
   Cow Creek is likely based on their proximity and the               Lake City, and the Lake Fork drainage above Lake San
   availability of movement corridors (Diamond 2005d).                Cristobal, where continuous recreational disturbance
                                                                      could lead to displacement of sheep into suboptimal
         An apparent die-off occurred in the late 1980’s,             habitats. In addition, development is considered a great
   causing a population decline that prompted the closure             threat to resident sheep in certain areas. Much of the
   of hunting in 1991 (Diamond 2005d). During an aerial               private land above Lake San Cristobal is continuously
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   being developed. Construction near the river bottom and            the Ouray population and the potential spread of disease.
   on the north side of the valley is occurring in areas used         The first translocation occurred in 1983 and involved 19
   by bighorns during the winter months, and decreasing               sheep being relocated to the Bristol Head Herd, while
   winter range availability may represent a potential                the second occurred in 1985, with 20 sheep moved
   bottleneck for herd productivity (Diamond 2005d).                  to Brown’s Canyon. The single translocation into the
                                                                      Ouray Herd occurred in 1992, when 21 bighorns from
         8) The Rock Creek Herd (Unit S52) is likely                  the Georgetown Herd were released into Cutler Creek
   indigenous and represented an extension of the San                 (Banulis 2005).
   Luis Peak sheep herd (Diamond 2005b). A translocation
   in 1977 was “intended to increase the distribution                       Mining development within the herd unit
   and population of bighorn sheep adjacent to existing               began in the late 1800’s. Prior to this time, bighorns
   concentrations” (Bear 1977 in Diamond 2005b). This                 wintered throughout the area currently occupied by
   translocation initially did quite well, and the Rock Creek         the town of Ouray and on benches in the Uncompahgre
   Herd was soon used as a source herd for transplant                 Valley between Ouray and Ridgeway (Banulis 2005).
   stock. The herd then suffered a severe die-off during              As development increased, the herd’s winter range
   1989-1990 that was believed to have also affected                  decreased. The Ouray-Cow Creek Herd currently
   the San Luis population. Additional translocations                 winters in significantly smaller patches of habitat within
   were carried out in 2002 to supplement the declining               the same area as they did historically. Current wintering
   population. The herd is currently estimated at only 20             areas include benches along the Uncompahgre River
   to 25 animals, and it primarily inhabits the Cebolla               Valley near Ouray downstream to Dexter Creek, Cutler
   and Rock Creek drainages southeast of the town of                  Creek, and to East Baldy Peak. Many sheep also winter
   Powderhorn (Diamond 2005b).                                        above 9,000 ft. in areas that are open, south-facing
                                                                      slopes in close proximity to rugged volcanic tuft
         Large tracts of habitat exist within the herd                outcrops (Banulis 2005). Historic summer distribution
   unit, but chronically low levels of lamb recruitment               probably occurred in the areas that are currently used,
   apparently hinder population growth (Diamond                       and included the upper elevations of the Cimarron, Cow
   2005b). During 2002, three bighorn ewe carcasses                   Creek, and Uncompahgre River drainages (Banulis
   were discovered; these animals had apparently died                 2005). Historically, the Sneffles Range west of Ouray
   of pneumonia (Mannheimia hemolytica). In addition,                 was probably used much more extensively as summer
   Bovine Viral Diarrhea Virus (BVDV) was isolated from               range than it is now.
   the lung tissue of one of these ewes. Disease is likely the
   greatest limiting factor for this herd (Diamond 2005b).                  There is possible interchange between Ouray
                                                                      bighorns and sheep in the Lake Fork (Unit S33) and/
   Uncompahgre National Forest: 1 herd                                or Animas herds (Banulis 2005). Two radio-collared
                                                                      sheep from the Animas Herd have been located within
          The Ouray-Cow Creek Herd (Unit S21) is                      the Ouray/Cow Creek Herd unit in association with
   somewhat unique in Colorado as it is one of the few                Ouray bighorns. If these herds increase, it could lead
   remaining indigenous herds (Banulis 2005). In the                  to increased exchange of individuals, especially of
   early 1900’s, this herd was estimated at about 1,000               dispersing juveniles (Banulis 2005).
   individuals. The first drastic decline in the herd
   occurred in 1923, when mining activity and housing                       Disease, particularly Pasteurella pneumonia, is
   development reduced critical winter range, and disease             the primary management concern for the Ouray/Cow
   from domestic livestock infected the herd. The size                Creek Herd. Pasteurella and lungworm were determined
   of the herd remained depressed over the next several               to be the causes for a drastic population decline during
   decades, estimated at 150 to 200 in the late 1970’s                the early 1980’s. Similar occurrences prior to the 1980’s
   (Banulis 2005). In 1983, lungworm and pneumonia                    have also been recorded (Banulis 2005). To deal with
   were the likely causes of low lamb recruitment and                 the disease threat from 1979 to 1985, bighorns were
   another population crash to about 40 animals four years            trapped and treated for lungworm with Fenbendazole,
   later. The herd gradually increased to about 80 by the             then released within the Ouray area to reduce lungworm
   mid 1990’s, and contains 100 head currently.                       loads and to minimize the potential for a Pasteurella
                                                                      die-off. As mentioned previously, 39 sheep were also
        Three translocations have been associated with                trapped and transplanted out of the Ouray herd to reduce
   the Ouray Herd. Two of these were out of the herd and              the population and winter concentrations in an attempt
   were conducted with the primary purpose of reducing                to minimize the spread of lungworm and Pasteurella.
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   Fenbendazole blocks were occasionally distributed in               impact of this operation on sheep in the herd unit is
   wintering areas during the 1980’s and 1990’s (Banulis              unknown but could be significant.
   2005). Currently, there is no specific disease monitoring
   occurring within the herd unit, other than necropsy and            Other herds in Colorado on or near National
   testing of animals that are hit by cars (Banulis 2005).            Forest System land: 7 herds
   Several domestic sheep allotments occur within the
   Ouray/Cow Creek Herd unit. Although most allotments                      1) The Apishapa Herd (Unit S38) was initiated
   have not been active in recent years, there has been a             in 1977 with a translocation of 25 sheep from the Upper
   growing interest in restocking these allotments.                   Poudre River Herd. An additional four rams from the
                                                                      Collegiate North Herd were released into the unit
          Habitat quality within the unit is considered good.         in 1990 (Vitt 2005e). The population subsequently
   The rough terrain provides necessary escape cover, and             increased to 100 individuals by 1984, declined to about
   forage quantity and quality generally appear adequate.             40 by 1988, and has since held at about 80 animals.
   The primary habitat concerns in this unit are the loss
   of disturbance-free wintering areas, increases in spruce                 Bighorns inhabit the main and side canyons of
   and oak brush, and availability of suitable forage due             the Apishapa River Canyon, from the Cross Canyons/
   to competition with domestic livestock (Banulis 2005).             Apishapa River junction downstream to South Canyon.
   Wintering sheep are now restricted to small benches                Lambing areas are located upstream of the confluence
   that are undeveloped or developed in low densities.                of Jones Lake Canyon and the Apishapa River. Rams
   These are increasingly threatened by ongoing fire                  are found in South Canyon during the non-breeding
   suppression, which has allowed oak-brush stands to                 season and move to the Apishapa State Wildlife
   dominate formerly suitable sheep habitat. In 1989, 800             Area during the breeding season. There is likely no
   acres of oak scrubland were burned to increase available           interchange with other bighorn herds, as considerable
   bighorn habitat, and fertilization treatments to improve           expanses of short grass prairie separate this population
   forage vigor have been conducted. Competition with                 from others (Vitt 2005e).
   domestic livestock has been a concern for at least 70 to
   80 years, when accounts of district rangers noted that                   The threat of disease to bighorns in this unit
   large portions of the area were not suitable for bighorns          is mostly unknown. No large die-offs have been
   because of domestic livestock grazing. Declining                   reported, and fecal lungworm loads were evaluated
   numbers of domestic livestock have likely reduced                  once (at an unknown time) and found to be very low
   competition in recent years; however, competition with             (Vitt 2005e). Habitat quality has remained good since
   other wildlife species, particularly elk, could be a threat        sheep reintroduction, but continued fire suppression and
   to bighorns as both deer and elk densities are moderate            noxious weed invasions may reduce habitat quality in
   to high within the herd unit (Banulis 2005).                       the future. Human recreation and development are not
                                                                      of concern to sheep in this unit (Vitt 2005e).
          Other management concerns for this herd include
   increased recreational use. Increasing numbers of                        2) The Purgatoire Canyon Herd (Unit S61)
   hikers, dogs, horseback riders, off-highway vehicle                was initiated in 1982 with the translocation of 17
   and 4x4 enthusiasts, and mountain bikers are a major               bighorns from the Never Summer Range in Rocky
   threat to the continued persistence of the Ouray/Cow               Mountain National Park into the Purgatoire River
   Creek bighorns. The greatest concern is disturbance                Canyon. A subsequent translocation was made in 1986
   by recreationalists and domestic dogs during winter                using 20 sheep from the Collegiate North Herd, which
   months when bighorns are concentrated and stressed                 were released into Chacuaco Canyon, a major tributary
   (Banulis 2005). Traditional bighorn wintering areas                canyon of the Purgatoire. The herd increased to an
   occur on private land, which faces heavy development               estimated 240 individuals by 1996 and has remained at
   pressure. In addition, Highway 550 poses a significant             about that level up until the present (Yost 2005a).
   threat to bighorn sheep during seasonal movements,
   and a few sheep are killed in vehicle collisions each                    Bighorns are distributed throughout much of the
   year. Although mining activity in the area has decreased           main Purgatoire and Chacuaco canyons. The greatest
   significantly within the last 20 years, a new gold mining          numbers occur on the south side of the Purgatoire, with
   operation is planned in the Uncompahgre Wilderness in              many small bands of sheep inhabiting side canyons
   the West Fork of the Cimarron drainage (Banulis 2005).             such as Bruno, Tobe, and Poitrey (Yost 2005a). The
   Equipment, personnel, and ore will be transported to               Pinyon Canyon Military Reservation on the north side
   and from the mine using daily helicopter flights. The              of the Purgatoire River also supports good numbers of
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   sheep. Because of the low elevation of this herd unit,            and have revealed no evidence of lungworm (Yost
   sheep make minimal or no seasonal movements. For                  2005b). There is, however, potential competition and
   several years, bighorns have been absent from portions            definite interaction with cattle and horses throughout
   of the canyon near the Comanche National Grassland                the herd’s range.
   and Army property boundary. However, recent reports
   from landowners indicate that sheep are beginning to                    Habitat quality is considered fair. Steep canyon
   return to this area. It is not known why they disappeared         walls and rocky outcroppings provide adequate escape
   for several years, but lungworm is suspected (Yost                cover. Forage quantity and quality are sufficient but
   2005a). In 2000, sheep hunters reported numerous                  could be improved with the use of fire (Yost 2005b).
   sheep with severe coughing and poor body condition,               As with the Purgatoire Herd, tamarisk and conifer
   and one sheep was harvested that exhibited symptoms               encroachment threatens much of the area, but this
   of pneumonia. However, lung tissue samples from the               could be remedied through mechanical means or fire.
   ram indicated that lesions on the tissue were caused by a         Up to 35 bighorns are known to use dry-land rye fields
   lungworm infestation. There have been no other disease            frequently in Cottonwood Canyon and West Carrizo.
   concerns, nor is there any specific disease monitoring            Due to the remoteness of the area, human recreation
   occurring within the herd unit (Yost 2005a). No                   and development are not considered concerns at this
   interchange with other bighorn herds is thought to occur          time (Yost 2005b).
   due to several miles of shortgrass prairie between the
   Purgatoire sheep and the nearest bighorns in the Carrizo                 4) The Mt. Maestas Herd (Unit S64) was
   (S48) and Apishapa (S38) units.                                   started in the early 1980’s when a bighorn ram
                                                                     (believed to be from the Greenhorn Mountain herd)
          Habitat quality within the unit is considered good.        was spotted chasing cattle in a rancher’s field in the
   High, rocky canyon walls provide excellent escape                 Mt. Maestas area. Two ewes from the Rampart Range
   cover, and the diverse vegetation offers quality forage           herd were released to capture his interest. From 1983­
   (Yost 2005a). Nevertheless, Yost (2005a) suggested                1990, 18 additional bighorns from various sources
   that burning could further improve forage quality.                were released in the area. Since then, the population
   Tamarisk (Tamarix parv,flora) is encroaching in some              increased to over 200 animals by 1994, then decreased
   of the drainages, and Pinyon-juniper has encroached               dramatically when a Pasteurella related die-off
   over much of the area; both are situations that could be          occurred. The herd is currently estimated at 100 to
   remedied through mechanical treatment or fire. Human              125 individuals (Vitt 2005f).
   recreation and development are not of concern to sheep
   in this unit (Yost 2005a).                                              Sheep in the Plum Spring area were observed
                                                                     coughing in 1994, and numerous (26) dead sheep
          3) Twenty bighorn sheep from the Collegiate                were found during a flight and ground searches in
   Range were translocated to private property at the                1995 (Vitt 2005f). A baiting program, using apple pulp
   confluence of Cottonwood and Carrizo creeks in                    laced with Fenbendazole, was started at that time and
   1980, initiating the Carrizo Creek Herd (Unit S48).               has continued on an annual basis. Baiting operations
   The herd doubled in size by 1985 (Yost 2005b) and                 have been continued past the initial die-off to address
   has stabilized at about 50 individuals since the early            the problem of trans-placental migration of lungworm
   1990’s. Current bighorn distribution is centered in               larvae to the fetus. Animals have been trapped and
   the West Carrizo Creek area (Yost 2005b). Breeding                relocated twice after the die-off, with reported die-offs
   generally occurs on or near the Mizer rye fields, with            occurring in the transplanted areas after release (Vitt
   lambing occurring in the canyons above. Since the                 2005f). Hobby flocks of domestic sheep are located
   highest mesa tops are less than 1,830 m (6,000 ft.), no           within the winter range of this population, and there
   significant seasonal movement occurs between seasonal             is one known domestic goat herd two miles from
   ranges (Yost 2005b). There is no interchange with other           bighorn winter range within the Black Hills. Because of
   bighorn herds because expanses of unsuitable habitat              persistent threat of disease transmission from domestic
   separate this herd from other herds.                              sheep and goats, disease will continue to be a major
                                                                     management concern for the Mt. Maestas Herd.
         Disease is not a major concern for the Carrizo
   sheep (Yost 2005b) since there are no domestic sheep                    During summer, sheep inhabit the slopes of
   on or near the area occupied by the herd. While there is          Silver Mountain and Mt. Maestas, and move to lower
   no specific disease monitoring program within the unit,           elevations where winter range is located along the
   fecal samples have been collected on several occasions            numerous volcanic dikes from east of Silver Mountain
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   to the Black Hills east of Yellowstone Road in Huerfano                   6) The Lower Lake Fork/Sapinero Mesa
   County (Vitt 20051). It is unknown if sheep historically           Herd (no herd unit designation) is a small population
   inhabited the Mt. Maestas area. It is possible that                that was initiated with two translocations in 1970
   interchange occurs with the Greenhorn population,                  (Pike’s Peak source stock) and 1975 (Trickle Mountain
   but the intervening habitat is not very conducive to               source stock). Twenty-two sheep were released in the
   movements between the two herds. However, there are                Sapinero Mesa area adjacent to the lower Lake Fork of
   corridors with a lower tree density and scattered escape           the Gunnison River canyon (Diamond 2005b). Although
   cover that would facilitate long distance movements                large expanses of habitat exist in the lower Lake Fork
   down the east side of Greenhorn Mountain (Vitt                     drainage from Gateview to Blue Mesa Reservoir,
   2005f). It is more likely that there is interchange with           this herd has remained stagnant since reintroduction.
   the Huerfano Herd since less than 10 air miles of open             A herd of 20 sheep was observed in the lower Lake
   prairie with pinyon/juniper breaks and canyons separate            Fork During into the early 1990’s, but group sizes that
   the winter ranges of these two herds (Vitt 2005f).                 large have not been seen since. The herd is currently
                                                                      estimated at less than 10 individuals (Diamond 2005b).
         Decades of fire suppression have detrimentally               Young sheep have been observed in the unit, but herd
   affected bighorn habitat quality within the unit.                  size indicates mortality is offsetting recruitment. It is
   Conifers are encroaching upon lower elevation habitat,             likely that this small population is hindered by a variety
   especially on the winter range. In addition, a parcel of           of factors including disease, drought, habitat capability,
   BLM land utilized as a lambing area is slowly declining            and/or predation (Diamond 2005b).
   in quality. Plans are being developed to improve these
   habitats using prescribed burns (Vitt 2005f). Because                     7) The Mesa Verde Herd (no herd unit
   the herd is found on private lands or public lands                 designation) was created by a single translocation of
   that are landlocked within private holdings, human                 Rocky Mountain bighorns in the 1970’s, but it has
   recreational activities are not a major threat to the herd.        struggled since then (Wait 2005a). Some sheep are still
   However, development on some private lands in the                  present and use the area where Mesa Verde National
   area threatens sheep, especially by the presence of an             Park abuts the Ute Mountain Reservation. Cliff habitat
   increased number of free-roaming domestic dogs.                    is present, but this was extensively forested until recent
                                                                      wildfires in 1999. Habitat conditions were improved
          5) The Pueblo Reservoir Herd (no herd unit                  subsequent to these fires, but there are no plans to
   designation) is a small herd (always less than 30) that            augment the population (Wait 2005a). Wait (2005a)
   resulted from a translocation of 20 sheep from the                 suggested that this area might be more suitable to desert
   Tarryall Range to the Hardscrabble Creek area in 1988              bighorn sheep than Rocky Mountain bighorns.
   (Vitt 2005g). The herd has not prospered and is now
   estimated at only 12 to 18 individuals. Currently, sheep           Wyoming
   are distributed from the Pueblo Reservoir State Wildlife
   Area west to the Portland cement plant near Florence,                     Both Rocky Mountain and Audubon’s subspecies,
   primarily on the south side of the Arkansas River (Vitt            if substantiated by DNA technology, were historically
   2005g). There is possible exchange with the Grape                  found in Wyoming. Only Rocky Mountain bighorns
   Creek Herd located 10 miles to the west.                           are present today, estimated at approximately 6,000
                                                                      individuals statewide (Hurley personal communication
          Although habitat quality within the herd’s range            2006). Eight core native herds, representing over 90
   is good to excellent, the population is comprised                  percent of Wyoming’s wild sheep, occur in the Absaroka,
   of older age classes, as lamb recruitment has been                 Teton, Gros Ventre, and Wind River mountains (Hurley
   chronically low. Only one lamb has been recruited into             personal communication 2005). Bighorns are found
   the population during the past 2 years. The magnitude of           in nearly all national forests in Wyoming, and within
   the threat of disease to this herd is unknown, but contact         Yellowstone National Park. The Wyoming Game and
   with domestic sheep and goats is possible (Vitt 2005g).            Fish Department (WGFD) divided the state into 16 herd
   There are few recreational impacts to this herd because            units, which are further divided into 19 Hunt Areas for
   it is located mostly on private land and in areas away             management purposes (Appendix B). These herd units
   from Pueblo Reservoir, which gets the most recreational            do not necessarily reflect biologically discrete sheep
   utilization. Year-round use areas are located within a             herds, but are artifacts of the management scheme.
   proposed subdivision, but the development schedule                 Because of the organization of this management
   is unknown. If constructed, the subdivision could force            scheme, information regarding bighorn sheep within
   sheep out of traditional use areas (Vitt 2005g).                   Wyoming was primarily available in the herd unit format
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   or hunt area format, and is treated in a similar manner                  2) The Trout Peak Herd (Hunt Area 2) is
   in the following discussion. Bighorn sheep provide an             currently stable at an estimated 435 individuals, 42
   important resource for hunters within Wyoming, and                percent below the population objective of 750. No
   unless otherwise specified, herd units have limited               large die-offs due to disease or other factors have
   hunting permits generally for rams only. Most of the              occurred. Until recently, this herd unit has not been
   following population estimates and trend data were                consistently surveyed for population estimates, mainly
   taken from WGFD Job Completion Reports produced                   due to budget constraints, the steep, rugged nature of the
   in 2003. WGFD personnel derived population and trend              terrain, and other priorities. WGFD recognizes the need
   estimates using the POPII modeling program.                       to implement a more systematic and consistent survey
                                                                     protocol for this herd. To this end, WGFD carried out
   Shoshone National Forest: 5 herds                                 a comprehensive aerial classification and trend count
                                                                     survey in April 2003, and another classification survey
          The Shoshone National Forest has the largest               in April 2004. Continuation of this effort is planned
   number of bighorn sheep of any forest in the system,              on at least a bi-annual basis, which should produce
   with some 4,000 of the estimated 6,000 sheep statewide            more consistent and accurate data for population
   occurring on the forest (Hurley personal communication            monitoring. During the past five years, prescribed
   2006). Herd Units 1-5 are not isolated from one another,          burns have been carried out and will continue to be
   and natural interchange between adjacent units is                 implemented to remove conifers that have encroached
   thought to be greater than 10 percent (McWhirter                  into wintering habitat (McWhirter 2004b). A total of
   personal communication 2006). If interchange falls                2,000 acres will eventually be treated. Movement of
   below the 10 percent threshold, WGFD considers the                sheep between seasonal habitats is not impaired, and
   relevant herd units to be isolated from one another               as part of the Northfork Highway Reconstruction, a
   and functioning as discrete biological herds. WGFD                640-acre easement was purchased on the lower North
   recognizes the importance of maintaining connectivity             Fork Shoshone River in 2004 that will secure habitat
   between these herd units so that they continue to                 for bighorn sheep (McWhirter 2004b). The likelihood
   function as an effective metapopulation. Herd Units 1-4           of encounters with domestic sheep is unknown.
   all border Yellowstone National Park.
                                                                           3) The Wapiti Ridge Herd (Hunt Area 3) is
          1) The Clark’s Fork Herd (Hunt Area 1) is                  the third largest bighorn herd in the state, estimated
   currently estimated at 425 individuals, somewhat below            at 1,040 individuals. The size of this herd is at the
   the management objective of 500. However, the herd is             management objective, and population growth is static.
   healthy, and growth is stable to slightly increasing. This        This herd is considered very healthy, and the hunt unit
   is an interstate population, with portions of the herd            has a reputation among bighorn sheep hunters as an
   unit sharing seasonal ranges in Wyoming and Montana,              excellent area. Although scabies, mange, and soremouth
   including Yellowstone National Park. However, the                 have been documented in the population, there have
   majority of sheep reside in Wyoming in the Absaroka               been no large die-offs from any cause in the past 20
   Range west of the Clark’s Fork River, while the                   to 30 years. Habitat improvement projects on winter
   Beartooth Plateau in Montana contributes 15 percent               range in both the South Fork and North Fork Shoshone
   to 20 percent of the range (McWhirter 2004a). In 1995,            River drainages have alleviated some of the concerns
   the northern portion of the herd suffered significant             expressed for this herd in the past (McWhirter 2003c).
   mortality due to a severe spring snowstorm. There                 A 6,900-acre wildfire in the Blackwater Creek drainage
   have been no significant die-offs related to disease even         in 2003 should also improve some sheep ranges by
   though domestic sheep have been grazed on allotments              increasing visibility and providing increased forage.
   within or adjacent to this herd unit for several decades.
   However, due to the risk posed by domestic sheep, a                      4) The Younts Peak Herd (Hunt Area
   permittee was moved to the Bighorn National Forest                4), currently estimated at 909 individuals, is at the
   in 2002, eliminating a major concern for herd welfare.            management objective of 900 individuals. No major
   Movements between seasonal ranges are not currently               barriers exist to movement between seasonal ranges.
   impaired, but highway development in the Rock Creek               The majority of sheep winter at elevations above 9,500
   Drainage in Montana and near the state line could                 ft. inside the Washakie and Teton wilderness areas.
   become a problem if traffic volumes increase in the               Consequently, limited opportunity exists to improve
   future (McWhirter personal communication 2006).                   sheep habitats, with the lone exception of low elevation



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   winter ranges located along the upper South Fork of the                Opportunity exists to repopulate historic bighorn
   Shoshone River between Deer Creek and Cabin Creek                sheep habitat in the upper reaches of the North Fork
   (McWhirter 2004d). The Shoshone National Forest                  Owl Creek drainage, which would aid in expansion
   has conducted several small, prescribed burns in the             of the Francs Peak Herd and increase recreational
   past few years, and a wildfire burned 80 acres near the          opportunities. Because of the high quality habitat
   Cabin Creek trailhead in May 2000. A primary habitat             available, the chances of a successful transplant are
   concern is invasive weeds; over 2,400 acres of the upper         good. Although a proposal to relocate sheep to the
   South Fork winter ranges in both Hunt Areas 3 and 4 are          North Fork Owl Creek was floated in the mid 1990’s,
   infested with Dalmatian toadflax (Linaria dalmatica),            the WGFD voluntarily stayed the implementation of the
   a noxious weed. Mechanical, chemical, and biological             project due to an appeal by an oil company and concerns
   control methods have been implemented to control this            from several landowners (Kroger 2004). However,
   invasive species. A new chemical herbicide (Plateau)             WGFD plans to continue working toward a transplant
   appears to be effective in controlling Dalmatian                 of sheep into the North Fork of Owl Creek. Cooperation
   toadflax, and Shoshone National Forest has increased             between WGFD and the Shoshone National Forest,
   its control efforts using this herbicide, even within            BLM, and private landowners in the project area will
   designated wilderness areas (McWhirter 2004d).                   be essential.

          5) The Francs Peak Herd unit includes                     Caribou-Targhee National Forest: 1 herd
   WGFD Hunt Areas 5 (Francs Peak) and 22 (Dubois                   [Adjacent herd in USFS Region 4]
   Badlands), as well as the Owl Creek Mountains
   in the northern portion of the Wind River Indian                        The Targhee Herd unit (Hunt Area 6) is the
   Reservation (WRIR). This is the largest herd in the              fifth and final unit that borders Yellowstone National
   state, currently estimated at 1,404 individuals, slightly        Park. While growth is currently stable in this herd
   above the management target of 1,360. Densities vary             unit, the estimated 100 sheep is 20 percent below the
   across the herd unit. In Hunt Area 5, much of the                management objective of 125. The overall distribution
   occupied habitat occurs in alpine areas of the Wood              of sheep in this unit is restricted to the Teton Range in
   River, Greybull River, and Wiggins Fork drainages,               western Teton County. Currently occupied habitat is
   as well as Carter Mountain (Kroger 2004). In Hunt                along the crest of the Teton Range and some canyons
   Area 22, a number of sheep occupy the badlands north             in Grand Teton National Park, with some seasonal
   of the Wind River, as well as Black and Dennison                 movements onto Targhee National Forest (Brimeyer
   mountains, with some sheep spending considerable                 2004a). Bighorns historically used lower elevation
   time on irrigated meadows on the Fish Ranch. In                  spring and winter ranges in Teton, Darby, Fox, and
   the Owl Creek Mountains on the north end of the                  Phillips canyons, as well as the Bitch Creek drainage.
   WRIR, at least 200 bighorns are found year round                 However, the current confinement of bighorns to high
   above 9,500 ft., with many wintering above 11,000 ft.            elevation ranges is a concern for WGFD biologists
   Movement between seasonal habitats is not impaired.              (Brimeyer personal communication 2005). Movements
                                                                    between preferred seasonal habitats have been impaired
         In general, habitat conditions in the Francs               or eliminated due to many factors, including housing
   Peak herd unit are thought to be good to very good.              development, past domestic livestock grazing, plant
   Although opportunities do exist for prescribed burning           succession, hunting, and predation.
   on bighorn sheep habitat on the Wood River, Francs
   Fork, and the Owl Creek Mountains, the majority of the                  Conflicts with domestic sheep have historically
   herd unit is designated wilderness, thus limiting habitat        been a problem for the Targhee Herd. In 2001, the
   improvement opportunities (Kroger 2004). Initial                 herd suffered a 40 percent die-off, potentially due
   evaluations and planning for prescribed burning outside          to contact with domestic sheep. Fortunately, many
   the wilderness have recently been conducted.                     domestic sheep allotments have been closed within the
                                                                    past five years. Beginning in 2004, there were no more
         Limited livestock grazing occurs throughout                active domestic sheep allotments north of Highway
   much of this herd’s occupied habitat. The Shoshone               22 in the Teton Range. It is hoped that the retirement
   National Forest has converted several domestic sheep             of these allotments will sharply reduce or eliminate
   allotments to cattle allotments over the past several            the threat of disease transmission (Brimeyer personal
   years, and this has significantly reduced the potential          communication 2005).
   for transmission of diseases and improved forage
   availability for bighorns.
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          Another major concern for this herd is its relative         has been hypothesized that lambs lacked several trace
   isolation from other bighorn herds. The Targhee Herd               minerals in their diet (Anderson 2004).
   is below the 10 percent level of exchange and functions
   as a discrete herd rather than as an integral part of a                  Mioncyzinski (2003) examined relative trace
   larger regional population or metapopulation. The best             mineral deficiencies in lambs on summer range,
   opportunity for gene flow between herds occurs on                  but the results were somewhat inconclusive; trace
   low elevation range at the southern end of the Tetons,             mineral deficiency may be a periodic problem, but it
   where sheep from the Targhee and Jackson herds have                did not appear to be a chronic issue. Efforts to reduce
   intermingled on three documented occasions (Brimeyer               a potential deficiency included providing mineral
   personal communication 2005).                                      blocks on summer range, but several years of mineral
                                                                      supplementation have not remedied the problem
         The most recent recommendations from                         (Anderson 2004). A 3-year predator control program,
   WGFD include initiating a prescribed fire program                  consisting primarily of coyote gunning and trapping,
   to improve winter habitat conditions by reducing                   was initiated in 2003. Although not an experimental
   conifer encroachment in historic sheep habitat. In                 study, this effort may reduce predation pressure on
   addition, because all domestic sheep allotments                    lambs. This bighorn population will continue to decline
   have been eliminated, bighorn translocations may be                if lamb recruitment remains low.
   considered to repopulate historic winter ranges on
   the Targhee National Forest. It will be essential to                      While the Whiskey Mountain unit has historically
   enforce winter recreation regulations in these areas               contained a large number of sheep, the level of
   if translocations or natural repopulation is to be                 individual interchange with other herd units is low,
   successful (Brimeyer 2004a).                                       very likely less than 10 percent (Anderson personal
                                                                      communication 2006). The Highway 26 corridor, which
   Bridger-Teton and Shoshone National Forest: 4                      is the dividing line between the Whisky Mountain Herd
   herds                                                              and units to the north, consists of fairly unsuitable sheep
                                                                      habitat, which limits interchange. Some exchange may
          1) The Whiskey Mountain Herd (consisting                    occur between sheep from Hunt Areas 9 and 22, as
   of Hunt Areas 8, 9, 10, and 23), similar to the Jackson            sheep from the two units are known to co-mingle, but
   Herd, has undergone a large population decrease and                any interchange is probably limited (Anderson personal
   remains in decline. Accurate population estimates                  communication 2006). Because of the low incidence
   have been problematic due to poor population model                 of herd unit interchange, the Whiskey Mountain Herd
   performance (Anderson 2004), but a conservative                    functions more as a discrete population rather than an
   estimate puts the population at 650 animals, well below            integral part of a larger metapopulation.
   a pre-disease high of 1,700 (in 1990) and management
   objective of 1,350. Population modeling has accurately                   Movements between seasonal habitats within
   tracked the overall population trend, and whatever the             the herd unit are not greatly impaired. However,
   true population size, it is believed to be the lowest in           the lack of widespread suitable escape cover has
   over 20 years. Reasons for this decline are two-fold: 1)           tended to concentrate sheep on limited winter ranges,
   the population crashed following a pneumonia outbreak              leading to over-utilization of forage in these areas,
   during 1990-91, and 2) average lamb recruitment                    especially during drought years (Anderson personal
   declined precipitously during subsequent years and has             communication 2006). Habitat improvement projects
   remained low ever since (Anderson 2004). Pre-disease               such as prescribed burns have been conducted over the
   lamb recruitment averaged greater than 30 lambs per                past few years to help alleviate this problem.
   100 ewes, but has averaged only 21 per 100 during
   1994-2003, with a low of 10 per 100 in 2002 (Anderson                     The current risk of disease transmission from
   2004). Studies have been initiated to determine the                domestic sheep is thought to be minimal. Most of the
   potential cause of low lamb recruitment, but none                  currently occupied bighorn range in this unit consists
   has provided a conclusive explanation (Mioncyzinski                of designated Wilderness, where domestic sheep
   2003). Adult ewes are reproducing normally, but lamb:              grazing is not permitted. There is an active domestic
   ewe ratios are much higher during early summer when                sheep allotment on the east side of Hunt Area 23,
   compared to those observed in December. This suggests              but the probability of co-mingling with bighorns is
   that lamb mortality is very high in the interim, and is the        low (Anderson personal communication 2006). The
   likely barrier to recruitment. Circumstantial evidence             risk from hobby flocks is also small, as their number
   points to late July as the critical time period, and it            is small and there are few areas where bighorns and
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   domestic sheep could be sympatric (Anderson personal              individuals. Little is known about the herd due to
   communication 2006).                                              allocation of personnel and management resources
                                                                     to other herds of greater priority (Harter personal
         2) The Darby Mountain Herd (Hunt Area                       communication 2006). The distribution of bighorns
   24) is an introduced population, currently stable at              within the unit is scattered, with known wintering areas
   55 individuals, but 70 percent below the management               in the North Fork of the Popo Agie River, Sinks Canyon,
   objective of 150. The native population was extirpated            and the Little Popo Agie River. There is thought to be
   in the early 1960’s due to competition with domestic              little, if any, interchange with bighorns in the Whiskey
   sheep and illegal harvest. Intrastate translocations              Mountain or Wind River Indian Reservation populations.
   from the Whiskey Basin (near Dubois) to Fish Creek                In 1992, the herd suffered a pneumonia die-off, and has
   Mountain occurred in 1981 and 1987, using 35 and                  experienced low lamb recruitment ever since. Even
   25 sheep, respectively (Fralick 2004). Domestic sheep             prior to the die-off, the herd was not thought to be very
   were removed from allotments on Fish Creek and                    productive. Because there are no plans to retire active
   Darby Mountain prior to reintroduction. Since being               domestic sheep allotments within the herd unit, the herd
   established, this herd has generally remained smaller             will continue to face the threat of disease transmission
   than 100 individuals (Fralick personal communication              from domestic sheep (Harter personal communication
   2005), with an estimated maximum of 150 in 1994.                  2006). Consequently, there are currently no plans for
   During 1994-1997, this herd experienced a slow but                translocations into the Temple Peak Herd, nor any
   steady decline (Fralick 2004), with a probable die-off            specific management efforts planned for this herd,
   occurring sometime during the period; trend counts                other than opportunistic monitoring (Harter personal
   in 1997 and 1998 revealed approximately 40 sheep                  communication 2006).
   each year. The most likely cause of this decline was
   a disease outbreak resulting from transmission from                     4) The Jackson Herd (Hunt Area 7) is one of
   domestic sheep. Other contributing factors may have               the few herds whose population trend is decreasing.
   included natural winter mortality and poor winter                 There are an estimated 318 sheep in the herd, 36 percent
   forage conditions.                                                below the management target of 500. As late as 2001,
                                                                     the Jackson Herd was well above 500 animals and was
         A primary concern in this herd unit is the                  therefore identified as a source for translocation stock.
   continued contact between domestic and bighorn sheep              Because of the decline, testing for presence or absence
   on summer ranges (Fralick 2004). Bighorns have been               of certain disease agents and parasites was undertaken,
   observed on active domestic sheep allotments, and                 funded by grants from the Wyoming Chapter of the
   domestic sheep have trespassed onto closed allotments             Foundation for North American Wild Sheep (FNAWS).
   over the past several years. Other concerns include the           Tests revealed the presence of numerous pathogens
   lack of suitable escape cover on low elevation winter             (Pasteurella trehalosi, Mannheimia haemolytica,
   ranges (Fralick personal communication 2005).                     Arcanobacterium pyogenes, and Streptococcus spp.) as
                                                                     well as external (Psoroptes spp. ear mites) and internal
          Unlike most other bighorn herds in the western             (Eimeria spp. and Protostrongylus spp. lungworm
   part of the state, Darby Mountain is almost completely            larvae) parasites (Brimeyer 2004b). Testing continued
   isolated from other bighorn herds. There could be                 through early 2003, over which time WGFD documented
   genetic/individual interchange with the Jackson Herd              130 mortalities. Due to this disease outbreak (a specific
   to the north, but if so, it is likely at a very low level         causative agent was not identified), field observations
   and has not been conclusively documented (Fralick                 on low elevation winter range (Gros Ventre, Flat Creek,
   personal communication 2005). Because the Darby                   Curtis Canyon, and Miller Butte areas) revealed 40
   Mountain Herd is small and isolated, has a history of             percent mortality across the herd unit, and mortality
   disease-related die-offs, and continues to face the threat        as high as 60 percent in some localized wintering areas
   of disease transmission from domestic sheep, it is very           (Brimeyer 2004b). The southeastern corner of this herd
   vulnerable to precipitous disease-related population              unit still has an active domestic sheep allotment that
   declines and/or extirpation. This herd has not been               will remain a disease threat into the future, a concern
   hunted for nine years due to an insufficient number of            for the ongoing management of the herd (Brimeyer
   legal rams.                                                       personal communication 2005). This herd is no longer
                                                                     considered a source for translocation animals.
        3) The Temple Peak Herd (Hunt Area 11)
   is an indigenous population of the Bridger-Teton                        The Jackson Herd is not as isolated from other
   and Shoshone national forests estimated at 30 to 40               herds as the Targhee, with more opportunity for gene
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   flow with herds to the north. Seasonal movements                  communication 2006). Therefore, habitat improvement
   are not greatly impaired. There is good opportunity               projects are in the planning stages for selected areas
   for down-drainage movement, allowing utilization of               currently in use, including prescribed burns to reduce
   higher quality low-elevation wintering sites, but there           decadent sagebrush stands and juniper encroachment
   is also potential competition with elk on these sites             and development of water sources.
   (Brimeyer personal communication 2005).
                                                                           This herd is isolated from other bighorn herds
   Bighorn National Forest: 1 herd                                   within Wyoming; therefore, no natural interchange
                                                                     should be expected, and it will not naturally function
         In 1973, 39 sheep from the Whiskey Mountain                 as part of a larger metapopulation within the state. If,
   Herd were translocated to BLM-administered lands                  however, the population grows as expected, it could
   in the Devil’s Canyon Herd unit (Hunt Area 12),                   become a source for translocations.
   where they joined bighorns within the Bighorn Canyon
   Recreation Area in Montana. This remnant population               Medicine Bow National Forest: 3 herds
   persisted and was estimated at about 50 individuals in
   2003. In 2004, 20 bighorns from the Deschutes River                     All bighorn sheep on the Medicine Bow National
   in Oregon were translocated to BLM land within the                Forest have been reintroduced, and are currently
   herd unit. This source population was chosen because              designated a species of local concern on the Medicine
   of its propensity for earlier lambing, a characteristic           Bow National Forest.
   that was believed to provide an advantage in the
   environmental conditions found in the Devil’s Canyon                    1) The Douglas Creek Herd (Hunt Area
   Herd Unit (Easterly personal communication 2006).                 18) occupies the Snowy Range, where native bighorn
   In 2006, an additional 20 bighorns from the Missouri              populations were extirpated around 1900 (Guenzel
   River Breaks near Havre, Montana were translocated                2004a). The translocation history within the herd unit
   to the same area as the 2004 release, bringing the total          has included four separate attempts: an unsuccessful
   estimated herd size to 110. These sheep were also                 attempt in 1929, a successful translocation of 28 and 13
   known to show a propensity for early lambing and                  sheep to two separate areas in 1970, and augmentations
   were chosen as a source population largely for that               of six and 16 sheep in 1989 and 1990, respectively.
   reason. Personnel from WGFD expect that the present               Following the initial successful reintroduction, the
   herd will likely increase and potentially become a                herd increased rapidly over the next seven years to 200
   source for future translocations (Easterly personal               individuals, but it has steadily declined ever since. The
   communication 2006).                                              herd, currently estimated at about 100 individuals, is
                                                                     stagnant or decreasing, and is far below the management
         These sheep were translocated to BLM land rather            objective of 350 (Guenzel 2004a).
   than the nearby Bighorn National Forest because of the
   active domestic sheep allotments found on the forest                     Several factors have contributed to the poor
   (Easterly personal communication 2006). There are                 performance of this herd. Foremost among these was
   no plans to vacate these allotments, which are utilized           the reintroduction of bighorn sheep onto low-elevation
   by the permittee that was moved from the Shoshone                 winter range. Consequently, these animals did not
   National Forest to the Bighorn in order to protect a core,        develop a strong propensity for seasonal migration
   native bighorn heard in the Beartooth Range (Hurley               to higher elevation summer ranges containing lush
   personal communication 2006). It is possible that a               forage. In addition, conifer encroachment into formerly
   few bighorn sheep, especially rams, from the remnant              suitable open habitat has effectively eliminated
   population in the Bighorn Canyon Recreation Area have             potential migration routes between winter and summer
   occasionally used areas on the Bighorn National Forest            ranges, and restricted escape cover to isolated patches.
   in past years, and there is an ongoing investigation of           Competition for forage with elk and mule deer on
   the movements of these sheep via a radio-telemetry                winter ranges, and with cattle on certain high quality
   study (Hurley personal communication 2006).                       lambing ranges, has also been detrimental to this herd
                                                                     (Guenzel 2004a).
         Based on the first two years of observation
   following the initial translocation, it appears as if                   The other primary limiting factor for this herd has
   the newly introduced herd does not undertake large                been the nearly constant threat of disease transmission
   seasonal movements, which was characteristic of                   Irom domestic sheep. Although sheep grazing allotments
   their original source populations (Easterly personal              in the Snowy Range have been vacant since 1997,
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   livestock operators could apply for permits to graze             in the short term, but it should not be expected to persist
   them at any time. Several hobby flocks also occur within         nor contribute to the long-term conservation of bighorn
   or adjacent to the herd unit (Guenzel 2004a). Because of         sheep on the Medicine Bow National Forest.
   this persistent threat, the Douglas Creek Herd is quite
   vulnerable to dramatic declines or extirpation, and it                  3) The Laramie Peak Herd (Hunt Area 19)
   is currently designated as a low priority herd (Priority         is the largest bighorn herd on the Medicine Bow. It
   3, the lowest) within the Medicine Bow management                currently is estimated at 250 to 300 individuals and
   scheme. The herd is also quite isolated from bighorns in         is increasing, but it remains well below the objective
   adjacent herd units, one of which (Encampment River)             of 500. This herd occupies the Laramie Range, where
   has a very bleak outlook.                                        bighorns were considered abundant before settlement.
                                                                    Following the original reintroduction of 40 sheep
          2) The Encampment River Herd (Hunt Area                   in 1964, the subsequent translocation record is
   21) occupies the Encampment River Canyon west to                 extensive: five separate translocations involving 146
   the Continental Divide, in the Sierra Madre Range.               sheep reintroduced into three locations between 1965
   It is one of the most imperiled bighorn populations in           and 1989.
   Wyoming. Established in 1977 with a translocation of
   68 bighorns, the founder population initially exhibited                Of the three herd units within the Medicine Bow,
   good reproductive performance and increased to about             the Laramie Peak Herd unit appears to have the best
   130 animals over the next five years. However, a severe          long-term outlook. Within the past five years, fairly
   winter during 1983-84 inflicted significant mortality            large (over 39,000 total acres in 2002 alone) wildfires
   from which the herd has never recovered. The stagnant            have had a positive effect on important bighorn habitat
   to decreasing population is currently estimated at about         throughout the herd unit. It is expected that these
   50 individuals, 75 percent below the management                  fires will reduce conifer encroachment, set back less
   objective of 200. Several factors have been linked to the        desirable late seral vegetation stands, open up much
   poor performance of this herd, including the widespread          needed travel corridors to connect sub-herds within
   presence of domestic sheep, low lamb recruitment,                the herd unit, and increase the quality of lambing and
   drought, long-term fire suppression, lack of strong              nursery areas (Hicks 2004).
   seasonal migration tendencies, incompatible land uses,
   and poor habitat quality (Guenzel 2004b).                               Although two sheep have been documented
                                                                    with pneumonia in recent years, no major disease-
         Efforts aimed at improving conditions for                  related die-offs have occurred (Hicks 2004). There are
   bighorns within the herd unit have been implemented.             no major groups of domestic sheep within occupied
   These have included clearcutting and fertilization of            bighorn range, but small hobby flocks occur in the
   dense timber stands, let-burn wildfire policies and              North Laramie Drainage and will continue to pose a
   prescribed burns, installation of guzzlers, and road             disease threat. Other factors that could limit the success
   closures. Unfortunately, none has had a significant              of this population include isolation from other bighorn
   positive impact on the population (Guenzel 2004b).               populations, with limited opportunity for movement
   Due to the myriad of issues facing the Encampment                between sub-herds. Approximately 90 percent of the
   River bighorns, the recent revision of the Medicine Bow          herd unit is composed of private land, and potential
   National Forest Plan prioritized domestic sheep grazing          conflict between local landowners and bighorn sheep
   over bighorn conservation in the Sierra Madres. Several          hunters may complicate management efforts in this
   active domestic sheep grazing allotments are located             herd unit.
   throughout the herd unit, and the Encampment River
   bighorns face an extreme risk of disease transmission            Other herds in Wyoming not located on
   and associated mortality. WGFD has acknowledged that             National Forest System lands: 3 herds
   the Encampment River Herd is likely to be extirpated
   again (Guenzel 2004b). Although the herd unit has not                   1) The Seminoe-Ferris Herd (Hunt Area 17)
   been hunted since 1987, the recent change in priorities          was initiated in the 1940’s with two small translocations
   prompted WGFD to reopen a hunting season in 2004                 into the Ferris Mountains. One of these translocations
   to take advantage of the recreational opportunity to             was of desert bighorns from Nevada (Hiatt 2004). Other
   harvest mature rams that would otherwise die of other            slightly larger translocations were made in the 1950’s
   causes under the current management scheme. The                  and 1960’s, without the herd obviously becoming
   Encampment River Herd will continue to provide                   self-sustaining. In 1978 and 1980, 100 bighorns were
   recreational viewing opportunities and limited hunting           translocated to the Seminoe Mountains, after which
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   a self-sustaining population appeared to establish.                      While bighorns do not interact with domestic
   Although the growth rate of the herd was low, young               sheep within park boundaries, they do come into contact
   sheep were being recruited into the population (Hiatt             with domestic sheep in grazing allotments located
   2004). However, after 1980, several factors acted to              adjacent to park boundaries. To alleviate potential
   bring about the steady decline. Currently, this herd is           conflict between domestic sheep and wildlife, including
   best described as a remnant herd comprised of only                Yellowstone bighorns, the National Wildlife Federation
   about 15 individuals divided between the Ferris and               has bought out several domestic livestock allotments
   Seminoe mountains. Three years of intensive monitoring            surrounding the park. Negotiations are currently
   identified poor forage quality during summer as the               underway to buy out an additional domestic sheep
   primary factor in low lamb survival and recruitment               allotment that totals 74,000 acres (National Wildlife
   (Hiatt 1997). Illegal harvest and other non-consumptive           Federation 2005). This allotment is only 3 miles from
   mortality have exacerbated the problem (Hiatt 2004).              the northern park boundary and is frequented by
   There are currently no active domestic sheep allotments           Yellowstone bighorns. Retirement of this allotment will
   within the herd unit.                                             significantly expand the amount of conflict-free habitat
                                                                     available to bighorns. Thus, there is reason for guarded
         Habitat improvement projects such as prescribed             optimism regarding the future of this relatively small
   burns were planned in 1990 but not implemented due to             and isolated population (White 2005).
   weather and soil moisture concerns. When conditions
   were appropriate to initiate burns in the mid 1990’s,             South Dakota
   it was deemed that there were too few sheep left to
   benefit from the project (Hiatt 2004). This herd will                   The Audubon’s subspecies of bighorn sheep
   almost certainly be extirpated without supplementation,           (the only subspecies known to be native to South
   and forage/habitat conditions must be improved before             Dakota; see discussion of subspecies in Systematics
   additional translocations are considered.                         and description) was extirpated within the state by
                                                                     1910. The cause is unknown but presumed to be
           2) The Sweetwater Rocks Herd unit (Hunt                   unregulated hunting. The current statewide population,
   Area 16) contains only a handful of bighorns. WGFD                estimated at 415 individuals, consists of the Rocky
   personnel have observed six to eight sheep, with another          Mountain subspecies, which were translocated from
   recent unsubstantiated sighting of 35 (Harter personal            source populations in Colorado, Wyoming, New
   communication 2006). If this report is true, these sheep          Mexico, and Alberta (Benzon personal communication
   were probably wanderers from the Seminoe/Ferris                   2005, Childers personal communication 2005). Three
   population. WFGD proposed a translocation to the unit             herds occur on the Black Hills National Forest and
   approximately six to eight years ago, but conflicts with          one in Badlands National Park. All sheep have been
   local ranchers derailed the proposal. There currently are         reintroduced into historic Audubon’s habitat. Without
   no plans to try to increase the herd. Bighorns within this        management intervention, all herds are isolated from
   unit are relatively secure from interaction with domestic         bighorn populations in other states.
   sheep, as they tend to remain relatively sedentary in a
   core area that is sufficiently removed from the nearest           Black Hills National Forest: 3 herds
   domestic flocks (Harter personal communication 2006).
   Still, this remains a low priority bighorn population for               1) The Custer State Park Herd is currently
   WFGD, with no specific management plan other than                 estimated at 50 individuals, with a management
   opportunistic monitoring.                                         objective of 150. In 1922, eight Rocky Mountain
                                                                     bighorns from Alberta, Canada were translocated to
         3) The Yellowstone Herd (no Hunt Area                       Custer State Park within the Black Hills. This herd
   designation) was estimated at 244 sheep in spring                 was reduced to one individual by 1959 due to unknown
   2005 based on helicopter surveys. Thirty-four                     causes. The herd was re-established in 1965 using 22
   lambs per 100 ewes were observed, compared to an                  sheep translocated from Whiskey Mountain, Wyoming,
   average of 22:100 (range = 7-32) during 1995-2003.                and it subsequently increased to approximately 150
   Recruitment has been relatively high (21 to 34 lambs              individuals by 1975. Herd growth then became static,
   per 100 ewes) since 1999, compared to seven to 22                 perhaps due to low lamb recruitment (South Dakota
   lambs per 100 ewes during 1995-1998, and the herd                 Game, Fish and Parks Department 2000), and 20
   appears to be increasing.                                         additional sheep were translocated to Bear Gulch in



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   1999 from Alberta, Canada to increase genetic diversity          Badlands National Park: 1 herd
   and to fill unoccupied range. In 2005, the herd again
   suffered a die-off (75 percent) due to pneumonia                       The Badlands National Park Herd, initiated in
   suspected to have been transmitted from domestic                 1964 using 22 animals from Pike’s Peak, Colorado,
   sheep. A new source of sheep is currently being sought           currently numbers 90 individuals (Childers personal
   to augment the herd again. Summer, winter, and lambing           communication 2005). The original transplanted
   range conditions are thought to be fair, and wildfires           animals were placed in a 370-acre enclosure within the
   within the past decade have created 2,400 acres of new           park in an effort to establish a self-sustaining source
   ewe/lamb habitat. Impediments to the future growth               of sheep for future translocations within the state.
   and health of this herd include continued risk of disease        However, an unknown disease reduced the captive herd
   transmission from domestic sheep and encroachment of             to 16 individuals and remaining sheep were released
   conifers into suitable sheep habitat (Benzon personal            into the park in 1967. Nonetheless, the herd grew
   communication 2005).                                             and was estimated at 133 to 200 individuals in 1989­
                                                                    1990. However, an outbreak of epizootic hemorrhagic
          2) The Spring Creek Herd was established in               disease from 1995 to 1997 reduced the herd by 60
   1991 with 26 individuals from Georgetown, Colorado,              percent. An additional 24 animals were translocated
   and augmented in 1992 with an additional five sheep              from Wheeler Peak, New Mexico in 2004, and the herd
   from the Badlands Herd. The herd currently numbers               is again increasing toward the management objective
   225 individuals and is in good health with increasing            of 200 individuals.
   numbers (Benzon personal communication 2005).
   Active habitat management has aided the growth of                       While the condition of summer, winter, and
   this herd, and has included pre-introduction clearcutting        lambing range of the herd is good, the herd is completely
   and burning of 150 acres of dense pine stands, and               isolated. Livestock grazing, highways, and development
   post-introduction treatment of an additional 200 acres.          have severed historical linkages to other herds
   Impediments to future growth and health of this herd             permanently. The primary range of this herd lies within
   include subdivision development, highway construction,           the Sage Creek Wilderness, which is devoid of roads
   and livestock grazing, but the threat of contact with            and contains limited recreational hiking trails (South
   domestic sheep is thought to be low. The condition of            Dakota Game, Fish, and Parks Department 2000). It is
   summer, winter, and lambing range is good, and the herd          believed that domestic sheep do not currently threaten
   is not severely isolated, at least within the Black Hills        this herd (Childers personal communication 2005).
   ecosystem (Benzon personal communication 2005).
   These factors should provide continued opportunity                      The future of bighorn sheep management within
   for this herd to expand to the management objective of           South Dakota will depend on active management
   300 to 400 animals and become a source for transplant            to the maintenance of genetic diversity herds using
   stock, as well as provide limited hunting opportunities          transplants among herds currently found in the state,
   (a hunting season was initiated in 2000, with a limit of         and the introduction of new individuals from bloodlines
   two sheep).                                                      outside the state. The entire statewide population will be
                                                                    managed as an artificial metapopulation through active
         3) The youngest herd within the state is the Elk           intra-state and inter-state translocations.
   Mountain Herd, numbering 50 individuals. Established
   in 2001 with 20 source animals from the Spring Creek             Nebraska
   Herd, it was augmented in 2004 with seven sheep from
   Wheeler Peak, New Mexico. The herd is currently                        Historically, the Audubon’s subspecies was
   increasing, with a management objective of 300 to 400            found in Nebraska, but it was extirpated in the early
   individuals. The good condition of summer, winter,               1900’s (Toweill and Geist 1999). The current statewide
   and lambing range should allow this herd to continue             bighorn population, approximately 110 individuals, is
   to increase. There is opportunity for genetic exchange           comprised of introduced Rocky Mountain bighorns
   with other herds within the Black Hills ecosystem, but           (Schlichtemeier personal communication 2005). Three
   a moderate risk of disease transmission from domestic            herds have been re-established into historic Audubon’s
   sheep, continued subdivision development, livestock              habitat from Rocky Mountain bighorn stock obtained
   grazing, and highway construction may ultimately limit           in Montana, Colorado, and South Dakota. Two herds
   herd size.                                                       occur on the Nebraska National Forest and one on state-



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   owned lands at Cedar Canyon Wildlife Management                 nearly 20 miles from each other (Darveau personal
   Area. All Nebraska bighorn herds are isolated from              communication 2006). As with other herds in the
   bighorn populations in other states.                            state, small bands of domestic sheep are present within
                                                                   bighorn range, creating a high risk of continued disease
   Nebraska National Forest: 2 herds                               transmission to the bighorn herd. One ewe has been
                                                                   killed by state biologists due to contact with domestic
         1) The Fort Robinson Herd is the oldest                   sheep. There are plans to translocate an additional 50
   within the state, having been established in 1981 with          individuals into this area.
   10 animals translocated from the Custer State Park
   herd in South Dakota. The primary range of this herd            Cedar Canyon Wildlife Management Area: 1
   encompasses Fort Robinson State Park, Soldier Creek             herd
   Wilderness, and the Peterson Wildlife Management
   Area. In 2004-2005, the herd suffered a 50 percent                     This recently-established herd was initiated
   die-off (it now numbers around 60 individuals) due to           with 22 animals translocated from Colorado in March
   Pasteurella and is in continued decline (Schlichtemeier         2001. It subsequently increased to 64 individuals
   personal communication 2005). The die-off is currently          (Schlichtemeier personal communication 2005), but
   ongoing, and it is expected that more sheep will be lost        a Pasteurella die-off within the last year has reduced
   (Darveau personal communication 2006). There are                the herd by about 50 percent (Darveau personal
   small herds of domestic sheep near bighorn range, and           communication 2006). The herd is isolated from other
   the potential for disease transmission from these herds         bighorn populations, and domestic sheep within the
   is almost certainly the cause of the recent die-off. One        herd’s range make it susceptible to disease-related
   ram is known to have been killed due to contact with            die-offs. Both of these factors increase the herd’s
   domestic sheep.                                                 vulnerability to extirpation. A portion of the sheep
                                                                   are radio-collared, and current research is focused
          Management objectives for this herd include              on hoof deformities, establishing seasonal foraging
   increasing this free-ranging population, and providing          habitats, identifying differences in ewe and lamb diet
   hunting and public viewing opportunities within the             selection, and establishing baseline trace mineral levels
   limit of the resource and the limit that most landowners        across habitats and within the sheep themselves. The
   will accept. There are no known deficiencies in summer,         radio-collared individuals are being monitored daily, a
   winter, or lambing range. Impediments to the future             significant advantage in detecting additional Pasteurella
   growth and health of this herd include risk of disease          infections and treating any outbreaks (Darveau personal
   transmission from domestic sheep, the presence of               communication 2006). Management and impediments
   electric fences that may negatively affect movements            to future growth and health are similar to those of the
   between seasonal habitats, human disturbance during             Fort Robinson and Montana herds (Schlichtemeier
   the lambing season, potential competition with domestic         personal communication 2005).
   livestock (Klinksiek 2003), and continued housing
   development (Schlichtemeier personal communication              Region 2 summary
   2005). Research has been conducted regarding gender-
   related differences in diet and habitat and the possible             Throughout the previous discussion, several
   presence of lungworm through collection of fresh fecal          conservation issues were repeatedly identified as
   samples (Klinksiek 2003).                                       common threats to bighorn herds throughout Region 2.
                                                                   Foremost among these were:
          2) The newest herd in the state is the Montana
   Herd, established at the Bighorn Wildlife Management                  ❖ susceptibility    of bighorns to disease
   Area using 49 animals translocated from Montana in                        transmission from domestic sheep and goats,
   January 2005. Since that time, the herd has increased
   to 54 individuals and has not suffered any die-offs. Two              ❖ lack of population connectivity and genetic
   ewes have moved to the Fort Robinson Herd, a distance                     interchange among bighorn populations, and
   of 15 miles, demonstrating the potential for exchange
   between the two herds (Schlichtemeier personal                        ❖ decades of continued fire suppression and/
   communication 2005). Most sheep are outfitted with                        or other factors causing decline in habitat
   radio-collars for monitoring, but seasonal ranges                         quality, leading to reduced habitat suitability
   have yet to be clearly defined. Presently, the herd is                    for bighorn sheep.
   broken up into at least two groups that are distributed
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          The relative importance of the latter two threats           been removed or dramatically reduced (Hurley personal
   can be debated, and their importance is variable from              communication 2006). Seasonal movements are not
   location to location. However, the risk of devastating             greatly impaired, and habitat quality is not a limiting
   disease outbreaks resulting from contact with domestic             factor. As a bighorn stronghold, this area could be an
   sheep and goats is firmly established and is widely                important source of animals for future translocations.
   believed to be the most dire threat facing regional
   bighorn populations. Gross et al. (2000) reported that                   A second stronghold area occurs in south-central
   in the absence of disease, simulated extinction rates for          Colorado (Figures), including herd units S8, S9, S49,
   bighorn sheep were uniformly low, and that efforts to              S65, and S51. These five herd units contain a combined
   reduce the frequency and severity of disease epizootics            estimated population of over 1,100 individuals, with
   should be the highest priority in attempts to restore              at least minimal natural exchange between adjacent
   bighorn sheep populations. Bearing these three primary             populations. No active domestic sheep allotments are
   threats in mind, and using the previous descriptions of            known to be present within or near these herd units, and
   individual Region 2 bighorn herds, we were able to                 disease-related die-offs have been rare or nonexistent.
   examine the current state of bighorn sheep throughout              While declining habitat conditions in portions of this
   the Region, and to identify areas that we considered to            area have not seriously hindered bighorn herds, future
   be strongholds for bighorns (low risk of extirpation),             habitat treatments in certain areas would likely help to
   others that were in danger of extirpation or likely to             maintain or increase herd size.
   show continued chronically poor production (high risk),
   and others that, given the requisite conditions, could go          Medium-risk areas
   either way (medium risk). Herd unit descriptions were
   not available for all herds in Colorado, resulting in an                  Areas that we consider medium-risk include
   incomplete picture of the status of all bighorn sheep              all those not found in the high or low-risk categories.
   herds in that state.                                               They generally share a combination of characteristics
                                                                      from the high and low-risk areas. For instance, the
   Low-risk herds                                                     Laramie Peak herd unit in Wyoming is a fairly large
                                                                      population (250 to 300) that is increasing, and has
          Areas included in the category of strongholds               recently experienced significant habitat improvements.
   shared several characteristics. The primary characteristic         However, hobby flocks of domestic sheep are present
   was that the risk of disease outbreaks was minimal, as             in one drainage within the unit, which is isolated from
   evidenced by a history free of disease-related die­                other bighorn populations. Other medium-risk areas in
   offs, or if die-offs have occurred, the suspected cause            Wyoming are scattered throughout the state, and include
   (i.e., domestic sheep or goat herds) has been removed              the Targhee, Devil’s Canyon, Jackson, and Whiskey
   or significantly lessened. In addition, the individual             Mountain herd units. Within Colorado, medium-risk
   bighorn populations in a stronghold area exhibited a               areas are also scattered and include herd units S1, S3,
   naturally occurring metapopulation structure, ensuring             S4, S6, S12, S15, S16, S18, S28, S31, S32, S38, S46,
   a significant degree of genetic exchange among herds.              S48, S50, S61, S64, and S66. Other medium-risk areas
   Finally, habitat quality was not a limiting factor in terms        include the Spring Creek, Elk Mountain, and Badlands
   of imposing impediments to seasonal migration or                   National Park herds in South Dakota. Because medium­
   causing poor herd health due to nutritional deficiencies.          risk areas face fewer total threats, or less dire threats,
   Areas considered as strongholds also had relatively large          than high-risk areas, they are most likely to benefit
   populations and were potentially capable of producing              from the expenditure of management resources. All
   excess animals that could be used for translocations.              things being equal, medium-risk herds would benefit
   Stronghold areas are critical resources for the future of          more than high-risk herds if an equal amount of critical
   the bighorn population within Region 2.                            management resources were spent on each.

         The first obvious stronghold within Region 2                 High-risk areas
   is northwestern Wyoming, specifically units 1, 2, 3,
   4, and 5, where some 4,000 bighorn sheep occur on                        Bighorn herds in the high-risk category share
   the Shoshone National Forest (Figure 7). These herd                one or more primary characteristics: 1) a history
   units are well connected, allowing movement between                or significant threat of disease-related die-offs or
   populations, consist of the largest populations in Region          extirpation, and/or subsequent chronically poor
   2, have been free of disease-related die-offs, and occupy          production, 2) small population size, 3) total or near
   an area where the threat of domestic sheep contact has             complete isolation from other bighorn populations, 4)
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         Figure 7. Bighorn sheep herds with low risk of extirpation in Wyoming.

   poor habitat quality leading to poor nutrition, or (5)            strategy may be a “hands off” policy for some high-
   significant obstacles to seasonal movement.                       risk areas, many of which face multiple threats that
                                                                     would drain critical management resources. Often,
          When identifying high-risk areas, we began by              these resources would be better utilized by maintaining
   examining a herd’s degree ofisolation from other bighorn          stronghold areas or addressing the lesser threats faced by
   populations. In Wyoming, herds that are significantly             herds in medium-risk areas. Obviously, such decisions
   isolated included those in the Darby Mountain.,                   are best made on a case-by-case basis at the local level.
   Seminoe/Ferris, Sweetwater Rocks, Encampment
   River, Douglas Creek, and Temple Peak units (Figure                   Management of Bighorn Sheep in
   9). None of these populations exceeds 100 individuals                          Region 2
   (range 6 to 100), most have experienced significant die­
   offs or continue to face threats of disease transmission          Population management
   from domestic sheep, and there are significant habitat
   concerns in many units. For similar reasons, obvious                    Bighorn sheep management is complicated
   high-risk areas within Colorado include herd units S10,           in some respects by the different authorities of the
   S12, S20, S23, S27, S29, S30, S53, S55, S62, S63, S69,            agencies responsible for managing bighorns and their
   and the Pueblo Reservoir, Mesa Verde, and Lower Lake              habitats, and the fact that both state and federal land
   Fork/Sapinero herds (Figure 10). Additional high-risk             management agencies share trustee responsibility
   areas include the Custer State Park population within             for wildlife. State wildlife agencies have authorities
   South Dakota, and all three herds in Nebraska.                    and responsibility for managing bighorn populations,
                                                                     including regulating the harvest of bighorns by sport
         Because wildlife management is conducted in an              hunters, and manipulating bighorn populations through
   arena of limited resources, the best overall management           the translocation of bighorns into unoccupied habitat
                                                                68


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         Figure 8. Bighorn sheep herds with low risk of extirpation in Colorado.

   or for purposes of augmenting small populations.                   wool, many of these allotments are currently vacant and
   However, the USFS has administrative authority over                present no threat to resident bighorn herds. However,
   National Forest System lands and the resources they                interest has been expressed in activating some of
   contain. The National Forest Management Act requires               these allotments (Woolever personal communication
   the USFS to provide for diversity of plant and animal              2005), and efforts continue by the USFS to avoid
   communities on National Forest System lands. Still,                creating conflicts. Bighorn conservation groups have
   the USFS and other federal land management agencies                intervened to facilitate retiring or exchanging domestic
   focus much of their effort on managing habitat to                  sheep allotments in habitat occupied by bighorn sheep.
   provide for sustainable populations, while cooperating             Because disease may represent the most significant
   with state agencies in actions necessary to manage                 threat to bighorn sheep in Region 2, especially on
   effectively for the population health of species of joint          national forests with domestic sheep grazing allotments
   interest and responsibility. State and federal agencies            in or near bighorn sheep habitat, the creation of
   seek to develop effective management programs for                  effective separation between bighorns and domestic
   bighorn sheep that involve interagency coordination                sheep and goats is likely critical for preventing disease
   and cooperation on a regional landscape basis in Region            epizootics in areas where there is potential for contact.
   2 (Douglas and Leslie 1999).                                       BLM Guidelines (Bureau of Land Management 1992)
                                                                      suggest maintaining a minimum buffer of 13.5 km (9
         National forests in Region 2 continue to provide             miles) between domestic sheep and goats and wild
   domestic livestock grazing allotments, which can result            sheep on BLM lands to minimize the risk of contact
   in contact between domestic and bighorn sheep and                  between the two groups. However, it is unlikely that
   lead to catastrophic disease transmission to bighorn               setting hard and arbitrary guidelines for buffer zones
   populations. Due to the low demand for mutton and                  will work effectively in all situations. In many cases,
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        Figure 9. Bighorn sheep herds with high risk of extirpation in Wyoming.




         Figure 10. Bighorn sheep herds with high risk of extirpation in Colorado.



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   topographic features of the landscape, herd dynamics,             radio collars can also be used to identify movement
   and other variables may reduce the effectiveness of               corridors at smaller scales. Habitat managers interested
   buffer zones. Buffer distances need to be flexible                in the protection or restoration of travel corridors should
   to reflect local conditions. The USFS FULL CURL                   consider a variety of factors, including habitat quality
   Program suggests that it is imperative that bighorn               in the travel corridor, length and area of the corridor or
   sheep be kept separated from domestic sheep and goats             potential corridor, public acceptance of the proposed
   (Schommer and Woolever 2001).                                     action, and the cost to maintain, restore, and manage
                                                                     these corridors.
           Bighorn sheep management strategies that focus
   on long-term objectives and strive for self-perpetuating                 Another significant consideration in managing
   populations may not require continuing intervention               wild sheep on a metapopulation basis is their
   to maintain population stability in large (over 250               vulnerability to disease organisms carried by domestic
   animals) herds. Schwartz et al. (1986) were among the             livestock. Developing movement corridors among
   first to suggest managing bighorn sheep on a landscape            relatively discrete sheep herds has the potential to
   level (metapopulation) that included consideration                increase gene flow naturally among those herds and to
   of travel corridors between mountain ranges or herd               provide for a natural population rescue effect through
   units. Metapopulation management strategies that                  dispersal (Hogg et al. 2006), but it can also facilitate the
   consider the spatial distribution and connectivity of             flow of disease organisms among the herds and trigger
   bighorn habitats have important implications for the              disease epizootics (Hess 1996). Managers should
   conservation of bighorn sheep (Wehausen 1979). As                 evaluate the disease risks associated with efforts to
   bighorn sheep habitat becomes increasingly fragmented             increase connectivity among herds.
   as a result of plant succession, management activities,
   or human encroachment, many of the smaller bighorn                       Intensive, ongoing management, including
   populations in Region 2 may be at risk of extirpation             trapping and transplant programs, will often be
   from natural stochastic events unless landscape level             necessary with smaller and isolated bighorn sheep
   management strategies are put in place to ensure gene             herds. Such programs have resulted in significant
   flow among these small herds (Crow and Kimura 1970,               increases in the number and distribution of bighorns
   Helvie 1971, Schwartz et al. 1986, Bleich et al. 1990b,           herds decimated by disease in the past 40 years (Valdez
   1996, Torres et al. 1996). Management efforts that                and Krausman 1999). Active translocation projects may
   focus on increasing the overall number and distribution           continue to be necessary to augment small, isolated
   of bighorn sheep, the connectivity among herds, and               bighorn herds periodically or to establish herds in
   the size of female groups within existing herds require           historic, but unoccupied habitats. The recommended
   coordinated landscape level management actions to                 minimum number of animals for an initial transplant
   protect large blocks of sheep habitat from degradation,           into unoccupied habitat is 20 mixed-age ewes and
   and to ensure the long-term viability of individual herds         young rams with a sex ratio of about one male:three
   in Region 2.                                                      to five ewes (Rowland and Schmidt 1981, Wilson and
                                                                     Douglas 1982). Rowland and Schmidt (1981) cautioned
         Maintaining or restoring connectivity of                    that care should be taken to ensure that transplanted
   populations in fragmented habitat requires landscape­             animals do not become another relict group, and
   level analyses and cooperation among state wildlife               that there is sufficient habitat potential to allow the
   agencies, land management agencies, county and                    population to expand to more than 100 individuals
   regional planners, transportation agencies, and private           either naturally or through subsequent translocations
   landowners to ensure long-term persistence of wild                (Berger 1990). Maintaining or re-establishing severed
   sheep populations in Region 2. Habitat connectivity               travel corridors linking recently transplanted sheep to
   is essential to maintaining the metapopulation                    other bighorn herds can mitigate the effects of genetic
   structure of bighorn sheep populations, and herds                 drift or inbreeding that can affect isolated herds with
   occupying isolated fragments of habitat are at risk of            small numbers of effective breeders (Ellstrand and
   extirpation. Consequently, identifying travel corridors           Elam 1993, Fitzsimmons et al. 1997, Hogg et al. 2006).
   connecting fragmented bighorn ranges is an important              Transplant sites should contain adequate escape terrain
   responsibility of habitat managers. Landscape scale               to support 60 to 70 ewes for the area to maintain an
   genetic analyses can identify bighorn populations that            effective population size of at least 100 animals.
   are or were recently linked, and help quantify the need
   to protect migration and travel corridors (Sinclair et al.              Despite the increases in productivity and
   2001, McRae 2004). Global Positioning System (GPS)                survival that Hogg et al. (2006) observed when they
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   experimentally restored migration in an Alberta bighorn          that management approaches that place sport harvest
   population, augmenting herds that are using poor                 emphasis on male sheep, and essentially protect females
   quality habitats and doing poorly due to low adult or            from harvest, could eventually allow wild sheep
   lamb survival have generally not been successful (Enk            populations to increase to the point where they exceed
   et al. 2001). Transplant programs also have the potential        the carrying capacity of their habitat and leave them
   to affect negatively the age structure, productivity,            more vulnerable to density-dependent environmental
   and recovery rate of herds used as source herds for              stressors. Under these conditions, it is likely that overall
   transplants (Leslie 1980, Leslie and Douglas 1986,               body condition and productivity of the sheep population
   Stevens and Goodson 1993). Estimates of bighorn herd             will decline, leading to greater vulnerability to disease
   size are difficult to obtain, and they often have wide           pathogens, population stagnation, and periodic die-offs.
   confidence intervals. Removing 20 bighorns from a                If these conditions occur, it may be possible for state and
   large population of 300±50 animals certainly has a               federal agencies to avoid some die-offs associated with
   lower risk to the source herd than removing 20 bighorns          environmental stressors by implementing aggressive
   from a source herd estimated to have 125±50 animals.             management strategies for the female segment of
                                                                    the sheep population through sport hunting and/or
         Hess (1996) and Dubay et al. (2003) suggest that           translocation programs.
   managers need to be aware of the potential disease
   threats that translocation programs can represent to                    Jorgenson et al. (1993) reported that ewe-hunting
   indigenous wildlife, including resident bighorn sheep.           seasons had the potential to limit population increase
   Therefore, augmenting existing populations should be             and concomitantly increase trophy ram size when 12
   conducted with caution to ensure that diseases are not           to 24 percent of the ewe population was removed each
   spread through the mixing of sheep populations. For this         year over a 9-year period. Based on known summer herd
   reason, managers should not transplant bighorns into             size in their study population with high survival, high
   sheep populations where no information is available              productivity, and no predation or disease, Jorgenson et
   on the disease history of the donor and recipient herds.         al. (1993) calculated that 12 percent of the ewes could
   Disease risk can be significantly reduced by evaluating          be harvested each year to maintain herd stability. Sport
   the health status of bighorns from the source population,        hunting for ewes is a management option suited to most
   as well as from sheep present at the release location.           herds while translocations may not be practical for
                                                                    herds in remote or wilderness locations.
         Traditionally, bighorn harvest management has
   primarily directed harvest towards the male component                   Although cougar predation on adult females can
   of the sheep population, in large part because of the            represent a serious threat to small, local populations,
   trophy status of mature rams. Although this restrictive          predation on bighorns generally appears to be sporadic
   harvest strategy generally guarantees that sport harvest         and probably is of relatively little management concern
   is a minor mortality factor in hunted bighorn sheep              for most bighorn populations in Region 2 (Sawyer
   populations, it may have evolutionary consequences               and Lindzey 2002). Modeling efforts suggest that
   that could result in a general decrease in body weight           in a bighorn population with more than 15 breeding
   and horn size over the long term (Coltman et al.                 age females, indiscriminant removal of cougars is no
   2003). However, limiting mortality by sport hunting              more effective in reducing the risk of extirpation of the
   will not ensure population viability for many bighorn            herd than selective predator control efforts directed at
   sheep populations. Research on bighorn sheep die-offs            removing individuals that are specializing in killing
   indicates that Pasteurellosis causes pneumonic all­              bighorns (Ernest et al. 2003). Because cougars are
   age die-offs in wild sheep populations that come into            territorial and young animals readily disperse into
   contact with domestic sheep. However, Pasteurellosis             unoccupied cougar habitat, indiscriminant predator
   has also been a primary cause of die-offs in several             control efforts may remove resident cougars that do
   bighorn sheep populations that had no known history of           not routinely kill bighorns. This may result in resident
   contact with domestic sheep or goats (Goodson 1982,              cougars being replaced by immigrating, subadult
   Onderka and Wishart 1984, Foreyt 1989, Ryder et al.              cougars that may prey heavily on bighorns, especially if
   1994). In these latter cases, environmental stressors,           alternative prey is not readily available to them (Logan
   associated with high population densities of bighorn             and Sweanor 2001). Selective predator control efforts
   sheep, were believed to be possible causes of these              that are targeted at individual cougars appear to be more
   die-offs. If pneumonia die-offs are a result of density­         effective in areas where bighorn sheep populations are
   dependent environmental stressors, then it is likely             threatened by predation.

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   Population inventory and monitoring                                in the current year, but missed in the previous year’s
                                                                      count, to the previous year’s total. Minimum counts
          Monitoring and assessing the status of wildlife             and reconstructed population estimates have utility in
   populations are two of the most important and                      areas where biologists have a good understanding of
   challenging tasks that biologists face. Although                   herd behavior and seasonal distribution, where bighorns
   complete enumeration of bighorn populations provides               are concentrated, and where multiple counts can be
   managers with accurate counts, limited financial                   made in a relatively short time frame. Minimum counts
   resources often dictate that other methodologies be used           that focus on the female component of the herd yield
   to estimate wild sheep numbers. Conducting a census                certainty in the numbers of animals observed and have
   on large, free-ranging ungulates, like bighorn sheep, is           the built-in buffer of animals not accounted for in the
   difficult and expensive because they occupy large areas            survey. Valdez and Krausman (1999) suggested that
   that are often in remote, rugged terrain, and only a small         lamb:ewe ratios were the best indicator of population
   percentage of the population is usually observed in any            status and that winter ratios falling below 25:100 were
   survey effort.                                                     cause for concern. However, Festa-Bianchet (1992) and
                                                                      Jorgenson (1992) suggested that lamb:ewe ratios were
          Probably the most frequently used methods                   not a reliable indicator of population condition, but if
   used to count bighorn sheep are fixed-wing and                     calculated in June, they may be a reasonable predictor
   helicopter counts. Population estimates generated from             of yearling recruitment (Festa-Bianchet 1992).
   standard aerial surveys vary considerably depending
   on topography, weather, observer experience, and                         A number of researchers have used mark-
   vegetative cover. Pitzman (1970) and Heimer (1976)                 resight techniques to obtain population estimates
   estimated that they observed more than 90 percent of               for bighorn sheep, with varying degrees of success
   Dall sheep in their surveys while Nichols and Erickson             (Furlow et al. 1981, Neal et al. 1993, George et al.
   (1969) indicated that they observed between 39 and                 1996). A variety of models are currently available to
   51 percent of desert bighorns during their surveys.                adjust results generated by mark-resight methods to
   Helicopter surveys are used most frequently to obtain              meet the basic assumptions (e.g., equal sightability
   herd composition estimates, while fixed-wing surveys,              probabilities, population closure) that form the
   conducted during the spring green-up period, are used              foundation for those estimates.
   frequently for estimating total numbers of sheep.
   Site-specific detection models have been developed                       A promising technique for estimating population
   to estimate visibility bias during helicopter surveys              size involves genotyping bighorn sheep from DNA
   using sophisticated statistical analyses that correct for          extracted from fecal samples (Taberlet et al. 1996,
   animals missed during the census effort (Bodie et al.              1999). This approach is most appropriate for small
   1995, Hells Canyon Bighorn Sheep Restoration Plan                  herds and can be done in conjunction with efforts to
   2004). Bodie et al. (1995) reported that activity and              document genetic variability in isolated bighorn herds.
   habitat were the most important factors influencing                Other methods, including water hole and mineral lick
   ability to locate California bighorns visually in a                counts, foot and horseback transects, and boat surveys,
   canyon environment in southwestern Idaho. Number                   have been used to count bighorns in parts of their
   of ewes in a group, cover type, and activity were the              range where appropriate. It is important to use the
   primary factors that significantly affected the visibility         most appropriate, systematic, and repeatable methods
   of Rocky Mountain bighorn sheep in Hells Canyon                    possible to develop a better understanding of bighorn
   (Hells Canyon Bighorn Sheep Restoration Plan 2004).                population trends.
   Census method and timing, in addition to environmental
   factors, can influence sex ratios observed in the field,           Habitat management
   and result in considerable variation in reported sex
   ratios (Buechner 1960).                                                   Habitat conservation is an essential component
                                                                      of bighorn sheep management. It should involve efforts
          In addition to aerial surveys, biologists use ground        to identify, map, and protect crucial bighorn habitats
   counts to obtain minimum numbers of sheep and to                   and the landscape linkages that join them. Managing
   develop reconstructed population estimates (Wehausen               wildlife species through the management of their habitat
   1980). Wehausen (1980) used the reconstructed                      is an indirect, but effective approach for ensuring the
   population approach for developing estimates of Sierra             long-term persistence of bighorn sheep, and it is a
   Nevada bighorn sheep by classifying sheep by age and               critical element of bighorn conservation. Elements of
   sex in consecutive years and adding any animals counted            any habitat management approach include identifying
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   important habitat variables for bighorn sheep, mapping                  Vegetation structure and composition are strongly
   these characteristics on a landscape level, developing            influenced by climate, elevation, latitude, and to a
   management prescriptions to protect these habitat                 varying extent by land management practices. Because
   characteristics, and applying management emphasis to              very little can be done to modulate the effects of climate
   high priority areas.                                              (and nothing about elevation or latitude), land managers
                                                                     focus their habitat management and conservation efforts
          Two fundamental habitat issues affect the long­            on developing and implementing long-range, multiple­
   term viability of bighorn sheep in Region 2, habitat              use land management plans. In the case of the USFS,
   loss and habitat fragmentation. Although federal land             the forest planning effort involves balancing input
   management agencies manage most bighorn habitat                   from a diverse group of stakeholders with different
   in Region 2, habitat losses do occur because of the               management priorities. A number of activities allowed
   presence of domestic livestock allotments, overgrazing            on National Forest System lands, including domestic
   by domestic livestock, fire suppression, and human                livestock grazing, timber removal, fire suppression, and
   disturbance on crucial ranges from recreational                   habitat restoration projects, have the potential to affect
   activities and development. Furthermore, highways                 the quantity and quality of habitat available to bighorn
   through national forests are increasingly becoming                sheep in the Region.
   barriers to movement as vehicle traffic volume increases
   and the highways are expanded to accommodate those                       One of the more important activities that directly
   volume increases.                                                 affect bighorns is domestic livestock grazing in bighorn
                                                                     sheep habitat. Bighorns are negatively impacted
         One of the primary benefits of a well-designed              by disease transmission from domestic livestock,
   habitat management program is that it will act as a buffer        especially domestic sheep and goats. Areas that have
   against many of the uncertainties inherent in bighorn             been grazed by domestic sheep may not be suitable
   population management. Specifically, when bighorn                 areas for wild sheep for up to four years after grazing
   populations dip below desired levels, the presence of             has been discontinued (Jessup 1985). Bunch et al.
   abundant, high quality habitat provides for resiliency            (1999) suggested that domestic and wild sheep should
   that would not exist if the habitat to support bighorn            never be allowed to occupy the same areas because of
   sheep were marginal. Habitat enhancement efforts can              the potential for disease transmission and the risk of a
   make unoccupied habitats available to bighorns or create          major die-off. Federal land managers, livestock owners,
   additional habitat by providing limited resources (water          and private conservation groups have worked closely
   or forage) by logging heavily forested areas adjacent             together in some areas to minimize the opportunity for
   to occupied bighorn habitat or using prescribed burns             domestic and wild sheep to overlap by converting grazing
   to improve forage quality and production on critical              sheep allotments to cattle allotments, purchasing active
   ranges (Arnett 1990, Cook 1990).                                  sheep grazing allotments and retiring them from use,
                                                                     and retiring vacant sheep allotments. However, despite
         Although bighorn sheep are adapted to a wide                the best efforts of federal land management agencies
   variety of topographic features in Region 2, one                  and conservation organizations, like the Foundation for
   common denominator describes bighorn habitat in                   North American Wild Sheep, to prevent domestic sheep
   the Region: they prefer semi-open, precipitous terrain            from mingling with wild sheep, domestic sheep can
   characterized by a mixture of steep and gentle slopes,            still be found on private in-holdings, on private lands
   broken cliffs, rocky outcrops, and canyons. Escape                adjacent to National Forest System lands and on active
   cover is a critical habitat attribute for adult ewes, even        allotments on National Forest System lands adjacent to
   more important than high quality forage (Festa-Bianchet           or within habitat occupied by bighorns.
   1989a, Cook 1990). The quantity of escape terrain can
   be an accurate predictor of ewe numbers on the winter                    Cattle grazing can result in a reduction of forage
   range (Leslie and Douglas 1979, Ebert and Douglas                 and space available to bighorn sheep by reducing the
   1993). Visibility is another critically important habitat         abundance and availability of preferred forage species
   variable for bighorn sheep. Consequently, vegetation              and forcing them to compete with other wild ungulates
   structure is probably more important to bighorns than             for forage on summer and winter ranges (McCann 1956,
   plant composition because vegetation types that permit            Oldemeyer et al. 1971, Estes 1979, Arnett 1990, Cook
   high visibility allow for the detection of predators              1990). Bighorns are facultative generalists in their
   (Risenhoover and Bailey 1985, Wakelyn 1987).                      diet selection, selecting preferred, highly nutritious



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   plant species in the spring and early summer and a                (less than 400 m) to escape cover and are located
   larger number of species later in the year (Ginnett and           near the upper part of slopes. Arnett (1990) reported
   Douglas 1982). Overgrazing by domestic livestock                  that bighorns in south-central Wyoming consistently
   reduces plant abundance and the species composition               avoided areas further than 600 m from escape cover
   of bighorn habitats, leading to a decrease in carrying            and the lower portion of slopes. For these reasons,
   capacity of the habitat. The length of time necessary for         prescribed burns should be located near escape terrain
   overgrazed habitats to regenerate is, in part, a function         and, preferably, adjacent to currently utilized areas.
   of the density of animals using the rehabilitated habitat         Cook et al. (1989) suggested that prescribed burns
   and precipitation levels, with more mesic habitats                located on winter and spring ranges should be oriented
   recovering more quickly than drier sites (Lathrop and             to a southern aspect, while burns on north and east
   Rowlands 1983, Arnett 1990). Domestic livestock                   aspects provided the best quality forage on summer and
   grazing in riparian areas and on bighorn summer ranges            early fall ranges. Cool, prescribed burns in the spring
   can also influence lamb mortality rates when bighorn              resulted in rapid improvement of herb production and
   ewes are denied access to high quality forage. Cook               reduced mortality of desirable shrub species (Cook
   (1990) reported a strong correlation between forage               et al. 1989). Habitat restoration projects following
   quality during summer and early fall and lamb survival            wild fires or severe overgrazing also have potential
   in three south-central Wyoming bighorn sheep herds. He            to improve habitats for bighorn sheep when they are
   concluded that the high mortality rates experienced by            reseeded in preferred, native plant species. Fertilization
   those herds resulted from inadequate nutrition that lead          has resulted in improved forage production in high
   to reduced growth rates, poor overall health, and lower           elevation rangelands (Laycock 1982) and increased
   disease resistance in lambs. Streeter (1969) indicated            growth rates for perennial grasses in burns and clearcuts
   that bighorn herds in Colorado that were foraging on              (Arnett 1990).
   high crude protein (over 40 percent) diets during the fall
   had higher lamb survival. These data suggest that the                   Forest succession resulting from fire suppression
   availability of high quality forage during the summer             policies has resulted in the loss and fragmentation
   and early fall may be critical to lamb survival the               of bighorn habitat and blocked movement corridors.
   following winter and may influence their susceptibility           Forest stands adjacent to occupied habitat and located
   to enzootic disease during the mid-summer period                  near (less than 400 m) suitable escape cover can be
   (Cook 1990).                                                      managed to expand the habitat base for herds that
                                                                     are currently at carrying capacity (Arnett 1990). For
         Habitat improvement projects for bighorn sheep              example, clearcuts can be used to eliminate vegetation
   must reflect their biological requirements and not                overstory and thereby expand the overall habitat base
   ignore the fact that they can be poor colonizers and              for the herd. Removing timber stands can create or
   have specific habitat needs that limit their distribution         re-open movement corridors that may allow bighorns
   to areas with adequate escape cover (Geist 1971,                  to move from low elevation ranges to alpine areas,
   Wakelyn 1987, Cook 1990). Historically, bighorn sheep             or to reconnect herds. However, management actions
   habitat improvement projects have focused on water                designed to increase connectivity among bighorn herds
   developments in xeric habitats, changes in fence design,          must be evaluated carefully to avoid creating corridors
   and removal of domestic sheep from bighorn ranges.                that can be used by bighorns to come into contact with
                                                                     domestic sheep or goats or to transmit disease organisms
         More recently, land managers have used prescribed           to naive bighorn herds.
   burning to create or enhance bighorn habitats. Over
   the last 40 to 50 years, fire suppression policies have                 Clearcuts can also be managed to suppress
   indirectly affected bighorns in Region 2 by allowing              conifer regeneration and to provide increased forage
   changes in vegetation structure on bighorn ranges                 production, particularly grasses and forbs (Austin
   that often resulted in decreased forage availability,             and Urness 1982). To maintain clearcuts in optimum
   loss of movement corridors, increased vulnerability to            condition for use by bighorns, they should periodically
   predators, and increased competition from other wild              be thinned of all conifer regeneration and seeded with
   ungulates where forests encroach on open habitat types.           sod-forming grasses and forbs (Austin and Urness
   Prescribed burning projects have considerable potential           1982). Sod-producing grass species were effective in
   for reducing vegetation density and increasing forage             suppressing conifer regeneration in clearcuts (Arnett
   quality in bighorn habitats impacted by fire suppression          1990). Habitat restoration projects that use prescribed
   policies in the past. Prescribed burns can provide                burning and clearcuts to increase forage quality and
   suitable habitat for bighorns where they are adjacent             production or to increase the habitat base for bighorns
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   may be an effective mechanism for enhancing the                  periodic data from field surveys with GIS approaches
   population viability of the many small (less than 100)           can provide managers with a realistic picture of the
   herds found in Region 2 today. It appears that trapping          current condition and trend in bighorn sheep habitat.
   and transplant programs for bighorns over the last
   40 years have been effective at re-establishing or re­                 Metapopulation theory is an important biological
   populating most suitable bighorn habitat. Additional             principle, and its use in GIS applications is equally
   efforts to translocate bighorns into unoccupied habitat          important as a management principle because it
   or to augment small populations will likely provide              promotes regional landscape planning, places emphasis
   little gain for bighorn management programs. However,            on the importance of “non-traditional” habitats such as
   habitat restoration may be a realistic method for                travel corridors, and is helpful in identifying isolated
   increasing habitat capability to support larger numbers          herds that may require more intrusive management
   of bighorns (Arnett 1990).                                       practices (augmentations) in the future to maintain
                                                                    population viability. GIS layers that may prove helpful
   Habitat inventory and monitoring                                 to managers include:

          In the past, managers have used several                         ❖ land ownership and the level of legal
   approaches, including pattern recognition (PATREC)                         protection afforded to the land; public
   and habitat suitability index (HSI) models and                             land management agencies have different
   topographic maps, to evaluate and monitor changes in                       conservation mandates, so maps of land status
   habitat quality for bighorn sheep. However, many of                        should indicate the specific management
   these methods are subjective, qualitative assessments                      focus      (e.g.,   multiple-use,  designated
   that are only marginally adequate for predicting habitat                   Wilderness, research natural area, National
   suitability. A Geographic Information System (GIS)                         Park) of mapped parcels; for the same reason,
   approach offers a number of advantages to managers                         the map should distinguish among private,
   because it permits more refined spatial analyses of                        state, tribal, and federal lands
   habitat attributes. GIS now makes it possible to:
                                                                          ❖ locations of natural or manmade features
         (1) quantify attributes within habitat patches or                    that constitute barriers or filters to bighorn
             travel corridors on a landscape level                            movements (e.g., paved roads, highways,
                                                                              canals, and railroads)
         (2) assess patch continuity within and between
             mountain ranges                                              ❖ land use: agricultural (e.g., livestock grazing
                                                                              allotments, logged areas), industrial (e.g.,
         (3) identify threats to habitat integrity                            major mines or oil and gas production sites),
                                                                              recreation, urban development
         (4) assess habitat deficiencies
                                                                          ❖ geographic data on bighorn sheep seasonal
         (5) perform statistical tests on habitat data                        distribution and densities

         (6) simulate changes in habitat under proposed                   ❖ vegetation layers delineating major habitat
             management strategies.                                           types and plant composition

          Although landscape level approaches to evaluating               ❖ Digital Elevation Models (DEM’s) for
   and monitoring the status of bighorn sheep habitat are                     topographic information
   useful to managers, they have limited discriminatory
   power for measuring changes in plant composition,                      ❖ presence of intermittent and perennial water
   diversity, biomass, and condition. Excessive grazing                       sources.
   by domestic livestock can result in changes in plant
   composition and density in plant communities that
   cannot be detected using large, landscape-level                                Information Needs
   analyses. To monitor changes within plant communities
   effectively, intensive fieldwork will be necessary.                     Bighorn sheep are one of the most intensely
   Despite the difficulty of defining critical thresholds of        studied animals in North America, yet there is much
   habitat degradation and fragmentation, incorporating             that remains unknown about their ecology and habitat
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   relationships, and the dynamics that occur among                      ❖ metapopulation relationships among small,
   bighorns, other ungulates, their predators, and human                    apparently isolated bighorn herds
   uses on the landscape. Although not an exhaustive list
   of information needs for bighorn sheep, the following                 ❖ relationship between environmental factors
   represents areas of research for which many population                   (e.g., fire suppression, grazing, noxious
   and habitat managers across the range of wild sheep                      weeds, competition, trace elements) on
   would like to have additional information:                               habitat quality and disease incidence in
                                                                            bighorn sheep
         ❖ factors influencing disease outbreaks in
            bighorn sheep and the vulnerability of                       ❖ factors affecting bighorn habitat suitability
            bighorns to diseases associated with contact                    and capability, including human disturbance,
            with domestic livestock and environmental                       use of habitat linkages, and exploration
            stressors                                                       movements

         ❖ dynamics of disease ecology in bighorn                        ❖ bighorn sheep habitat use patterns and
            sheep (i.e., transmission, host-switching                       responses to habitat changes
            by bacterial pathogens, treatment options,
            molecular identification of virulent pathogens               ❖ models on bighorn metapopulation dynamics
            and host species, and factors influencing lamb
            survival)                                                    ❖ models for bighorn habitat use

         ❖ influence of summer and early fall forage                     ❖ developing a vaccine to interrupt the
            quality and production on the susceptibility of                 attachment of pneumonia leukotoxins to
            bighorn lambs to enzootic disease, predation,                   healthy neutrophil cell-surface proteins.
            and other mortality factors
                                                                          Although many important research needs can be
         ❖ relationship among cougars, their primary               identified to enhance bighorn sheep management, two
            prey, and bighorn sheep habitat condition as it        areas appear particularly noteworthy, disease ecology
            influences cougar predation levels on bighorn          including research into the prevention or interruption
            sheep                                                  of disease progression, and habitat loss. Disease
                                                                   probably represents the most serious threat to bighorn
         ❖ reliable maps depicting bighorn sheep                   sheep across their range. Managers need a better
            distribution, density, habitat quality, and            understanding of the dynamics associated with disease
            landscape linkages                                     transmission between domestic livestock and bighorn
                                                                   sheep. Although research is currently underway to
         ❖ reliable estimates or indices of bighorn sheep          identify the many strains of Mannheimia and Pasteurella
            abundance                                              and the mechanisms for disease development when
                                                                   passed from domestic sheep or goats to bighorns,
         ❖ factors affecting the long-term success of              much remains to be learned about these supposedly
            transplant and augmentation efforts for                commensal organisms. Another area where research
            bighorn sheep                                          may produce significant gains in our understanding
                                                                   of bighorn sheep management is how metapopulation
         ❖ effects of sport hunting harvest on bighorn             management strategies influence genetic variability
            sheep populations; especially the relationship         and long-term population viability of bighorns. Habitat
            between the harvest of adult ewes and the              fragmentation and loss will ultimately lead to greater
            incidence of disease outbreaks                         isolation of some bighorn herds. Developing a better
                                                                   understanding of how habitat connectivity can aid the
         ❖ landscape scale analyses of the genetic                 management of small, isolated herds will help managers
            population structure of existing herds to              make enlightened land management decisions.
            understand the implications of management
            decisions based on metapopulation dynamics




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                                        List of Errata
   11/2/07   Page 49-50: The Alamosa Canyon and Conejos herd is incorrectly assigned to the San Juan
             National Forest, but actually occurs on the Rio Grande National Forest. Thus, the Rio Grande
             has 4 herds, rather than 3, and the San Juan has 5 herds, rather than 6.




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                                               Appendix A

                         Colorado Herd Units and Hunt Areas for Bighorn Sheep

   Table A1. Colorado Herd Unit Names and Associated Hunt Areas.
           Herd Name                 Hunt Area(s)                  Herd Name                Hunt Area(s)
           Poudre River                   S1                     Conejhos River                 S30
         Gore-Eagles Nest                 S2                       Blanco River                 S31
          Mount Evans                     S3                       Georgetown                   S32
              Grant                       S4                     Rampart Range                  S34
           Pike’s Peak                    S6                        Greenhorn                   S35
            Arkansas                      S7                         St. Vrain                  S37
            Huerfano                      S8                        Apishipa                    S38
         Sangre de Cristo                 S9                          Basalt                    S44
         Trickle Mountain                S10                       Dome Rock                    S46
         Collegiate, North               S11                     Brown’s Canyon                 S47
          Buffalo Peaks                  S12                     Carrizo Canyon                 S48
         Snowmass, East                  S13                       Grape Creek                  S49
         Sheep Mountain                  S15                       Mt. Maestas                  S50
         Cinnamon Peak                   S16                  Spanish Peaks, Culebra            S51
         Collegiate, South               S17                       Bristol Head                 S53
              Rawah                      S18                  West Elk-Dillon Mesa              S54
       Never Summer Range                S19                  Natural Arch, Carnero             S55
          Marshall Pass                  S20                  Big Thompson Canyon               S57
           Cow Creek                     S21                       Derby Creek                  S59
          San Luis Peak                  S22                       Shelf Road                   S60
             Kenosha                     S23                    Purgatorie Canyon               S61
         Snowmass, West                  S25                         Costilla                   S65
           Taylor River                  S26                        Mt. Elbert                  S66
             Tarryall                    S27                 White River, South Fork            S67
             Vallecito                   S28                        Cotopaxi                    S68
         Alamosa Canyon                  S29                 Lower Cochetopa Canyon             S69




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                        Figure Al. Colorado Bighorn Sheep Hunt Areas
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                                               Appendix B

                    Wyoming Herd Units and Hunt Areas for Bighorn Sheep

   Table B1. Wyoming Herd Unit Names and Associated Hunt Areas.
                               Herd Unit                    Hunt Area(s)
                                Targhee                            6
                                Jackson                            7
                            Darby Mountain                         24
                              Clarks Fork                           1
                               Trout Peak                          2
                              Wapiti Ridge                         3
                               Youts Peak                          4
                              Francs Peak                         5, 22
                             Devils Canyon                         12
                             Douglas Creek                         18
                              Laramie Peak                         19
                           Encampment River                        21
                           Whiskey Mountain                  8, 9, 10, 23
                              Temple Peak                          11
                               Sweetwater                          16
                             Seminole/Ferris                       17




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                      Figure Bl. Wyoming Bighorn Sheep Himt Areas.
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USDA   United States
       Department
       of Agriculture        Coarse Woody Debris:
       Forest Service
       Rocky Mountain
                             Managing Benefits and
       Research Station

       General Technical
       Report RMRS-GTR-105
                             Fire Hazard in the
       July 2003             Recovering Forest
                             James K. Brown
                             Elizabeth D. Reinhardt
                             Kylie A. Kramer




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                                                          Abstract_____________________________________
                     Brown, James K.; Reinhardt, Elizabeth D.; Kramer, Kylie A. 2003. Coarse woody debris:
                       managing benefits and fire hazard in the recovering forest. Gen. Tech. Rep. RMRS-
                       GTR-105. Ogden, UT: U.S. Department of Agriculture, Forest Service, Rocky Mountain
                       Research Station. 16 p.
                     Management of coarse woody debris following fire requires consideration of its positive and
                     negative values. The ecological benefits of coarse woody debris and fire hazard consider­
                     ations are summarized. This paper presents recommendations for desired ranges of coarse
                     woody debris. Example simulations illustrate changes in debris over time and with varying
                     management.

                     Keywords: fuel, salvage, snags, reburn, Fire and Fuels Extension to the Forest Vegetation
                               Simulator




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Experiment Station. In 1965 he transferred to the Inter­             analysis, leaf area index analysis, and FFE-FVS fuel
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                                                                       Thanks to Stu Lovejoy and the Bitterroot National
the Fire Sciences Laboratory in Missoula, MT. She has
degrees in English (A.B., Harvard University, 1978) and              Forest staff for suggesting the need for this paper and for
forestry (M.S., 1982 and Ph.D., 1991, University of Montana).        providing data for the example simulations.




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                              Coarse Woody Debris: Managing
                              Benefits and Fire Hazard in the
                              Recovering Forest
                              James K. Brown
                              Elizabeth D. Reinhardt
                              Kylie A. Kramer


 The Management Concern                                       planning. We examined the knowledge of the ecology
                                                              of CWD, its contribution to potential fire behavior,
    Large fires in the Inland West during the past            historical stand structures and large fuel accumula­
 decade and efforts to conduct salvage logging have           tions, and potential reburn severity as a basis for
 intensified public debate on what is the proper harvest      identifying optimum quantities of CWD. The fires of
 of dead trees. Harvesting fire-killed trees as soon as       2000 on the Bitterroot National Forest served as a case
 possible following fire is often called salvage. The         study to illustrate the way in which simulation model­
 objectives of salvage can be to provide economic value,      ing can be used in conjunction with these general
 improve forest health by thinning, and reduce fire           concepts to aid in planning. Example simulations use
 hazard by removing fuel (Gorte 1996; SAF 1995). In           data from the Bitterroot Forest. The general discus­
 this report, harvesting and salvage refer to cutting of      sion of coarse woody debris is meant to be broadly
 trees for their product value and for reducing fire          applicable and not limited to a particular forest.
 hazard. Positive values of salvage harvest are gener­          A note on terminology: low soil heating severity or
 ally perceived as economic benefits from jobs and            burn severity as reported in the Bitterroot Post Fire
 forest products, site rehabilitation, fuel hazard reduc­     Assessment (Bitterroot National Forest 2000) and as
 tion, and lessening the buildup of insect pests. Nega­       used in this paper is typical of understory and mixed
 tive values include lost recreational opportunities,         fire regime types. Moderate severity is typical of mixed
 damaged soils through erosion and reduced nutrient           and stand-replacement fire regime types, and high
 processes, reduced wildlife habitat, and spread of           severity is typical of the stand-replacement fire re­
 weeds (McIver and Starr 2001). A quandary faced by           gime type. Fire regime type refers to historical effects
 managers is deciding where and how to manage fire-           of fire (Brown 2000).
 killed trees in the new developing forest. Their deci­
                                                                • Understory fire regime—fires are generally non-
 sions about taking action come down to two questions:
                                                                  lethal to the overstory (approximately 80 percent
 Where on the landscape should cutting and fuel treat­
                                                                  or more of the dominant vegetation survives).
 ment be undertaken, and how much of what sized
 material should be removed?
                                                                • Stand-replacement fire regime—fires are lethal
                                                                  to most aboveground dominant vegetation (ap­
    An important goal in dealing with these concerns is
                                                                  proximately 80 percent or more of the dominant
 to manage toward quantities of accumulated downed
                                                                  vegetation is killed).
 woody material such that the risk of damage from a
 reburn is acceptable and benefits derived from coarse
                                                                • Mixed severity fire regime—fire severity varies
                                                                  between understory and stand-replacement
 woody debris (CWD) can be realized. Considerable
                                                                  regimes.
 uncertainty exists over the effects of a possible reburn
 on soil productivity and vegetation succession. Al­
 though repeated fires have occurred as long as vegeta­       Ecology of Coarse Woody
 tion covered the landscape (Pyne 1982), the term
 “reburn” has specific meaning. Reburn results when
                                                              Debris_________________________
 falldown of the old burned forest contributes signifi­         Coarse woody debris is typically defined as dead
 cantly to the fire behavior and fire effects of the next     standing and downed pieces larger than 3 inches in
 fire.                                                        diameter (Harmon and others 1986), which corre­
    The purposes of this report are (1) to identify a range   sponds to the size class that defines large woody fuel.
 of CWD quantities that provides for positive values          Some ecologists include woody material larger than
 and avoids excessive fire hazard, and (2) to illustrate      1 inch in diameter as CWD. Coarse woody debris is an
 how simulation of the effects of various management          important component in the structure and functioning
 alternatives on CWD over long periods can assist in          of ecosystems. A dead tree, from the time it dies until


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it is fully decomposed, contributes to many ecological         and Koski (1989) observed that 95 percent of the
processes as a standing snag and fallen woody mate­            CWD came from within 60 ft of the stream. They also
rial lying on and in the soil. Fire, insects, pathogens,       observed that the larger the stream, the larger the
and weather are responsible for the decomposition of           CWD needed to form a stable accumulation. These
dead organic matter and the recycling of nutrients             studies suggest that leaving an uncut strip 60 to 100
(Olson 1963; Stoszek 1988). Fire directly recycles the         ft from each streambank would maintain CWD in
carbon of living and dead vegetation. The relative             aquatic habitat.
importance of fire and biological decomposition de­               A range of desirable snag densities depending on
pends on site and climate (Harvey 1994). In cold or dry        bird species has been suggested for forests in the
environments, biological decay is limited, which al­           Northern Rocky Mountains. About 25 percent of the
lows accumulation of plant debris. Fire plays a major          bird species in the Northern Rocky Mountains are
role in recycling organic matter in these environ­             cavity nesters (Bull and others 1997). Cavity nesting
ments. Without fire in these ecosystems, nutrients             birds and bats mostly utilize standing snags especially
are tied up in dead woody material for a long period.          those of large diameters (Fischer and McClelland
Fire, insects, and diseases perform similar roles in           1983). Smaller snags can be important for foraging.
that they both create and consume CWD and smaller              Salvage logging can enhance habitat for some species
dead woody material.                                           but diminish it for others, resulting in a shift in
                                                               diversity but not in richness (McIver and Starr 2001).
Importance to Wildlife                                         For Pileated Woodpeckers (Dryocopus pileatus), Bull
                                                               and Holthausen (1993) showed that viable popula­
   Coarse woody debris plays many roles in the forest.         tions were maintained with an average of four snags
Animal life processes, site productivity, site protec­         per acre (10-inch and greater diameter at breast height,
tion, and fire are probably the ones that managers             d.b.h.). Following high intensity wildfire Saab and
most often deliberate. Coarse woody debris contrib­            Dudley (1998) found that the Lewis’ Woodpecker
utes to biodiversity by being part of the life cycle of soil   (Melanerpes lewis) and Kestrel (Falco sparverius) pre­
mites, insects, reptiles, amphibians, mammals, and             ferred salvage logged areas that retained about 25
birds (Brown 2000). Invertebrates such as bark beetles,        snags per acre (more than 9-inch d.b.h.). The Black-
wood borers, carpenter ants, and wasps utilize CWD             backed Woodpecker (Picoides arcticus) and Northern
for food and protection. Mammals, reptiles, and am­            Flicker (Colaptes auratus) preferred the unlogged ar­
phibians mostly utilize downed logs for purposes such          eas having about 50 snags per acre (more than 9-inch
as feeding, reproduction, and shelter (Harmon and              d.b.h.). Bull (1994) suggested leaving 40 standing or
others 1986). As more downed CWD accumulates in                fallen snags per acre (preferably more than 15-inch
the forest, activity of small mammals such as voles            d.b.h.) to retain as much wildlife as possible in stands
increases (Ucitel 1999). A 15 to 20 percent coverage of        to be salvage logged following fire. The CWD loadings
downed CWD was recommended by Carey and Johnson                represented by these snag densities range from about
(1995) for favoring small animal communities. A 15             1 to 25 tons per acre depending on diameter of trees
percent coverage of CWD is equivalent to 32 tons per           (table 1, 2).
acre of 6-inch diameter pieces or 64 tons per acre of 12-         Although an abundant literature shows the impor­
inch pieces, assuming wood densities typical of ponde­         tance of standing and downed CWD to wildlife, few
rosa pine and lodgepole pine.                                  studies have quantified amounts needed to maintain
  Woody debris incorporated in streams creates habi­           specific populations much less whole faunal communi­
tat diversity that improves rearing habitat for anadro­        ties. One difficulty in interpreting and applying re­
mous fish (Everest and Harr 1982) and provides sur­            search results is that many studies deal with popula­
vival cover. Woody debris also provides a source of            tions on specific sites and report conditions that
nutrients for aquatic life that increases abundance of         enhance or maximize populations on those sites. Main­
macroinvertebrates (Smock and others 1989). How­               tenance of metapopulations and a diversity of spe­
ever, excessive accumulations can block fish passage,          cies, however, requires a landscape perspective and a
cover important spawning sites, and damage aquatic             strategy that provides a diversity of habitat struc­
habitat during postfire flood events (Gresswell 1999).         tures (Hutto 1995; Lyon and others 2000; Tobalske
Desirable quantities of CWD to leave following sal­            and others 1991).
vage logging for recruitment into streams to benefit
aquatic life are only generally known. However, the            Importance to Soils
origin of CWD that eventually becomes incorporated
in streams is known. In small streams in Washington              Maintaining soil productivity over the long term
and Oregon, McDade and others (1990) found that 70             generally requires presence of soil organic material
percent of debris pieces were rooted within 60 ft of the       and fire effects characteristic of the natural fire re­
streambank, and 50 percent came within a 30-ft wide            gime. Most fires characteristic of the historic fire
strip on each side of the stream. In Alaska, Murphy            regime or moderate severity prescribed fires are likely

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                      Table 1—Loading of standing dead ponderosa pine coarse woody debris (tons per acre) by number
                              of snags per acre and d.b.h. (inches). Loadings computed from table 2.

                                                                                                 d.b.h.
                      Number                       6              8             10          12            14     16     20       24
                         4                      0.2            0.4             0.8         1.3         2.0       2.9    5.3       8.6
                         6                        .3             .6            1.2         2.0         3.1       4.4    8.0      12
                         8                        .4             .9            1.6         2.7         4.1       5.9   11        17
                        10                        .5           1.1             2.0         3.3         5.1       7.4   13        22
                        15                        .7           1.6             2.9         5.0         7.7      11     20        32
                        20                      1.0            2.1             3.9         6.6        10        15     27        43
                        25                      1.2            2.7             4.9         8.3        13        18     33        54
                        30                      1.4            3.2             5.9        10          15        22     40        64
                        40                      1.9            4.3             7.8        13          20        29     53        86
                        50                      2.4            5.4             9.8        17          26        37     67
                       100                      4.8           11              20          33          51        74
                       200                      9.6           21              39          66         102
                       300                     14             32              58         100
                       400                     19             43              78
                       500                     24             54              98




 Table 2—Total tree bole weight (tons) of wood and bark of                                 to enhance soil development and fertility over the long
         individual trees based on whole tree volume                                       term by periodic release of nutrients. However, ex­
         equationsa, wood density, and bark-to-wood ratios                                 tremely severe fires or large severely burned areas
         for ponderosa pine (PP), Douglas-fir (DF), and                                    within fires, brought on by either rare natural events
         lodgepole pine (LP)b. Data based on trees from                                    or humans, are likely to be highly detrimental to forest
         stands of a variety of site indexes and densities.
                                                                                           soils (Harvey and others1989).
 d.b.h.                         PP                     DF                      LP             Nitrogen is the most limiting nutrient in forest
                                                                                           ecosystems. Its quantity and form in the soil is almost
   4                        0.017                   0.021                    0.026
                                                                                           totally dependent on microbial action by way of two
   5                         .029                    .037                     .051
                                                                                           distinct processes, symbiotic and nonsymbiotic N fixa­
   6                         .048                    .060                     .081
   7                         .074                    .088                     .118         tion. Except where N-fixing plants such as alder (Alnus
   8                         .107                    .123                     .162         spp.) and ceanothus (Ceanothus spp.) are in good
   9                         .147                    .166                     .215         supply, most N acquisition in forests comes from
  10                         .196                    .218                     .275         nonsymbiotic fixation that depends on organic matter
  11                         .258                    .274                     .343         for energy (Harvey and others 1989). Another group of
  12                         .332                    .341                     .420         microorganisms that depend on soil organic matter
  13                         .416                    .416                     .504         and is important to a conifer’s ability to acquire
  14                         .511                    .501                     .597         nutrients such as N is the ectomycorrhizal fungi
  15                         .617                    .595                     .698         associated with roots. Using ectomycorrhizae as a
  16                         .736                    .699                     .807         bioindicator of healthy, productive forest soils, Gra­
  18                        1.009                    .938                    1.051         ham and others (1994) developed conservative recom­
  20                        1.334                   1.220                    1.328         mendations for leaving CWD after timber harvesting
  22                        1.714                   1.546
                                                                                           to ensure enough organic matter was left to maintain
  24                        2.151                   1.921
                                                                                           long-term forest productivity. For Montana habitat
  26                        2.648                   2.344
  28                        3.208                   2.819                                  types (Pfister and others 1977) they recommended 5
  30                        3.832                   3.346                                  to 9 tons per acre (Douglas-fir/ninebark), 12 to 24
                                                                                           tons per acre (Douglas-fir/pinegrass), 7 to 14 tons per
    a Equations for 4-inch d.b.h. from Faurot (1977) and for 5- to 30-inch d.b.h. from
 Brown and Johnston (1976) and Stage (1973).                                               acre (grand fir/bear grass), 8 to 18 tons per acre
    b Wood density and bark ratios from Brown and others (1977).                           (subalpine fir/bluehuckleberry, subalpine fir/grouse




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whortleberry), and 12 to 24 tons per acre (subalpine          smoldering fire on a site for extended periods. When
fir/bear grass, subalpine fir/twinflower). For ponde­         high winds occur, the sustained burning of persistent
rosa pine/fescue and Gambel oak (Quercus gambelii)            fire can be fanned into fast moving, dangerous fires
habitat types in Arizona, they recommended 5 to 13            (Chandler and others 1983). Historically, this was
tons per acre. These recommendations were based on            probably an important factor in development of large
studies in undisturbed mature stands where ectomyco­          fires. The probability of a reburn is higher, to an
rrhizae populations were used to determine optimum            unknown extent, in heavy accumulations of CWD be­
amounts of organic material. The upper limit of the           cause of the high fire persistence that characterizes
recommended ranges or higher seems appropriate for            decayed CWD. However, the probability of wildfire
stands recovering from high severity wildfire where           due to high fire persistence can be mitigated by effec­
much of the partially decomposed CWD and other                tive fire detection and suppression actions.
forest floor organic matter was consumed.                        Torching, crowning, and spotting, which contribute
   The role of CWD in site protection can be significant      to large fire growth, are greater where large woody
or minor depending on site conditions. On steep slopes,       fuels have accumulated under a forest canopy and can
CWD helps protect soils from erosion due to surface           contribute to surface fire heat release. Duration of
runoff. It disrupts flow near the ground, creates shade       flaming and energy release during flaming can be
for seedlings, and reduces trampling by livestock,            computed using a burnout model (Albini 1976) to
wildlife, and people.                                         indicate the potential for extreme fire behavior such as
                                                              crowning and long-distance spotting. Compared to
                                                              surface fuels with little CWD, Rothermel (1991) showed
Fire Hazard_____________________                              that 30 tons per acre of 6-inch sound pieces increases
   Fire hazard generally refers to the difficulty of          energy release of surface fuels in the flaming front and
controlling potential wildfire. It is commonly deter­         the associated crown fire, but not substantially. How­
mined by fire behavior characteristics such as rate-of-       ever, if the large woody fuel is decayed and broken up,
spread, intensity, torching, crowning, spotting, and          its contribution is considerably greater, similar to fire
fire persistence, and by resistance-to-control. In this       in heavy slash. The contribution of large woody fuel to
paper we also consider fire severity to be an element of      surface fire intensity is likely underestimated in fire
fire hazard. Fire severity refers to the effects of fire on   behavior models that treat large woody pieces as
the ecosystem. It depends on fuel consumption and             smooth cylinders. An assumption of a smooth surface
heat flux into all living components. Downward heat           disregards the finely textured nature of bark-covered
transfer into the soil is an important determinant of         and weathered pieces.
fire severity (Ryan and Noste 1985). Fire intensity,
largely a measure of upward heat transfer, is not a           Resistance-to-Control
reliable indicator of fire severity because it can corre­
                                                                Resistance-to-control is generally viewed as an esti­
late poorly with downward heat transfer. Small and
                                                              mate of the suppression force required for controlling
large downed woody fuels contribute differently to the
                                                              a unit of fire perimeter. Ratings may be subjective as
various elements of fire hazard.
                                                              applied in the Photo Guide for Appraising Downed
                                                              Woody Fuels in Montana Forests (Fischer 1981). For
Fire Behavior                                                 example, “high” resistance-to-control means “slow work
  The influence of small woody fuels (3 inches and less       for dozers, very difficult for hand crews; hand line
in diameter) on spread rate and intensity of surface          holding will be difficult.” Large woody fuel loadings in
fires and associated torching and crowning is substan­        the Photo Guide ranged widely depending on size of
tial and can be estimated using widely accepted fire          downed pieces and undergrowth. Loading for a me­
behavior models (Andrews 1986; Finney 1998;                   dium rating ranged from 14 to 50 tons per acre.
Rothermel 1983; Scott and Reinhardt 2001). Large                The USDA Forest Service Pacific Southwest Region
woody fuels have little influence on spread and inten­        (1976) developed a resistance-to-control rating scheme
sity of the initiating surface fire in current fire behav­    based on difficulty of hand line construction and an
ior models; however, they can contribute to develop­          inventory of downed woody fuel loadings by size classes.
ment of large fires and high fire severity. Fire              High and extreme resistance-to-control ratings were
persistence, resistance-to-control, and burnout time          reached for the following loadings (tons per acre):
(which affects soil heating) are significantly influ­            0- to 3-inch diameter     3- to 10-inch diameter
enced by loading, size, and decay state of large woody                                      High        Extreme
fuel. However, methods for estimating and interpret­                       5                 25            40
ing these fire characteristics are not well established.                  10                 15            25
  Accumulations of large dead woody fuel, especially                      15                  5            15
containing larger diameter decayed pieces, can hold


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   The above ratings were based on the assumption                          interpreting the predicted soil temperature profiles
 that few downed pieces greater than a 10-inch diam­                       across a large landscape. In addition to considering
 eter were present. In computing the ratings, the num­                     temperature, three other aspects of soil heating need
 ber of large pieces (greater than 10 inch) by length                      to be evaluated: depth of undesirable heating, dura­
 class is more important than their loading in deter­                      tion of heating (for example, 1 minute) that allows
 mining resistance-to-control. If the number of pieces                     heat effects to unfold, and proportion of area that is
 greater than a 10-inch diameter exceeded 10 to 20 per                     impacted by undesirable soil temperatures. This last
 acre, depending on length, less 3- to 10-inch diameter                    element is necessary because the model predicts a
 material would be required to reach the high and                          time-temperature profile based on an estimated unit
 extreme resistance-to-control ratings.                                    average heat flux that expresses heating uniformly
                                                                           across a given area. In reality, however, excessive soil
 Soil Heating                                                              heating is concentrated beneath large woody fuel
                                                                           pieces particularly in the vicinity of piece intersec­
   Soil heating is a complicated process that depends                      tions. For any predicted temperature it can be as­
 on burnout time of duff and woody material, removal                       sumed that the temperature is considerably higher
 of the insulating duff layer, and soil properties                         where the soil is overlaid with CWD, and elsewhere it
 (Hungerford and others 1991). Under severe burning                        is less than predicted.
 conditions, soil organic matter can be removed or                            To explore the effect of CWD on soil temperatures we
 destructively altered, nutrients volatilized, water-ab­                   exercised the soil heating model in FOFEM for a range
 sorbing capacity decreased, and living plant parts and                    of fuel loadings (fig.1a). We assumed absence of a duff
 microorganisms killed. Loss of soil organic matter that                   layer, typical of a young forest developing after stand­
 is necessary for sustaining the biological activity of                    replacement fire. One possible criterion for evaluating
 soils (DeBano and others 1998) is probably the most                       undesirable soil heating is the temperature at which
 serious long-term concern.                                                organic matter is destructively distilled. This occurs at
   Estimates of soil heating can be obtained using                         200 to 300 °C (Hungerford and others 1991). Figure 1a
 FOFEM (Reinhardt and others 1997). The model pre­                         indicates that high fuel loads (40 tons per acre) are
 dicts a time-temperature profile at specified depths;                     necessary to cause soil to be excessively heated (at least
 depths at which critical temperatures occur can also                      275 °C) from the surface to 2 cm depths. Figure 1b can
 be predicted. But to date little experience exists in                     be used to help with interpretation of soil heating




                                               ------------------   1 cm
                                                                    3 cm
                                               -----------------    5 cm
                                               — — — - 7 cm
                                               — ---------- s cm
                                               ----------------- 11 cm



 Figure 1—(a) Simulated soil heating. Curves show maximum temperatures reached at several
 soil depths for a range of woody fuel loadings. In these simulations, it was assumed the soils and
 fuels were dry, and that there was no duff to insulate the soil. (b) Percent of area covered by woody
 fuel for a range of piece diameters and woody fuel loadings, assuming the fuel is evenly spread.
 Actual area coverage would be reduced because of piece overlap, but area impacted by heating
 might be greater due to heating of soils adjacent to but not immediately below woody fuel.


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results. It shows, for several piece sizes, the coverage          In restoring the dry site forest communities, a range
of CWD over a range of fuel loads. Even at high fuel            of alternatives is possible because of the wide range in
loads, a small portion of an area is covered with woody         stand structures that probably existed historically.
fuel. In areas that have no coverage, minimal soil              However, control of shade-tolerant species such as
heating can be expected.                                        Douglas-fir will probably be necessary either using
  A practical consideration for minimizing severe soil          mechanical means or prescribed fire repeated periodi­
heating is to concentrate salvage activities in thickets        cally. Where prescribed fire is applied, probably after
of dead trees. If the thickets fall down naturally the          young pine can tolerate low intensity fire, woody fuels
CWD becomes concentrated. Burnout of large woody                including CWD will be partially reduced.
fuels is enhanced where the material is concentrated
because of the interaction between adjacent burning             Large Woody Fuel
pieces. Thus, salvage can be used to reduce and scatter
the potential fuel concentrations.                                Quantities of downed woody fuel, hence CWD, that
                                                                fall within the presettlement era historical range of
                                                                variability for the understory and mixed fire regime
Historical Conditions                                           types can be inferred from existing inventory data and
                                                                knowledge of fire history and fuel consumption. An
Stand Structure                                                 indication of large downed woody fuel loadings that
  On dry sites occupied by ponderosa pine and mixed             existed historically in the ponderosa pine, Douglas-fir,
ponderosa pine and Douglas-fir, a structural mosaic             and lodgepole pine cover types is the summary of data
probably existed due to variation in tree establish­            gathered by forest inventory (stage I) and stand exams
ment, fire caused mortality, and other factors (Arno            (stage II) during the 1970s (Brown and See 1981). The
and others 1995). Research plots on the Bitterroot and          forest inventory was based on randomly located plots
Lolo National Forests showed that ponderosa pine                and is representative of forestwide conditions exclud­
existed in all-aged and even-aged stands that experi­           ing classified wilderness. Stand exams were located
enced similar fire histories. Although age-class struc­         where silvicultural activities were anticipated, such
tures varied substantially, most stands probably ap­            as timber sales that were often targeted for high risk
peared open or parklike (Arno and others 1997). Long            stands. Thus, quantities of downed woody material
periods (50 to 100 years) without new pine establish­           might tend to be greater than found in the forest
ment occurred presumably because the site was too               inventory over the whole forest as suggested in table 3.
stocked to allow recruitment of shade-intolerant spe­           Results of inventories are summarized for the Bitter­
cies, or most of the regeneration was killed by fire.           root and Lolo National Forests, which have similar
  After 1900, when occurrence of frequent, low inten­           forests and fire histories (table 3). Considerable vari­
sity fires was significantly reduced in Western forests,        ability in quantities of downed woody material prob­
understories changed with an increase in basal area             ably existed with many stands having little downed
and number of trees per acre. A shade-tolerant tree             woody material and a few stands having excessive
understory of Douglas-fir developed. We computed the            accumulations.
increase in standing bolewood and crowns for trees up             It seems reasonable to speculate that on average the
to an 8-inch diameter that accrued from 1900 to 1991            quantities in table 3 would be less if understory fire
on the four Bitterroot National Forest study plots              had been allowed to occur at presettlement frequen­
(Arno and others 1995). The increase in bolewood                cies. This is supported by Habeck’s (1976) study in the
weight ranged from 1 to 11 tons per acre and crown              White Cap drainage of the Selway-Bitterroot Wilder­
weight from 0.5 to 6 tons per acre.                             ness. In ponderosa pine stands having less than 0.5



                    Table 3—Average quantities of large woody fuel (tons per acre) by ponderosa pine
                            (PP), Douglas-fir (DF), and lodgepole pine (LP) cover types on the
                            Bitterroot and Lolo National Forests inventoried by the forest survey and
                            stand exam programs (Brown and See 1981). Number of plots is shown
                            in parentheses.

                                                Bitterroot                          Lolo
                    Program              PP        DF          LP         PP        DF          LP
                    Forest survey       5.3        9.2         12.2       4.8        11.5       13.3
                                       (218)     (1,056)      (203)      (120)     (1,000)     (768)
                    Stand exam          11.3      21.1        25.9        10.4       11.9       15.8
                                      (1,685)    (7,158)     (1,152)     (665)     (4,233)    (1,591)


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 inch (1 cm) of duff (averaged 2.4 tons per acre), large                Optimum Coarse Woody
 woody fuels averaged less than 1 ton per acre. The
 shallow duff indicated a fire history characteristic of                Debris_________________________
 the understory fire regime. In stands having more                        The amount of CWD that provides desirable biologi­
 than a 0.5 inch of duff (averaged 11 tons per acre),                   cal benefits, without creating an unacceptable fire
 indicating a long period without fire, large woody fuels               hazard or potential for high fire severity reburn, is an
 averaged 23 tons per acre.                                             optimum quantity that can be useful for guiding man­
    Snag densities on pre-European landscapes were                      agement actions. To arrive at this optimum, various
 estimated by Harrod and others (1998) as 6 to 14 snags                 sources of information about the roles of CWD in the
 per acre for dry forests east of the Cascades. This                    forest and its historical dynamics should be consid­
 converts to approximately 4.5 to 7.0 tons per acre                     ered. Most sources of technical knowledge about the
 based on the wood density of ponderosa pine. He                        benefits of CWD and fire characteristics deal with
 assumed stand structure to be open and parklike                        individual species or restricted segments of the ecosys­
 (basal area of 60 and 80 sq ft per acre) for forests of                tem. We integrated the various sources of information
 ponderosa pine, Douglas-fir, and dry associations of                   to identify an optimum range of CWD that provides an
 grand fir (Abies grandis). Lower densities favored                     acceptable risk of fire hazard while providing benefits
 larger tree diameters, which ranged from 7 to 35                       to soil and wildlife (fig. 2). The optimum quantity for
 inches. Snags were recruited with a life of up to 45                   soil and fire considerations refers to downed CWD. For
 years under a regime of frequent, low intensity surface                wildlife the optimum quantity involves both standing
 fires that created an uneven-aged structure with                       and downed CWD.
 small even-aged groups. In a study of snag abun­                         Although quantitative information is limited, we
 dance in western Montana based on forest inventory                     stress it here because it provides a good basis on which
 data, Harris (1999) reported an average of 2.5, 9, and                 to plan. To summarize the positive values from earlier
 12 snags per acre in uncut stands of the ponderosa                     discussion, for maintaining soil productivity the upper
 pine, Douglas-fir, and lodgepole pine cover types. This                limit ofthe following ranges is recommended: 5 to 10 tons
 is equivalent to about 2.2 to 6.0 tons per acre of snags.              per acre for warm, dry ponderosa pine and Douglas-fir
 The spatial distribution of snags was highly variable,                 types, 10 to 20 tons per acre for cool Douglas-fir types,
 with many plots having none and some plots having                      and 8 to 24 tons per acre for cool lodgepole pine and
 many. The estimated snag densities from both studies                   lower subalpine fir types. Interestingly, these quanti­
 over their modeled life span (Harrod and others 1998)                  ties coincide with the average amounts of large woody
 seem to relate in a plausible way to the accumulated                   fuel inventoried by forest survey and stand exams
 downed large woody fuels in table 3.                                   (table 3) that may represent the high end of
                                                                        presettlement conditions because occurrence of fire




                                                               a                                                                        b
                                                                        Fire hazard
 Fire ftazend



                                                                        SoN heating
 Soil heahng


                                                                        Prod Lid ivily
 Prodeotiviiy


                                                                            WltdllfB
     Wpldhie



                                                                          Hisioricai
   Historical




                0   10           20           30          40   50                        0   10           20           30          40       50

                         Coarse woody debris, tons/acre                                           Coarse woody debris, tons/acre

 Figure 2—Optimum ranges of coarse woody debris for providing acceptable risks of fire hazard and
 fire severity while providing desirable quantities for soil productivity, soil protection, and wildlife
 needs for (a) warm dry forest types and (b) cool and lower subalpine forest types. Dotted lines show
 a range that seems to best meet most resource needs: 5 to 20 tons per acre for the warm dry types
 and 10 to 30 tons per acre for other types.


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and associated fuel consumption had already been            judgment to consider that the larger the diameter of
reduced compared to the historical fire regime. Al­         downed CWD the greater the loading that could be
though fire both creates and consumes fuel (Brown           allowed without undesirable fire effects. A graph of
1985), fuel depletion would tend to be greater than fuel    CWD surface area by piece diameter and vertical
accretion in high frequency fire regime types such as       projection of piece areas by piece diameter (fig. 3) can
the warm, dry ponderosa pine and Douglas-fir types.         provide some guidance for adjusting the optimum
   For cavity-nesting birds, up to 25 tons per acre may     range. The curves flatten at about a 5-inch diameter
be desirable depending on species (see tables 1 or 2 for    for the vertical projection and at an 8-inch diameter for
converting tons per acre to number of snags per acre).      surface area. This suggests that where CWD com­
For small mammals, more than 30 tons per acre is            prises predominately 3- to 6-inch material, the opti­
best. Needs of riparian systems for CWD can be met by       mum quantity is less, perhaps by 5 tons per acre or
leaving all or most of the trees in a 60- to 100-ft wide    more, than for larger sized material. With this in
strip on each side of streams. A wide range in CWD is       mind, it seems reasonable to assume that high fire
indicated for wildlife (fig. 2) because desirable quanti­   hazard ratings apply when 25 to 30 tons per acre of
ties vary greatly by species. However, insufficient         CWD largely comprises 3- to 6-inch material. If quan­
knowledge exists to define the upper limit of CWD           tities of CWD, comprising mostly smaller diameter
beneficial to wildlife. To encourage a diversity of wild­   pieces (3 to 6 inches), were at the upper end of the
life species, a worthy objective may be to manage for a     optimum range, adverse soil heating might occur at
wide range of CWD across the landscape. There is            low fuel moisture contents, especially if substantial
considerable latitude within the optimum range for          quantities of small woody fuels were also present (8 to
managing CWD to achieve benefits and avoid exces­           10 tons per acre or more).
sive wildfire threats.
   To summarize the negative values, fire hazard in­
cluding resistance-to-control and fire behavior reach       Severity of Reburn
high ratings when large fuels exceed about 25 to 30            A question often asked by managers is if a reburn
tons per acre in combination with small woody fuels of      occurs, what fire effects can be expected? The interest
5 tons per acre or less. Excessive soil heating is likely   is primarily in recovery of vegetation and possible
at approximately 40 tons per acre and higher. Thus,         impairment to soil productivity. The purpose of this
generally high to extreme fire hazard potential exists      section is to suggest in general terms how burn sever­
when downed CWD exceeds 30 to 40 tons per acre.             ity and postfire succession might be affected by recur­
   Consideration of these positive and negative aspects     rence of fire at varying periods following the previous
indicates that the optimum quantity of CWD is about         fire. The probability of a reburn occurrence, which is
5 to 20 tons per acre for warm dry ponderosa pine and       small for a particular site but high over a large area
Douglas-fir types and 10 to 30 tons per acre for cool       such as a Ranger District, is not dealt with here.
Douglas-fir and lodgepole pine types and lower subal­
pine fir types. The recommended optimum ranges of
CWD quantities (fig. 2) should be modified by consid­
eration of other factors such as quantity of small
woody fuel, diameter of CWD, landscape level needs,
and ecosystem restoration objectives. The CWD opti­
mum quantities for acceptable fire hazard are appro­
priate when accompanied by small dead fuel loadings
of about 5 tons per acre or less. Acceptable CWD quanti­
ties are less at higher small fuel loadings (greater than
8 to 10 tons per acre). Acceptable CWD for fire hazard
(fig.2) is slightly less for the warm, dry sites because
they occur in a more flammable fire environment
where generally less soil organic materials are neces­
sary for maintaining soil productivity.
   Higher loadings of CWD are acceptable where larger
piece sizes predominate, for example in accumulated
falldown of old growth trees. Larger piece sizes also
are desirable because, faced with decomposition and
fire, they persist longer to benefit wildlife and soil
productivity. Unfortunately, the relationship between
                                                            Figure 3—Surface area and vertical
quantity and size of CWD and the various measures of
                                                            projection per ton of woody material as they
fire hazard is largely undefined. Thus, it is a matter of
                                                            vary by size class.


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   Vegetative succession following forest fire including      be lost. Even seedlings of species having sprouting
 reburns depends on a number of interacting factors           capability could die if their root systems are not well
 including fire severity, prefire vegetation, species ad­     established.
 aptations to fire, environmental conditions, and chance         10 to 30 Years After First Fire—Downed CWD
 (Brown 2000; Lyon and Stickney 1976; Miller 2000;            would exhibit some decay and support a longer period
 Morgan and Neuenschwander 1988). Although suc­               of burning. A duff layer, however, would not be well
 cession depends on many variables, the following             established and would be unable to contribute to soil
 principles can provide a general description of plant        heating. Thus, high burn severity would primarily
 community development after a reburn.                        occur where large woody material was lying on or near
    1. The course of succession is set by the prefire         the soil surface. High severity fire could be substantial
                                                              where a large proportion of the soil surface was di­
 composition of species that survive fire onsite by pro­
                                                              rectly overlain by large woody material, which could
 tected sprouting plant parts and seeds (Stickney 1990).
                                                              accumulate from falldown of a large amount of tree
 In Northern Rocky Mountain wildfires, which are
                                                              basal area. A limited amount of conifer regeneration
 mostly of moderate to high severity, there is a ten­
                                                              might be possible from young cone-bearing trees es­
 dency to get back most of the species that were present
                                                              tablished onsite after the previous fire. Onsite herbs
 before fire (Lyon and Stickney 1976).
   2. Many herb and shrub species have sprouting              and shrubs would dominate the recovery vegetation
                                                              except where burnout of large woody pieces caused
 parts such as rhizomes, bulbs, and root crowns that
                                                              deep soil heating, which would occur particularly in
 are buried in mineral soil to varying depths.
                                                              the near vicinity of overlapping pieces.
   3. The more severe the fire the higher the mortality
 and the less the survivor component in both species             30 to 60 Years After First Fire—Large woody
 and number of plants (Stickney 1990). Only deeply            pieces would probably exhibit considerable decay, and
 buried sprouting parts survive. Resilient species such       a forest floor of litter and duff would be established to
                                                              a variable extent depending on the density of over­
 as pinegrass (Calamagrostis rubescens) and Douglas
                                                              story conifers. Burnout of large woody pieces and duff
 spirea (Spiraea betulifolia) usually retain surviving
 plant components. Further additions must come from           is assisted by the interaction of these two components
 offsite plants. Offsite colonizers that have light, easily   (Brown and others 1991). Higher severity burning
                                                              than would typically occur during earlier periods is
 wind-disseminated seeds are favored. Thus, both de­
 sired native plant and weed species fitting this cat­        possible depending on extent of soil coverage by large
 egory are favored.                                           woody pieces. If a conifer overstory exists, crowning
                                                              coupled with burnout of duff could amplify the burn
   4. The pattern of burn severity within a fire relates
                                                              severity. Offsite colonizers would be an important
 to the pattern of fuel consumption (Miller 2000). Dura­
 tion of fire over uninsulated soil largely determines        component of the recovery in the more severely burned
                                                              locations. Prescribed fire during this period could
 severity.
                                                              greatly reduce the severity of a reburn wildfire. How­
   5. A future influence of unknown consequences on
                                                              ever, a reburn involving optimum quantities of CWD
 postfire succession is global warming, which may
                                                              should not lead to unusually severe fire effects. His­
 affect fire severity and plant establishment, growth,
 and mortality (Ryan 2000).                                   torically, fires probably often occurred in the under­
                                                              story and mixed fire regime types when large downed
    With these principles in mind, some general state­        woody fuels were in the optimum range.
 ments about the effects of a reburn during high to              To predict succession more specifically following a
 extreme burning conditions with low fuel moistures           reburn, managers would need an inventory of plant
 can be made:                                                 species onsite and offsite and an inventory of fuels.
    0 to 10 Years After First Fire—High severity fire
 is unlikely because duff and downed woody fuels that
 support prolonged burning would be absent. Large             Planning Retention of Coarse
 woody fuels would still be accumulating through              Woody Debris __________________
 falldown, and they would not have decayed enough to
 support smoldering combustion, which can extend the             The environmental effects of postfire salvage and
 period of downward heating. If salvage operations            fuel treatment activities may be due to the activity of
 leave concentrations of small woody fuels, high severity     removing trees or due to the altered stand structure
 burning could occur where the fuels are concentrated.        (McIver and Starr 2001). Deciding whether to remove
 This situation would be aggravated where stand­              fire-killed or damaged trees and how much CWD
 replacement fire did not consume foliage, thus allow­        should be retained on various sites could be viewed as
 ing a layer of scorched needles to accumulate as             passing through a series of decision gates or address­
 surface fuel. Surviving onsite herbs and shrubs should       ing questions that evaluate the environmental effects.
 dominate the recovering vegetation. Newly estab­             For example, consider the following questions:
 lished trees that regenerate by producing seeds could

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  1. Where will salvage activities cause unacceptable        response units was to keep wildfire hazard in the
soil compaction, erosion, and sedimentation? Roads           wildland-urban interface at acceptable levels by re­
have the greatest potential for exacerbating erosion.        ducing fuels and to return the vegetation and fuels to
Also consider the need for site rehabilitation and that      conditions falling within the historical range of vari­
a reburn in heavy accumulations of CWD could en­             ability (Brown 2000) for these fire regime types. Ap­
courage erosion.                                             proximately 86,000 acres burned in VRU 4, with 51
  2. Where will expected falldown of fire-killed trees       percent of the area experiencing moderate and high
together with existing downed woody fuels exceed the         soil heating severity, which fits with the mixed and
optimum CWD? Consider mortality to surviving trees           stand-replacement fire regime types that character­
that may die during the next 5 to 10 years due to fire       ize VRU 4. In all, 356,000 acres were burned on the
injury, insects, and windfall.                               Bitterroot National Forest and adjacent State and
  3. Where should landscape scale considerations in­         private lands.
fluence retention of CWD? For example, salvage may
be desirable in the wildland-urban interface zone and        Modeling Predictions
elsewhere to break up large blocks of high fuel load­
ings and create areas having low to moderate fire               Management of CWD should consider how much of
behavior potential and resistance-to-control. Salvage        it is desired onsite in the future. This requires predic­
may be undesirable where large diameter snags needed         tions of falldown of fire-killed trees, continued tree
by wildlife are in short supply in adjoining areas.          mortality and falldown, and loss of dead woody mate­
                                                             rial through deterioration and decay. The time inter­
                                                             val chosen for predicting CWD should be long enough
The Bitterroot National Forest: An                           for a new immature or mature forest to develop. Keep
Example_______________________                               in mind that the further in time the projection, the
                                                             more uncertainty exists about the predicted values.
 Following the wildfires of 2000 on the Bitterroot           Reasonable predictions of CWD can probably be pro­
National Forest, managers were particularly concerned        vided over a period of 50 to 100 years.
with:                                                           To project future trends of CWD we used The Fire
  1. Potential for large, severe fires in the future that    and Fuels Extension (FFE) (Beukema and others
are of high risk to firefighters and public safety           2000) to the Forest Vegetation Simulator (FVS) (Stage
  2. Creating a fire-defensible wildland-urban inter­        1973) to simulate the effects of alternative manage­
face                                                         ment strategies on future quantities of CWD and
  3. Recovery of the dry site forest types to fit with the   small woody fuels. The FVS simulates tree growth,
historical fire regime                                       tree mortality and regeneration, and the impacts of a
  4. Effects of a possible reburn on soil productivity       wide range of silvicultural treatments. The FFE simu­
and vegetation succession                                    lates additions to fuel pools from stand dynamics and
  5. Providing wildlife values and forest products           management activities, and the removal of fuels
  6. Avoiding soil erosion and sedimentation and inva­       through decay, mechanical treatments, and prescribed
sion of weeds                                                or wildfires. Various types of fuels are represented,
                                                             including canopy fuels and surface fuels by diameter
  Of primary concern were three ecosystems identi­           classes. Fire behavior of the propagating fire front and
fied as vegetation response units (VRU) in the Bitter­       fire effects, such as fuel consumption, tree mortality,
root Fires 2000 Assessment of Post-fire Conditions           and smoke production, are modeled. Model outputs
with Recovery Recommendations (Bitterroot National           include fuel characteristics, stand structure, snag den­
Forest 2000):                                                sity, and potential fire behavior that provide a basis
  1. VRU 2—warm, dry ponderosa pine (Pinus ponde­            for comparing proposed stand and fuel treatments.
rosa ) and Douglas-fir (Pseudotsuga menziesii var.              We selected three stands representing different veg­
glauca) habitat types                                        etation types on the Bitterroot National Forest to
  2. VRU 3—cool, dry, and moist Douglas-fir habitat          illustrate how FVS and FFE could be used to simulate
types                                                        the effects of no treatment, salvage, and fuel treat­
  3. VRU 4—cool lodgepole pine (Pinus contorta) and          ment on CWD. The selected stands were considered
lower subalpine fir (Abies lasiocarpa) habitat types.        typical of forest conditions occurring commonly on the
                                                             Bitterroot National Forest (table 4). The VRU 2 stand
  Approximately 126,000 acres in VRU 2 and VRU 3             contained a few old growth ponderosa pine and Dou-
were burned with 60 percent of VRU 2 and 49 percent          glas-fir trees with a dense understory of Douglas-fir, a
of VRU 3 experiencing moderate to high soil heating
                                                             condition that has developed extensively in the ab­
severity (Bitterroot National Forest 2000). Under­
                                                             sence of repeated low intensity fire. The VRU 3 stand
story and mixed fire regime types characterize VRU 2
                                                             is a pure Douglas-fir stand with trees mostly ranging
and VRU 3. Management direction for these vegetation


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 from 4 to 20 inches d.b.h. The VRU 4 stand consisted
 of a dominant lodgepole pine overstory with a dense
 understory of small subalpine fir and Englemann
 spruce (Picea engelmannii). The salvage treatment
 called for removing merchantable quality dead trees
 greater than 12 inches d.b.h. Approximately the same
 proportion of trees in each size class was removed.
 Fuel treatment called for removing dead trees 6 inches
 and less in d.b.h. by slashing, piling, and burning.
 Figure 4a shows an untreated stand typical of VRU 2
 following high severity fire, while figure 4b shows a
 similar stand following partial salvage and surface
 fuel treatment. Figure 4c shows a VRU 2 stand follow­
 ing low severity fire, partial salvage, and surface fuel
 treatment.
    For the simulation of high fire severity (100 percent
 tree mortality) in VRU 2, untreated CWD accumu­
 lated well beyond the optimum range for the next 100
 years (fig. 5). The large quantity of CWD together
 with 8 to 10 tons per acre of small woody fuel (fig. 6)
 presented a high fire hazard over many years. Salvage
 of 50 percent or more of the merchantable dead trees
 accompanied by treatment of fuel left an acceptable
 quantity of CWD (fig. 7). The number of snags greater
 than 12 inches d.b.h. per acre (snags per acre, SPA)
 initially ranged from 4 for the 100 percent salvage
 treatment to 17 for 50 percent salvage (table 5). After
 20 years SPA falls to 0.8 for 100 percent salvage and
 1.5 for 50 percent salvage. Many years elapse in high
 fire severity burns before newly grown large diameter
 snags can replace the fallen snags, so leaving an ample
 density of snags following fire can help maintain a
 minimal snag resource during the 20 to 40 year postfire
 period when many snags have already fallen. Leaving
 a high density of snags would require constraints on
 harvesting.
    Living stand structure and CWD varied considerably
 between simulations of low and high fire severity (fig.
 5). Under low severity fire (80 percent tree mortality),




 Table 4—Number of trees per acre by d.b.h. class (inches) for
         the representative vegetation response unit stands
         used in the FFE simulation of postfire recovery.

                  VRU2             VRU 3             VRU 4
 d.b.h.      DF       PP     DF         LP      ES        AF
    0-1     409              112       191     464        5345   Figure 4—(a) Untreated stand following high
    1-4     436                0        27                 246   severity fire, Bitterroot National Forest, 2002.
    4-8     142              153       130                  16   (b) Treated stand following high severity fire,
   8-12      56              141       108                  13   Bitterroot National Forest, 2002. Note the
  12-16      18               50        12                   2   reduced density of standing dead trees and the
  16-20      10        1      13                                 presence of coarse woody debris on the forest
  20-24       1                2                                 floor. (c) Treated stand following low severity
  24-28       2                                                  fire, Bitterroot National Forest, 2002. Note
  28-32                3                                         the standing live and dead trees, as well as
    32+                2                                         the residual coarse woody debris.


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Figure 5—Simulated quantities of standing and surface coarse woody debris and live 3+
inch biomass for vegetation response unit 2 with no salvage and no fuel treatments under
(a) low (80 percent tree mortality) and (b) high (100 percent tree mortality) fire severity
conditions. Shaded bands indicate desired ranges.




vegetation response unit 2 for combinations of 100 percent salvage, 50 percent salvage and
no salvage with treated and untreated fuels under (a) low (80 percent tree mortality) and
(b) high (100 percent tree mortality) fire severity conditions.



untreated CWD peaked at 24 tons per acre but re­                      For the VRU 3 stand, assuming high fire severity,
mained slightly higher than the 20-tons per acre upper              untreated CWD peaked at 53 tons per acre and re­
limit of optimum for next the 100 or more years due to              mained greater than the 30-tons per acre upper limit
contributions from growth and mortality of the surviv­              of optimum for the next 100 years (fig. 8). Salvage
ing forest. Fuel treatment without salvage removed                  accompanied by fuel treatment lowered CWD into the
about 4 tons per acre of CWD and 2 tons per acre of                 optimum range (fig. 9). The simulations for salvage of
small woody fuel. This kept CWD within the optimum                  all dead merchantable trees without fuel treatment
range and lowered fire hazard.                                      and 50 percent salvage accompanied by fuel treatment
                                                                    produced nearly the same amount of CWD over the


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  Figure 7—Simulated quantities of surface                                             Figure 8—Simulated quantities of standing
  coarse woody debris for vegetation                                                   and surface coarse woody debris and live
  response unit 2 for high severity-100                                                3+ inch biomass for vegetation response
  percent salvage-treat fuels, high severity-                                          unit 3 with no salvage and no fuel treatments
  50 percent salvage-treat fuels and low                                               under high (100 percent tree mortality) fire
  severity-no salvage-treat fuels.                                                     severity conditions. The shaded band
                                                                                       indicates desired ranges.



 simulation period. The CWD exceeded the 30-tons per                                   about 20 years in this simulation, the level of salvage
 acre upper limit of optimum for 18 years, making these                                affected snag density significantly. Depending on spe­
 treatments marginally acceptable. Regardless of the                                   cies and d.b.h., the time snags remain standing gener­
 level of salvage prescribed, fuel treatment was neces­                                ally ranges from 15 to 40 or more years. In planning for
 sary to keep CWD within the optimum range. Imme­                                      retention of a given amount of CWD, treatment of fuel
 diately after fire, SPA were 33 for 50 percent salvage                                that reduces small-sized CWD (trees up to 6 inches
 and 7 for complete salvage. Most snags fell within                                    d.b.h.) makes it possible to retain more large-diameter
 about 20 years. After that the difference in SPA be­                                  dead snags.
 tween salvage treatments was slight. However, for                                       For the VRU 4 lodgepole pine stand, the salvage
                                                                                       prescription had little effect on CWD (fig. 10) because
                                                                                       few merchantable trees were present. Without sal­
                                                                                       vage or fuel treatment, the CWD exceeded the opti­
 Table 5—Number of dead snags per acrein vegetation response                           mum range by 1 to 5 tons per acre for about 20 years
         unit 2 simulated by FFE for varying treatments and                            then fell within the optimum range. This simulation
         periods following fire.                                                       suggests that fuel treatment and salvage would be
                                                                                       unnecessary unless landscape considerations such as
                                                Years following fire
                                                                                       maintaining low fire hazard in the wildland interface
         Treatments                        3      20     40    60              80
                                                                                       zone or in a strategically placed fuel break are important.
 All snags (>0 inch d.b.h.)                                                              In stand-replacement fires, the CWD from the fire-
 80% M, no S, no Ta                     482       26      32        39       39        killed trees is all that exists for a long time, until the new
 100% M, no S, no T                     532       14      11        18       26        forest undergoes mortality and falldown. Some allowance
 100% M, 50% S, yes T                   154        3.9    28        34       45        for decay should be considered in the planning. For
 100% M, 100% S, yes T                  140        3.1    28        34       45
                                                                                       example, if 20 tons per acre was considered desirable
 Snags >12 inch d.b.h.                                                                 in the 40 to 60 year old immature forest, 25 tons per
 80% M, no S, no T                        22    8.2         3.2       3.0      3.4     acre or possibly more should be retained from the fire-
 100% M, no S, no T                       34   11           1.7        .1       .7     killed trees. In low severity fire where an overstory
 100% M, 50% S, yes T                     17    1.5          .3        .2      2.3     survived, recruitment of CWD will probably occur
 100% M, 100% S, yes T                     3.7    .8         .1        .2      2.3     regularly over time as trees continue to die from
    a M is mortality, S is salvage of dead merchantable trees, T is slash, pile, and   various causes such as insects, blowdown, and fire
 burn trees < 6 inches d.b.h.
                                                                                       injury. Meeting a target of 20 tons per acre in 40 years


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Figure 9—Simulated quantities of (a) small woody fuel and (b) coarse woody debris for
vegetation response unit 3 for 100 percent salvage-no fuel treatment, 100 percent salvage-treat
fuel and 50 percent salvage-treat fuel under high (100 percent tree mortality) fire severity
conditions. The shaded band indicates desired ranges.




may only require 15 tons per acre from falldown of the               which would offer less of a hindrance to prescribed
trees directly killed by fire.                                       burning, consider retaining CWD loadings at the high
  In VRU 2 where applying prescribed fire in the future              end of the optimum range.
might be necessary to maintain desired conditions,
leaving excessive CWD, especially in the 3- to 6-inch
diameter class, could hamper prescribed fire efforts.                Conclusion_____________________
But also consider that prescribed fire will reduce the                 Management of CWD following fire requires consid­
CWD loadings. On sites where most of the CWD                         eration of its positive and negative values. The lower
loading comprises large pieces (greater than 12 inches),




Figure 10—Simulated quantities of (a) small woody fuel and (b) coarse woody debris for
vegetation response unit 4 for no salvage-no fuel treatment, 100 percent salvage-treat fuel and
100 percent salvage-no fuel treatment under high (100 percent tree mortality) fire severity
conditions. The shaded band indicates desired ranges.


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           unknown. Fatalities peak during low-wind conditions in late summer and autumn and primarily
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           involve species that evolved to roost in trees. Common behaviors of “tree bats” might put them at                                                                                     (/site/aboutpnas/rightperm.xhtml)
           risk, yet the difficulty of observing high-flying nocturnal animals has limited our understanding of their
           behaviors around tall structures. We used thermal surveillance cameras for, to our knowledge, the
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           first time to observe behaviors of bats at experimentally manipulated wind turbines over several
           months. We discovered previously undescribed patterns in the ways bats approach and interact with                                                                                       f (/external-ref?
           turbines, suggesting behaviors that evolved at tall trees might be the reason why many bats die at                                                                                      tag_url=http://www.pnas.org/cgi/content/shoi
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     Wind turbines are causing unprecedented numbers of bat fatalities. Many fatalities involve tree-roosting                                                                                      +PNAS&doi=10.1073/pnas.1406672111&link_f
     bats, but reasons for this higher susceptibility remain unknown. To better understand behaviors associated
     with risk, we monitored bats at three experimentally manipulated wind turbines in Indiana, United States,
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     from July 29 to October 1, 2012, using thermal cameras and other methods. We observed bats on 993
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     occasions and saw many behaviors, including close approaches, flight loops and dives, hovering, and
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     chases. Most bats altered course toward turbines during observation. Based on these new observations, we
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     tested the hypotheses that wind speed and blade rotation speed influenced the way that bats interacted with
     turbines. We found that bats were detected more frequently at lower wind speeds and typically approached                                                                                         (/external-ref?
     turbines on the leeward (downwind) side. The proportion of leeward approaches increased with wind speed                                                                                       tag_url=http://www.pnas.org/cgi/content/long
     when blades were prevented from turning, yet decreased when blades could turn. Bats were observed                                                                                             -+Cryan%20et%20al.%20111%20%2842%29%:
     more frequently at turbines on moonlit nights. Taken together, these observations suggest that bats may                                                                                       +PNAS&doi=10.1073/pnas.1406672111&link_f
     orient toward turbines by sensing air currents and using vision, and that air turbulence caused by fast­                                                                                      gg (/external-ref?
     moving blades creates conditions that are less attractive to bats passing in close proximity. Tree bats may                                                                                   tag_url=http://www.pnas.org/cgi/content/long
     respond to streams of air flowing downwind from trees at night while searching for roosts, conspecifics, and                                                                                  -+Cryan%20et%20al.%20111%20%2842%29%:

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     nocturnal insect prey that could accumulate in such flows. Fatalities of tree bats at turbines may be the
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     consequence of behaviors that evolved to provide selective advantages when elicited by tall trees,
     now maladaptive when elicited by wind turbines.                                                                                                                                   vsvi
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    wind energy (/search?fuHtext=wind+energy&sortspec=date&submit=Submit&andorexactfuHtext=phrase)                                   PNAS (Proceedings of the National
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    P.M.C., P.M.G., C.D.H., M.R.S., R.H.D., and M.M.H. performed research; D.T.S.H., P.D.F., and D.C.D. contributed new
    reagents/analytic tools; P.M.C., P.M.G., C.D.H., M.R.S., R.H.D., M.M.H., D.T.S.H., and P.D.F. analyzed data; P.M.C., P.M.G.,
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                                                                                                                                     Figures
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    A , 2009                                                         S A , 2016

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  2. Material and methods
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                                                       Highlights
       Table 2
                                                       •    We estimate bird mortality at monopole wind turbines in the contiguous U.S.
       Table 3
      Supplementary data 1
                                                       •    Between 140,000 and 328,000 birds are killed annually at monopole turbines.
      Supplementary data 2                             •    Mortality increases with increasing height of monopole turbines.
      Supplementary data 3                             •    Mortality rates appear to be lower in the Great Plains relative to other regions.
      Supplementary data 4
      Supplementary data 5

                                                     Abstract
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                                                     Wind energy has emerged as a promising alternative to fossil fuels, yet the impacts of
                                                     wind facilities on wildlife remain unclear. Prior studies estimate between 10,000 and
                                                     573,000 fatal bird collisions with U.S. wind turbines annually; however, these studies do
                                                     not differentiate between turbines with a monopole tower and those with a lattice tower,
                                                     the former of which now comprise the vast majority of all U.S. wind turbines and the latter
                                                     of which are largely being de-commissioned. We systematically derived an estimate of
                                                     bird mortality for U.S. monopole turbines by applying inclusion criteria to compiled
                                                     studies, identifying correlates of mortality, and utilizing a predictive model to estimate
                                                     mortality along with uncertainty. Despite measures taken to increase analytical rigor, the
                                                     studies we used may provide a non-random representation of all data; requiring industry
                                                     reports to be made publicly available would improve understanding of wind energy
                                                     impacts. Nonetheless, we estimate that between 140,000 and 328,000
                                                     (mean = 234,000) birds are killed annually by collisions with monopole turbines in the
                                                     contiguous U.S. We found support for an increase in mortality with increasing turbine hub
                                                     height and support for differing mortality rates among regions, with per turbine mortality
                                                     lowest in the Great Plains. Evaluation of risks to birds is warranted prior to continuing a
                                                     widespread shift to taller wind turbines. Regional patterns of collision risk, while not
                                                     obviating the need for species-specific and local-scale assessments, may inform broad­
                                                     scale decisions about wind facility siting.

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                                                Keywords
                                               Anthropogenic mortality; Carcass sampling biases; Systematic review; Wildlife
                                               mortality; Wind energy

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                                 Proceedings
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                                              Abstract

     Most conservation groups support the development of wind energy in the US as an
     alternative to fossil and nuclear-fUeled power plants to meet growing demand for electrical
     energy. However, concerns have surfaced over the potential threat to birds, bats, and other
     wildlife from the construction and operation of wind turbine facilities. Co-sponsored by the
     American Bird Conservancy (ABC) and the American Wind Energy Association (AWEA),
     the Wind Energy and Birds/Bats Workshop was convened to examine current research on
     the impacts of wind energy development on avian and bat species and to discuss the most
     effective ways to mitigate such impacts.

     On 18-19 May 2004, 82 representatives from government, non-government organizations,
     private business, and academia met to

         •   Review the status of the wind industry and current project development practices,
             including pre-development risk assessment and post-construction monitoring;
         •   Learn what is known about direct, indirect (habitat), and cumulative impacts on
             birds and bats from existing wind projects; about relevant aspects of bat and bird
             migration ecology; about offshore wind development experience in Europe; and
             about preventing, minimizing, and mitigating avian and bat impacts;
         •   Review wind development guidelines developed by the USFWS and the
             Washington State Department of Fish and Wildlife; and to
         •   Identify topics needing further research and to discuss what can be done to ensure
             that research is both credible and accessible.
     These Workshop Proceedings include detailed summaries of the presentations made and
     the discussions that followed.


                                   Suggested Citation Format:

      This volume:

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      You can order this set of proceedings by contacting:

      RESOLVE                                      by phone: 202 965-6218
      Attn: Detra Stoddard                         by email: nwcc@resolv.org
      1255 23rd St, NW
      Suite 275
      Washington, DC 20037




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                                        Acknowledgments

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                                         SeaWest Windpower
                                                Vestas
                                         World Wildlife Fund
      Steering Committee Co-Chairs:
             Gerald Winegrad, American Bird Conservancy
             Tom Gray, American Wind Energy Association
      Steering Committee Members:
             Taber Allison, Massachusetts Audubon Society
             Matthew Banks, World Wildlife Fund
             David Blockstein, National Councilfor Science and the Environment
             Ed DeMeo, Renewable Energy Consulting Services, Inc.
             Sam Enfield, Atlantic Renewable Energy Corporation
             Caroline Kennedy and Aimee Delach, Defenders of Wildlife
             Steve Sheffield, George Mason University
             Steve Steinhour, SeaWest Windpower
             Dale Strickland and Wally Erickson, Western EcoSystems Technology
             Carl Thelander, BioResource Consultants
             Facilitation team: Abby Arnold, Rachel Permut, Brad Spangler, Detra Stoddard,
             RESOLVE, Inc.




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      APPENDIX C: WORKSHOP AGENDA.                                        119




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                                              Preface

      In 2003, representatives of the wind industry, environmental community, and biological
      research community agreed that it would be useful to convene a meeting to:

                 • thoroughly examine the most current and best data on wind energy impacts
                     to birds and bats; and

                 •   examine the measures that are and could be employed to minimize or
                     prevent such impacts.

     The meeting, the Wind Energy and Birds/Bats Workshop, was held in Washington, DC in
     May 2004. These Workshop proceedings provide an overview of the current state of the
     wind industry (technology, siting considerations, and environmental assessment standards),
     research methods and results of bird and bat impacts, and wind energy regulation.

     The organizers of the Wind Energy and Birds/Bats Workshop hope this publication will be
     useful to the academic community, managers, and the public involved in wind
     development projects throughout the US and internationally. Additionally, the organizers
     thank all the presenters and participants for their assistance in making the workshop a
     success.




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                                 Glossary of Acronyms

            ABC   American Bird Conservancy
        APLIC     Avian Power Line Interaction Committee
       APWRA      Altamont Pass Wind Resource Area
        AWEA      American Wind Energy Association
           BPA    Bonneville Power Administration
          BRC     BioResource Consultants
          CEC     California Energy Commission
          DoW     Defenders of Wildlife
         EFSC     Energy Facility Siting Council
        EFSEC     Energy Facility Site Evaluation Council
           EIA    Environmental Impact Assessment
            EIS   Environmental Impact Statement
           ESA    Endangered Species Act
          FAA     Federal Aviation Administration
           GIS    Geographic Information Systems
            kW    Kilowatt
          LIPA    Long Island Power Authority
          MAS     Massachusetts Audubon Society
           MW     Megawatt
         NCSE     National Council for Science and Environment
       NIMBY      “Not In My Backyard”
         NREL     National Renewable Energy Laboratory
         NEPA     National Environmental Protection Act
      NEXRAD      Next Generation Radar
     NYSERDA      New York State Energy Research and Development Authority
        ODFW      Oregon Department of Fish and Wildlife
        NWCC      National Wind Coordinating Committee
           RPS    Renewable Portfolio Standard
         SEPA     State Environmental Protection Act
          TAC     Technical Advisory Committee
          TNC     The Nature Conservancy
       USFWS      United States Fish and Wildlife Service
           WA     State of Washington
      WADFW       Washington State Department of Fish and Wildlife
         WRA      Wind Resource Area
         WWF      World Wildlife Fund




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                                         INTRODUCTION
     Wind energy is able to generate electricity without many of the environmental impacts (air
     and water pollution, mercury emissions, and greenhouse gas emissions) associated with
     other energy sources. This can significantly benefit birds, bats, and many other plant and
     animal species. However, the direct and indirect local impacts of wind plants on birds and
     bats continue to be an issue. The populations of many bird and bat species are experiencing
     long-term declines, due to the effects not only of energy use, but of many other human
     activities.

      Aside from its benefits, which are mainly indirect, global and regional in scope, wind
      energy production may affect birds and bats in several ways:

             1. Birds and bats may be killed or injured by colliding with rotors, towers guy
                wires, or related structures.
             2. Birds and bats may avoid wind energy developments and surrounding habitat.
             3. Habitat may be directly impacted by the footprint of the turbines, roads, power
                lines, and auxiliary buildings.

     The Wind Energy and Birds/Bats Workshop was convened to bring together
     representatives from government, non-government organizations, private business, and
     academia to examine current research on the impacts of wind energy development on avian
     and bat species and to discuss the most effective ways to mitigate such impacts. Workshop
     participants represented a wide range of interests concerned with wind energy, its
     development and its impacts on avian and bat species. Collectively, they share a desire to
     foster the development of wind power facilities while minimizing the impacts of wind
     energy facilities on bird and bat populations.


                       Meeting Organizers, Faciiitator and Proceedings

      The workshop was co-sponsored by the American Bird Conservancy (ABC) and the
      American Wind Energy Association (AWEA). The Steering Committee responsible for
      organizing the workshop consisted of the following representatives: Gerald Winegrad,
      ABC; Tom Gray, AWEA; Matthew Banks, World Wildlife Fund (WWF); Taber Allison,
      Massachusetts Audubon Society; David Blockstein, National Council for Science and the
      Environment; Ed DeMeo, Renewable Energy Consulting Services, Inc.; Sam Enfield,
      Atlantic Renewable Energy Corporation; Caroline Kennedy and Aimee Delach, Defenders
      of Wildlife; Steve Sheffield, George Mason University; Steve Steinhour, SeaWest
      Windpower; Dale Strickland and Wally Erickson, Western EcoSystems Technology; and
      Carl Thelander, BioResource Consultants.

      The workshop was co-chaired by Tom Gray of AWEA and Gerald Winegrad of ABC. The
      Steering Committee and workshop were facilitated by Abby Arnold of RESOLVE Inc.
      RESOLVE specializes in environmental conflict resolution. Ms. Arnold was assisted by
      Rachel Permut and Bradford Spangler also of RESOLVE. Susan Savitt Schwartz was
      contracted by RESOLVE to assist in documenting the Proceedings.
      Wind Energy & Birds/Bats Workshop Proceedings                                            1



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      The Proceedings were compiled by Bradford Spangler and edited by Susan Savitt
      Schwartz, based on the presentations and discussion at the meeting. Draft Proceedings
      were reviewed by the organizers, presenters, and participants, and were finalized taking
      their comments into account.


                                      Workshop Participants

     The following is a list of the people who took part in the Wind Energy and Birds/Bats
     Workshop and their organizational affiliations. Participants were invited based on their
     representation of the wind industry, federal and state regulatory agencies, or environmental
     conservation and renewable energy non-government organizations. Speakers were selected
     by the Steering Committee. An * indicates a Steering Committee Member, and ^ indicates
     a workshop presenter.

       Participant                     Affiliation
       Aird, Brenda                    US Office of Land and Minerals Management
       Almy, Jessica                   Humane Society of the United States
       Anderson, Dick                  California Energy Commission
       Arnold, Abby                    resolve, Inc.
       Banks, Matthew*                 World Wildlife Fund
       Blockstein, David*              National Council for Science and the Environment
       Boone, Dan                      Coalition for Responsible Wind Power
       Boydston, Kathy                 Texas Parks and Wildlife Department
       Bridges, John                   Western Power Administration
       Burke, Kristin                  Massachusetts Technology Collaborative
       Carter, Nina                    Audubon Washington
       Clark, Ed                       PPM Energy
       Cole, Alison                    Shell Wind
       Cooper, Brian^                  ABR, Inc. Environmental Research and Services
       Cuccuini, Margaret              New Jersey Department of Environmental Protection
       Curry, Dick^                    Curry & Kerlinger
       Delach, Aimee*                  Defenders of Wildlife
       Deyette, Jeff                   Union of Concerned Scientists
       Enfield, Sam*^                  Atlantic Renewable Energy Corporation
       Erickson, Wally*^               Western EcoSystems Technology
       Fahey, Colleen                  National Wildlife Federation
       Fischer, David                  American Bird Conservancy
       Fry, Michael                    Stratus Consulting
       Gaarde, Jette^                  Elsam Engineering
       Georges, Anne                   National Audubon Society
       Golden, Dave                    New Jersey Division of Fish and Wildlife
       Gray, Tom*^                     American Wind Energy Association
       Hatch, Jeremy                   University of Massachusetts-Boston
       Hester, Joy                     Houston Audubon Society
       Hopwood, Bill                   Hopwood inc.
       Hueckel, Greg^                  Washington State Department of Fish and Wildlife
       Jodziewicz, Laurie              American Wind Energy Association
       Johnson, Betsy                  Maryland Sierra Club
       Johnson, Greg^                  Western Ecosystems Technology
      Wind Energy & Birds/Bats Workshop Proceedings                                              2



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       Johnston, Scott                 US Fish and Wildlife Service
       Jones, Jody                     Maine Audubon Society
       Kearns, Matt                    Tetra Tech FW
       Kennedy, Caroline*              Defenders of Wildlife
       Kerlinger, Paul^                Curry & Kerlinger
       Kerns, Jessica                  Appalachian Laboratory, UMCES
       Kronner, Karen                  Northwest Wildlife Consultants
       Kunz, Tom^                      Boston University
       Lindsay, Jim                    FPL Energy
       Linehan, Andy^                  CH2M Hill
       Mabey, Sarah^                   North Carolina State University
       Manville, Al^                   US Fish and Wildlife Service
       Marsh, Mary                     Maryland Conservation Council
       Mehlman, Dave                   The Nature Conservancy
       Miller, Lucile                  Valley Conservation Council
       Mosher, Jim                     North American Grouse Partnership
       Niven, David                    National Audubon Society
       Panella, Elizabeth              Natural Resources Defense Council
       Parsons, Katharine              Manomet Center for Conservation Sciences
       Paul, Ellen                     ornithological Council
       Perkins, simon                  Massachusetts Audubon Society
       Permut, Rachel                  RESOLVE, Inc.
       Piper, Richard                  FPL Energy
       Rackstraw, Kevin                Clipper Wind
       Ram, Bonnie^                    Energetics
       Romme, Russ                     BHE Environmental
       Roy, Robert                     Woodlot Alternatives
       Savard, Jean-Pierre             Canadian Wildlife Service, Environment Canada
       schwartz, susan savitt          Consultant to RESOLVE, Inc.
       Sheffield, Steve*               George Mason University
       sherwell, John                  Maryland Department of Natural Resources
       Sinclair, Mark                  Conservation Law Foundation
       Sokoloski, Adam                 Izaak Walton League Midwest Office
       Spangler, Bradford              RESOLVE, Inc.
       Stiles, Eric                    New Jersey Audubon Society
       Stoddard, Detra                 RESOLVE, Inc.
       Strickland, Dale*^              Western EcoSystems Technology
       Thelander, Carl*^               BioResource Consultants
       Thresher, Bob                   National Wind Technology Center
       Totten, Michael                 Conservation International
       Ugoretz, Steve                  Wisconsin Department of Natural Resources
       Wasserman, Carol                EES Group
       Wilkins, Neal                   Synergics Energy Services
       Willis, Robert^                 US Fish and Wildlife Service
       Winegrad, Gerald*^              American Bird Conservancy
       Yonker, Terry                   Maine Services Diversified


      Appendix B provides a full list of speakers and participants and their contact information.


      Wind Energy & Birds/Bats Workshop Proceedings                                             3



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                             Introductory Comments by Organizers

      Gerald Winegrad, American Bird Conservancy. Gerald Winegrad of the American Bird
      Conservancy (ABC) welcomed participants to the Wind Energy and Birds/Bats Workshop.
      He explained that ABC deals with a range of threats to birds and that interested parties had
      come to the organization for its view on wind-turbine interactions. Mr. Winegrad noted
      that the workshop aimed to answer two key questions:

          1. What is the research on bird and bat impacts of wind energy?
         2. What can be done to mitigate those impacts?
     Tom Gray, American Wind Energy Association. Tom Gray offered a welcome to
     participants on behalf of AWEA. He explained that AWEA is the main association for the
     wind energy industry and that essentially all companies interested in wind energy are
     members of the association. Mr. Gray noted that the wind industry and AWEA have been
     involved in wind-bird interaction issues since the early 1990s, when the National Wind
     Coordinating Committee was founded, in part in response to concerns about avian
     mortality in Altamont Pass. The NWCC played a major role in bringing experts together to
     standardize ways of studying and monitoring wind-bird interactions, and later in reviewing
     research results.


                                     Objectives of the Meeting

     The purpose of the Wind Energy and Birds/Bats Workshop was to thoroughly examine the
     best data on wind energy impacts on birds and bats and the measures that are and could be
     employed to minimize or prevent such impacts. The workshop was designed to facilitate
     discussion of:

         •   Wind power development status and potential, including strategies and techniques
             employed to date to mitigate impacts on birds;
         •   Factors considered to select, construct, and maintain a site;
         •   Wind industry avian risk assessment methodologies;
         •   Wind industry direct avian impact analyses, both methodologies and results;
         •   Lessons learned about risk to birds from wind power;
         •   Lessons learned about risk to bats from wind power;
         •   Implications for birds from offshore wind development;
         •   Wind impacts on bats and other wildlife;
         •   Habitat fragmentation and species displacement resulting from wind power project
             development;
         •   Measures that can be taken to prevent/minimize impacts to birds and bats; and
         •   Guidelines and regulations for the siting, construction and operation of wind energy

      Wind Energy & Birds/Bats Workshop Proceedings                                            4



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              facilities.
     During this two-day workshop, participants reviewed the best available science on the
     issue of wind/avian/bat interaction. Participants examined avian and bat impacts of
     existing wind turbines around the US as well as studies conducted on new and proposed
     turbine sites in the US and on turbines operating off-shore in Europe. Discussions focused
     on common methodologies used by the wind power industry to assess risk to birds and bats
     prior to site development, and to document actual impacts to birds and bats subsequent to
     project construction. Observed causes of risk to birds and bats from wind turbines and
     tools that have been or could be used to minimize or avoid impacts were also examined.

     The workshop was designed to facilitate information exchange. In addition to the
     discussions that followed each presentation, two sessions were devoted to brainstorming
     existing research gaps/needs and ways for the group to move forward toward the goal of
     understanding wind energy’s impacts on birds and bats and mitigating/minimizing them as
     development continues. (See Appendix A for a list of Research Topics proposed by
     workshop participants.) Although the group brainstormed research and action ideas
     collectively, a consensus process was not employed to develop the lists of research topics,
     nor were the lists prioritized.


                                         Process Guidelines

      The Facilitator reviewed the draft agenda circulated before the workshop (Appendix C).
      There were no suggestions for changes. The first day of the workshop consisted primarily
      of prepared presentations, followed by question and answer sessions. The second day
      included additional presentations as well as group discussion aimed at identifying future
      goals. Questions generally were fielded by participants after all presenters for a particular
      session had completed their formal presentations. These Proceedings will present
      summaries of group discussions for sessions at the end each section.

      The following ground rules for the workshop were proposed by the Facilitator and
      accepted by the group:

          • All parties participate and will be acknowledged by the facilitator.
          •   Comments may not take the form of a personal attack.
          •   Participants should feel free to express their own opinions while respecting other
              points of view.
          • No party will characterize any comment made in the meeting by any other party in
              public statements, in discussions with the press, or in other venues outside of this
              meeting
          • A meeting summary and proceedings will be prepared by the Facilitator. The
              meeting summary will document each presentation and will summarize
              discussions. The proceedings will be reviewed by the Steering Committee and
              presenters and, once finalized, will be made available to the public.

      Wind Energy & Birds/Bats Workshop Proceedings                                                5



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                        WIND INDUSTRY PROJECT DEVELOPMENT
      This session consisted of two presentations intended to provide a general overview of wind
      energy project development, from the industry’s perspective. Tom Gray of AWEA offered
      an overview of the state of the wind energy industry as of 2004. Sam Enfield of Atlantic
      Renewable Energy Corporation outlined the key factors that wind facility developers must
      consider when choosing a site to build turbines and associated structures.


                                State of the Wind Energy Industry in 2004

                                                         by
                                                  Tom Gray, AWEA1

      The modern wind industry began in 1981 with the first wind turbines installed in
      California and Denmark. Because US wind development was driven initially by
      investment tax credits based on installation rather than on performance, early wind energy
      developments were not always productive, and there were some serious problems with
      equipment reliability.

     Improved Performance, Lower Costs. When the investment tax credits expired in 1986, the
     only path to profitability was to improve the performance of wind energy technology.
     Since the late 1980s wind energy technology has improved greatly, significantly improving
     reliability. Turbine size and rated capacity also have increased significantly. A typical
     commercial turbine installed in the year 2000, for example, has a 71-meter rotor diameter
     and a rated capacity of 1,650 kW, as compared with a typical 1980 turbine, which had a
     10-meter rotor diameter and a rated capacity of 25 kW. Moreover, the larger modern
     turbine produces 120 times the energy of the smaller 1980 turbine, but costs only 20 times
     as much to build and install.

      In addition to the development of larger, more reliable turbines, other technological
      advances include specialized blade design, power electronics, and more efficient designs
      derived from computer modeling. The combination of these improvements and economies
      of scale have driven costs down from $0.38/kWh in 1980 to a projected $0,025-
      $0.035/kWh in 2007,2 making wind energy more competitive. Fixed “balance of plant”
      costs mean that larger wind farms are more profitable than smaller ones. Likewise,
      relatively small increases in wind speed significantly lower the cost of wind power, so that
      a site with a better wind resource will be more profitable/competitive than a comparable
      sized wind energy development at a site with lower wind speeds.

     Addressing Avian Impacts. Serious problems arose at some older wind farm sites with
     respect to avian impacts. At Altamont Pass (California), the largest of the early 1980s wind
     farm developments, a variety of factors (including lattice towers which provided horizontal
     cross-bars for perching, rapid blade movement, and the close proximity of turbines)


      1American Wind Energy Association, P.O. Box 1008, 175 Kerwin Hill, Rd., Norwich, VT 05055
      2These represent levelized costs at excellent wind sites in nominal dollars, not including tax credit.
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     resulted in unanticipated negative avian impacts. The wind energy industry has worked to
     understand the causes of those impacts and to mitigate them in subsequent developments.
     Lessons learned from Altamont Pass have led to a number of improvements in site
     assessment and design. The use of much larger turbines that are spread farther apart in all
     directions; tubular towers with few or no perching opportunities; larger, slower-turning
     rotors; greater spacing between turbines; and site evaluations that include an assessment of
     avian risk have all become standard practice.

     Wind Energy Poised to Become a Significant Renewable Resource. Currently, wind energy
     developments provide approximately 0.4% of electricity production in the United States.
     At the end of 2003, there were 6,374 megawatts (MW) installed, generating approximately
     17 billion kilowatt hours per year (kWh/year). This total is equivalent to the usage of more
     than 1.6 million homes. (As a rule of thumb, 1 MW of power is enough to supply 200-300
     homes.) Even though it now meets less than one half of 1% of overall US electricity
     demand, current wind energy output is equivalent to 8 million tons of coal, 25 million
     barrels of oil, or 150 billion cubic feet of natural gas. If the 17 billion kWh/year wind­
     generated power currently being produced in the US were generated using today’s average
     US utility mix, it would result in emissions of: 36,000 tons of NOx (smog); 60,000 tons of
     SOx (acid rain); 11 million tons of CO: (carbon dioxide, a greenhouse gas); mercury and
     other heavy metals.

     The wind industry includes a few large players (FPL Energy, GE Wind, and PPM Energy),
     but unlike the oil - or even the photovoltaics - industry, about two-thirds of the wind
     industry is comprised of small businesses (fewer than 10 employees). Wind development
     plans for the near future are in process in states around the US including California, Iowa,
     Massachusetts, Montana, New York, Oregon, Texas, Washington State, and West Virginia.
     Overall, estimates indicate that there may be as much as 2,000 to 3,000 additional MW of
     wind power developed through 2006, and potentially 9,000 to 19,000 additional MW
     through 2010. It is anticipated that the bulk of this wind energy development will be
     concentrated west of the Mississippi, in the Northern Plains, Southwest, and West. Given
     these statistics, wind energy is ready to become a significant alternative power source in
     the US, with the potential to generate up to 6% of the United States’ electricity by 2020.

     Expectations for the Near Future. Although wind turbine technology and strategies for
     mitigating avian impacts continue to improve, it is unlikely that the current configuration
     of wind projects will change significantly. The size of onshore wind turbines will likely be
     constrained to a size of 1.8 MW to 2.0 MW, in the near term. Most turbines will likely be
     lighted in some form. New transmission lines will not be essential for reaching the
     aforementioned 2010 production forecast.




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                      Key Factors for Consideration in Wind Plant Siting

                                                  by                       3
                         Sam Enfield, Atlantic Renewable Energy Corporation3

      The development of a wind energy facility site is an extremely complex endeavor - much
      like setting up a business to run for 20-30 years. Many US landowners have shown interest
      in developing wind power on their property. However, landowner interest does not always
      coincide with the resource and other characteristics that make a good site. As developers
      seek out suitable sites to build turbines, there are several key factors they must consider: 1)
      the wind resource; 2) land ownership patterns; 3) access to transmission systems; 4) access
      to the site itself; 5) the degree of construction difficulty; and 6) environmental issues
      associated with the site.

     Wind resource. The industry has benefited from the development of mapping tools that
     integrate topology and meteorology to identify areas that are most likely to be windy.
     Generally speaking, Western sites are characterized by large landforms that channel wind
     (i.e. Columbia River Gorge). In the East, developers usually must look for smaller ridges
     where the wind resource is plentiful. Elevation makes a large difference in the capacity
     factor of a development.

      Capacity Factor       =       amount of power generated over time
                           amount of power over time with constant maximum generation

      In fact, the capacity factor jumps dramatically as elevation increases even by relatively
      small amounts. For example, a capacity factor of 17% may jump up to 28% with another
      250 feet, and up to 35% with an additional 200 feet of elevation.

      Ownership and land use patterns. Parcel size is another factor that makes a potential wind
      facility site suitable for development. Larger parcels are better, as there are fewer owners
      with whom the developer must negotiate. Large parcels often offer easier access to the site
      as well. An area with low population density also is preferable. Many land uses are
      compatible with wind energy development; for example, once turbines are built and
      operational, farm and grazing land is minimally disrupted by their presence.

     Access to transmission lines. Transmission line access is critical to the siting of wind
     energy facilities. It is much preferred for a site to be within a few miles of transmission
     lines, and interconnection to the grid must be physically possible as well as economically
     feasible. Interconnection rules and costs, particularly for an intermittent resource, can be
     considerable. Part of the problem is that transmission station managers are not used to
     dealing with an intermittent resource. They are required to accommodate the
     interconnection if they have the capacity, but obtaining reasonable terms and conditions for
     the interconnection requires educating station managers about wind power projects’
     capabilities.


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     Accessibility. A site must be physically accessible in order to build. Getting large-scale
     equipment to remote sites can be extremely challenging and may not be possible under
     some circumstances. The size of roads can and does limit the size of turbines that can be
     used. Development often damages roads and areas along roads, but developers routinely
     restore both after construction is completed.

     Environmental impacts. Finally, developers must consider the impacts of the wind
     development site on the human and natural environment. Although turbines are much
     quieter than they once were, noise is still an issue that must be considered. Aesthetic
     impacts are highly subjective, but some viewscapes are more sensitive or important to
     people than others. Any wind project also must comply with wetlands regulations.


                              Discussion, Questions and Answers

     Risks taken by wind project developers. A participant noted that money invested by
     developers in pre-development studies to examine potential bird and bat impacts at a site
     under consideration for development is entirely “at-risk.” If a developer pays for a $50K
     study, there is no guarantee the developer will make that money back. Developers are
     criticized by the environmental community for hesitating to fund such studies, but the
     bottom line is that when developers fund studies they want to do it wisely.

     How does the wind industry’s research and development spending compare with that of the
     oil industry?

     Response: (Nobody in the room was sure how oil companies spread their development
     budgets, but as presenter Tom Gray reminded participants, wind developers—unlike oil
     companies—tend to be small businesses.)

     Comment: In addition to costing money, biological studies take time, which increases the
     risk incurred by the developer. The longer it takes to build a facility, the longer the period
     until there is return on the investment. This effectively increases the cost of money, which
     could make some projects infeasible.

      Would putting a set time frame on research (e.g., three years) make carrying out research
      more manageable?

     Responses: 1) Smaller companies would not be able to wait as long as three years for a
     return on their investment. 2) How much better would the information from a three-year
     study be compared to a one-year study? Given the investment risk, developers have to ask
     researchers how critical a difference the extra time spent studying a potential site is likely
     to make in terms of the decision whether to proceed with development.

     What do regulatory agencies require? It was noted that there is a lack of transparency
     among regulatory agencies as to what applications developers are required to apply for,
     what studies they must conduct, and how agencies will respond to the results of studies on
     possible new sites. Given that land use planning is a major issue in every community, the
     developers must learn how each community operates.
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      What is AWEA doing to educate its membership about what regulatory agencies are going
      to require, so that companies are taking consistent approaches to conducting avian impact
      studies?

     Response: AWEA has two siting workshops scheduled for the fall of this year. Otherwise,
     AWEA’s education efforts have been informal. A listserve was set up about six months
     ago as an effort to inform AWEA members about developments in avian studies. AWEA
     also recently hired someone to work full-time on siting and development issues.

     Dealing with the utilities. Do developers establish contractual relationships with utility
     companies during the planning process, and do power grid managers allow wind power
     facilities in?

     Response: Utilities have to allow wind power in, but only if their system can accommodate
     it based on their system studies. The receptiveness of grid operators tends to increase as
     they become familiar with wind systems and how they manage output. Utilities and grid
     operators do not guarantee any prices, however, and negotiation is ongoing as the project
     develops.

     Conclusions. The Facilitator concluded this session by raising some key questions for
     participants to consider as the next session kicked off. How can risk to wildlife be
     reduced? What is the presumption of risk to wildlife going into development? Are agencies
     and developers using the right tools and asking the right questions to assess that risk?




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                 PRE-DEVELOPMENT PROJECT RISK ASSESSMENT
      This session included presentations on the practices and methodologies used in the wind
      energy industry for assessing risk to birds and bats at candidate project sites. Presenters
      offered examples of pre-development siting evaluation requirements set by certain states.


                   Practices and Methodologies and Initial Screening Tools 4
                                                     by
                                   Richard Curry, Curry & Kerlinger, LLC5

     The wind industry is working to develop standardized siting practices, however at this
     point in time there is only a roughly uniform approach.

     Fatal Flaw Analysis. Generally, when wind facility developers identify a strong potential
     wind site, the first step is to conduct a “fatal flaw analysis.” This initial step involves doing
     a quick environmental assessment to determine if there are any obvious flaws about the
     site that would preclude proceeding with a wind resource assessment or permit application.
     A “fatal flaw” analysis may consist of a basic desktop review of maps, existing literature,
     or other readily available information about the area and its proximity to known highly
     sensitive habitat or protected areas. It is wise to start the “fatal flaw” analysis as soon as a
     potential site is identified, because it takes up to a year to assess the wind resource, and it
     is advantageous to get the initial environmental assessments completed in that time frame.

     Phase One Risk Assessment. If a site presents no obvious “fatal flaws,” the next step is a
     Phase One Risk Assessment. At this stage, the objectives are to: 1) establish a project- and
     locale-specific information base, 2) determine the general scope and design of additional
     information to be gathered, and 3) estimate the general level of risk to the developer -
     including the possibility that the site will have to be abandoned. Phase One activities
     include visiting the site to gather information about terrain and land use, habitat, observed
     species, prey potential, how the proposed project would fit on the site, as well as habitat
     and land use information about the surrounding area. Developers will supplement this
     information with a literature search (including databases compiled by Federal and state
     agencies and non-governmental organizations), and by consulting with government agency
     biologists, environmental groups, or local bird enthusiasts who may possess unrecorded
     knowledge about bird activity. Requests by consultants working for the developer for
     information about the proposed project area from other stakeholders should be taken
     seriously and responded to in a timely manner.

     Pre-Development Studies. The next stage of pre-project assessment involves a more
     substantial investment of resources. The objectives include: 1) developing a baseline of



      4 Mr. Curry chose to present a very brief summation of his prepared presentation at the workshop. This
      summary includes additional details from Mr. Curry’s slide presentation, which is also available as a
      supplement to these Proceedings.
      5 1734 Susquehannock Drive, P.O. Box 66, McLean, VA 22101

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     information about avian and bat use of the site, including use by rare or endangered species
     or species of special concern; 2) identification of potential avian (or bat) risk factors
     present at the site; 3) consideration of site topography and turbine layout options for
     mitigating that risk; and, 4) formulating recommendations for post-construction monitoring
     and evaluation. A variety of activities are employed to achieve these objectives, including
     abundance and use surveys (point counts), diurnal migration and nesting surveys, surveys
     focused on rare, threatened, endangered, or “special concern” species; and, radar and other
     types of studies to learn about night-time avian and bat activity within the site.

      At this stage, all stakeholders need to address the following questions:

          •   How should this project’s impacts be compared with the impact of alternative
              means of supplying energy?
          •   What are the site-specific concerns being raised, and are these concerns supported
              by available and applicable data?
          •   If there is an absence of applicable information regarding a potential risk, what
              applicable information can be gathered, and how good an indicator is that
              information as a predictor of the risk in question?
          •   What methodologies should be used?
          •   What tools can be used to estimate cumulative impacts?
          •   What criteria will be used to determine levels of risk and their significance?
          •   How do these criteria compare with those used to assess the impact of other kinds
              of projects?

                          State of the Industry in the Pacific Northwest
                                                 by
                                     Andy Linehan, CH2MH1LL’

     This presentation focused on the regulatory framework and evolution of permitting
     processes in the Pacific Northwest, with an emphasis on Oregon and Washington. Topics
     covered included site risk assessment and tools and processes used to assess the potential
     biological impact of wind energy projects. Other states can learn about pre-development
     assessment of environmental risk from the rigorous siting processes required of wind
     energy plants in the US Pacific Northwest (PNW), because that region has among the most
     rigorous and well-developed frameworks for environmental analysis to support permitting,
     and the techniques and processes used in the PNW may provide a sense of the direction
     that the industry is heading.

      The Federal regulatory framework for wind power in the PNW is largely determined by
      Bonneville Power Administration (BPA), which acquired the Condon and Foote Creek
      Rim wind projects and issued a request for proposals (RFP) for 1,000 MW of wind power


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      in 2000. BPA transmits power from Stateline, Klondike, Vansycle, and other wind projects
      in the region, and therefore it is the key Federal agency with a National Environmental
      Policy Act (NEPA) role.

     The other regulatory frameworks of interest are the state siting councils that oversee
     energy facility siting in Washington and Oregon. In Washington State, wind projects may
     opt into the Energy Facility Site Evaluation Council (EFSEC) process. Washington’s State
     Environmental Protection Act (SEPA) requires a comprehensive analysis (checklist or
     Environmental Impact Study) of all wind projects. For biological studies, the Washington
     Department of Fish and Wildlife Windpower Guidelines provide standardized guidance. In
     Oregon, projects larger than 105 MW must apply for permits through the Oregon Energy
     Facility Siting Council (EFSC) process. The EFSC process requires compliance with a
     series of prescriptive siting standards, including Habitat Mitigation Standards. At this
     point, only the Stateline Wind Project (Phases 1-3), which is one of the largest in the US,
     has been through EFSC. Smaller projects use local land use processes (i.e., Conditional
     Use Permit), which are relatively robust under Oregon land use law.

     EFSEC and EFSC were developed in response to Washington Power Supply System
     (WPSS)-era nuclear power plants and coal-fired gas projects in the 500-1,500 MW range,
     and have been applied to gas-fired combustion turbines, also typically in the 1,000 MW
     range. Permitting study requirements were developed with projects five to ten times larger
     than the typical wind project in mind. Thus, on a per-megawatt basis, the EFSEC/EFSC
     processes are expensive and time-consuming as applied to wind power projects, and
     agencies and developers have been struggling with the appropriate ways to “scale down”
     the required studies for wind projects.

     The state Fish and Wildlife offices in Washington and Oregon are both very active. Both
     states have regional and central office biologists responsible for reviewing county and
     state-level permit processes. The Washington Department of Fish and Wildlife (WDFW) is
     an agency of “special expertise” under the SEPA, so its review carries weight. In Oregon,
     ODFW plays a more informal role in County-level energy permitting, although it is
     routinely involved in the process at this level. ODFW is mandated to participate in EFSC-
     level permitting. These institutional frameworks for reviewing data are critical for ensuring
     the value of biological study data in Oregon and Washington.

     In Montana, the Montana Environmental Policy Act (MEPA) applies to state agency
     decisions. Idaho has no state-level NEPA-type process and therefore wind projects are
     permitted primarily through local land use decisions. However, both states have high
     proportions of federally owned lands, meaning wind projects often require NEPA review.

     Environmental risk assessment is a standard element of site risk assessment in the Pacific
     Northwest. Early PNW wind project environmental assessment procedures were strongly
     influenced by the experience of wind power development in Altamont Pass, California.
     The number of bird fatalities at Altamont generated great concern; however, as results
     from studies at other western wind facilities became known and showed much less severe
     impacts, these concerns over avian impacts of wind turbines relaxed somewhat. Overall,
     bat impacts have received relatively little attention. There has been increasing focus on the
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      impact of habitat loss and fragmentation.

     Today’s standard wind industry practice for environmental risk assessment in PNW
     involves seven key elements: 1) Information Review; 2) Habitat Mapping; 3) Raptor Nest
     Surveys; 4) General Avian Use Surveys; 5) Surveys for Threatened, Endangered, and
     Sensitive species; 6) Rare Plants Surveys; and 7) Wetlands/Jurisdictional Waters Surveys.7
     The results of these assessments may lead developers to modify the layout of the planned
     wind development, or even to discontinue the project if the environmental risk is too high.
     The author is aware of several cases where the developer has abandoned a project because
     it appeared that environmental impacts would be too high.

     Information Review. Information review aims at understanding sensitive habitats and
     species on a site, formulating study protocols, and beginning to identify mitigation needs
     and options. Review involves a search of the regulatory databases (i.e. Oregon Natural
     Heritage Program, Washington Priority Habitats and Species, and USFWS). Developers
     contact local biologists and/or local environmental groups to gather local knowledge about
     bird and bat activity. Data are also collected from nearby or similar wind projects.

     Habitat Mapping. The goal of habitat mapping is to evaluate the range and condition of
     habitats on a site, to steer facilities toward low value habitat (such as wheat fields), and to
     help focus later wildlife surveys. Techniques for habitat mapping vary by state and habitat
     type, but typically involve a combination of photo interpretation and field work.

     Raptor Nest Surveys. Surveys—typically conducted from an aerial view—are used to
     identify raptor nests that might be affected by construction activities or operation of the
     wind project. An aerial survey would cover the area within one mile of all ground­
     disturbing activities, or within two miles if there is a likelihood of sensitive species. For
     forested areas, other techniques are employed.

     Avian Use Surveys. Use surveys characterize avian use of an area well enough to determine
     if there is significant potential for high bird mortality. Once the level of use is known, a
     risk index can be developed, based on avian use and bird mortality at established wind
     projects with similar avian use profiles. The surveys typically involve establishing a grid of
     800-meter sampling points spaced one to three miles apart, surrounding the project.
     Weekly observations are conducted at each point for twenty to thirty minutes. An
     incidental (driving) survey is also conducted.

     BPA funded a project called “Meta-Analysis,” which evaluated the extent to which one or
     more seasons could predict annual avian use. A generally good correlation was found
     between spring and the rest of the year.8 WDFW guidelines call for “at least one season”
     and “additional seasonal data (e.g. fall or winter)” if: 1) “Avian use is estimated to be high
     relative to other projects”; 2) “Very little existing data regarding seasonal use of area”; or
     3) “The project is especially large.” Typically, avian use studies of less than one year have
     been accompanied by a commitment to a year of post-construction mortality monitoring.


      7Rare plants and wetlands surveys are outside the focus of these Proceedings, and are not detailed here.
      8Erickson, W., et al. 2002.
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      Avian use studies may also involve night radar monitoring in order to characterize
      nocturnal bird use of a site, particularly during migratory periods. Nocturnal use is
      characterized in terms of passage rates of “targets” (which may be bats, birds, or clouds of
      insects) and flight height/turbine height exposure. Sampling is carried out using mobile
      marine radar in horizontal and vertical mode to detect radar targets and to determine
      number, direction, and height. The challenges presented by night radar monitoring revolve
      around distinguishing among bird, bat, and insect targets, and identifying different bird
      species. However, improvements in radar technology are making it somewhat easier to
      distinguish insects from birds. Thermal imaging and bird call identification are also being
      employed.

      The Stateline Wind Project on the border between Washington and Oregon offers an
      example of a case where night radar monitoring might be useful. The Blue Mountain
      Audubon Society expressed concern about migratory bird corridors running through the
      proposed northwest portion of the project. FPL Energy agreed to make the construction of
      72 turbines contingent on the results of night radar monitoring. ABR Inc. conducted a total
      of three seasons of monitoring at two locations, one of which had actual mortality data
      available. Actual mortality data from the Vansycle site were used in conjunction with radar
      data to evaluate potential mortality at the proposed site. Data from Fall 2000 and Spring
      2001 were adequate to demonstrate low potential for impact from the 72 proposed
      turbines. Blue Mountain Audubon Society, which was represented on the project’s
      Technical Advisory Committee, not only approved the construction of additional turbines
      at Stateline, but has gone on to play an important educational role with other Audubon
      Societies in the state of Washington.

      The methodologies used for threatened, endangered, and sensitive species surveys vary
      substantially by species in the PNW. Some of the key species of concern in the region are
      Bald and Golden eagles, Sage grouse, Prairie chickens, Spotted owls, and the Washington
      ground squirrel.

      Standard wind industry practice for pre-development environmental risk assessment in
      PNW has evolved in tandem with post-construction monitoring. In general, with the
      exception of Altamont, post-construction monitoring at Western wind energy sites has
      confirmed low impact on birds. The focus of assessment continues to evolve away from
      avian mortality to an emphasis on habitat impacts.




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             Bat Use, Raptor Nesting, and Mortality Information from Preposed and Existing
             Wind Developments. Prepared for the Bonneville Power Administration.


                              Discussion, Questions and Answers

      Where do study requirements—and study findings—fit into the permitting process?
      One participant requested clarification, noting that, in the Eastern US, the term “pre­
      permitting” is used (rather than “pre-project,” pre-development,” or “pre-construction”) to
      mean that impact studies must be done before a permit can be obtained for the wind
      project, although often there is no framework for evaluating the study results.

     Responses: In the PNW, there are regulations that say environmental assessments should
     be carried out as part of project development, and usually before a permit will be issued.
     However (another participant noted), there is at least one case of a project in Oregon that
     was issued county permits prior to conducting a full year of avian impact studies.

      Would it be possible, after construction, to require wind project managers to modify their
      operations as new information about bird impacts is made available? The participant
      raising this question asked whether, for example, if researchers identified new information
      about migration patterns once a project was operating, whether it might be possible to shut
      down turbines with higher mortality rates for certain periods of time when migrating birds
      are at risk.

     Responses: 1) Wind power developers are likely to resist the idea due to the large amount
     of capital invested in the turbines. 2) There is an example of a wind project in Spain, near
     the Straits of Gibraltar, at which radar studies revealed bird “migration pulses” — times
     when many birds passed through the area of the wind farm. Based on this information, the
     operators were able to shut down operations for a specific period of time to avoid
     significant mortality risk. In addition, one or two turbines were removed.

     Are there permitting conditions or thresholds regarding size and scale ofprojects?

     Responses: 1) Project size is a valid consideration, but in at least some locations (e.g., the
     state of New Jersey), small projects are subject to the same regulations as large ones. 2)
     Under NEPA, projects for which it is proven that significant impacts will not result are
     able to go through a less stringent permitting process—that is, the determination of
     significance is independent of the size of the project.

     How do you “prove” that “significant impacts” will not result? In other words, what is a
      “significant impact” and what is the threshold of acceptability for impacts? There are a
     wide variety of standards across locations and jurisdictions when it comes to standards for
     measuring bird and bat impacts and what is an acceptable level in terms of issuing permits
     to developers. This variability raises many questions. For example, how many years should
     an impact study be? How many bird fatalities amount to a significant impact? Is there a
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      fixed threshold for permitting?

     Responses:

      1) One organization’s policy for dealing with these issues in the state of Washington is
         that the state should be completely mapped to indicate potential wind project areas,
         mitigation areas, etc.

      2) If the standard approaches for diurnal and nesting surveys are used consistently
         throughout regions and the US, there are sub-regional conclusions that can be
         developed.

      3) Wisconsin undertook a collaborative statewide monitoring effort that brought state and
         federal agencies together with local groups. The group examined formal bird viewing
         areas as well as local viewing spots and drew red lines around sensitive bird areas. It
         was noted that it is helpful if the methods necessary to carry out surveys could be
         performed by volunteers.

      Other discussion of mapping Ojforts:

     There are similar statewide mapping processes taking place in other parts of the US as
     well. One participant described a statewide process that is taking place in Virginia, using
     GIS technology to map bird activity and habitat. In Maryland, researchers are in the
     process of developing a layered GIS-analysis of bird activity that is intended to be a model
     for this type of work. There are also plans to incorporate conditions for limited turbine
     shutdowns into the policy recommendations developed out of the Maryland effort.
     However, there is no strict standard or threshold for determining how significant mortality
     must be to recommend turbine shutdowns. In New Jersey, critical wildlife areas have been
     mapped in relation to development, but state agencies are still trying to get funding to
     specifically map bird activity and habitat. California has also done work along these lines.
     Public and private funding will be necessary in order for mapping to proceed efficiently
     and effectively and for comprehensive databases on par with those for fish for example, to
     be compiled.

      Caveats about mapping and assessing risk based on avian use:

      1) While GIS is good for mapping large areas, wind development permitting often comes
         down to very site-specific issues, requiring intense surveying/data-gathering that
         cannot be afforded for very large (e.g., state-wide) efforts. Moreover, there are
         significant data gaps in GIS information because there is no data on nocturnal mortality
         for much of the US and about half of fatalities occur at night.

      2) Avian “use” does not necessarily connote risk, even among bird species on a single
         site. Behavioral aspects must be considered as well. Data from Altamont Pass
         underscores this point.

      3) The wind industry is definitely interested in how GIS information can help in the siting
         process to minimize impacts on birds and bats—for example, by providing pre­
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         construction baseline information. On the other hand, waiting to complete statewide
         mapping efforts before pursuing wind energy development would mean considerable
         delay in the construction of new wind projects, and the construction instead of more
         polluting conventional generation.




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                   MONITORING WIND TURBINE PROJECT SITES
                            FOR AVIAN IMPACTS
      This session focused on existing wind projects are monitored for their impacts on birds and
      bats. How many existing energy projects are or have been monitored for avian and bat
      impacts? Are there case examples of requirements for such monitoring? What are the
      options for designing and implementing scientifically sound monitoring programs for
      avian mortality - how is monitoring conducted? Are results made public? What are the
      metrics being employed to measure impacts?


                            Bird and Bat Fatality Monitoring Methods

                                                   by
                                       Wally Erickson, West, Inc.9

     Protocol development and review. Protocols for bird and bat fatality monitoring depend to
     some degree on the requirements of the permitting agency. One approach (used at the
     Vansycle site and now at most new projects) employs a Technical Advisory Committee
     (TAC) to help develop and review monitoring protocols, gather and process peer review
     reports, and make recommendations to permitting authorities on further studies and
     possible project/site changes necessary to mitigate impacts. Consultants on the
     development of such protocols may include organizations, agencies, and private interests
     such as Audubon Society, USFWS, state wildlife agencies, developers, researchers, and
     landowners. Bird and bat fatality monitoring protocols usually are part of an adaptive
     management approach, ensuring room for flexibility as new data/information is made
     available.

     Methodology. Standardized carcass searches are the primary method employed to
     determine the level of bird and bat mortality at project sites. Both rectangular and circular
     plots have been used, with rectangular plots being easier to manage. Plot size depends on
     turbine size, the distribution of fatalities, habitat at the site, and the cost of the study versus
     the data researchers anticipate gathering. Search plots may need to be extended on the
     down-wind side, where more carcasses tend to be located. (Slides show rectangular search
     plots mapped for the Nine-Canyon wind project, along with the distribution of distances
     from bird and bat fatalities to the nearest turbine. At this site, bird fatalities tended to be
     within 120 m of the nearest turbine, while bat fatalities tended to be within 50 m of the
     nearest turbine. Turbines were 92 m tall to the blade tips, with rotors 62 m in diameter.)

      Depending on plot size and terrain, time spent searching around each turbine can range
      from ten minutes to two hours, at a walking pace of 30-60 m/minute. Some studies only
      sample portions of plots, usually mowed areas. Search frequency varies from daily to every
      five weeks. Uncertainty in fatality estimates increases as the ratio of interval between
      searches to mean removal time increases. Longer search intervals also limit the ability to


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      understand potential associations between fatalities and weather. One way to compensate is
      to intensively search a small sample area, and search the remaining sample area less
      intensively. This can help clarify the relationship between weather events and fatalities and
      allow researchers to adjust the scavenging rate.

     Carcass search studies categorize finds as intact, scavenged, or as a feather spot. “Intact”
     indicates that the carcass is completely intact, not badly decomposed, and showing little or
     no sign of having been fed upon by a predator or scavenger. “Scavenged” denotes an entire
     carcass which is to some degree dismembered and shows signs of having been fed upon by
     a predator or scavenger. A “feather spot” consists of ten or more feathers, or two primary
     feathers at one location, indicating predation or scavenging. Most recent studies include
     feather spots as project-related fatalities. This means that fatality rates may be artificially
     high as some may have resulted from natural predation or other non-project related cause.
     For example, at Buffalo Ridge, Minnesota, estimates of fatality rates at plots without
     turbines were one-third of the estimate at turbines.

     Adjustingfor scavenging rates. Fatalities attributed to wind turbines must also be adjusted
     upward to account for carcasses that are removed by scavengers during the intervals
     between scheduled searches. This is done by conducting carcass removal trials. A variety
     of carcasses - including rock dove, house sparrow, starling, upland gamebird, waterfowl,
     and raptor carcasses are placed in a field to see what environmental effects they
     experience, primarily whether they disappear or are fed upon. Carcasses (which are frozen
     but have been thawed for 8-24 hours before use) are placed randomly in the vicinity of
     turbines which are part of a regular search regime, near turbines not routinely searched,
     and within plots away from turbines. The percentage of carcasses removed by scavengers
     or by other means is usually tracked daily for the first few days, and less frequently for the
     remainder of the trials. Removal rates are used to adjust observed fatality rates upwards,
     and should also be used to determine the search interval.

     Adjustingfor observer detection bias. Observer detection trials are employed to adjust
     observed fatality rates for searcher bias. The result of this method is an estimate of the
     average probability a wind turbine fatality that is available is found during a search. The
     trial carcasses are placed randomly in search plots. Searchers are not informed when and
     where trials are taking place, though they may become aware of the trial if they find a
     marked carcass.

      The solutions employed for adjusting fatality rates for the standardized carcass search may
      contribute their own biases. For example, some casualties or injured birds may land or
      move outside of the search plot. Ignoring this potential source of bias could lead to
      underestimating the fatality rate. Other issues brought up by others include the fact that
      removal trial carcasses located away from turbine strings may be scavenged at a different
      rate than carcasses near string, which could also bias the findings. Scavengers may be
      attracted to the scent of humans who put carcasses in the field, which would artificially
      increase scavenging rates. Lastly, small bird trials may not be representative of bats.

      Simulations show that formulas for calculating fatality estimates are unbiased or close to
      unbiased, and that potential biases that exist in the sampling procedures of carcass searches
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      and carcass removal trials mostly lead to an overestimate of bird fatalities. The most
      effective answer to these problems may be more intensive sampling at some turbines,
      which is an approach currently taken at a couple of sites.

     The methods described in this presentation were published in a peer-reviewed article about
     research at Buffalo Ridge, Minnesota (Johnson et al. 2002). There is a forthcoming article
     describing these methods as they were used at the Stateline project in the Pacific
     Northwest. Some of the earlier fatality studies were conducted over periods as long as four
     years, however, protocols have changed and this is less common now.


      Reference
      Johnson, G.D., W.P. Erickson, M.D. Strickland, M.F. Shepherd, D.A. Shepherd, and S.A.
             Sarappo. 2002. Collision mortality of local and migrant birds at a large-scale wind
             power development on Buffalo Ridge, Minnesota. Wildlife Society Bulletin
             30:879-887.


                               Discussion, Questions and Answers

     Has the hypothesis that small passerines basically disintegrate when they fly into turbine
     blades (the so-called “poofingprinciple”) ever been tested?

     Responses: 1) Most fatalities that are found tend to be intact. 2) Researchers could examine
     airline trials that test the impacts of windshields on birds.

      What is done with birds found alive, but injured?

     Response: If a bird is rehabilitated and released then it is not included in fatality data. If it
     dies or is euthanized, it is included.

     Please distinguish between carcass search and carcass removal trial methodologies.

     Fatality searches and carcass removal trials are conducted separately, with detection and
     scavenging data kept separate. “Availability” estimates resulting from carcass removal
     trials (i.e. scavenging adjustment) are integrated into the final calculation of fatality
     detection results. At Tehachapi Pass, carcass removal trials were conducted at sunup and
     then at sundown. It was found that most carcasses were scavenged during the day because
     ravens locate carcasses by sight. In addition, large carcasses were taken before smaller
     ones. Carcass removal trials tend to overestimate scavenging rates, which in turn leads to
     an overestimate of overall fatality rates from wind turbines.

      Other points noted by participants:
      A participant suggested that if only about 1-3 birds are killed per turbine per year, this does
      not seem like a major food source that would attract scavengers or predators.
      There appears to be more annual variation in fatalities for bats than for birds. There is
      seasonal variation for both.

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           WHY AVIAN IMPACTS ARE A CONCERN IN WIND
                    ENERGY DEVELOPMENT
      This lunchtime session provided a more detailed overview of the environmental
      community’s perspective on wind power’s impacts on birds. The presentation described
      how wind projects impact birds, detailing the species distribution of collisions at various
      sites around the US and discussing problems such as avoidance, habitat disturbance, and
      cumulative effects on populations.


                                      Wind Turbines and Birds

                                                by
                           Gerald Winegrad, American Bird Conservancy10

     While still a small component of overall energy output in the US (0.3%), wind energy is
     the fastest growing energy source in the country. In 1981, the capacity of US wind energy
     installations was only 10 MW. By 2000, capacity had reached 2,554 MW. In 2004, 16,000
     utility-scale wind turbines are operating in 30 states with a capacity of approximately
     6,370 MW. The wind industry’s goal is to supply 6% of America’s electrical energy by
     2020. Fourteen states have already adopted Renewable Portfolio Standards requiring
     utilities to use a specified portion of renewable energy in their electrical supply. Federal
     legislation is pending, which would require 10% of energy nationwide to come from
     renewable sources by 2020. Currently, California requires that 20% of electrical use come
     from renewable sources by 2017, and New York has set the bar at 25% by 2012.

     Wind energy production may affect birds in three ways: First and the most widely noted,
     are fatalities resulting from collisions with rotors, towers, power lines, or with other related
     structures. Electrocution on power lines is also possible. Second, birds may avoid wind
     turbines and the habitat surrounding them. Third, are the direct impacts on bird habitat
     from the footprint of turbines, roads, power lines, and auxiliary buildings.

     While annual per-turbine mortality rates average 2.19 birds or 1.825 outside of California
     (and the highest recorded per turbine mortality of 7.5 at Buffalo Mountain, Tennessee),
     there are a number of environmental concerns. One of the key concerns is mortality or
     other effects on ESA-listed species or Birds of Conservation Concern. There are worries
     about local or regional population impacts on species such as Golden eagles, other raptors,
     grassland breeders, and Horned Larks. Cumulative impacts on species at national and
     regional scales as well around individual projects, especially large ones, are of concern.
     One concern regarding research to date is that most of the wind projects that have been
     monitored for bird impacts are in the West. In the eastern US, locating wind turbines along
     ridge tops and potentially off-shore are both of concern. Finally, growth in the number of
     wind turbines and their increasing height, have the potential for more avian impacts.




      10 1824 Jefferson Place, NW Washington, DC 20036

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      Avoidance and direct habitat impacts are also of concern to wildlife conservationists. For
      example, Prairie Grouse species are affected by habitat fragmentation and have been
      observed avoiding breeding leks near wind projects. Researchers also have noted direct
      habitat loss from wind facilities.

     A wide variety of bird species have been killed at wind turbine sites. Fatality searches at
     various wind projects have yielded fatalities of a number of USFWS Birds of Conservation
     Concern, including particular species of owls, hawks, and other raptors, sparrows, wrens,
     warblers, and others. At communication towers (not wind turbines) Over 90% of all bird
     species killed are neo-tropical migrants, with 230 species documented as being killed at
     such towers. Sixty-four of those neo-tropical migrant species are on the USFWS Birds of
     Management Concern List, meaning that without strong management measures, in the
     future they may be listed under the Endangered Species Act. In addition, some endangered
     bird species have been killed.

     Findings from studies done on the impact of communication towers on birds offer some
     lessons on the potential cumulative effects of wind turbines on bird populations. For
     example, a 29-year study at a single TV tower in Tallahassee, Florida yielded 44,007 birds
     (representing 186 species) killed. Many of the birds identified in this study were USFWS
     Birds of Conservation Concern. Another example comes from Eau Claire, Wisconsin
     where a 38-year study at a single 1,000-foot TV tower documented 121,560 birds killed
     (representing 123 species), primarily long-distance migrants. Significant numbers such as
     these led the Director of USFWS to issue a letter to the Chairman of the FCC in 1999,
     recommending that the FCC prepare a programmatic EIS under NEPA to delineate the
     extent of bird mortality due to communication towers and to develop mitigation measures.
     The USFWS Director referenced data that suggest the annual death toll of migratory birds
     due to communication towers could be from 4 to 40 million. Although communication
     tower impacts and wind turbine impacts are separate issues, the extent of cumulative
     impacts at communication towers may be taken as instructive.

     There are certain measures that can be taken to prevent/minimize avian and other wildlife
     impacts at each wind energy project. A thorough review for potential avian mortality and
     disturbance of critical habitat should be conducted before construction of any new wind
     energy project. Bird impacts due to habitat fragmentation and any other habitat impacts
     related to construction and/or operation of a wind facility should be thoroughly evaluated
     and measures should be taken to prevent/minimize mortality and non-lethal impacts.
     Projects should be sited on areas with disturbed habitat wherever possible. Sites with major
     bird attractants (such as Altamont Pass, California) should be avoided. Attention should be
     paid to impacts on specific species, not just general numbers of kills. The use of guy wires
     should be avoided. Transmission lines should be placed underground to minimize project
     footprint. Lighting should be minimized, with only a limited number of towers being lit
     using only white or red strobes at no more than 24 pulses per minute. Sites should be
     monitored using scientifically rigorous methods, and data should be published.

      Currently, there are a few existing examples of guidelines that make similar
      recommendations to those listed above:

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      1) USFWS Interim Guidelines to Avoid and Minimize Wildlife Impacts From Wind
         Turbines (July 2003);
      2) Washington State Department of Fish and Wildlife Wind Power Guidelines (August
         2003); and
      3) Siting guidelines developed in the State of Kansas.

      Ultimately, all energy choices have implications for birds. In 2001, conventional electricity
      generating power plants produced 36% of the carbon dioxide, 68% of the sulfur dioxide,
      38% of the nitrogen dioxide, and 23% of the toxic heavy metals in the US. The US is
      expected to increase its carbon dioxide emissions by 43.5% between 2001 and 2025. Over
      52% of the nation’s electricity is produced from coal burning power plants. Mining for
      fossil fuels like coal can devastate bird habitat - witness the 387,000 acres of Appalachian
      mature deciduous forests destroyed by mountaintop removal and valley fill operations in
      West Virginia, Tennessee, Kentucky, and Virginia. This operation is likely to have a
      massive and permanent impact on the entire suite of Partners in Flight mature forest birds,
      the most notable of which is the Cerulean Warbler, a species proposed for listing under the
      ESA. The loss of these Appalachian forests will result in a loss of as many as 191,722 of
      the global population of about 560,000 Cerulean Warblers. In addition, 1,200 miles of
      streams have been filled with mining waste. Another 380,000 acres of mountain top
      removal is projected in the next decade along with 1,000 miles of streams being filled.

     Current wind energy generating capacity in the US could prevent the burning of 8.4
     million tons of coal at the current utility fuel mix. For each Megawatt of wind energy
     produced, 2,000 tons of carbon dioxide greenhouse gases are avoided, 10 tons of sulfur
     dioxide, and 6 tons of nitrogen dioxide. In addition, newer turbines are larger and can
     produce twenty times more electricity than turbines from the early 1980s.

     Thus, if the proper measures are taken to prevent/minimize avian impacts, particularly to
     ESA-listed and other species of concern, wind energy can be a win-win development for
     birds and clean, renewable energy for the future.


                              Discussion, Questions and Answers

     Are there any examples ofprojects in the Eastern US where the pre-construction criteria
     discussed in the presentation were adequately met?

     Response: I am not familiar with the pre-construction reviews conducted at either the
     Buffalo Ridge, Tennessee or Mountaineer, West Virginia wind projects or other operating
     wind projects in the Eastern U.S. Relatively low impacts on birds have been found at
     Buffalo Ridge and Mountaineer. However, the record number of bats (47.53 per turbine)
     killed at the Mountaineer site is of concern and indicates that wind energy’s impact on bats
     also needs to be considered, and should be treated as a separate issue. Bat mortality ranges
     have been low at other facilities, down to as low as 0.7 bats per turbine per year at the
     Vansycle, Oregon wind project site. This needs to be and is being addressed.


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                        WHAT CAN WE LEARN FROM DEVELOPED
                              WIND RESOURCE AREAS?


                                   I. Altamont Wind Resource Area
      This session was the first of two intended to examine what existing science tells us about
      wind turbine impacts at existing wind project sites. This session focused on Altamont Pass
      Wind Resource Area WRA), one of the older wind projects in the US. The presenter
      addressed the following questions: How is avian habitat affected at Altamont WRA, and
      do birds avoid turbine sites? Are birds being attracted to turbine strings? What factors
      contribute to direct impacts on birds by wind turbines at Altamont? How do use, behavior,
      avoidance and other factors affect risk to avian species, and particularly impacts those
      species listed as threatened, endangered, or of conservation concern, and other state listed
      species?

                    Bird Fatalities in the Altamont Pass Wind Resource Area:
                                             A Case Study, Part I

                                                      by
                                  Carl Thelander, BioResource Consultants^^

     The Altamont Pass WRA (APWRA) is located due east of San Francisco on the eastern
     side of the coastal foothills where they open into California’s Central Valley. Wind energy
     generation began in the APWRA in the mid-1970s. By 1980, a California Energy
     Commission (CEC) biologist had identified a “bird kill problem” in the APWRA.
     Attention to the problem grew in the 1980s and by 1990 several studies were initiated. In
     1990, more than 4,000 turbines had already been built at the site. A number of studies
     focused on bird impacts have been conducted at the APWRA since the early 1990s, and
     researchers continue to try and determine ways to mitigate bird impacts today. In 1998, the
     National Renewable Energy Laboratory (NREL) funded BioResource Consultants (BRC)
     for research focusing on bird behaviors and mortality at the APWRA. In 2001, the CEC
     provided further funding to BioResource Consultants in order to continue and expand its
     research. Some of the findings of BRC’s research will be the focus here.12

      The goal of BRC’s research was to study the relationships between bird behaviors (such as
      flight, perching, and foraging), and bird fatalities. Part of the aim was to quantify bird
      fatalities to better understand the scope of the fatality problem, and to develop a large
      sample size representative of most of the APWRA. The ultimate objective of the research
      is to develop a quantitative model for the wind industry to use as a tool to help reduce bird


      11 P.O. Box 1539 Ojai, CA 93024
      12 This presentation was based on a report prepared by BioResource Consultants for the California Energy
      Commission (Smallwood and Thelander 2004). Posted (8/10/04) on the Web at:
      http://www.energy.ca.gov/pier/final project reports/500-04-052.html.
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      fatalities at wind project sites.

      There are about 18 different types of turbines in use at APWRA, of which several designs
      are entirely obsolete and no longer built. Both lattice and pole tower-mounted turbines can
      be found. In addition, many of the turbines are built in close proximity, arranged as
      ‘strings’ and are not very tall. These factors make it difficult for birds to pass through
      unharmed. Although research at APWRA has been conducted on a variety of turbine types
      that are no longer being built, information about bird behavior and interaction with
      turbines at the site may still be instructive. For example, bird behavior with respect to
      turbines in the APWRA tends to vary according to turbine activity. More turbines operate
      at the APWRA during the summer as winds increase during the summer. Research has
      shown that raptors seem to be able to perceive the difference between operating and non­
      operating turbines.

     A set of 1,526 turbines arranged in 182 strings was sampled from March 1998 to
     September 2002 (Phase I). A second set of 2,538 turbines in 308 strings was sampled from
     November 2002 to May 2oO3 (Phase II). A total of 1958 30-minute bird behavioral
     observation sessions were conducted during Phase I, and another 241 behavioral
     observation sessions conducted during Phase II. During the second phase, only raptor
     observations were recorded.

     BRC’s research between 1998 and 2002 yielded a variety of data regarding numbers of
     fatalities at APWRA, perching habits and other behavior of various bird species (including
     raptors), and bird attraction to turbine strings (rows of turbines). It was observed, for
     example, that more species tend to perch on lattice turbine towers, and for longer periods
     of time, when the turbines are not operating. It was also shown that some bird species such
     as Golden eagles, Red-tailed hawks, Northern harriers, Prairie falcons, American kestrels,
     and Burrowing owls spend far more time flying close to turbines (within 50 m) than would
     be expected by chance.

      Fatality searches were conducted around each of the sampled turbines at least seven times
      each year. The total number of turbine-related fatalities for both study periods was 1,162,
      representing about 40 bird species and one bat species. Based on the findings from both
      study periods, annual fatality estimates for ten species of raptors as well as for all birds
      combined were projected for the entire APWRA. (This includes the 4,074 turbines
      surveyed over Phases I and II as well as the 1,326 turbines left unsurveyed.) The low-end
      of the projected fatality estimates has been adjusted to account for searcher detection bias,
      while the high-end estimate has been adjusted to account for both searcher detection bias
      and scavenging rates. For all raptors, the estimated annual number of fatalities in the
      Altamont Pass WRA ranges from 881.4 to 1300.3 birds. For all birds, the estimate ranges
      from 1766.5 to 4721.3 birds killed.

      The research conducted by BRC yielded a series of key observations that shed light on
      bird-wind turbine interactions. For most bird species, there is no significant relationship
      between fatalities and observations of flights within 50 m of turbines. Fatality associations
      are usually species-specific, so solutions for one species might not serve as solutions for
      others. BRC research suggests that some birds, ravens for example, only rarely collide with
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      turbines, while for other species of birds it seems to be a major problem. Thus, simply
      observing numbers of birds during a pre-construction survey will not necessarily predict
      fatalities because behavior potentially matters as much as sheer numbers. Risk/danger to
      birds increases with taller towers, larger rotor diameters, and slow to intermediate tip
      speeds. Also, tips with lower blade reaches are most deadly to Golden Eagles. The
      availability of perching spots on turbine towers appears less important than previously
      believed.

      A number of findings specifically illuminated aspects of raptor interaction with wind
      turbines. Turbines on steeper slopes and in canyons are generally more dangerous to
      raptors, but ridge crests and peaks within canyons are also dangerous. In much of the
      APWRA, the presence of rock piles near turbines is associated with greater raptor
      mortality as raptor prey species (especially rodents) tend to occupy these rock piles.
      Although a rodent control program did manage to reduce ground squirrel numbers overall,
      it also increased the degree of clustering around turbines of remaining pocket gophers and
      desert cottontail rabbits. Thus, the program generally failed to reduce raptor mortality.
      Wind walls (clusters of turbines of varied heights) appear to be relatively safer for raptors,
      as research showed that raptors are killed disproportionately by turbines that are relatively
      less crowded by other turbines. Finally, raptor mortality differs by season, with summer
      and winter having the highest mortality.

      The experience of wind project development at Altamont Pass continues to provide some
      important lessons for the future of wind power in general. It appears that fewer, taller, and
      larger-output capacity turbines offer lower risk than do many, smaller, lower-output
      turbines. Repowering may be the best alternative to solving the bird kill problem in the
      APWRA. Behavioral observations and activity level studies should precede turbine
      installation. The data produced by such research can guide turbine siting to avoid or
      minimize impacts. At APWRA specifically, it seems that a number of fatalities at the site
      are unavoidable with its current design. Mitigation measures aimed at the operation and
      maintenance of the existing turbines in the APWRA could potentially reduce bird mortality
      to some degree, but it appears that they will not prevent them.

      References
      Smallwood, Shawn, and Carl Thelander. “Developing Methods to Reduce Bird Mortality
            in the Altamont Pass Wind Resource Area.” Prepared by BioResource Consultants
            for the California Energy Commission Public Interest Energy Research (PIER)
            Program, Report #500-04-052. August 2004.


                               Discussion, Questions and Answers

      Where do the raptors thatfrequent the APWRA come from?

     Response: There have been no detailed movements studies conducted, but it appears that
     birds tend to move north and south through the WRA when there is a large fall/winter
     movement of raptors throughout central California, and especially on the margins of the
     Central Valley. Many red-tail hawks are in the area throughout the year, while eagles
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      migrate through mostly during the fall and winter.

      What is the status ofBurrowing owls at Altamont Pass (and what of the lawsuitfocused on
      that species)?

     Response: Burrowing owls continue to breed in active and abandoned ground squirrel
     colonies, fledging their young just about the time when the summer winds pick up in the
     WRA. This results in high mortality for fledgling owls. The majority of owl fatalities have
     been clustered around 30-40 out of 5,400 turbines in the APWRA, and we are proposing
     some additional research to try to determine why. Several management options are going
     to be experimented with in the future that focus on the problem of burrowing owl kills.

     Although overall impacts of wind turbines on birds are generally low, there are species
     such as the Burrowing Owl that are greatly impacted. Shouldn’t we be concerned about
     such species suffering significant cumulative effects over time?

     Response: Yes, it may be that the burrowing owl flight behaviors in close proximity to
     turbines makes them especially susceptible to being killed. Many turbine sites are in
     grassland/grazing areas that support ground squirrels and, therefore, also burrowing owls.
     The cumulative effects of killing burrowing owls in the few remaining nesting colonies in
     the state need to be better understood in terms of their biological significance.

      Could we make comparisons between the impacts of wind power development on birds and
      other wildlife and the impacts of other types of energy projects such as hydropower?

     Response: Yes, to some degree. For example, bird (wildlife) losses per MW of energy
     produced for each energy source can be compared, regardless of the type of facility used to
     generate the power. But some difficult assumptions about the direct versus indirect impacts
     must be made, which often confounds such comparisons. But it is a good idea to fully
     understand the relative risks of developing different energy sources. Resource economists
     more than field biologists usually have fun with models that compare such things.

      In conclusion, it was noted again that research showed that the most frequently observed
      species in the APWRA were not the most frequently killed species. Pre-construction
      studies are valuable, but the value of pre-construction studies does not preclude post­
      construction monitoring because of behavioral differences among bird species.




                   II. Direct Impacts to Birds at New Generation Wind
                                Plants Outside of California
     This was the second of two sessions examining the existing scientific findings on wind
     turbine impacts at existing project sites: mortality, avoidance, direct habitat impacts from
     terrestrial wind projects, species and numbers killed per turbine rates/per MW generated,
     impacts to listed threatened and endangered species, to USFWS Birds of Conservation
     Concern, and to state listed species. This session focused on newer wind project sites
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     outside of the state of California. The presenter addressed the following questions: What
     factors contribute to direct impacts on birds by wind turbines? How do use, behavior,
     avoidance and other factors affect risk to avian species? Are there sufficient data for wind
     turbines and avian impacts for projects in the Eastern US, especially on ridge tops? In
     addition, this presentation looked at regional factors that may affect impacts such as habitat
     use, behavior, and other differences. The state of data about direct wind impacts in
     different regions was also considered.


                   Bird Fatality and Risk at New Generation Wind Projects

                                                  by
                                       Wally Erickson, West, Inc.

      Researchers have been conducting bird fatality monitoring at a number of “new
      generation” US wind projects for several years. New generation wind projects consist of
      much larger turbines and more turbines than earlier sites, taking advantage of technological
      advancements made since the 1980s and generating greater quantities of energy. New
      generation wind plants where standardized fatality monitoring data has been generated
      include: Vansycle, Oregon; Nine Canyon, Washington; Stateline in Oregon and
      Washington State; Klondike, Oregon; Foote Creek Rim, Wyoming; Buffalo Ridge,
      Minnesota; and Mountaineer, West Virigina.

      Bird fatality statistics have been reported from several new generation sites.

      The Vansycle, Oregon site consists of 38 660-kW turbines, with 47-m rotor diameters and
      a maximum height of 74 m. The composition of bird fatalities identified during a one-year
      study at Vansycle showed a total of 10 fatalities representing 7 species. These results came
      out to an average of 0.6 fatalities per turbine per year (f/t/y) (Erickson et al. 2000).

      The Nine Canyon, Washington site consists of 37 1.3-MW turbines, with 62-m rotor
      diameters and a maximum height of 92 m. Fifteen turbines at the site are lit by red strobe
      lights. A one-year study at Nine Canyon identified 36 bird fatalities representing 14
      species. Seventeen of the fatalities were horned larks, while half of the bird activity
      observed at the site was horned larks. Approximately 25% of the Nine Canyon fatalities
      were night migrants (Erickson, Gritski, and Kronner 2003a).

      The Stateline wind project consists of 454 660-kW turbines, with rotor diameters of 47 m
      and a maximum height of 74 m. One hundred-forty turbines are lit with red strobe lights at
      night. Fatality monitoring, raptor nest monitoring, Burrowing Owl surveys, and a grassland
      bird displacement study were all conducted at Stateline. The report detailing this work has
      not been published as of June 2004.

      The Klondike, Oregon site consists of 16 1.5-MW turbines, with 65-m rotor diameters and
      a maximum height of about 100 m. Six turbines at the site are lit by red strobe lights at
      night. A one-year study at the Klondike site identified 8 bird fatalities representing 7
      species (Johnson, Erickson, and White 2003).

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      At Foote Creek Rim, Wyoming, there are 133 600- and 750-kW turbines with rotor
      diameters between 42 m and 44 m, and a maximum height of about 74 m. The turbines at
      the Foote Creek Rim site, which is on Bureau of Land Management land, are not lit.
      Initially, there was a lot of concern about the potential for Golden Eagle fatalities. The site
      is a fairly flat tabletop mesa, but with a western rim edge, which was focus of raptor use
      study (Eagles and Buteos observed in 1999). The developer agreed to place turbines a
      minimum of 50 m back from the rim edge, which may have resulted in lower fatality rates
      than expected. A three-and a-half-year study at the site found 122 bird fatalities
      representing 37 species. Approximately 90% of the fatalities were passerines and 50% may
      have been night migrants. There were no documented “large” fatality events at Foote
      Creek Rim, however. On average, the Foote Creek Rim study showed a bird fatality rate of
      1.5 per turbine per year (Young et al. 2003).

     The Buffalo Ridge, Minnesota site is comprised of 73 300-kW turbines with 33-m rotor
     diameters and a maximum height of 52.5 m. A four-year study at this site yielded 55
     fatalities representing 31 species, with 71% being migrants and just 2% raptors (Johnson et
     al. 2002). On the Phase I site, no turbines are lit; on the Phase II site, 6 peripheral turbines
     are lit (2.2 f/t/y); on the Phase III site, every other turbine is lit. Fatality rates ranged from 1
     fatality per turbine per year (f/t/y) for Phase I to 4.45 f/t/y for Phase III. (The Phase III f/t/y
     was heavily influenced by one incident involving 14 birds at two adjacent turbines one
     night.)

      The wind project at Mountaineer, West Virginia has 44 1.5-MW turbines. An
      approximately seven-month study identified 69 bird fatalities representing 24 species, with
      71% being night migrants and 5% raptors or vultures (Kerns and Kerlinger 2004). Other
      studies include sites at Searsburg, Vermont (Kerlinger 1997), Somerset County,
      Pennsylvania (Kerlinger 2000), and Algona, Iowa (Demastes and Trainer 2000), each of
      which reported no fatalities over study periods of 5-9 months. (See slide presentation for
      further details.)

     By integrating the data of these various studies, researchers have been able to reach some
     general conclusions about wind turbine-bird interactions at new generation wind power
     projects. For example, at new generation projects in the West, horned larks suffer by far
     the most fatalities due to collisions with turbines, and have typically been the most
     abundant species observed during avian use surveys. It also has been shown that bird
     fatalities tend to occur primarily between April and October, with low numbers in the
     winter months. Based on computer models (Tucker 1996a and 1996b, Podolsky 2003),
     comparisons of turbines of various sizes suggest that larger turbines with larger rotor
     diameters and fewer revolutions per minute may cause fewer bird fatalities for equivalent
     rotor swept areas. Empirical studies of these hypotheses are lacking.

     Based on monitoring data, researchers have been able to develop a bird-turbine collision
     risk index. The formula is bird fatalities/relative abundance (relative abundance is the
     population size of a species in a particular region). This measure provides some
     information on the “significance” of fatalities suffered by specific species.

      Fatality monitoring at new generation wind project sites is helping broaden knowledge
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     about the dynamics of turbine-bird interaction. Most recent studies continue to add to the
     knowledge base regarding direct and indirect impacts of wind power development to birds
     and bats. Fatality data provide useful and direct measures of impact that assist in making
     predictions, especially for proposed projects. It has been found that a large percentage of
     fatalities at new generation wind plants are passerines, and that avian fatalities peak during
     migration season.

     Comparisons of avian fatality rates to avian use provide some measure of collision risk,
     and may be useful for identifying individual species or groups of species more or less
     susceptible to collision. In some cases, the most common fatalities are the most abundant,
     suggesting in some cases fatality rates are proportional to use. Other species may be
     considered more or less susceptible because the fatality rates are not in proportion to their
     abundance. Through these types of risk indices, common ravens and turkey vultures appear
     to be less susceptible to collision than other large bird species.

     Spring migrant fatality rates compared to estimated nighttime radar target passage rates
     appear very low based on the results of three studies, two in the Pacific Northwest and one
     in the Midwest. Much caution should be employed in making large generalizationss from
     these results, due to the many assumptions underlying the calculation of target rates from
     these and other radar studies.

     Finally, theoretical and empirical-based models of comparative risk among turbine
     structure types may provide useful insight into relative risk to birds between various
     designs and in comparison to communication towers. For example, the likelihood of a bird
     getting hit by the rotor blade of a single 1.5 MW, 65-m diameter rotor is smaller than the
     likelihood of a bird getting hit by a rotor blade when passing through 15 18-m turbines
     with the same total rotor swept area as the single larger turbine. To facilitate such
     comparisons, we have started presenting data on a per-rotor swept area basis or MW
     nameplate capacity rather than a per turbine basis.

      On average for all birds, new generation projects outside California have recorded three
      fatalities per megawatt per year. (California data were excluded because we have yet to see
      all-bird data corrected for scavenging and detection rates.) For raptors (excluding older
      turbines in California), the average is 0.04 fatalities per MW/year. For the Stateline
      (Oregon/Washington) project, fatalities were estimated at 0.01% / target passage rate.

     It is also instructive to compare collision risk for different structure types (e.g., guyed
     meteorological or cell towers and wind turbines). Based on computer models, for a bird
     with a one-foot wingspan, the likelihood of collision with a 105 m high communications
     tower having 1.25 total miles of guy wires is three times as great as the likelihood of
     colliding with a 65-m rotor diameter, 92-m maximum height wind turbine. Basic
     assumptions in the model include equal avoidance of or attraction to the guyed structure
     and the wind turbine. Empirical data from a wind energy project in Wyoming corroborated
     the higher per structure collision risk for a guyed structure compared to a wind turbine for
     songbirds. These results likely vary, depending on the birds considered (e.g., raptors versus
     songbirds).

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                               Discussion, Questions and Answers

     How is it that Foote Creek turbines are unlit? Noting that some of the turbine towers at the
     Foote Creek Rim site in Wyoming are over 74 m tall, one participant asked how it was that
     the Federal Aviation Administration (FAA) had exempted the Foote Creek Rim turbines
     from lighting requirements.

     Response. The FAA can ask for any tower of any kind anywhere to be lit, regardless of
     height. However, compliance with such requests are voluntary; the FAA has no authority
     to make a developer do it. (Local permitting agencies may, however, require compliance
     with FAA requests as a condition of permitting.) It may be that the FAA did not request
     lighting at the Foote Creek Rim wind farm because of its remote location.

     Which measure would be more useful, fatalities per MW capacity, rather than by MW
     hours or kW hours? It was noted that correlating operating time with fatalities would be
     useful, but that this type of data is difficult to collect. It was also noted that it is difficult to
     determine what level of impact is “significant,” particularly at the pre-construction stage.
     For the most part, it has been determined that individual projects will not have biologically
     significant impacts on bird populations. For example, the apparently high numbers of
     Horned Lark fatalities at Nine Canyon become less disturbing when one examines the
     abundance of horned Larks in that region. However, cumulative impacts are a different
     (and more difficult) question.




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                   NON-FATALITY AND HABITAT IMPACTS ON
                   BIRDS FROM WIND ENERGY DEVELOPMENT
     This session focused on discussion of non-collision impacts of wind energy projects on
     birds, primarily impacts to habitat. The presentation included information about the
     impacts of habitat fragmentation, disturbance, and site avoidance from wind turbines, as
     well as from roads, transmission facilities, and other related construction at wind project
     sites. Whether birds habituate to the presence of turbines and the influence of regional
     factors were also addressed.


              Overview of Non-Collision Related Impacts from Wind Projects

                                                  by
                                      Dale Strickland, West, Inc.

     There are a variety of direct and indirect, long-term and short-term non-collision impacts
     that wind projects may have on birds. Direct loss of habitat results from the construction of
     turbine pads, roads, and substations. Indirect loss of habitat may occur from birds’
     behavioral responses to development, such as avoiding wind plant facilities and areas
     surrounding them. Long-term habitat impacts result from the construction of relatively
     permanent structures that remove habitat for the life of a project and from birds avoiding
     habitat disturbed by a wind plant and not habituating (i.e., becoming accustomed) to wind
     plant features. Short-term habitat impacts occur while habitat disturbed temporarily during
     construction of the wind plant is being restored and/or while birds habituate to the
     disturbance.

     Direct Habitat Disturbances. Some estimates as to the extent of direct habitat disturbances
     from wind project development were drawn from the Foote Creek Rim site in Wyoming
     and several projects in the Pacific Northwest (e.g., State Line in Washington and Oregon).
     Temporary impacts from the construction of roads, turbine pads, and substations were 0.4
     to 2.6 acres per turbine or 0.6 to 1.7 acres per MW. Long-term impacts from permanent
     facilities were 0.7 to 1 acres per turbine, or 0.4 to 0.7 acres per MW. The overall
     magnitude of impacts and the potential for successful reclamation of sites depends on the
     ecological context and characteristics of the site, the type of turbines being built, and the
     design of the reclamation plan. For example, a prairie area dominated by tall grass with
     good moisture has a better chance for reclamation than a cold desert area dominated by
     sagebrush. Flat sites require less topographic restructuring than rougher terrain, and
     arranging turbines in compact strings requires less road-building than widely dispersed
     turbines.

     Displacement Impacts. Displacement of birds is a potential indirect impact. In Europe
     wind plant-related displacement effects are considered to have a greater impact on birds
     than collision mortality. European studies suggest that most displacement involves
     migrating, resting and foraging birds. Studies have reported displacement effects ranging
     from 75 m to as far as 800 m away from turbines. In a Denmark study, eiders were found
     to avoid desirable feeding areas within 100 m of turbines but no population impacts were
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      detected.

     Studies at Buffalo Ridge, Minnesota indicated small-scale displacement of less than 100
     meters (Leddy 1999; Johnson et al. 2000). Use by grassland species was significantly
     lower in plots containing turbines than in plots without turbines. On a broader scale, there
     was a slight reduction in use of the Buffalo Ridge Wind Resource Area by some species
     during spring and fall, but no reduction in use during the breeding season. At Stateline
     (Oregon/Washington), bird use appears to be significantly less within 50 m of turbines. In
     Wisconsin, there appeared to be no significant displacement of birds from the general area
     of a wind plant as compared to a reference area (Howe, Evans, and Wolf 2002). Several
     other Western and Midwestern sites show small-scale impacts. Small scale impacts have
     been reported in ongoing studies including at the Ponnequin site in Colorado, a site in
     North Dakota, a site in Montana, and a site at the National Wind Technology Center in
     Golden Colorado. Habituation may be occurring at the Ponnequin site (Paul Kerlinger,
     pers. comm.).

     In a study of a similar development involving natural gas impact on sagebrush steppe
     habitat, sagebrush obligates showed a 39%-60% reduction in use within 100 m of roads
     carrying 10-700 vehicles per day. Sage sparrows showed significant reduction in use along
     a gas pipeline with no traffic. The horned lark, by contrast, showed a slight increase in use
     within 100 m of gravel road. Changes can be attributed to traffic, noise, vegetation change
     and an increase in “edge” habitat (with related predation) (Ingelfinger and Anderson, in
     preparation).

     US Fish and Wildlife Service guidelines suggest a 5-mile impact to Prairie grouse leks
     (breeding grounds) from wind development. While we could find no data suggesting an
     impact radius in the published literature on wind development, studies of the impacts of
     other human disturbances (e.g., construction of houses and roads, oil and natural gas
     development) on Prairie chickens and Sage grouse indicate that birds do avoid disturbed
     areas. Prairie chickens seldom nested or raised broods within one mile of an operating
     coal-fired power plant in Kansas, and seldom nested within a half mile of inhabited homes,
     well-traveled roads, a compressor station, or within 200 yards of highways or other habitat
     edge (Robel 2002). For sage grouse, leks within 3 km of development of a gas well
     showed lower nest initiation rates, with birds traveling twice as far to nest, although
     nesting success was the same in disturbed and undisturbed areas (Lyon 2000). Sage grouse
     use was found to increase with distance (up to 600 m) from powerlines (Braun, unpub.
     data). Greater Sage Grouse and Sagebrush Steppe Ecosystem Management Guidelines
     suggest avoiding surface occupancy within 1 km of seasonal habitat (e.g., lek, nesting
     habitat, winter habitat) of sage grouse.

      There have been a few specific studies of displacement effects at wind sites. For example,
      a population of Mountain plovers inhabiting the wind plant site at Foote Creek, Wyoming
      declined from a mean of 50 during the two years prior to wind plant construction, to a



      13 A set of guidelines prepared by the Bureau of Land Management, US Fish and Wildlife Service, US Forest

      Service, Oregon Department of Fish and Wildlife and Oregon Department of State Lands, August 21, 2000.
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     mean of 28 in the five years during and after construction. Mountain plover use on a
     reference area declined from 30 to 9 over the same period of time. The decline in both
     areas appeared to coincide with a regional decline in Mountain plover abundance (Knopf,
     pers. comm.).

     The only published report of avoidance of wind plants by raptors came out of a study
     conducted at Buffalo Ridge, Minnesota (Usgaard et al. 1997). This study estimated a nest
     density on a 261 square-kilometer of land surrounding the wind plant of 5.94/100 square
     km. Based on that density, researchers predicted that there would be approximately 2 nests
     found on the 32 square-km wind plant facility site with similar habitat. However, no nests
     were found on the wind plant site. In contrast, a study of raptors’ responses to wind
     development show a similar number of raptor nests before and after wind plant
     construction at Montezuma Hills, California (Howell and Noone 1992). At Foote Creek
     Rim, Wyoming eight Red-tailed hawks, one Great horned owl, and one Golden eagle
     successfully nested within one mile of the wind plant. A successful Swainson’s hawk nest
     was found within 0.8 km of an Oregon wind plant (Johnson et al. 2003). Finally, there is
     also anecdotal evidence that raptor use of Altamont Pass WRA may have increased with
     the installation of wind plant turbines (Orloff and Flannery 1992; AWEA 1995).

     Several conclusions can be drawn regarding non-collision impacts of wind projects on
     birds. First, reduced use or displacement of some birds probably occurs primarily in close
     proximity to turbines, with the actual distance depending on the species and probably
     ranging from < 100m to 3 km. There may be a relatively minor reduction in use of WRAs
     by song birds, primarily during spring and fall, which would not be expected to have
     population consequences on a regional scale. Direct impacts on habitat have been based on
     predictions and not empirical measurements. Overall, there is still much uncertainty about
     the extent of indirect impacts of wind plants, particularly on Prairie grouse. Remaining
     concerns include habitat fragmentation by roads and the impact of turbines on behavior.

     Further research is necessary on a few aspects of non-collision impacts of wind plant
     facilities on birds. First, more work should be done on the relationship between small-scale
     and large-scale impacts of wind development. Predictions of direct impact should be
     evaluated by quantification of actual habitat impacts and correlated with project features
     and site characteristics. Indirect impacts should be quantified, particularly on Prairie
     grouse. There should be consideration of the linkage between non-fatality impacts to
     population dynamics and biological significance. Finally, sites should be monitored to
     track the progressive (cumulative) spatial impact of wind sites on animal behavior over
     time using resource selection statistics (Manly et al. 2002).

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                              Discussion, Questions and Answers

      Species discussed in the presentation were all western species; is there information on
      wateifowl or other species in the eastern US?

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     Response: It was noted that data from offshore sites in Europe do indicate some impact on
     water birds such as sea ducks. As for the eastern US, there has been little research done on
     non-collision impacts of wind development in the region. One may assume, however, that
     if the habitat used by an obligate species is removed, use by that species will decline.




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                                       OFFSHORE WIND
      This session addressed the current state of offshore wind energy development. The first
      presentation summarized selected environmental studies conducted to date at operating
      offshore wind turbine projects in Denmark and lessons from other offshore wind
      developments in Europe. Wildlife impacts studies from the Danish sites focused on birds,
      fish, and mammals. The second presentation provided an update on current permit
      applications for offshore wind developments in the US, as well as lessons that may be
      drawn from the European experience.


                  Monitoring Program and Results: Horns Rev and Nysted

                                                  by
                                  Jette Gaarde, Elsam Engineering14

      Denmark started to site offshore wind farms in the 1980s, and is now one of the leading
      countries in offshore wind installations in Europe. Of 3 GW total electricity consumption,
      422 MW (15.9% of consumption) is wind-generated, with another 400 MW planned.

      The Danish process to approve construction of offshore wind farms involves several steps,
      including rigorous pre-construction environmental impact assessment (EIA) and post­
      construction monitoring. The Danish EIA process involves collection of baseline data,
      including a description of the proposed site area and evaluation of the possible effects of
      the wind farm on the environment. (A screening year and year-and-a-half baseline period
      are used together to provide baseline data for impact assessment purposes.) Post­
      construction environmental monitoring takes place for two to three years after
      construction, with annual reports due to the government.

      This presentation outlines the Danish siting/EIA process, in the context of the development
      of Denmark’s Horns Rev and Nysted offshore wind projects, developed by Elsam
      Engineering. In 1998, the Danish government issued a ministerial order for the
      construction of five wind farms. Sites had to be no more than 12-15 m deep. Protected
      areas and military exclusion zones were avoided. Three of the five sites originally
      identified were later dropped, leaving Horns Rev and Nysted. Elsam Engineering’s formal
      application was reviewed, and in 1999, an in-principle approval was issued. The in­
      principle approval set the preliminary engineering and pre-construction environmental
      assessment into motion. In 2001, final approval of the projects was obtained after public
      hearings and government acceptance of Elsam’s EIA reports and project proposals.

      The Horns Rev site is located 14 km off the western coast of Denmark and consists of 80
      2-MW turbines built on a seabed of sand, in water 6.5-13.5 m deep. A monopile
      foundation design was employed at this site. The Nysted project is located 10 km off the
      coast and consists of 72 2.3-MW turbines built on a seabed of sand over heavy clay, in



      14 Kraftvaerksvej 53, DK-7000 Fredericia

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      water 6.5-9.5 m deep. A gravitation foundation design was employed at the Nysted site.

      Developers gathered baseline information over a period of about a year at each site, and
      monitored the sites for a variety of potential impacts, including: disturbance effect and risk
      of collision for birds; impact on mammals (e.g., seals and porpoises); impacts on fish; and
      impacts on bottom-dwelling flora and fauna. Geomorphology and noise/vibration effects
      were also monitored. Impact surveys were conducted on the introduction of hardbed
      habitat (artificial reef effect) and on the farm’s visual and socioeconomic significance.
      Methodologies employed include underwater surveys of hard bottom and fish communities
      around turbine foundations, aerial surveys of birds and seals, radar studies to count
      migrating birds, infrared (IR) camera monitoring of birds, and remote video registration of
      seals.

      Seals are of particular concern with respect to Danish offshore wind development as they
      are protected under an EU habitat directive and the Jutland Wadden Sea, which surrounds
      Denmark, has a population of 3,500 seals. Ten seals were marked and tracked in order to
      examine temporary and permanent impacts on the species from the construction phase of
      the project. Preliminary conclusions indicated that seals travel farther than presumed.
      There were large seasonal and individual variations. Some of the marked seals moved to
      German territory.

      Porpoises are another mammal of potential concern in waters off Denmark. Previous
      surveys indicated that the Horns Rev area is one of high density for porpoises, and so an
      evaluation of the entire area’s importance for porpoises was conducted. It was found that
      porpoise activity decreased in and outside of the wind farm area during the ramming
      process that is part of the installation phase of the project, but returned to normal levels
      three to four hours after ramming. Throughout the construction phase, there was a general
      effect on the behavior of the animal up to 10-15 km from the wind farm. During
      construction, a pinging device was used to disperse the mammals from the immediate area
      and thereby mitigate noise impacts. It is not certain how effective these measures are
      because of the lack of data on potential noise impacts. Studies are still being conducted to
      determine the possible effects of noise on marine species, particularly porpoises.

      The impact of offshore wind power developments on bird species is also of potential
      concern. The Horns Rev wind farm area is of international importance for the Red- and
      Black-throated diver, Eider, Common scoter, Common tern, and Sandwich tern. The area
      also holds large numbers Guillemot, Gulls, and Gannet. Bird impact studies at the Horns
      Rev wind development examined disturbance impacts on wintering and resting bird
      species and collision risk for migrating and local species. Research at the site focused on
      the wind farm area itself, a transect outlining the wind farm 2 km out, and another transect
      at 4 km out from the actual site boundary.

      Disturbance impacts were assessed by estimating the area’s importance to birds, and
      gathering detailed baseline information. Disturbance observations (counts from planes) are
      made during months where weather permits. By integrating these data an estimate of the
      potential impacts on wintering and resting birds was made. One species examined was the
      Common scoter, which may have been displaced by the construction of the turbines.
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      However, further research is necessary to determine whether their movement might have
      been a fUnction of natural variation in the feeding ground, or related directly to the wind
      farm construction. At Horns Rev, bird disturbance studies concluded that Divers and
      Razorbills seem to move away from the wind farm area during construction (without
      statistical significance), while Herring Gulls are attracted to the wind farm area (with
      statistical significance).

     Collision investigations also are conducted about once a month, using radar observations
     (from a transformer station in the NE corner of the array) and visual observation (to detect
     type of bird). Collision risk studies at Horns Rev involved collecting baseline data for
     evaluating collision risk and quantifying the risk of collision frequency. The basic
     categories of bird activity investigated were occurrence (species, number, day/night,
     where, when); avoidance/attraction; flying height, speed, and direction; size of flock;
     activity (foraging, transit); and weather. Based on visual and radar observations, it was
     found that for the most part birds passing through the Horns Rev area were flying north to
     south. Birds have been observed flying around the wind farm area and some have been
     seen flying between the turbines. Plans have been made to start vertical radar studies to
     determine if/how many fly over the site. There were no direct observations of collisions/
     fatalities at Horns Rev. However, it is important to remember that because it is an offshore
     site, it is difficult to identify fatalities by collecting carcasses.

     In addition to wind development’s impacts on wildlife, the socioeconomic, visual, and
     noise impacts are also considered by Danish developers. The sociological aspect seeks to
     determine and explain the preferences of the public. The economic aspect attempts to
     evaluate the economic consequences of offshore wind turbines in relation to individual
     preferences. The visual impact of Horns Rev after construction is comparable, if not less
     than expected, to pre-construction computer-generated visualizations of the view from the
     coast.


          What Has the US Wind Industry Learned from the European Example?

                                                 by
                                       Bonnie Ram, Energetics15

     Offshore wind power development is currently under consideration in the United States,
     with research being conducted by the National Renewable Energy Laboratory (NREL).

     NREL is mapping the offshore wind resource along the northeast coastline, investigating
     the permit process, regulatory requirements, and potential ecological impacts, and
     evaluating technology pathways for an offshore wind industry in the US. As with onshore
     wind projects, there are many potential ecological concerns to consider in siting and
     construction, including potential impacts on: sea mammals, fisheries and avian species;
     hydrography, coastline, and artificial reefs. Viewshed, socioeconomics, and noise/vibration
     impacts need to be taken into account, as well as the potential for disturbing radar/radio


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     communications, navigation and air traffic, and marine archaeology. Logistics and
     maintenance issues also need to be taken into account, in relation to increased traffic and
     the potential impact from subsea cables and transmission lines.

      Fortunately, developers and regulators in the US have the benefit of drawing on the
      European offshore experience to date as the US enters into this phase of offshore wind
      energy development. European offshore wind farms have been in operation since the early
      1990s, and there are a variety of lessons to be learned from the approach of European
      developers and governments to the development of offshore wind facilities.

         •   Heavily subsidized demonstration projects (essentially public-private partnerships)
             were very important and provided useful learning. For example, the Danish
             government has allocated over a million US dollars annually into environmental
             monitoring of offshore wind projects.
         •   Preliminary conclusions across European sites are lacking, although a European
             Community effort comparing findings from 180 sites is underway.
         •   Good baseline studies are critical for monitoring purposes. The most scientifically
             rigorous results are obtained with Before-After-Control-Impact (BACI)
             methodologies. Study designs and results must be peer reviewed.
         •   Establishing “zones for development” may help developers avoid sensitive
             ecological areas. For example, the United Kingdom outlines areas suitable for wind
             development before developers could make proposals. In addition, the European
             Union designates protected areas and countries must adhere to the designations as
             they develop wind energy facilities.
         • Viewsheds are a controversial aspect of offshore wind development.
         •   Finally, the European experience demonstrates the effectiveness of a national
             energy policy comprising both political will and financial incentives (i.e. lawsuits
             are not typical). The Kyoto agreement has been a key factor motivating offshore
             wind policy in Europe.

      There have been several offshore wind permit applications proposed in different US Army
      Corps of Engineers (USACE) district offices. However, only one application (in the New
      England District) is complete and underway. The table below gives an overview of the
      applications submitted in the US.




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      Offshore Wind Permit Applications (US)
      Applicant     Project Location    Application   Status
                                        Filed
      Cape Wind     Nantucket Sound     November 2001 Draft EIS expected this
                                                      year
      Bald Eagle    Long Island Sound May 2002        The applicant is revising
      Power                                           the application
      Greenlight    Lake Erie           May 2003      Project on hold
      Winergy          Plum Island, NY       June 2003       Incomplete Application
      Winergy          Smith Island, VA      July 2003       Application
                                                             administratively withdrawn
      Winergy          Asbury Park, NJ       NA              No meeting scheduled
      Winergy          4 sites in New Jersey NA              Pre-application meeting
                                                             Nov 2002
      Winergy          Indian River,         NA              Pre-application meeting
                       Delaware                              Feb 2003
      FPL Energy       Long Island Sound     TBD             Awarded the end of May
                                                             2004


     NREL has been closely tracking two key offshore wind power developments in the US -
     Cape Wind in Nantucket Sound, MA, and the FPL Energy site off of Long Island, NY. The
     Cape Wind project would be the first offshore project in the US and would consist of 130
     turbines operating at a total capacity of 468 MW. The area covered by the site is about 20
     square miles, with turbines located on Horseshoe Shoal, a shallow area in the middle of
     Nantucket Sound. The draft Environmental Impact Statement (EIS) is expected to be
     available to the public in 2004. A meteorological tower is collecting wind, wave, and
     temperature information at the proposed site. Two lawsuits have been filed in relation to
     the Cape Wind project, dealing with jurisdictional and regulatory authorities of the US
     Army Corps of Engineers. To learn more about the Cape Wind project go to the USACE
     website: http://www.nae.usace.army.mil .

      In 2002-2003, the Long Island Power Authority (LIPA) and New York State Energy
      Research and Development Authority (NYSERDA) partnered to identify the best possible
      site for an offshore wind farm in Long Island Sound. The site identified is a few miles off
      the coast of Jones Beach. The site would produce as much as 150 MW of power and LIPA,
      a municipal utility, has guaranteed to enter a purchase power agreement and to build the
      substation cable. This project is still in the conceptual stage and is early in the public
      involvement process, but has strong state political support. In May, LIPA selected Florida
      Power & Light as the developer. To learn more about this offshore wind project, go to
      www.lioffshorewindenergy.org on the web.

      Regulation of offshore wind development in the US presents a rather complex situation
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     because there is no experience and there are multiple jurisdictions for ocean activities.
     State boundaries extend three nautical miles off the coast (with the exception of Texas,
     whose state boundary extends ten miles into the Gulf of Mexico), and the Federal
     boundary extends to 12 nautical miles. There are many federal agencies and regulations
     that could potentially come into play when siting and permitting a wind farm. The US
     Army Corp of Engineers takes the lead in coordinating its section 10 permit and the
     concurrent National Environmental Protection Act (NEPA) process. One of the primary
     objectives of the permitting process is public involvement.

     In addition to what may be learned from European coordination of environmental studies,
     US wind developers and regulatory agencies may draw on their own experience with US
     wind energy development to date. NREL and NWCC workshops with regulators and
     stakeholders tend to highlight the uncertainties around offshore wind development in areas
     such as: ecological effects and risk levels; best available data and standards of
     measurement; environmental benefits; and the issue of multiple government agencies with
     potential jurisdiction over a project. Market-driven development also requires due
     diligence from regulators as many applications may be filed, but only some developers
     actually have the resources and know-how to follow through with project development.

     There have been several other lessons learned in recent years about the process of wind
     development in the US. People with limited knowledge of the technology and/or the
     marine environment may create an unnecessary fear of offshore wind developments.
     Therefore it is important to educate the public early and encourage informed debate. Lack
     of a national energy policy leaves individual agencies to set their own policies, but
     sustainable development requires interagency coordination. At this point in the US, states
     are taking the lead on wind power development with Renewables Procurement Standards
     (RPSs). It is unclear which agency will have jurisdiction (and what decision-making
     process will be used) regarding offshore energy development on the outer continental
     shelf. The proposed national energy bill may shift jurisdictional control to the Minerals
     Management Service, though the US Army Corp of Engineers would still be involved.

     In terms of environmental concerns in the US, the history of avian and bat issues as well as
     public reaction to viewshed impacts are instructive. The “green” image of wind power has
     been tarnished by incidents of bird fatalities at Altamont Pass in California, though this is a
     unique development with thousands of turbines. There are also questions about the
     cumulative effects of wind projects on bird populations and habitat. It is evident that
     research protocols and peer review of impact studies at wind farms is necessary, and that
     baseline studies are critical. The collaboration of industry, government, and NGOs to fund
     wind-bird/bat research has proven effective. Finally, the NIMBY (“not in my backyard”)
     aspect of public perception/opinion may become more prominent as the numbers of wind
     projects grow.

      Future DOE/NREL activities to promote appropriate development of offshore wind
      resources in the US include:

         •   Coordination of workshops in 2004 (a proposed technical tutorial for New York
             regulators; international deep water research and development workshop, validation
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             of resource maps)
         •   Technical support for state agencies with offshore wind activities
         •   Review and analysis of the Cape Wind Draft Environmental Impact Statement
         •   Technical support for the International Energy Agency proposed offshore annex
         •   Continued analysis and lessons learned from European environmental studies from
             installed offshore wind sites.


          [A tight schedule precluded time for group discussion of this presentation session.]




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           BAT ECOLOGY RELATED TO WIND DEVELOPMENT AND
         LESSONS LEARNED ABOUT IMPACTS ON BATS FROM WIND
                          DEVELOPMENT
     This session shifted the focus of the workshop to the issue of wind energy development’s
     impacts specifically on bats. The presentations discussed lessons that have been learned
     regarding direct and indirect impacts on bats, and strategies planned to address such issues.
     Presenters addressed what the existing science demonstrates about land-based wind turbine
     impacts on bats, including: mortality, avoidance, direct habitat impacts, species and
     numbers killed, per turbine rates/per MW generated, and impacts on threatened and
     endangered species. They discussed whether there is sufficient data for wind turbines and
     bat impacts for projects in the eastern US, especially on ridge tops. Finally, the subject of
     offshore impacts on bats was briefly addressed, including what lessons have been learned
     in Europe and how these can be applied in the US.


                       A Review of Bat Impacts at Wind Farms in the US

                                                   by
                                        Greg Johnson, WEST, Inc.

     Bat collision mortality at wind farms is a definite concern with respect to the ongoing
     development of wind energy facilities. It is important to note, however, that bat collision is
     not unique to wind farms. Bats also are known to collide with lighthouses, communication
     towers, tall buildings, powerlines, and fences. Nevertheless, bat collision mortality at wind
     plants is a widespread phenomenon, with bat mortality at wind plants often exceeding
     avian collision mortality. (Between mid-July and mid-September, the number of bat
     fatalities found at Buffalo Ridge, Minnesota averaged on the order of 175 bats compared
     with about 10 avian fatalities during the same period.)

     Of forty-six species of bats in North America, eleven species have been identified among
     fatalities at wind plants, although no federally endangered or threatened bats have been
     found at a US wind farm. Typically, bat mortality involves solitary, tree-roosting bat
     species such as the silver-haired, hoary and eastern red bats. Hoary bats account for nearly
     half of all bat fatalities at wind plants. Other species impacted by collisions with wind
     turbines include the northern long-eared bat, western red bat, Brazilian free-tailed bat,
     long-eared myotis, and the Seminole bat.

      The overall average bat fatality rate for US wind projects is 3.4 fatalities per turbine per
      year, or 4.6 per MW per year. The highest rates of bat mortality at wind plants have been
      found in the Eastern US, with one particularly large fatality event occurring at
      Mountaineer, West Virginia. In all other regions of the US, bat fatality rates are relatively
      low (see table, below). Generally, bat mortality occurs primarily in the late summer and
      early fall. Existing data include a summary of 1,628 fatalities, with about 90% occurring
      from mid-July to the end of September and over 50% of those occurring in August. It has
      been found that the late summer increase is not due to increases in the number of
      inexperienced juvenile bats. For example, at the Buffalo Ridge site in Minnesota 68% of
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      the fatalities found were adults. At Stateline, Oregon/Washington, 64% of all bat carcasses
      found were adults.

     Bat Fatality Estimates for the US, by Region
       Region         # Studies      # MW       Fatalities/   fatalities/             ~ Annual
                                              Turbine/year    MW/year                 Fatalities
     Northwest      4              397        1.2           1.7                      675
     Rocky          2              68         1.2           1.9                      129
     Mountains
     Upper          4              254        1.7           2.7                      686
     Midwest
     East           2              68        46.3           32                       2,176
     Overall        12             787        3.4           4.6                      3,620


      The seasonal timing of high bat fatality rates at wind plants does suggest that migrating
      bats are involved. For instance, hoary bats, eastern red bats, and silver-haired bats all
      migrate from mid-July through October. Migratory concentrations of hoary bats have been
      observed throughout North America in the month of August. In addition, the autumn
      dispersal of eastern pipistrelle, big brown and little brown bats occurs from the last week
      of July to mid-October. One possible reason that bat mortality at wind sites is much lower
      in the spring, as opposed to the fall, is that bats may follow different migration routes in
      each season and generally have different migration behavior (i.e., leisurely in spring vs.
      hurried in the fall). For example, in Florida it was observed that the fall migration of hoary
      bats occurred in waves, but the spring migration was more scattered and less organized.

      Other evidence regarding bat mortality at wind energy facilities suggests that fatalities do
      not involve resident or foraging populations, which by default again points to migrating
      populations as the key group at risk. With respect to resident populations, research has
      shown that at Buffalo Ridge, Minnesota, Foote Creek Rim, Wyoming, Wisconsin, and the
      National Wind Technology Center in Colorado, relatively large populations of bats were
      documented breeding in close proximity to wind plants when no or few fatalities were
      documented. Moreover, only 51 of the 1,628 (3.1%) documented bat fatalities across the
      US have occurred during June and early July when most bats are residing at summer
      breeding areas.

      Studies of bat activity also suggest that fatalities at US wind facilities do not involve
      foraging bats. For example, a bat activity study conducted in Minnesota found 2 passes per
      night at turbines compared to 48 passes per night in more suitable habitats such as
      woodlands and wetlands. Also, no “feeding buzzes” typically made by foraging bats were
      documented at turbines in Minnesota or Wyoming; however, bats foraging at the top of the
      turbine hub or higher would not have been detected. Generally, the turbines in the West
      and Midwest with the highest bat mortality are situated in crop fields, pastures, or short­
      grass prairies - all of which are habitats not typically used by foraging bats. One study
      from Sweden did, however, find that bats were foraging near turbines.

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     Given their finely-tuned echolocation capabilities, it is somewhat of a mystery as to why
     bats cannot detect wind turbines. For example, bats can navigate through constructed
     clutter zones made of staggered vertical strands of fine wire, spaced 1 m apart. It has also
     been demonstrated that captive bats can avoid colliding with moving objects more
     successfully than stationary ones, presumably because their foraging habits program them
     to detect moving objects.

     So the question remains, why do bats collide with turbines? Several researchers believe
     that migrating bats may navigate without the use of echolocation. For example, a study
     conducted in Wyoming suggests that migrating hoary bats do not echolocate (Gruver
     2002). Of 20 echolocation calls recorded at turbines and attributed by species, only one
     was a hoary bat even though this species comprised 88% of the fatalities. (Again, however,
     migrating hoary bats flying at or above the turbine hub height would not have been
     detected by the instruments being used in this study.) A study from Minnesota offers
     contradictory evidence that migrating bats possibly do echolocate, as echolocation activity
     was found to peak in late July and August, around the beginning of the migration period
     (Johnson et al. 2003). Generally, evidence suggests that bats depend on vision rather than
     echolocation for long-distance orientation. Thus, if bats are flying through wind farms by
     sight only, then causes of bat mortality could be similar to causes of nocturnal avian
     collision mortality at wind plants.

     Another key question regarding bat mortality at wind plants is whether turbines attract
     bats. Several studies have shown high foraging activity by bats around artificial lights.
     Lights on turbines may attract moths and other nocturnal insects, thus increasing the
     probability of bat collisions since bats feed on insects at night. However, several data sets
     have been examined to date and there has been no correlation between turbine lighting and
     bat activity or mortality at turbines. For example, at Buffalo Ridge, Minnesota there are
     138 turbines and every other one is lit. There have been 171 fatalities found at the site, of
     which 52% were found at lit turbines and 48% at unlit turbines. Findings at another
     Minnesota site as well as at Foote Creek Rim, Wyoming, Klondike, Oregon, and Stateline,
     Oregon/Washington sites similarly seem to indicate that bats are not attracted specifically
     to lit turbines.

     Other possible reasons why bats could be attracted to wind turbines include roosting
     behavior and noise effects. An older study (Dalquest 1943) reported that migrating hoary
     bats look for the nearest available tree when daylight approaches, so it may be possible that
     bats mistake turbines for trees. There have been questions raised regarding whether
     turbines emit ultrasonic noises that attract bats or “jam” their echolocation frequencies.
     Bat echolocation devices placed at turbines have not detected any ultrasonic noises, but it
     should be noted that the detectors used are not capable of picking up ultrasonic noises from
     the nacelle or higher portions of the turbine. Other bat activity studies from Iowa (Koford
     2004) and Sweden (Ahlen 2003) also found that bats were not attracted to turbines. An
     interesting aspect of this problem is that if bats were simply colliding with a random
     obstacle (that happened to be a wind turbine), higher mortality would be expected at
     meteorological towers supported by guy wires. However, searches conducted at six Foote
     Creek Rim meteorological towers did not bear this out. (None of the 128 bat carcasses,
     found at Foote Creek Rim, were found near the met towers. Searches conducted at Buffalo
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      Mountain, Tennessee (Nicholson 2003) and Buffalo Ridge, Minnesota (Johnson et al.2003)
      also found no dead bats at met towers.

      Given the uncertainty that exists regarding wind turbine-bat interaction, there are a number
      of research questions still to be addressed with respect to the issue. Some of the key
      research questions to be answered at this point include:

         • Are the bat species involved more susceptible than others or is the fatality
             composition proportional to the abundance of migrating bats?
         • At what altitude do migrating bats fly?
         •   To what extent do migrating bats echolocate?
         •   Do bats follow linear features such as ridgelines while migrating?
         •   How can bat migration corridors be identified pre-construction?
         •   What factors may be related to collisions - weather, fronts, turbine operation?
         •   What affect does collision mortality have on populations?
         •   Is there any way to repel bats from wind turbines?
         •   What can be done to mitigate bat mortality at wind energy facilities?

          To address any of these questions thoroughly will require methods and tools (night
      vision devices, infrared cameras, radar) for documenting bat behavior and collisions — and
      for helping formulate solutions.

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            Tennessee.



                             Wind Power: Bats and Wind Turbines

                                                by
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     PART I: WHAT IS CURRENTLY KNOWN
     There are some things we know regarding the interaction between bats and wind turbines,
     and also a variety of things that are unknown (Johnson et al. 2003; Ahlen 2003). Wind
     energy is the fastest growing sector of the power industry, with over half of the states in
     the US possessing developed on-shore wind resource areas and wind power prevalent
     throughout Europe (Elliott, Schwartz and Scott 2004). Europe has also pioneered offshore
     wind developments (Pasqualetti, Righter and Gip 2004), with the US currently exploring
     offshore options.

     It is known that bats are being killed by wind turbines and that about 90% of the fatalities
     are migratory species, with most bat fatalities occurring in late summer and fall
     (Pasqualetti, Righter and Gip 2004). It is also known that wind turbine sites are
     concentrated along expected migratory corridors, such as along ridge tops and in open
     plains (on-shore) and along coastal regions (offshore). Turbines are tall and mostly white,
     with pronounced blade tip and wake vortices (Petersen and Madsen 2004; Morrison and
     Sinclair 2004). Rotating turbine blades create motion smear and turbulence (Pasqualetti
     2004; Petersen 2004), while rotors and turbine blades produce audible (and possibly
     ultrasonic) sounds (Morrison and Sinclair 2004).

     At present, the short- and long-term quantitative environmental effects of existing turbines
     have not been adequately assessed (although there are more data on birds than bats) (Ahlen
     2003; Morrison 2004). It can be further argued that re-powering of existing turbine sites
     with larger and more efficient turbines poses an unknown risk on bats (and birds) at sites
     that have shown little adverse impact to date. There are several outstanding questions
     regarding the characteristics of wind turbines that should be addressed. Some of the key
     questions are noted as follows:
         • Do wind turbines attract bats? If so, how and when?
         •   Do wind turbines attract flying insects? If so, how and when?



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          •   Can wind turbines be locked or shut down during bat migration?
          •   If wind turbines attract bats, can they be modified to reduce impact?
          •   Can wind turbines be structurally modified to mitigate impacts on bats?

     There are also a number of outstanding questions with respect to bats and their behavior
     that also need be answered, including:

          •   What are the migratory corridors of bats?
          •   What sensory cues do insectivorous bats use at night, especially migratory species?
          •   What time of night or day are bats being killed by wind turbines?
          •   Do bats collide with turbine blades or with the tower poles?
          •   How many bats are actually killed by wind turbines?
          •   What is the feeding behavior of bats in the vicinity of turbines?
          •   What are the ages of bats killed by wind turbines?
          •   Is mortality linked to age, sex, or reproductive condition?

      I have listed nine hypotheses for testing in an attempt to determine how and why
      insectivorous bats are being killed by wind turbines: sensory failure, roost attraction,
      acoustic attraction, insect concentration, food resources, reduced maneuverability,
      decompression, and light attraction.

      •   The sensory failure hypothesis postulates that migrating and feeding bats fail to
          visually or acoustically detect wind turbines (Ahlen 2003). The smooth cylindrical
          turbine masts may not be detected by during night migration and it is possible that
          motion smear associated with rotating turbines (Morrison and Sinclair 2004) also
          makes it difficult for bats to see turbine blades, if vision is used by bats flying at
          relatively high altitudes

      •   The roost attraction hypothesis asks whether bats are attracted to wind turbines during
          migration because they are perceived as roost trees (Ahlen 2003). If bats approach a
          wind turbine tower, as if was a roost place, fatalities may result. This hypothesis is
          provisionally supported by observations that the greatest number of bats killed at the
          Mountaineer site in West Virginia was located relatively near the towers (J. Kearn,
          pers. comm.).

      •   The acoustic attraction hypothesis states that blades from some wind turbines emit
          low frequency sounds that attract bats (Ahlen 2003). If bats are attracted to the sound,
          and encounter turbine rotors, fatalities may occur.

      • The insect concentration hypothesis employs the following logic. Many flying insects
          rise in altitude with warm daily air masses; insects become concentrated along high
          points in the landscape, known as “hill-topping” at night; migrating and foraging bats
          may use corridors with high insect concentrations and therefore collide with turbines
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          on ridge tops where insects often concentrate (Ahlen 2003).

      •   The insect entrapment hypothesis postulates that flying insects are attracted to the
          white turbine masts at night and then get trapped in the wake of the downstream
          vortex. Bats are in turn attracted to the concentrations of insects in the wake and collide
          with the turbine in the process of trying to feed on the insects. This hypothesis may be
          most relevant to locally feeding, non-migratory species, rather than migratory species.

      •   The linear corridor hypothesis states that many bats follow linear corridors while
          foraging and during migration, and thus they tend to concentrate in areas where forests
          have been cut down to create right-of-ways for wind turbine construction and
          maintenance.

      •   The reduced maneuverability hypothesis states that the body mass and wind loading of
          migrating and prehibernating bats increase during the summer and autumn (Kunz,
          Wrazen, and Burnett 1998), thus reducing their ability to maneuver in the air and
          making them less able to avoid wind turbines.

      •   The decompression hypothesis states that flying bats are killed by rapid decompression
          as they encounter the turbulence associated with rotating wind turbines.

      •   The light attraction hypothesis states that flying bats are attracted to the flashing lights
          placed on wind turbines to warn low flying aircraft. Recent evidence suggest that there
          is no difference in fatality rates at lighted and unlighted wind turbines (Johnson et al.
          2003), although additional evaluation is needed using different colors, positions, and
          flash frequencies.

     In addition to testing the above hypotheses, monitoring programs should be conducted both
     pre- and post-construction, with a focus on identifying species, estimating population
     trends and demographic variables, and on identifying habitat and environmental variables
     (Morrison and Sinclair 2004). There are several types of studies that should be thoroughly
     executed to fully assess the impacts of wind turbines on bats. The siting of turbines and
     their design characteristics need to be examined. Assessment of insect activity should be
     carried out and test (wind turbine) and control (no wind turbine) sites. Comprehensive bat
     fatality assessments need to be conducted at all sites with the use of cutting novel methods
     (e.g., bat sniffing dogs) and standardized sampling and survey methods (daily and seasonal
     surveys). Key environmental variables (e.g., moon phase, moon light intensity, cloud
     cover, air temperature, wind speed and wind direction) should be collected at the altitudes
     above the ground where flying bats are expected to encounter wind turbines. In turn, these
     data should be used to develop models of bat fatalities at wind turbine sites.

      Monitoring methods should minimally include: ground surveys, acoustic (ultrasound)
      recordings, spotlighting, night vision imaging, infrared thermal imaging, and radar
      imaging. Pre-construction assessments should focus on acoustic and radar monitoring,
      infrared thermal imaging, and insect sampling. Use of mist nets set at ground level is
      highly questionable for assessing the presence of migrating and feeding bats in the vicinity
      of wind turbines. In addition to the above mentioned detection devices, post-construction
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      assessments should incorporate fatality searches and scavenger/decomposition assessment.
      Proposed protocol criteria and data required for assessing and modeling bat fatalities are
      outlined below.

      Proposed (Post-Construction) Protocols for Assessing Bat Fatalities at On-Shore
      Sites
      Minimum Search Area                      Span of wind turbine rotor
      Frequency of Search                      Daily at 1/3 of the sites
                                               Weekly at 1/3 of sites
                                               None at 1/3 of sites
      Time of Search                           Daytime
      Consistent Search Effort                 One hour per wind turbine
      Search Path                              Circular
      Search Period                            March-November
      Human Observers                          x2
      Use of Trained Dog “Sniffers”            To test human searcher efficiency
      Data Needed for Assessing and Modeling          Bat Fatalities at Wind Turbines
      Date                                            Day, month, year
      Environmental Conditions                        e.g., temperature, precipitation, light, etc.
      Relationship of bat position from turbine       Bearing and distance
      Species Identification                          e.g., forearm length of bats
      Further specification                           Sex, age (juvenile v. adult, based on fused
                                                      epiphyses)
      Reproductive condition                          e.g., pregnant, lactating, post-lactation, non-
                                                      reproductive
      Physical condition                              e.g., broken bones, abrasions,
                                                      decomposition, damage from scavengers


      When assessing bat fatalities, results should be corrected for searcher bias,
      scavenging/removal bias, crippling/injury bias, and habitat bias.

      PART II: IDEAS FURTHER RESEARCH
      In February 2004, Bat Conservation International (BCI), US Fish & Wildlife Service)
      (USFWS), American Wind Energy Association (AWEA), and National Renewable Energy
      Laboratory (NREL) sponsored a two-day workshop in Juno Beach, Florida. Hosted by FPL
      Energy, the Bats and Wind Power Generation Technical Workshop grew out of concern
      about bats at the Mountaineer, West Virginia site. The workshop brought together bat
      ecologists and ornithologists, Federal and state government agencies, and people from the
      wind industry to share information about how wind power affects bats and to identify ideas
      for better understanding and resolving bat-related issues in wind energy development. In
      particular, we wanted to learn what had occurred at Mountaineer, what were the significant
      knowledge gaps, and what are the most helpful tools, technologies, and information­
      gathering techniques to better understand bat-turbine interactions and quantify the
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     magnitude of problem. We wanted to figure out what actions to take - both immediate next
     steps to address problems, near-term priorities. For top ten priorities, we came up with a
     table with “soundbite” descriptions of what needs to be done, tasks, performers, schedule,
     costs, and immediate next steps. We tried to develop a seasonal understanding of what
     needed to be done.

     A peer-reviewed paper that raises a variety of wind power-related issues such as bat issues,
     technology and research protocols is being developed. It is hoped this paper will provide
     information to researchers, Federal and state agencies, and people in the wind industry -
     most of whom are expected to contribute to this paper. (It is quite rare to have input from
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     this wide of a range of stakeholders in a peer-reviewed paper.)

     There are a variety of points to consider for future work/research on bat monitoring
     protocols. The importance of temporal and spatial considerations in fatality assessment is
     of high importance. While night vision devices, including infrared reflectance imaging,
     requires some light source (for bright moon light or an infrared light source), infrared
     thermal imaging (which detects heat) can be used independent of ambient light (Frank et
     al. 2003). This technology can be used to successfully to monitor and census flying bats
     (Ahlen 2003; Frank et al. 2003). Infrared thermal imaging has the advantage of making it
     possible to distinguish between birds and bats (Kunz, pers. obs.). Visible spotlighting may
     be the most cost effective way to do make visual spot checks for activity of bats and
     insects in the vicinity of wind turbines. Spotlighting should be relatively brief (<30
     seconds) to avoid attract insects (and bats) in the beam of light.

     Monitoring studies should employ ultrasonic detectors to record sounds produced bats
     (typically in the range 20 to 100 kHz. However, most ultrasonic detectors have a relatively
     short range of detection (<30 m) (Pettersson 2004), thus they should be positioned high
     enough above the ground to detect bats that are likely to encounter turbine towers and
     rotors. Most small, frequency modulating (FM), echolocating bats have a fairly short
     range of effectiveness for detecting objects while in flight (typically < 5 m) (Fenton 2004;
     Pettersson 2004). Marine surveillance radars may be effective at detecting flying targets,
     but they cannot distinguish birds from bats. Using infrared thermal imaging in conjunction
     with marine surveillance radar may prove useful in distinguishing bats from birds in radar
     images. Sticky traps may prove useful for assessing insect activity in the vicinity of wind
     turbines (Pettersson 2004).

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                               Discussion, Questions and Answers

      Comment: FPL Energy first met to discuss bat-wind turbine interactions in December
      2003; the Juno Beach workshop was held in February, and now (in May) is gearing up to
      do a study of fall bat migration at Mountaineer. The $300,000 effort (including funding a
      full-time bat-wind turbine interactions staff position and bringing technology up to
      Mountaineer to do study). In terms of birds, it’s been very difficult to actually observe the
      interaction, but hoping to be able to accomplish that at Mountaineer with respect to bats.

     Does the wind industry periodically clean turbine blades, in which case they could be
     examinedfor insect remains, which may help inform the insect concentration hypothesis?
     Response: Turbines are designed to prevent the collection of dust and insects as much as
     possible. Rotor blades in the West require more regular cleaning because there is less
     rainfall.

     Has the airspeed of bats relative to the wind speed in the rotor vortex been examined? The
     participant also asked whether insect updraft along ridgelines had been investigated, noting
     that some of those types of wind currents reverse at night.

     Response: Existing evidence suggests that insects are drawn up during the day and
     concentrate on ridges at night.

      Comment: There have been inconsistent statements made about the range of bats’
      echolocation abilities.

     Response: Bat echolocation has been detected as far out as 30 m, but most insectivorous
     bats that produce frequency modulated (FM) calls typically can only detect small insects
     within the range of 2-5 m. There is no empirical evidence that bat echolocation has been
     recorded at distances of 100 m or more.

     Comment: Research protocols between birds and bats may need to be coordinated.
     Response: This may be difficult. Bird carcasses are easier to spot than bat carcasses. When
     a bat dies, it folds up, so that the carcass looks like a small brown blob about the size of
     man’s thumb.




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                   WHAT DO WE KNOW ABOUT CUMULATIVE OR
                           POPULATION IMPACTS?
     This session was structured as a panel discussion concerning the potential cumulative
     impacts of wind turbines on bird and bat populations over time. Panel members gave brief
     presentations that touched upon what is currently known, what laws apply, and the
     usefulness of population modeling. Topics addressed included which sources of modeling
     should be included in cumulative impacts, comparison of impacts from different modes of
     energy generation, as well as what research is still needed regarding cumulative impacts of
     wind energy development on bird and bat populations.


                             Paul Kerlinger, Curry & Kerlinger, LLC18

     With respect to permitting on private land, almost all states with state-level permitting
     processes make permitting conditional on looking at potential significant biological
     impacts (local, regional or global), especially for declining, threatened, or endangered
     species. Permit applications often ask about cumulative impacts. By definition, any project
     will have cumulative impacts. But how do you deal with that? Do you add potential
     impacts from a given (wind) project to all the impacts from cell towers, traffic, hunting,
     etc?

      The Migratory Bird Treaty Act stipulates that, if you kill any migratory birds, you are at
      risk of prosecution, even if you have reason to believe that the risk is small.

     Population modeling is complex and challenging. If a species population is declining, how
     many fatalities will it take to push that population over the edge (so to speak)? How many
     fatalities for a given species or population before you affect a percentage of the population
     that is biologically significant? Although we lack many of the reproductive and
     survivorship parameters needed to run such models and it is hard to put confidence
     intervals on the results, population modeling issues are not insurmountable.


                            Al Manville, U.S. Fish and Wildlife Service

     We know now that, with the exception of Altamont Pass, wind impacts on avian
     populations appear to be low, based on projects assessed and data publicly released from
     the West, Midwest, and one project in the East. Wind energy is growing exponentially in
     the US, which raises concerns - as does the fact that 223 bird species (>26% of the 836
     species USFWS is currently tasked by law to manage) are in trouble, and that we don’t
     know the status of about one-third of the birds that we’re managing.

     We know that probably all birds succumb to human-induced threats. While USFWS can
     deal substantially with some of these threats - e.g., turbines, communication towers, and
     power lines - there is not much USFWS is able to do about other threats (such as pesticide


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     poisoning and global climate change). Raptors are a greater collision concern in the West
     while songbirds and bats are more of a concern east of the Rocky Mountains. We know
     that grassland songbirds and prairie grouse - especially those lek-breeding species - are
     very sensitive to structures, disturbance, and habitat fragmentation. All prairie grouse are
     declining and some are in very serious shape. The current edition of The Wildlife Society
     Bulletin provides a detailed discussion of the fate of prairie grouse. We need to look very
     closely at the heights songbirds migrate particularly in the East, certainly in New York at
     the Flat Rock Project, based on preliminary findings by Cooper and Mabee (2000). We
     need to know much more about bird and bat use and migration along and over Appalachian
     ridge-tops. We know very little about bats, except that their populations are declining and
     Federally endangered species like the Indiana and Virginia big-eared bats, among others,
     are in serious trouble.

      Regarding the question about what laws currently apply, we must look on both public and
      private lands. On public lands, Sections 7 and 9 of the Endangered Species Act (ESA)
      apply, as well as the National Environmental Policy Act (NEPA), the Migratory Bird
      Treaty Act (MBTA), the Bald and Golden Eagle Protection Act (BGEPA), and Section 404
      of the Clean Water Act (CWA ; dealing with wetlands) all apply.

      On private lands, Sections 9 and 10 of ESA apply, as do MBTA, BGEPA, and Section 404
      CWA. Most of these acts address the issues of “takings” and may require permits.

     With regard to population modeling, Richard Podolsky’s Avian Rate of Collision modeling
     efforts are of interest and may be helpful in predicting risk from turbine collisions. Granger
     Hunt’s Golden Eagle modeling at Altamont Pass regarding “floater” birds provides some
     very interesting insights, but raises questions about stability of the Golden Eagle
     population in the area. Overall, modeling anthropocentric causes of mortality is interesting
     but not particularly useful since there still are too many unknowns. Models, as such, may
     therefore not be that reliable.

     Regarding the question of sources of mortality to include in cumulative impacts, there are
     several. Density-independent mortality such as natural catastrophes needs to be factored in.
     Density-dependent mortality by factors such as stress, starvation, predation, disease, and
     parasitism must also be included. These two types constitute natural mortality. Human-
     caused impacts are significant but hard to quantify. For example, anywhere from an
     estimated 300 million to more than 1 billion birds die per year in the US from structural
     impacts. Of these, anywhere from 98 to 980 million birds are estimated to strike windows
     and die each year in the US. Unfortunately, statistics such as these are not particularly
     useful because the ranges are so large. There is a major bias that must be considered. We
     are unable to factor behavioral impacts - issues like disturbance, disruption, and avoidance
     - into models. This is a major shortcoming. We need to work to quantify and factor in
     these variables if we can. The USFWS will do everything we can to reverse populations
     trends from human impacts, whether those impacts appear to be large or small, on public
     or private lands.

      Which “straw” will eventually break the camel’s back? Which “straws” can we deal with
      to reverse population trends? Hopefully, wind energy development is not the last straw, but
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      anywhere we can reverse mortality trends (or keep them low) that will help.

     As for comparing impacts from different modes of energy generation - again, there are
     many unknowns. How do we quantify specific avian and bat impacts from global climate
     change? Acid precipitation? Mercury contamination? We can estimate bird mortality at oil
     pits and this issue is being resolved. How can we estimate habitat destruction from open­
     pit and mountaintop-mining? How can we estimate impacts from burning of fossil fuels?

      On the issue of “beyond birds and bats,” several thoughts come to mind. We next must
      address offshore wind issues. Habitat fragmentation is a critically important issue.
      Habituation is another issue requiring serious consideration. We need to look at the
      impacts of wind on insects, especially bees and butterflies. We need to address the issue of
      “good” versus “bad” places to site wind plants. Lastly, we need to seriously consider using
      an ecosystem approach to the analysis of impacts.

     What is needed? More data are needed on bats, including migration routes, behavior,
     movement, breeding and wintering range, attraction, sonar use, and their population status.
     USFWS would like the opportunity to review, critique, and comment on consultants’
     monitoring protocols. We need an accepted definition of “cumulative impacts.” Data need
     to be peer-reviewed and published in credible scientifically journals. The ideal scenario
     would include peer-reviewed or peer-refereed data published in credible ornithological and
     mammalian journals.

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                                  Bill Kendall, US Geological Service19

     How do we look at biological significance for other species? Ultimately, “biological
     significance” is in the eye of the beholder. We can consider levels of significance from the
     individual to family group to local population to breeding/wintering population. Usually,
     when we talk about “biological significance,” we are talking about the latter two levels.

      The basic equation for population modeling is:

                         N t+1 = Nt + births + immigrants - deaths - emigrants


      Habitat disruption can affect mortality as well as reproduction rates. The significance of
      individual fatalities varies. “Value” factors for an animal include: sex, age, time of year,


      19 This presentation was a short version of a talk given by Bill Kendall and Doug Johnson in Fall, 2003

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      whether the population in question is at “carrying capacity” (in which case fatalities are not
      critical) or near “minimum viable population size” (in which case small numbers of
      individual fatalities may be critical for the population).

      Whether population impacts are significant depends on what the management objectives
      are: To avoid extinction? To maintain a local population? It is important to define the
      “population” of interest. For example, in the case of the population study of Golden eagle
      in the Altamont Pass, the focus is limited to Golden eagles in the Altamont.

      We cannot look at the impact of wind on birds without looking at it in context of other
      anthropogenic impacts. And given multiple factors in bird population impacts, which
      factor do you try to control?


                              Discussion, Questions and Answers

     Comment/Question: If there’s no uniform definition of what’s biologically significant -
     USFWS has 78 different Ecological Service Field Offices - we can’t come up with a
     uniform vision and a roadmap. Ideally, the wind industry and its proponents would like to
     look at “build-out” scenarios (achieving the wind energy’s potential capacity) and coming
     up with standards and a vision and a roadmap, as opposed to various agencies operating in
     a reactive mode.

     Response: FWS guidance is a work-in-progress, whereas the Bald and Golden Eagle
     Protection and Migratory Bird Treaty Acts are well-established “strict liability” laws. What
     we’re trying to do, for example, with the electric utility industry is come up with a
     guidance document for industry - an avian protection plan - to use with respect to avian
     mortality. Message to the industry is “work with us, provide feedback on our guidance.”

     Comment: We have been trying to deal with cumulative impacts for waste management in
     New York state, and the state doesn’t deal with cumulative impacts very well.

     Response (Paul Kerlinger): Each state’s process is different. You have to look at how
     they’ve dealt with similar issues in the past.

     Follow-up on earlier discussion of biological significance: What about trying to set
     thresholds for birds? The threshold would depend on each bird’s status (“watch list,”
     “sensitive,” etc.) - depending on species, a take of x% may be sustainable or it may not.
     From this you could extrapolate mortality for wind build-out and see what kind of impact
     you might expect to see.

     Facilitator: But would such a framework or modeling tool be used just for wind
     development, or for all kinds of development?

      Comment: Ornithologists are looking at conservation plans, coming up with goals for
      different bird populations for individual states for planning purposes.

      Comment: It is interesting that a panel on biological significance still comes back to
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      individual project impacts. It’s important not to give up on big picture effort, to put
      project-based impacts in perspective.

     Response (Al Manville): As I just mentioned, we’re working with the electric power line
     industry to develop voluntary guidance; we’re trying to work with the communication
     tower industry - doing this industry-wide, not just on a project-by-project basis.

      Developers are just dealing with the margins; no one is looking at all the cumulative
      impact, just focusing on the marginal impact, no matter how small.

      Comment: Salmon recovery in the PNW is a good example of trying to grapple with
      cumulative effects and biological significance. Look at what Daniel20 is doing for a model.

      Comment: If you want to try to establish a policy framework that optimizes energy choices
      from an environmental perspective, the direction has to come from higher up - e.g., from
      the state public utility infrastructure as well as at federal level. The trade-offs have to be
      made transparent.

     Response: New sources always get regulated more than old sources. Coal and agriculture
     have and have had a tremendous impact. Bird deaths have driven the pesticide regulatory
     acts, resulting in a very strong infrastructure for this. It’s impressive that the wind industry
     is here doing this, because nobody is going to change the Mining Act of 1872, but it’s a
     fact of life that wind is being developed under much more stringent conditions.

      Comment/Question: If we can’t model because we don’t have enough data inputs, we’re
      left with the “tyranny of small decisions.” But if we can determine what the national
      average is for bird and bat fatalities per turbine or per MW, why even consider building
      projects that are likely to exceed that average?

     Response: There are national averages, but there are also regional averages.

     Response: We know where to build projects that kill fewer v. more birds. (We have less
     information on bats.)

     Response: The point is that we can bring down the mortality levels.

      Comment: “Birds per turbine” is the wrong denominator. Birds (or whatever environmental
      impact) per unit of energy production is how we should be discussing this, because then
      the question then becomes how do you reduce environmental impact of energy production
      - and then you can compare impacts across energy resources.

     NWCC has been wrestling with this. “Number of homes served” as a denominator makes it
     clearest to consumers. Mountaineer project kills one bird per every 105 (or so) homes


      20 Daniel Niven, Senior Scientist, Bird Conservation, National Audubon Society USGS Patuxent Wildlife
      Research Center, Laurel, MD. E-Mail: dniven@audubon.org

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      served. This helps put things in perspective.

     Comment: Keep in mind that highly productive organisms like prairie dogs can withstand a
     lot of fatalities. In such cases, if I want to think about biological significance, I think in
     terms of habitat rather than fatalities. If we can maintain adequate habitat for resilient
     species, we don’t have to worry about losses in a particular location.

     Response (Al Manville): This is a good point; probably the greatest threat to all species is
     loss of habitat. An example would be the loss of over-wintering habitat for neotropical
     migratory songbirds in Latin America.

     Response: We have to be more concerned about long-lived, less productive species.

      Comment: Dale [Strickland]’s slide emphasizing European concern with habitat is
      important. Habitat is the real issue, especially for prairie grasslands and lekking areas.




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             OBSERVATIONS, INSIGHTS, QUESTIONS FROM DAY 1

      Day Two of the Wind Energy and Birds/Bats Workshop began with a group discussion of
      what participants had learned and new questions raised by Day One’s activities.
      Participants also were given an opportunity to raise issues they would like to discuss later
      in the day.


     FAA Lighting Requests v. Lighting Requirements
     Comment/Question: A participant posed a question about turbine lighting at the Foote
     Creek Rim, Wyoming wind farm, pointing out that it was stated that none of the turbines
     were lit, even ones over 74 m tall. Towers that tall are normally lit due to Federal Aviation
     Administration (FAA) demands.

     Response: The FAA can ask for any tower anywhere to be lit, but the FAA does not have
     the authority to make a developer do it. Ultimately, lighting towers is a voluntary action.
     As for Foote Creek Rim, it may have been cleared by FAA without lights because of its
     remote location.

      Larger Public Policy Picture
      Comment: There should be some time allotted for discussion of the larger public policy
      picture around wind energy and bird/bat interaction. Potential funding of federal and/or
      state laws/programs, for example: technical “fixes” can alleviate some problems, but there
      is also a need to talk about policy initiatives and public-private funding of initiatives such
      as that carried out in Denmark.


     Who Should Fund Impact Studies?
     Comment: There seems to be an inherent conflict of interest if wind energy developers hire
     the people that do the impact studies, because there is a fine line between doing a rigorous
     study and pleasing those that hired you. For example, one hypothesis regarding the cause
     of the large bird kill event at Mountaineer, West Virginia is that sodium vapor lights
     attracted birds on a foggy night. Although this is just a hypothesis, it is being treated as
     truth by many. Witness the fact that some participants at this meeting have said that bird
     fatalities are not a problem along Appalachian ridges. It is not clear [to commenting
     participant] that that is necessarily the case, yet there are no studies scheduled at
     Mountaineer in 2004.

     Response: Research protocols are necessary to avoid conflicts of interest and to develop
     rigor and legitimacy for wind-bird/bat research.

     Comment/Response: If USFWS is setting protocols and developers have to pay for the
     research, then it may be very difficult to contain costs and it could drastically slow the
     progress of wind development. For example, radar studies cost about $100,000 per year. If
     three years of radar studies were required, this high cost put take some of the smaller

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      developers out of the game, making it so only the largest companies could afford to
      develop wind energy.

     Response: Studies in new areas should be rigorous three-year studies. However, developers
     should not have to pay for studies at all; rather, studies should be publicly financed since
     the energy source would be for the public good.

     Comment [severalparticipants]: Publicly-funded pre-construction studies would be a good
     idea, but only if the government could work within developers’ timeframes, which is
     unlikely. Moreover, developers would not want to work with researchers that may
     jeopardize their integrity and all research would have to be peer-reviewed. Either way,
     there always tends to be an underlying tension of credibility in public-private partnerships.

     Facilitator: There is some discord in the room regarding how some previous projects were
     carried out and that they did not go as hoped. However, there may be ways to learn from an
     honest appraisal of what could be done differently.

     Consistency, Transparency, Communication, and Trust
     Comment: Three key things people working on the wind energy and birds/bats issue need
     to focus on are consistency and transparency, and communication to support the first
     two. This would require all parties being very clear about what they consider consistency.

     Comment: Add trust to that list. Parties need to work together at the local level, not just at
     national meetings. Local advisory committees can be formed to look at the science
     together, as was done (for example) to develop wind project siting guidelines in
     Washington State.

      Comment: In Massachusetts there is a collaborative effort to design the study for the
      Hoosic wind project: what would Fish & Wildlife like to see, what would
      environmentalists like to see. The collaborative is being paid for out of a trust fund - it
      would be too expensive to do this for every project - but we are hoping that doing it this
      once will inform future project studies.

     Comment: We spend a lot of time looking for all the information that’s out there. Even
     when people put their studies up on their websites, it would be great if there were a
     clearinghouse for all the information that’s available. A single point of contact would be
     useful. Right now it’s all subgroups. NWCC’s website has a lot of it, and these big
     meetings are useful, but there is a need for something ongoing and comprehensive.

      Comment: Also, it would be nice to have a permanent independent review body.
      Everything needs to be made public, and everything needs to be peer-reviewed. There
      should be public funding for this. Developers need to pay for some of it, but we all benefit.

      Comment: Regarding the need for trust: the National Academy of Sciences has two mottos:
      “trust but verify;” and “in God we trust, all others must bring data.” The Federal
      Insecticide, Fungicide and Rodenticide Act (FIFRA) is a model. The registrant pays for

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      studies, but raw data is reviewed by EPA before anything goes forward. The Minerals
      Management Service offers another model; offshore oil research and development is paid
      for out of a royalties fund. Wind permitting is largely local, but some issues are not local -
      bird migration is a good example - and require national policy. Granted, the wind industry
      doesn’t have the money to pay royalties that the oil industry has, but the concept is valid.

      Comment: The US Fish & Wildlife Service no longer has a research “arm”, it’s now under
      US Geological Survey. Not clear how the Service is going to accomplish anything with
      budget cuts. NGOs need to put pressure on Congress to make something happen (e.g., in
      the Appalachian ridge). US FWS does not regulate windfarms in any way shape or form.
      We have no legal authority - we can only make recommendations. We can advise people
      what the laws are (e.g., MBTA), but we are not a regulatory agency.

      Comment: All the issues that just came up relate to the need for public policy. It is not
      clear right now what it is we want. Perhaps the NWCC Wildlife Work Group can take this
      a step further?

     Facilitator: Keep in mind that the NWCC cannot advocate, only come up with ideas.




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                     AVIAN MIGRATION AND IMPLICATIONS FOR
                        WIND POWER DEVELOPMENT IN THE
                            EASTERN UNITED STATES
     This session was arranged to convey what is known about avian migration, particularly in
     the eastern US. The first presentation frames the issue of migratory bird interactions with
     wind energy facilities from an ecological perspective: when, where, and why are migrant
     bird species vulnerable to wind turbine collision? The second presentation reported on
     radar studies conducted at wind sites in the eastern US, including Mount Storm, Clipper
     Wind, and others.


                           Migration Ecology: Issues of Scale and Behavior

                                                  by
                          Sarah E. S. Mabey, North Carolina State University'^

      This presentation aims to provide a picture of bird migration as ecologists see it, taking
      into account:

           • the scale on which migration takes place - and its import for ecology and policy;
           •   constraints - how weather, geomorphology, landscape, resources, and habitat
               factors influence the choices that lead to migration patterns;
           • what it means to be a migratory bird in a changing world; and,
           •   consequences of changing world to migratory bird populations.

     Migratory birds lead extremely challenging lives when they are in transit, facing new
     foraging circumstances, predators, and competition on a daily basis. The process of
     migration is spatially and temporally dynamic, thus the pattern and timing of migration can
     be highly unpredictable. In effect, predictability is scale-dependent. The broader the spatial
     and temporal scale (i.e., greater area and longer time-frame), the more predictable
     migration movements appear. As we scale down to a particular local on a given day or
     hour, it becomes much more difficult to predict whether migrants will or will not be
     present. The dynamic nature of bird migration makes it difficult to describe migratory
     patterns of songbirds in detail, particularly of specific species. Another problem is that
     much of what is known about certain species is geographically biased because data are
     only available for the places where researchers work. In fact, the Wilson’s Warbler is
     arguably the only neo-tropical migratory songbird for which scientists actually know
     something about the actual migration routes of sub-populations.

     There is a hierarchy of factors that determine the migratory patterns of birds, influencing
     where and when birds stop, where and when species concentrations occur, species


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     composition, and the distribution of age and sex classes. The hierarchy is arranged
     according to the degree of control birds have over the factors that influence their migration
     choices. At the top of the hierarchy is the factor over which birds have the least influence,
     weather. Birds cannot control the weather, but they can and do respond to it. They also
     cannot control the second factor in the hierarchy, geomorphology (landmasses). As birds
     respond to weather (fronts), moving north in the spring and south in the fall, their choices
     of where to stop are constrained by geomorphology. Once they make an initial decision
     about where and when to stop, migrants enter the “landscape level” where their choices are
     constrained only by the availability (or lack of availability) of habitat and resources within
     the local landscape.

     The stopover site chosen by a migrant is directly related to the hierarchy of constraints that
     determine the individual bird’s range of choices. Based on this understanding of stopover
     ecology, a number of colleagues and I developed a series of functional definitions for
     different kinds of stopover sites used by migratory birds (Duncan et al. 2002). A “fire
     escape” is a stopover site near an ecological barrier such as the Great Lakes or Gulf of
     Mexico where birds are highly concentrated. The use of such sites is related to bad weather
     and occurs infrequently under “emergency” conditions. A “convenience store” is a site
     within a patchy, ecologically unsuitable habitat matrix that is used if nothing better is
     available within a particular landscape. The “full-service hotel” designation refers to
     extensive, suitable habitat with diverse resources such as the Great Smoky Mountains.
     Unfortunately, full-service hotels are becoming increasingly more difficult for birds to
     locate as habitat is continually being lost to or fragmented by development, reducing birds’
     choices. Migrants must stop to rest and regain the fat stores that fuel their migratory
     flights. Habitat suitability impacts birds’ migratory behavior as it directly affects the
     amount of energy and time required to refuel during stopovers. Thus, all of these types of
     migratory stopover habitats should be considered when making policy and conservation
     planning decisions.

     At present, we do not have a clear understanding of how plastic or static many bird
     migration behaviors might be. There exist empirical data to support both possibilities. For
     example, a number of important questions remain open. Are diet shifts opportunistic
     (plastic) or are they essential for fat deposition (static)? Does orientation of bird flight
     depend on their physical condition (plastic) or is it genetically determined (static)? Are
     migrants socially tolerant, sticking together in flocks, or are they territorial and defensive
     of their resources? It also is not known whether there is rapid evolution of migratory routes
     or if species can consistently track the changing climate. Recent work has shown that some
     birds fatten only under certain magnetic field conditions (i.e., at particular latitudes) that
     exist where the birds prepare to cross an ecological barrier. This means that these birds
     may not adjust to deteriorating resources at that location by fattening opportunistically
     when they encounter better resources elsewhere.

      We have looked at migration from the perspective of the individual songbird migrant, but
      what does this all mean for populations? Population models help us understand how
      resilient species are to a changing world. As we have seen earlier, models for migratory
      species must begin to include migration events. There are both direct and indirect
      consequences of avian migration events. Direct consequences include injuries/fatalities
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      caused by accidents as well as predation (including hunting). Indirect consequences of
      migration include intra- and inter-species-specific competition and seasonal resource
      declines. Weather, inexperience and orientation errors can lead to both types of
      consequences. Some factors that lead to mortality during migration affect populations at a
      general level. Stochastic (random) events such as hurricanes affect birds of all ages and
      sexes, but other events may affect young birds more than old birds. For example, young of
      the year tend to congregate in coastal areas during their first migration and are, therefore,
      more likely to be seriously affected by coastal development as it presents obstacles during
      migration. Given that, overall, young birds are more valuable to a population because of
      their reproductive potential, coastal mortality events could potentially have a significant
      impact on a bird population.

     The key challenge to protecting migrating birds from fatality at wind turbines is that they
     are a moving target - as individuals and as populations. The intercontinental scale of birds’
     movement requires scale-appropriate conservation planning. Moreover, because migration
     is spatially and temporally dynamic, it presents a challenge to traditional conservation
     paradigms. The demographic consequences of the changing world and its impacts on
     migratory songbirds will be knowable over time. Until then, protecting migratory birds
     requires a conservative approach applied at an intercontinental scale.

      References
      Duncan et al. 2002. “Protecting stopover sites for forest-dwelling migratory landbirds.”
            The Nature Conservancy, Arlington, VA, unpubl. Report



           Radar Studies of Nocturnal Migration at Wind Sites in the Eastern US

                                                  by
                                                       A n Tt    T '1'1
                                        Brian Cooper, ABR,      Inc.

     Nocturnal radar studies of bird migration are important because most birds (including
     warblers, tanagers, vireos, orioles, kinglets, thrushes, gnatcatchers, many sparrows,
     cuckoos, flycatchers, thrashers, and owls) migrate at night and approximately half of all
     bird mortality at wind turbines involves nocturnal migrants.

      There are several types of radar tools available to researchers. NEXRAD (Next Generation
      Radar) is used by the National Weather Service to measure both precipitation and wind. A
      Doppler radar system currently deployed at about 150 locations around the US, NEXRAD
      can also be used to detect birds. This technology provides excellent data for many aspects
      of migration, but has some limitations for studies of individual wind energy sites:
      resolution is low (1 km x 1 km); eliminating insect noise data is difficult; there is a lack of
      low-altitude coverage for many areas (below 500 m); and there is a lack of precise altitude
      data - making it impossible to calculate passage rates in the zone of exposure to turbines.


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     Researchers also use marine radar technology, which gives higher resolution and is mobile.
     These radars can be operated in horizontal surveillance mode to determine traffic rates and
     general movements/behavior, or operated in vertical mode to obtain flight altitude
     information. Marine radar studies on avian migration have been carried out at several
     locations across the US. Work carried out during Fall 2003 at the proposed (as yet
     undeveloped) Mt. Storm, West Virginia wind energy site (just east of the Mountaineer
     wind site along the Allegheny Front) offers a good example of the potential findings of
     avian migration radar studies in the Eastern US.

      Mobile (vehicle-mounted) radar labs were set up at five locations within the proposed Mt.
      Storm wind development. The surveillance radar beam provided coverage over a 1.5-km
      radius and the vertical radar provided coverage up to ~1.5 km high. Flight altitudes are of
      interest, because birds flying well over turbine height are not at risk from wind farms. The
      radar “target” represents one bird. It is possible to distinguish between some species
      groups such as songbirds and waterfowl, or to distinguish small birds from insects, by their
      flight speed.

     Passage rates varied widely from night to night, as well among sites within a night, but
     were found to be fairly stable over the course of any given night. Fall observations from
     the five sampling sites at the Mt. Storm site yielded mean fall nocturnal passage rates of
     54-241 targets/km/hour. This is comparable to mean fall nocturnal passage rates (130-242
     targets/km/hour) found at three sites in New York State (Cooper and Ritchie 1995); and
     higher than the fall rates (83-108 targets/km/hour) observed in Minnesota (Day and Byrne
      1989 and 1990); or at two western wind sites (27-40 targets/km/hour at a site in South
     Dakota, and 19-26 targets/km/hour at sites in Oregon [Cooper and Mabee 2004]).

     During fall 2003, 16% of targets (birds) were flying at or below turbine height (125 m
     above ground level) at the central Mt. Storm site. Most targets (birds) passed at an altitude
     between about 250 m to 750 m agl, with a mean of about 410 m above ground level. Based
     on temporary checks at the 3-km-range, it was estimated that about 6% of passing birds
     flew between 1500-3000 m agl. There was substantial among-night variation in flight
     altitudes but little among-site variation in flight altitudes at the Mt. Storm sites. Altitudes
     tended to peak in the middle of the night and taper off toward morning. Flight directions
     recorded at Mt. Storm indicate that birds do not concentrate along the Allegheny Front, but
     rather that they tend to fly across the ridge.

     Using radar data to assess mortality risk for birds at wind developments involves
     determining passage rates at or below turbine height (i.e. combining passage rate and
     altitude data). In other words, researchers calculate the number of targets per hour at or
     below turbine height. This is multiplied by the following factors: the number of migrants
     per radar “target” (here assumed to be one); the length of the migration season (number of
     nights); the total number of hours per night; and the width (km of migratory front) of the
     wind resource area or total rotor swept area of the turbines. For example, applying this
     formula (using WRA width instead of total rotor swept area) to the Mt. Storm observations
     yields the following equation:


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               36 targets/km/h at or below turbine height * 1 migrant/target * 45 nights *
                       10 hours/night * 10 km migratory front

               = 162,000 migrants24 passing over the Mt. Storm WRA at or below turbine
                      height during the Fall 2003 migration study period.

     There are some conclusions that may be drawn and recommendations to make regarding
     radar studies of avian migration and the potential risk posed to birds by wind
     developments. It is important point to keep in mind that migrants determined to be at risk
     will not all be killed. In fact, it will most likely be a small proportion that is impacted
     because many birds will detect and avoid the turbines. To improve wind-bird radar studies,
     researchers could collect concurrent radar and mortality data to elucidate the relationship
     between numbers of migrants in the zone of exposure and mortality. Behavioral studies
     would help to determine the proportion of migrants that detect and avoid wind turbines.
     Finally, it would help to develop common or comparable metrics to facilitate comparisons
     among radar studies.

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      Mabee, T. J., and B. A. Cooper. 2004. Nocturnal bird migration in northeastern Oregon
         and southeastern Washington. Northwestern Naturalist 85: 39-47.




      23 Note that while each radar has a 1.5 km band of detection, this formula extrapolates from radar data to
      calculate an estimated number of migrants passing over the entire (10 km wide) wind resource area (WRA).
      24 Note that radar data does not distinguish between birds and bats. The only way to distinguish them would

      be to conduct concurrent surveys using night vision or spotlighting.
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                                Discussion, Questions and Answers

     How do migrating birds use winds? Do they use them to their advantage or simply react to
     them?

     Response (S. Mabey): Most birds will leave a site on a strong tailwind, and tend not to
     leave in a headwind, but they also will leave at times when there is no wind at all.
     However, crossing a water body like the Gulf of Mexico may take ten hours, and the winds
     may change during the crossing. Birds do shift altitudes to take advantage of more
     favorable winds.

      In response to a general question about how the wind industry can make use of the
      expertise of migration ecologists to help site wind energy developments, participants were
      referred to the Society for Conservation Biology and The Ornithological Council are good
      organizations to contact: http://conbio.net/; http://www.nmnh.si.edu/BIRDNET/index.html

     Do researchers correct for wind direction and speed when looking at the concentration of
     migrants near the Allegheny Front?

     Response (B. Cooper): Wind direction and speed were corrected for in the study, in order
     to calculate actual air speed of radar targets and thus distinguish birds from insects.

      Has there been research conducted on birds’ nocturnal flight orientation relative to
      ridgelines at any other sites?

     Response: There are actually a few such studies under way around the US: near
     Chatauqua, New York; on a ridge in Idaho; and in western Oregon.25 Data from the New
     York and Idaho sites should be available soon. There also is a published paper by
     Williams et al. (2001, Auk 118:389-403) that describes nocturnal bird movements through
     a major pass in the northern Appalachians.

      Comment: Developers have the option of putting stipulations into their contracts to release
      study results to (or via) NREL.

     Comment/Question: In the West, results of night radar studies seem generally to be in line
     with information derived from conventional diurnal observations, at least in terms of
     predicting avian mortality by major birds groups. What analysis has been done to correlate
     these two types of data, given the high cost of night radar?

     Response: At the Mt. Storm site, WEST Inc. compared there daytime visual data with our
     radar data and found that there was no significant correlation between the two data types.
     In Europe, some early studies actually found an inverse relationship between the numbers
     of birds on the ground and radar migration rates from the previous nights. On the other



      25The Chautauqua data are available on the website http://www.chautauquawind.ene.com/avian.htm The
      other studies are still confidential and have not yet been released.
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      hand, there is study by Williams et al. (2001, Auk 118:389-403) in the northern
      Appalachians that found some positive correlations between daytime and nighttime bird
      movements. There also probably is positive correlation on the Gulf Coast, where big
      migration nights often are followed by large numbers of migrants on the ground during the
      day.

     Has post-construction fatality monitoring has been conducted at Mt. Storm to identify a
     kill ratio against the 162,000 migrants observed passing through the WRA?

     Response: Post-construction fatality monitoring has not yet been done at the Mt. Storm
     site, which does not yet have any turbines in place. Based on Mt. Storm radar radar data
     from the Fall 2003 and Fall 2003 mortality data from the nearby Mountaineer wind site
     (i.e., 2.4 birds per turbine per fall season), however, WEST, Inc. calculated that
     approximately 0.16% of the fall migrants flying at or below turbine height over the WRA
     at Mountaineer were killed.

     How do birds detect and avoid wind turbines, under what conditions do they not detect and
     avoid them, and is it possible for manufacturers to incorporate audio cues to make
     turbines more detectable?

     Response: Birds detect and avoid turbines primarily visually, thus poor visibility is
     probably one factor that makes detection more difficult for them. It has been noted that on
     moonless nights in Europe resident wintering seaducks made wider swings (than on nights
     with moonlight) around one wind farm surveyed, although clearly this strategy does not
     benefit migrating birds that are unfamiliar with the terrain and turbine locations. The
     presenter did not know anything about the potential for using audio cues.

      What do multi-year pre-construction studies tell state regulators about whether a wind
     facility will have unacceptable impacts on avian species in order for them to make a
     permitting decision?

     Response: Multi-year studies have shown variation in migration rates from year to year
     (Mabee and Cooper 2004), but clearly more information is needed to assess the degree of
     annual variation in rates and flight altitudes that one might expect in general. Regulators
     have to make decisions based on the best available information to assess nocturnal risk to
     birds and obviously more years of data would give them more information to make those
     decisions, but sometimes multi-year studies are cost-prohibitive or time-prohibitive.

      Can bird and bat species be distinguished via analysis of wing beat frequencies when
      using night radar?

     Response: Although there are tracking radars that could do this for some species, the
     surveillance radar equipment [Brian Cooper] has worked with cannot. However, a
     combination of radar and visual techniques can be used to help determine the proportion of
     bats vs. birds in surveillance radar data.

      What are the sample sizes for night radar studies?
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     Response: The fall studies I summarized today generally were conducted over 45 nights
     per season, with 6-9 hours of each night monitored. During spring, we typically sample
     30-45 nights per season.

      Could the variability observed from night to night possibly be attributed to the fact that
      radar “targets” included both birds and bats? If so, then what level of confidence can be
      assigned to this data, given uncertain identity of the targets?

     Response: Both birds and bats are included in “targets,” with birds being the majority later
     in the fall season (after early September). Some of the variation in the data could be due to
     this fact, but it could also be due to a number of other variables. To sort out these variables,
     it will be necessary to do more visual monitoring to assess the proportion of birds and bats,
     while concurrently examining the effects of factors such as weather and time of year.

      When will the Clipper study be available?26

     Response: Results of the radar study of the Clipper Criterion wind site, located along
     Backbone Ridge north of the Mountaineer site, was originally scheduled to be released to
     both Clipper Windpower and the public after the facility was operational.

     Response [Kevin Rackstraw, Clipper Wind]: These reports are done but have not been
     released. Clipper followed the lead of the other developer working in Maryland [NedWind]
     in agreeing to additional studies (although theirs were far less extensive), but stipulating
     that they would not be made available until after the project was operating. The reason [for
     this stipulation was] that we didn't believe the [studies] would be appropriate for use in
     micro-siting turbines. We have long since agreed to release the information (dating back to
     at least the beginning of this year) but the individual interveners in our permit process,
     with whom we must have an agreement on the issue for legal reasons related to our
     settlement agreement with them, have not agreed to allow the data to be released. Their
     reason appears to be a concern that the data from the NedWind site contradicts their
     assertions about the site and about bird behavior around the site.




      26This question refers to a two-season study (Fall 2003 and Spring 2004) using on-site marine radar and
      acoustic sampling. The Clipper Criterion wind site is located in Maryland, along Backbone Ridge north of
      the Mountaineer site in West Virginia.
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             WHAT HAVE STUDIES OF COMMUNICATIONS TOWERS
           SUGGESTED REGARDING THE IMPACT OF GUY WIRES AND
                      LIGHTS ON BIRDS AND BATS?
      This presentation outlines lessons that have been learned from research on communications
      (not cell) towers, about the impacts of guy wires and lights on birds and bats as well as
      other issues.


           Wind Turbines and Avian Risk: Lessons from Communications Towers27

                                                      by
                                   Tk 1 Kerlinger,
                                   Paul T7- 1 •    Curry &n Kerlinger,
                                                               1’      TT S
                                                                       LLC

     There are three key variables associated with risk to migrating birds at communication
     towers: height; guy wires; and lighting. First, the height of a tower in relation to the height
     of migration is important. Secondly, it is the guy wires that support these tall structures that
     are the primary source/cause of collisions. Third is lighting, which may attract birds when
     there is fog, low clouds, and/or light rain. Some of these lights are requested by the FAA29
     for air traffic safety purposes, while others are non-FAA lights such as sodium vapor lights
     and spotlights.

     Large-scale avian fatality events occur at communication towers taller than 500 feet, with
     FAA lights and guy wires. Single and small-scale bird fatality events have occurred at
     towers less than 500 feet with guy wires and FAA lights.30 (The presence of sodium vapor
     and other bright lights seem to be the confounding variable causing fatalities at shorter
     communication towers.) Large-scale avian fatality events have not occurred at wind
     turbines, which are mostly less than 300 feet tall, with the newest ones being 300-380 feet.
     Virtually all collisions at communication towers are with guy wires. To date there have
     been no studies published that document birds being killed by unguyed meteorological or
     communication towers. Wind turbines are mostly unguyed, although meteorological
     towers associated with wind facilities often are guyed. Because of the collision risk
     associated with guy wires, it is recommended that wind developers build unguyed
     meteorological towers.

      FAA lighting on communication towers has been identified as a key issue in terms of bird
      impacts. FAA obstruction lights on towers can attract nocturnally migrating birds. In
      addition, bright lights such as ceilometers, spotlights, sodium vapor lamps, light houses,


      27Note that this presentation discusses impacts from communication towers, not cell towers.
      28P.O Box 453, Cape May Point, NJ 08212
     29 During an earlier session, it was explained that the FAA has no authority to require lighting, but only to

     request it. Local permitting authorities may, however, require FAA-requested lights as a condition of
     permitting.
     30 A new study comparing 475 and 1,000 ft. comm. towers is looking at lighting, guy wires, and height as

     factors in avian mortality risk (Gehring 2004). statements about communication towers less than 500 feet in
     height are based on the author’s review of original communication tower studies in literature.
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     and streetlights can also attract nocturnally migrating birds. The question is whether FAA
     obstruction lights on wind turbines attract night migrating birds in the way that
     communication towers lights do. There is evidence that suggests that different types of
     lighting schemes may differentially attract birds. Flashing lights appear to be less of an
     attractant than steady-burning lights at night. Whereas the FAA usually requests three
     flashing red lights and 4-6 steady-burning red sidelights on communication towers 351-700
     feet tall, and 5-7 flashing red lights and 9-12 steady-burning lights on communications
     towers 1,000-1,400 feet tall, wind turbines of any size over 199 feet require only two (side-
     by-side) red flashing lights, and no steady-burning lights. By contrast, it seems that tall
     communication towers with steady-burning red lights and guy wires essentially act like
     large bird nets in the sky.

      A “large” fatality event occurred at the Mountaineer, WV wind energy site in late May
      2003 when a carcass search study was being conducted (Kerns and Kerlinger 2004). The
      Mountaineer site has 44 wind turbines along a high ridge; 12 turbines are lit with FAA red
      strobe lights, and 32 turbines are not lit at all. There is also one guyed and one unguyed
      meteorological tower. On May 23, 2003, there were about 30 fatalities found at turbines
      #22, 23, 24 and the nearby substation. The substation at turbine #23 had sodium vapor
      lamps on it. During the same day, fog in the area caused a 100-car accident on Route 68,
      demonstrating the severity of the weather. Other turbines at the wind site were not
      involved, despite having FAA (flashing) lights. Also, almost all the dead birds were found
      at turbine #23 (the closest to the substation) and at the substation. The lights at the
      substation were turned off on May 25, 2003, and there were no other major fatality events
      during the study period. This event suggests that bright sodium-vapor lamps were the
      cause of the large fatality event at Mountaineer, WV, and that the red flashing lights on the
      other turbines did not attract birds, despite thick fog.

      Similar events have been documented at some communications towers, water towers, and
      ski lifts. Night migrant carcasses found in searches of unlit and lit turbines at other wind
      energy sites around the country are presented in the table below.




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      Night Migrant Carcass Search Findings
      Location      Turbines     Height          Study period Migrants found Reference
                    (lit)
      Foote Creek 69 (0)         239 ft          1 year         ~59                Johnson et al.,
      Rim, WY                                                                      2001
      Searsburg,    11 (0)       192 ft          5 mos. (1      no avian           Kerlinger,
      VT                                         summer; 1      fatalities found   2002
                                                 autumn)
      Vansycle, OR 38 (11 lit)     243 ft.       1 year         ~5                 Erickson et
                                                                                   al., 2000
      Stateline,   394-399         243 ft.       18 months.     ~28                Erickson et
      or/wa        (111)                                                           al., 2003
      Ponnequin,   44 (Phase I:    259 ft.       5 years        <5                 Kerlinger et
      CO           29 incand., %                                                   al.,
                   w/red                                                           unpublished
                   blinkers;
                   Phase II: 15
                   end-of-row
                   turbines with
                   red strobes)
      Wisconsin (2 31 (3/4 with    292 feet    3 migration      ~5                 Howe, Evans
      sites)       red strobes)                seasons                             et al., 2002
      Buffalo      353 (76         max 249 ft. 4 yrs’ study    ~ 40 (600-700       Johnson 2000
      Ridge, MN    “solid red”)                (3 phases)      killed per year);
                                                               Event: 14 birds
                                                               found in one
                                                               night at 2
                                                               turbines - one
                                                               lit, one unlit.
      Buffalo     3 (3 w/white     290 feet      3 years       ~ 8 per turbine     Nicholson
      Mountain,   flashing                       (completed to per year            2004 (unpub.
      TN          strobes)                       date)                             pers. comm.)
      Green       8 (4 w/red       295 feet      1 year        No fatalities       Kerlinger
      Mountain,   flashing                                     found               2001 (unpub.)
      pa          incandesc.)
      Madison, NY 7 (7 w/red       328 feet      1 year         3                  Kerlinger
                  strobes)                                                         2002 (unpub.)
      Toronto,    1 (1 w/red       308 feet      1 year         No migrants        James and
      Ontario     strobe)          (lakefront)                                     Coady, 2003
      Pickering,  1 (1 w/red       384 feet      1 year         2                  James 2002
      Ontario     strobe)          (near lake
                                   and
                                   wetland)



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      Overall, there have not been any large-scale bird fatality events at wind turbines like those
      documented at some communications towers. It seems that red flashing FAA lights on
      wind turbines do not attract birds migrating at night in the way that steady-burning lights
      do. In addition, turbines are shorter than communications towers that cause large-scale bird
      mortality. It is not clear whether rotating turbine rotors function as analogues of guy wires
      in terms of bird mortality.

      Reference
      Gehring, J. 2004. Pilot study for Michigan Public Safety Communication System towers.
             Presentation to U. S. Fish and Wildlife Service Communication Tower Working
             Group, February 11, 2004.

      Kerns, J., and P. Kerlinger. 2004. A study of bird and bat collision fatalities at the
             Mountaineer Wind Energy Center, Tucker County, West Virginia: Annual report
              for 2003. Prepared for FPL Energy and Mountaineer Wind Energy Center
             Technical Review Committee.


                              Discussion, Questions and Answers

     How is a “large-scale” fatality event defined?

     Response: At Mountaineer, “large-scale” refers to an event involving more than seven
     birds.

     How do fatality rates relate to weather conditions (i.e., cloud ceiling,flight altitudes)?

     Response [from workshop participant other than the presented/: It appears that as flight
     altitudes go down, fatality rates go up. Ceiling height (weather/clouds) does affect flight
     altitudes. It is relatively easy to predict major migration nights in the east based on weather
     conditions and prevailing winds.

     Response [P. Kerlinger/: It is not necessarily the case that a lower cloud ceiling means
     lower flight altitudes; for example, radar has sometimes shown that birds fly at higher
     altitudes in response to fog.




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                                           4933
                         AVOIDING,                           AND MITIGATING
                                                          BAT IMPACTS
      This session addressed a variety of questions related to avoiding, minimizing, and
      mitigating the avian and bat impacts of wind power development, including:

           •   What has been learned from operating turbines and mitigating impacts where they
               are unavoidable, such as at Altamont Pass WRA?
           •   Should there be mitigation measures such as habitat creation or land conservation
               in places where impacts occur?
      Other impact minimization and mitigation approaches discussed included: location and
      siting evaluations; options for construction and operation of wind facilities; turbine
      lighting; and the physical alignment/orientation of facilities.


                    Bird Fatalities in the Altamont Pass Wind Resource Area:
                                        A Case Study, Part II

                                                      by
                                  Carl Thelander,31 BioResource Consultants

     The Altamont Pass Wind Resource Area (APWRA) is located due east of San Francisco on
     the eastern side of the coastal foothills where they open into California’s Central Valley.
     Wind energy generation began in the APWRA in the mid-1970s. By 1980, a California
     Energy Commission (CEC) biologist had identified a “bird kill problem” in the APWRA.
     Attention to the problem grew with the WRA’s wind energy development. By 1990, more
     than 4,000 turbines had already been built at the site, and several studies had been initiated.
     A number of studies focused on bird impacts have been conducted at the APWRA since
     the early 1990s, and researchers continue to try and determine ways to mitigate bird
     impacts today.

      In 1998, the National Renewable Energy Laboratory (NREL) funded BioResource
      Consultants (BRC) for research focusing on bird behaviors and mortality at the APWRA.
      In 2001, the CEC provided further funding to BioResource Consultants in order to
      continue and expand its research. BRC’s findings were presented in the fifth session of the
      Wind Energy and Birds/Bats Workshop (page 27 of these proceedings). This chapter
      focuses on the implications of those findings for reducing bird fatalities at Altamont Pass
      WRA. Some key questions include: Are bird fatalities unavoidable at APWRA ? Can
      mitigation strategies alone sufficiently reduce bird mortality at APWRA, and if so which
      ones? What next steps are to be taken?

      The goal of BRC’s research was to study the relationships between bird behaviors (e.g.,


      31 This presentation was based on a report prepared by BioResource Consultants for the California Energy
      Commission (Smallwood and Thelander 2004). Posted (8/10/04) on the Web at:
      http://www.energy.ca.gov/pier/final project reports/500-04-052.html.
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     flight, perching, and foraging) and bird fatalities. Part of the aim was to quantify bird
     fatalities in order to better understand the scope of the fatality problem, and to develop a
     large sample size representative of most of the APWRA. The ultimate objective of the
     research is to develop a quantitative model for the wind industry to use as a tool to help
     reduce bird fatalities at wind project sites. This model is to be based on relationships
     identified between bird kills and numerous variables including: landscape features,
     topography, land use practices, raptor prey species numbers and distribution, turbine types
     and infrastructure configurations, or any other factors that appear associated with bird
     fatalities.

     A major step toward reducing bird fatalities at any wind energy facility is to identify and
     understand the causal factors of fatalities. This task is somewhat difficult because
     collisions with wind turbines are rarely observed directly, and therefore inferences must be
     drawn from patterns discernable from carcasses found near turbines. BRC’s research
     resulted in sample sizes large enough to reveal relatively robust patterns. Those patterns
     have resulted in a predictive model based on the causal factors underlying the observed
     fatalities. The question is what do the number of bird fatalities and their distribution
     indicate about the underlying causes of mortality, and are there any solutions?

     There a few environmental factors (i.e., bird attractants) within APWRA that are
     potentially underlying causes of bird mortality at the site. It has been found that cattle
     grazing within the WRA spend a disproportionate amount of their time under the wind
     turbines. Large concentrations of grasshoppers feed on the cow dung that accumulates near
     the turbines. These grasshoppers are a major food source for American kestrels and
     burrowing owls during much of the year (chiefly in the late summer and fall). BRC
     biologists found the stomachs of some freshly killed red-tailed hawks at WRA filled with
     grasshoppers as well.

     Another environmental dynamic at the APWRA is that construction and maintenance
     practices around turbines have resulted in a disproportionate number of burrowing
     mammals present near turbines. Wind energy facilities create many artificial lateral and
     vertical edges in the landscape - most notably at the base of turbine towers and along
     access roads and other structures - and these edges tend to be preferred habitat for gophers
     and other burrowing mammals such as ground squirrels. Gophers and other burrowing
     mammals are a prey species for raptors. Rock piles created during construction, intended to
     provide habitat for San Joaquin kit foxes, instead have attracted desert cottontail rabbits,
     which are a preferred prey species for golden eagles and other large raptors. Raptors are
     attracted to areas near turbines by these prey species, increasing the raptors’ risk of
     mortality. The lesson to be drawn from these observations is that it may not necessarily be
     the wind facility or turbine type itself that attracts birds (thereby increasing their mortality),
     but rather what is happening on the ground in the surrounding ecosystem/landscape. In
     some instances, it may be possible for the operation and maintenance of the immediate
     area around turbines to be modified so that it reduces raptor activity near turbines in
     general.

      BRC conducted surveys at selected turbine strings throughout the large (140 sq km)
      APWRA and developed species-specific fatality data for a large number of APWRA
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      turbines. Predictions were made as to which turbines pose the greatest risk to certain
      species (golden eagle, burrowing owl, red-tailed hawk, American kestrel) based on
      landscape/ topography, and bird behavior. BRC then recorded and mapped where fatalities
      actually occurred in the APWRA in order to test their predictions and work toward
      mitigation measures for high-risk turbines.

     “High risk” turbine locations within the APWRA display a confluence of risk factors.
     Accountable Mortality was measured by “teasing out” the percentage of the fatalities
     attributable to 11 individual factors (of 30-40 considered) which showed statistical
     significance. Mapping turbine strings where Golden Eagle fatalities occurred, it became
     apparent that there are a relatively smaller number of turbine strings responsible for most
     of the eagle deaths. The same exercise can be done for other species (e.g., Burrowing
     owls). This helps researchers to focus on higher risk strings, then look at other contributing
     factors. The model predicts where fatalities are most likely to occur, and accurately
     predicts what turn out to be the (smaller number of) places where the most fatalities are
     occurring. This kind of information can be used to focus repowering changes where they
     are most likely to make a positive difference for multiple species.

     Several variables were examined to determine the magnitude of increase in a species’
     mortality due to that variable (i.e. when the feature was present, how much did mortality
     risk increase). The variables considered included height of lowest blade reach, whether in
     the wind wall, position in turbine string, location in wind farm, wind turbine congestion,
     physical relief, whether in canyon, slope grade, edge index, rodent control, and cattle pats
     at turbines.

      There are a number of conclusions to draw from BRC’s research regarding bird fatalities
      and the potential for mitigation at Altamont Pass WRA.

         •   Danger to birds generally increased with taller towers, larger rotor diameters, and
             slow-to-intermediate tip speeds.
         •   Turbines with lower blade reaches were most deadly to Golden eagles.
         •   Perch availability on towers appears to be a less significant factor in mortality risk
             than previously believed.
         •   Turbines on steeper slopes and in canyons were generally more dangerous to
             raptors, but ridge crests and peaks within canyons were also dangerous.
         •   The presence of rock piles within turbine laydown areas is associated with greater
             raptor mortality in certain areas of the APWRA.
         •   Wind walls (rows of turbines in relatively close proximity) appeared to be
             relatively safer for raptors than previously assumed. Raptors were killed
             disproportionately by turbines that were less crowded by other turbines.
         • Although the APWRA rodent control program reduced rodent numbers overall, it
             also increased the degree of clustering around turbines of remaining pocket gophers
             and desert cottontails and therefore generally failed to reduce raptor mortality.

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           •   Raptor mortality differs by season, with summer and winter having the highest
               mortality.
      It is important to note that fatality associations are usually species-specific, so solutions for
      one species may not serve as solutions for others. In fact, what benefits one species may
      increase risk for another. BRC’s research suggests that species-specific behavioral
      observations and activity level studies should precede turbine installation, as these data can
      guide turbine siting to avoid or minimize avian impacts.

      Based on this research, BRC has distilled a series of recommended corrective measures
      and/or operating practices for Altamont Pass WRA. These recommendations relate to
      managing use of the area by small mammals which attract birds of prey, and otherwise
      managing the landscape to avoid attracting birds to turbines.

     Discontinue the rodent control program in favor of promoting small mammals away from
     wind turbines; reduce lateral and vertical edges near wind turbines to discourage small
     mammals from burrowing near the wind turbines.

           •   Experiment with range management techniques such as allowing vegetation to
               grow tall near turbines so that small mammals are less visible to raptors near
               turbine, and subsequently Burrowing owls may reside farther from turbines.
           •   Prevent cattle from congregating around wind turbines to reduce the accumulation
               of cow patties and the accumulation of grasshoppers which serve as a food source
               for a number of bird species.
           •   Where they are a problem, move rock piles away from turbines or get rid of them in
               order to decrease the presence of raptor prey species in the vicinity.
      Another set of recommendations for avian impact mitigation are related to the location and
      configuration of turbines.

           •   Relocate or decommission turbines located in canyons.
           •   Isolated turbines should be relocated as part of windwall configurations or as part
               of clustered groups of wind turbines.
           •   Remove (or lay down) derelict and non-operating turbines.
           •   BRC recommends testing the Hodos painting scheme32 in the field and applying it
               selectively if it is found to be a useful tool. Turbines at the “edge” of the APWRA
               and at the end of turbine strings could be modified to divert bird flights (possibly
               using the Hodos painting scheme if it is proven effective).
           •   Benign physical structures could be erected to divert birds away from the ends of
               turbine strings, or the WRA could potentially experiment with strategically placed
               raptor perches.
           • All power poles could be retrofitted to be raptor-safe, following Avian Power Line


       William Hodos et al. 2001
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               Interaction Committee (APLIC) compliance standards.
          •   Replace the Wildlife Response and Reporting System (WRRS) monitoring program
              for bird fatalities with one that is more scientifically rigorous and is performed
              independently.
      Since it is likely that on-site mitigation cannot entirely solve the bird kill problem,
      APWRA’s turbine operators should investigate engaging in off-site mitigation measures to
      compensate for impacts that cannot be avoided on-site. Generally, it is unlikely that all
      impacts at APWRA can be avoided, but implementing the recommendations outlined here
      could reduce fatalities as much as 50%, according to BRC’s research results.

      BRC has outlined a number of steps to be taken for the future of the APWRA based on the
      research outlined in this presentation.

      1. Prioritize and select what appear to be the best fatality reduction techniques for field
         testing and monitoring. Specific techniques recommended for testing include:

          • placing benign structures (perhaps of several types and settings) at the ends of
              turbine strings where fatality rates historically have been high;
          •   modifying grassland management practices to reduce prey populations or their
              visibility/vulnerability to raptor predation;
          •   manipulating prey population distributions and abundances to increase prey
              populations further away from turbines;
          • painting turbine blades to increase the visibility of turning rotors (as suggested by
               William Hodos, et al.).
      2. Design controlled experiments to test their effectiveness using the Before-After
         Control (reference)-Impact (BACI) approach.

      3. Decide which bird species to focus mitigation and/or experiments on.

      4. Based on the results of these experiments, report on the effectiveness of various
         techniques and consider widespread application on a case-by-case basis.

      5. Design and conduct controlled experiments to determine the effects of the repowering
         program on bird mortality.

     Overall, it appears that repowering the APWRA with larger, taller turbines with greater
     output capacities will be most effective at reducing bird kills. In designing a monitoring
     program to compare any changes in bird mortality (especially for raptors) associated with
     the repowering program at sites with historical fatality data, BRC recommends using the
     number of fatalities per MW per unit of time rather than simply the number of fatalities per
     turbine per year. 33 The proposed metric, which is described at length in an upcoming BRC


      33 Repowering typically results in the replacement of smaller older-model turbines with larger, more

      productive models, hence the need for an output-based metric rather than simply a per-turbine metric.
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      paper and report to the CEC,34 will require gathering output data from turbine operators.


      References
      Hodos, William, A. Potocki, T. Storm, and M. Gaffney. “Reduction of Motion Smear to
             Reduce Avian Collisions with Wind Turbines.” In Proceedings of the National
             Avian-Wind Power Planning Meeting IV, 2001.

      Thelander, Carl, and Shawn Smallwood, Ph.D. “Developing Methods to Reduce Bird
             Mortality in the Altamont Pass Wind Resource Area.” Prepared by BioResource
             Consultants for the California Energy Commission Public Interest Energy Research
             (PIER) Program, Report #500-04-052. August 2004.




      34 The CEC report can be downloaded from the Web at:
      http://www.energy.ca.gov/pier/final project reports/500-04-052.html.
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           Prevention and Mitigation of Avian Impacts at Wind Power Facilities

                                                  by
                                Paul Kerlinger, Curry & Kerlinger, LLC

      Various strategies been employed at wind power facilities around the United States in
      order to prevent or mitigate the impact of wind turbines on birds.

      •   In the Midwest and West, it is wise to avoid true grasslands, prairie and some grazing
          land. These habitats can be lekking (breeding/courtship) areas for species like Lesser
          and Greater Prairie-Chickens and Sage Grouse, which are declining precipitously. It is
          best to avoid such areas altogether, as well as avoiding areas designated by
          professionals as necessary for recovery programs of these species and including buffer
          areas. Siting turbines on tilled agricultural land would minimize impacts to nesting
          grassland birds and reduce the displacement of certain key species (prairie songbirds,
          shorebirds, grouse) while reducing the potential for collision fatalities (e.g., of Upland
          sandpipers and Horned larks) at wind power projects.

      •   In Eastern forests, prevention measures should include developing forest management
          plans in conjunction with wind facility siting to minimize turbine footprint/forest
          clearing and encourage regrowth of forest (up to a height of about 20-30 feet above
          ground level) right up to the base of the turbine towers. In forested areas, roads should
          be kept narrow and regrowth should be encouraged along roadsides. A point to
          consider is that wind energy development may preclude housing development, which
          would have greater impact on habitat and wildlife.

     There are several other measures that may be taken to prevent avian impacts of wind
     facilities in any locale. One key prevention measure is avoiding or minimizing lights on
     turbines, especially steady burning or bright lights such as sodium vapor lights or
     spotlights. Guy wires contribute significantly to risk and should be avoided entirely on
     meteorology towers. Towers as high as 700 feet can be built without guy wires, although
     this is expensive. For 300-400 ft. towers, non-guyed construction is not prohibitively
     expensive. As a general rule, perch sites should be eliminated from wind facilities.
     Collection lines should be installed underground and substations insulated per Avian
     Power Line Interaction Committee (APLIC) standards to avoid collisions, electrocution,
     and perching. It is possible that building fewer, larger turbines may help prevent bird
     fatalities as well, but this is not yet fully understood.

      Eastern and Midwestern hayfields are prime sites for wind power facilities and also prime
      nesting areas for grassland birds. Hay mowing kills thousands of bobolinks, savanna
      sparrows and other species every year and is a preventable source of fatality. Delaying hay




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      mowing at these sites can reduce fatalities dramatically.35

     Currently, on-shore turbine towers and their rotors reach up to about 380 feet above ground
     level. One lingering question is whether there is a threshold height for wind turbines above
     which night migrating birds will be impacted in much larger numbers. Most migrants fly
     between 300 and 2,000 feet above ground level, so it is likely that above 400 feet, turbines
     would impact more night migrants than they do currently. The question of whether there is
     a meaningful height threshold (with regard to avian impacts) and where that threshold
     might be set is a question for future consideration.


                                  Discussion, Questions and Answers

     It has been suggested that clearing vegetation around turbine bases creates habitatfor
     prey animals and makes them more visible, thus attracting raptors. However, uncleared
     vegetation would make monitoring windfacilities for bird and bat impacts more difficult.
     What is the recommendation?

     Response: In the first one to two years after clearing there usually is not much re-growth of
     vegetation, especially in mountainous areas, which allows monitoring studies to be
     conducted. Dogs can also be trained to do searches in thick brush if need be.

      Comment: The bulk of a wind facility’s footprint is from roads. Thus, it may be preferable
      for wind projects to try design/use roads more efficiently and in turn reduce the footprint of
      turbine sites.

     Comment/Question: There is a lack of data from Texas and Iowa where there is a lot of
     wind power development. Have any researchers been assessing bird and bat impacts at
     those sites?

     Response [from workshop participant other than the presenter]: One small study has been
     done in Iowa, which will be available soon.36 In Texas, mortality studies are not required
     and therefore have not been done.




      35 A workshop participant noted that the Natural Resource Conservation Service has arranged payments to
      farmers to delay mowing until after nestlings fledge, thereby increasing productivity of birds at these sites
      and offsetting additional fatalities.
      36 This is a reference to a three-season study conducted at three modern turbines near Algona, Iowa. No bird

      fatalities were found at this site. (Demastes, J. W. and J. M. Trainer. 2000. Avian risk, fatality, and
      disturbance at the IDWGP Wind Farm, Algona, Iowa. Final report submitted by University of Northern Iowa,
      Cedar Falls, IA. 21pp.)

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               DEVELOPMENT AND APPLICATION OF GUIDELINES
                FOR SITING, CONSTRUCTING, OPERATING AND
                        MONITORING WIND TURBINES
      This session provided a comparison of wind project guidelines developed by the U.S. Fish
      and Wildlife Service (May 2003) and the Washington State Department of Fish and
      Wildlife (August 2003). Is there a need or desire for uniform national or state criteria? Can
      other states learn from Washington State’s example, or from the USFWS voluntary
      guidelines? Should there be uniform requirements/guidelines/check-lists for the siting,
      operation, monitoring, and mitigation to prevent or minimize avian, bat, and other wildlife
      impacts?


           Development and Application of USFWS Guidance for Site Evaluation,
             Siting, Construction, Operation and Monitoring of Wind Turbines

                                                   by
                     Albert M. Manville, II, Ph.D., U.S. Fish and Wildlife Service37

     Although wind turbines are not new to the United States (over 1,000 windmills were
     reported on Cape Cod, Massachusetts, in the late 1800s), the development of large scale
     “wind farms” or wind plants and their impacts on birds and bats is a relatively recent
     phenomenon. Compared to the decades of documented impacts of power lines and
     communication towers on birds and bats, wind farm impacts are certainly recent.

     The US Fish and Wildlife Service (USFWS or “the Service”) took notice of avian-wind
     turbine collisions in the late 1980s and early 1990s as a result of events at Altamont Pass
     Wind Resource Area, California (APWRA). It was estimated that several hundred raptors
     were being killed each year at APWRA due to turbine blade collisions, guy wire strikes,
     and electrocutions. While mortality has been somewhat reduced at APWRA, the problem
     has yet to be resolved at that site. In addition to direct collision threats, concerns began to
     be raised in the late 1990s about wind plants disturbing and fragmenting habitats and
     disrupting birds. Breeding grassland songbirds and prairie grouse, particularly lek-breeding
     prairie grouse (e.g., Greater and Lesser Prairie Chickens and Sage Grouse), all appear to be
     adversely affected. Studies on habitat impacts are ongoing. More peer-reviewed published
     research is needed to determine the extent and implications of impacts.

     USFWS’ involvement in wind power and issues related to its development began with the
     Service’s Office of Law Enforcement in the late 1980s as a result of events at Altamont
     Pass. In addition to 1980s investigations, USFWS partnered with the wind industry in 1995
     when it joined the Avian Subcommittee (now called the Wildlife Work Group) of the
     National Wind Coordinating Committee (NWCC). In 1997, Al Manville was designated
     the USFWS representative to NWCC. In 2002, the Service recognized the need for
     voluntary guidance to assess, rank, site, place, monitor and conduct research pre-and post­


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      construction at wind power developments. Mr. Manville was tasked to chair the Service’s
      Turbine Siting Working Group - represented by all seven Service Regions and the
      Washington office - including representatives from Ecological Services, Permits, Law
      Enforcement, Habitat Conservation, and Migratory Birds. The creation and release of
      USFWS wind power guidance was fast-tracked as part of the President’s National Energy
      Policy addressing renewable energy, and the Interior Secretary’s 2001 Renewable Energy
      on Public Lands Initiative.

     In July 2002, the USFWS Turbine Siting Working Group held a three-day meeting with
     fifteen Service representatives. The meeting resulted in the creation of draft interim
     voluntary guidance for wind power development. The guidance was critically reviewed by
     all Service Regions, later by the Washington Directorate, and finally by the Department of
     the Interior. The interim voluntary guidance for land-based wind turbines was completed
     and approved in July 2003, when it was announced in the Federal Register. The complete
     guidelines can be found at: http://www.fws.gov/r9dhcbfa/windenergy.htm .

     There are a variety of reasons why USFWS’s guidance on wind development are voluntary
     rather than regulatory. Given the opportunity, the Service prefers partnerships over a
     regulatory approach when working with industry. This is how the Service has worked with
     the electric utility industry since the 1970s (in a partnership formalized in 1989 through the
     Avian Power Line Interaction Committee [APLIC]) and with the communication tower
     industry since 1999 (through the Communication Tower Working Group); the same model
     likely will be used with the commercial and recreational fishing industries in the near
     future. With respect to the electric utility industry, USFWS helped develop voluntary
     guidance with APLIC through “suggested practices” for strike and electrocution avoidance
     (published in 1994 and 1996 respectively). The Service, with feedback from industry and
     academics, developed voluntary guidance for siting and placement of communication
     towers in 2000.

      The voluntary guidelines38 are based on the best available science, and will be updated in
      July 2005 based on comments received from the public and when new information
      becomes available (with the exception of National Wildlife Refuge policies regarding
      grassland easements in Region 6, found in Appendix 6 of the USFWS guidance document,
      pp. 39-44). Comments received on the guidelines will become part of the Service’s
      administrative record. Two public meetings/briefings have been held on the guidelines to
      date, and the Service anticipates holding others. Much of the guidance is based on studies
      conducted by, information collected from, and recommendations presented by the NWCC,
      including input from the American Wind Energy Association (AWEA). 39 General
      recommendations regarding siting, design, and operations are intended to suggest (based
      on the best available science) the sorts of analyses that should be performed. These are
      recommendations, not binding, bright-line rules.

      While the USFWS guidelines are voluntary, there are applicable Federal statutes and



       The terms “guidelines,” “guidance,” and “guidance document” hereafter are used interchangeably.
      38

      39See Partial List of Literature Reviewed, below.
      WIND Energy & Birds Bats workshop Proceedings                                                      87



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     regulations which the wind industry must obey. These include the Endangered Species Act
     (ESA), the Migratory Bird Treaty Act (MBTA), and the Bald and Golden Eagle Protection
     Act (BGEPA), and the regulations applicable to these statutes. With respect to the ESA on
     public lands or where Federal funding or Federal permits are involved, USFWS strongly
     recommends that the applicable Federal agency or the turbine company/contractor - if
     designated as a non-Federal representative - consult with USFWS through Section 7. On
     private lands, particularly in the East, USFWS suggests contacting the local Ecological
     Services Office for guidance regarding Sections 9 and 10 of ESA. To avoid problems, it is
     best to contact the nearest Ecological Services Office at the outset.

      The MBTA is a strict liability statute, meaning that proof of intent to violate any provision
      is not required to establish that a party is in violation of the law. The killing of any bird is
      not allowed under the law unless permitted, and the USFWS does not issue “incidental” or
      “accidental take” permits under MBTA. However, on page 2 of the Director’s memo to the
      Regional Directors, signed May 13, 2003, the guidance does state:

              “While the Act has no provision for allowing unauthorized take, it must be
              recognized that some birds may be killed at structures such as wind turbines
              even if all reasonable measures to avoid it are implemented.”40

      Because of these stipulations, USFWS encourages a pro-active, partnership approach in
      order to avoid potential problems. BGEPA, like MBTA, is a strict liability statute
      protecting Bald and Golden Eagles. It is important to contact the nearest Ecological
      Services Field Office for issues regarding either act.

     Migratory birds are a trust responsibility of USFWS. The Service is currently responsible
     for the conservation and management of 836 species of migratory birds. In 1995, USFWS
     listed 124 “nongame species of management concern” representing birds whose
     populations were declining, some precipitously. This list represents an “early warning”
     system. The next step for species of management concern could be listing as candidates
     under the ESA, which USFWS would rather avoid. As of 2003, the Service raised the
     number from 124 to 131 species in the publication, Birds of Conservation Concern 2002.
     This is not good news. In addition, there are 77 endangered and 15 threatened birds listed
     on the ESA, and these numbers continue to increase. This means that at least a total of 223
     of the 836 species of migratory birds in the U.S. are in trouble, while the status of fully
     one-third of the other species is not known. As a trust agency tasked to protect and manage
     migratory birds, USFWS must do everything it can to reverse these population trends (the
     vast majority of which are human-caused), whether impacts appear to be large or small, on
     public or on private lands. The issue involves cumulative impacts as well, including those
     from wind farms, communication towers, buildings, automobiles, power lines, and other
     sources of mortality related to human activity.

      Generally speaking, estimated nationwide avian mortality due to wind turbines appears to
      low with the exception of Altamont Pass. USFWS wants to ensure that impacts stay low.


      40 USFWS Director’s memo to Regional Directors introducing the Service’s voluntary land-based wind
      turbine guidance, May 13, 2003, 2 pp.
      WIND Energy & birds bats workshop Proceedings                                                      88



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     Because the wind industry is still in its infancy, the Service hopes to prevent any new
     problems from developing as the industry and the nation gear up for exponential turbine
     growth. The bottom line: USFWS encourages the wind industry to work with the Service
     to help prevent avian and bat impacts, especially as electricity demand (and wind energy
     development) increases in the US. To make this happen, the industry’s review process
     needs to be transparent, especially concerning the protocols being used to assess wind sites
     for bird and bat impacts (e.g., Phase I and II risk assessments, and pre- and post­
     construction monitoring protocols). USFWS and other agencies would like the opportunity
     to review them as well. This is one reason why USFWS recommended that a professional
     Federal and/or State biologist be involved in the pre-development review process. USFWS
     strongly encourages wind energy developers and trade associations to work directly with
     Robert Willis (of the Division of Habitat Conservation, Arlington, VA, office); Rob
     Hazelwood (of the Helena, MT, Field Office), Al Manville, and all 78 Ecological Services
     Field Offices from the outset of the project development process. By working together at
     the local level to properly site and design wind turbines, we have the potential to reduce
     loss of migratory bird trust resources and habitats, listed bats, and other listed species by
     replacing more disruptive forms of energy development with wind energy.

     USFWS encourages the wind industry to follow the guidelines USFWS has developed and
     to conduct scientific research to provide additional information on migratory birds, prairie
     grouse, grassland songbirds, bats and other species. Specifically, USFWS asks
     contractors/developers to do the following:

         • rank and evaluate each site;
         •   assess and monitor wildlife impacts;
         • perform pre- and post-construction monitoring and mortality studies;
         • use USFWS site development recommendations;
         • use turbine design and operational recommendations; and
         •   address research needs.


     In a memo to Regional Directors dated April 26, 2004, the USFWS Director noted that
     these actions

             “should be accomplished through flexible application of our voluntary
             guidelines based on local conditions, local knowledge, locally applicable
             scientific data, and technical feasibility (e.g. sufficient wind, lease space,
             transmission grid access).

             Where we recommend collecting 3 years of data prior to construction, this
             recommendation is not intended to be a strict requirement in all areas,
             especially if less time can be expected to yield sufficient data. However,
             where risk is considered sufficiently high due to variable weather, changing
             flight paths, and variable migration timing, then 3 years of data may be
             appropriate.”
      Wind Energy & Birds Bats workshop Proceedings                                           89



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      In other words, three years of pre-construction data is a recommendation, not a
      requirement.

      There are some relatively new and very promising technologies that can be used
      individually or in tandem to monitor for birds and bats. These technologies include: a)
      thermal imaging equipment; b) fixed vertical beam radar; c) BIRDRAD (high resolution
      marine radar); d) WSR-88D (Doppler weather radar); e) acoustic monitoring; f) GIS; and
      g) GPS. Taken as a whole, these technologies are helping to better assess bird and bat
      presence, animal behaviors, altitudes of migration, patterns of movement, speed and
      direction of movement. USFWS reminds researchers that it is important to “ground the
      truth” by corroborating the findings of any one tool with data from other sources or tools.
      Despite the number and rigor of avian/bat studies that are conducted, from a wildlife and
      habitat perspective there are still fundamentally “good” and “bad” places to locate wind
      turbines. It is USFWS’s fear that as the industry grows, more “bad” sites will be
      considered as “good” ones get developed. The site evaluation guidance developed by
      USFWS is designed to help make that “good”/”bad” determination and avoid potential
      problems.

     USFWS hopes to achieve a range of goals with the development of the guidance document
     and the Service’s overall involvement with wind the wind industry. The primary goal is to
     partner with the wind industry and consider developing voluntary avian protection plans
     (APPs) as is currently being done with the electric utility industry. The Service aims to
     keep bird and bat mortality low as the industry grows exponentially. It hopes to resolve
     issues at Altamont Pass and avoid similar scenarios in other locations. USFWS hopes to
     learn more about and answer questions about bat mortality at wind farms,41 and to look
     much more closely at avian and bat migration in the Eastern US, particularly along the
     Appalachian Mountain ridge-tops. More radar and thermal imagery work are needed, and
     more replication is suggested. For example, one study found “roughly half the night [bird]
     migrants flew at altitudes below 125 m, putting them at risk of colliding with 112-m high
     wind turbines^” at proposed sites in New York (Cooper and Mabee 1999).

      Overall, USFWS seeks more cooperation and collaboration from the wind industry from
      the beginning of development planning processes. The Service would like to see greater
      transparency incorporated into the industry’s review process, especially with respect to
      research protocols used to assess wind sites for birds and bats during Phase I assessments.
      If the wind industry is to portray itself as “green,” developers need to contact USFWS at
      the outset, not just as a second thought after a site has been selected, landowner agreement
      has been reached and a power agreement signed.

      Several next steps are planned to develop and promote the guidance. The Service plans to:

           •   conduct more public workshops;



      41 The retrieval of 475 bats at Backbone Mountain, WV (fatalities estimated at 1,900-2,375 for the year 2003)
      is of concern. The level of mortality at Backbone Mountain has been reassessed by Dr. Merlin Tuttle of Bat
      Conservation International, indicating that the total number of fatalities could approach 4,000 (Tuttle 2004).
      WIND Energy & Birds Bats workshop Proceedings                                                              90



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         •   implement a series of multi-stakeholder workshops (such as the Region 5
             [Northeastern US] workshop which took place in September 2003 on Virginia’s
             Eastern Shore) on use of USFWS guidance;
         •   encourage more dialogue between the wind industry and USFWS Field Offices;
         •   ask industry to encourage a 5+ year reauthorization of tax credit legislation;
         •   encourage the industry to continue funding bird and bat research (the industry has
             spent an impressive $6+ million on research since 1994) and to get their results
             published in peer-reviewed journals.
      The current guidance will be updated in July 2005. USFWS hopes to participate in more
      meetings like the Wind Energy and Birds/Bats Workshop, and encourages industry
      members not already involved to engage in the process.

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      Wind Energy & Birds Bats workshop Proceedings                                           91



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      Wind Energy & Birds Bats workshop Proceedings                                           92



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      Plus numerous other sources referenced in Literature Cited Section of Guidance.


                  Discussion, Questions and Answers, USFWS Guidelines

     Noted: Proceedings from a National Wind Coordinating Committee (NWCC) meeting
     held to help guide development of the USFWS guidelines will be available on the NWCC
     website in the near future (www.nationalwind.org). AWEA also has commented on the
     USFWS guidance and these comments are available for review at www.awea.org.

     Noted: APLIC is developing research methods and protocols for bat monitoring around
     power lines. The group is working on developing sensors/markers to put on power lines to
     deter birds and bats.

     Does the USFWS website present recommendations to developers of coal-fired power
     plants?

     Response: USFWS tried to get involved with the mountaintop mining issue in the past and
     was ignored. Different energy development pursuits are regulated in disparate ways^ i.e.,
     wind power development is being constrained because of bird and bat impacts while
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      mountaintop mining, while clearly destructive of bird and other wildlife habitat, continues.

     Noted: People in the wind industry are beginning to understand that USFWS recognizes
     some of the industry’s concerns regarding regulation. Industry people hope to continue
     working with USFWS.

      Could the presenter say something about the Cuban Bill?

     Response: This bill was an extension of tax credit authorization for all energy sectors
     except wind to five years rather than two.

     How has USFWS prepared its field offices to respond to the inquiries of the wind industry
     regarding the guidance?

     Response: Regional Directors report to the USFWS Director, and all Regional Ecological
     Services field officers commented on the guidelines before they were published. Part of the
     guideline development process may be considered an opportunity to educate everyone
     involved - USFWS, environmentalists, and industry people. USFWS is striving for
     coordination. All field offices have been provided with the guidelines and were instructed
     to apply them and get feedback from the wind industry. Additional guidance was sent to
     field offices based on feedback and questions the Service was receiving. Basically,
     USFWS is doing its best to develop consistency throughout in the advice it provides with
     respect to the guidance, but it is a work in progress. The Service Director is encouraging
     field office people to familiarize themselves with the wind industry, and the Service plans
     to hold more workshops in the future.

      Given that the guidance has been out for nearly a year as ofMay 2004, what has the
      response been to the suggestion of looking at and ranking multiple potential sites?

     Response: USFWS has not received much feedback on that point to date. Most comments
     from the West have been positive, but it is too early to tell for the East. One developer did
     complain about the recommendation to conduct three years of pre-construction wildlife
     studies; however, this developer and the state involved have been working on getting the
     project in question moving for six years.

     How did USFWS come up with its nationwide mortality estimate?

     Response: USFWS does not use an estimate, but rather a range - and even if it is off by a
     couple orders of magnitude, mortality is still significantly less at wind turbines today than
     it is at communication towers.

      Comment: More outreach by public utility companies may help direct developers to
      USFWS sooner than in the past.

     Response: Yes, this is a good idea.



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                                 Wind Power in Washington State

                  „    ........................ . . by .  . ... ........................
                  Greg Hueckel, Washington State Department ofFish and Wildlife42


     The Washington State Department of Fish and Wildlife (WDFW, or the Department), in
     consultation with representatives from the wind power industry and environmental groups
     has developed Wind Power Guidelines that achieve ways to reconcile support for
     renewable wind power projects with the need to protect wildlife and the State's habitat.
     These Wind Power Guidelines include innovative provisions that not only protect our
     native habitats, but also greatly improve habitat value with mitigation expenditures. There
     is currently little operational experience with wind projects in Washington State, and these
     Wind Power Guidelines are designed to add important studies and operational knowledge
     to our understanding of how to site, design, and operate wind projects to avoid and
     minimize impacts.

      These Wind Power Guidelines, which will be used by the Department to shape its
      comments on wind power projects through the State Environmental Policy Act process, are
      divided into the following three sections:

      1. Baseline Monitoring Studiesfor Wind Projects: calls for pre-prcject assessments of wind
         power sites with the goal of avoiding and minimizing bird and bat mortality from turbine
         strikes; operational monitoring; and a Technical Advisory Committee (TAC) to evaluate
         impacts and determine if additional measures are needed to address unexpected impacts.
      2. Wind Project Habitat Mitigation (conventional): steers wind projects toward cropland and
         developed areas and away from undeveloped native habitat; provides ratios for replacement
         habitat as mitigation for temporary and permanent wind project impacts; adheres to the
         principle of no loss of habitat functions and values.
      3. Wind Project Alternative Habitat Mitigation Pilot Program: creates an innovative option
         for wind developers (as an alternative to #2) to streamline the mitigation process and ensure
         that mitigation dollars are spent on acquiring, restoring, and managing strategically
         important habitat in central and eastern Washington State, where most wind projects are
         sited. The Alternative Mitigation Program, is designed to use public funds for acquisition of
         the highest value habitat with annual payments from wind developers for stewardship of
         these lands, greatly increasing the value of mitigation expenditures over those of
         conventional on-site mitigation.
     These Guidelines will be re-evaluated after five years and adaptively altered as needed.
     They provide wind project applicants with clarity and streamlined processes, require
     mitigation to not reduce our native wildlife and their habitats, and provide an option to
     partner with WDFW to protect and improve some of Washington State’s most important
     native habitats.



       600 Capitol Way N., Olympia, WA 98501-1091
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      References
      A complete copy to Washington State’s Wind Power Guidelines can be obtained over the
      internet at: http://wdfw.wa.gov/hab/engineer/windpower/intex.htm

      Or by writing to the Washington State Department of Fish and Wildlife at:

      Habitat Program
      Washington Department of Fish and Wildlife
      600 Capitol Way N.
      Olympia, WA 98502-1091


                             Discussion, Questions and Answers

     How does WDFW determine the footprint that the $55/acre fee is applied to?

     Response: It is applied to the actual footprint including roads and tower pads and the
     buffer around them.

      Comment: In New Jersey, neither developers nor environmentalists have dealt with state­
      level guidance yet. Could any other workshop participants comment on the process of
      developing the Washington State guidelines?

     Response (representative of Washington State Audubon): Our organization was given a
     copy of the guidelines to review, but I wish we had been more integrally involved in
     developing the alternative mitigation guidelines. We did not entirely agree with the
     guidelines regarding monitoring, and wondered whether research protocols had been peer-
     reviewed. We would have liked to have seen a minimum of two years (rather than one
     season) avian use assessments even for “low-risk” areas. In particular, we did not like the
     fact that if operation monitoring is “unfinanceable” (i.e., cost prohibitive), then it is not
     required. Basically, Audubon would have liked to have been party to negotiations and the
     guideline development process, rather than just being given a chance to review something
     developed by the wind industry and WDFW.

     Response (WDFW): An Audubon representative was included on the review team.

      What is meant by the term “unfinanceable”? If taking an operating turbine out of
      operation is not an option, what do you do if you start seeing high fatality levels post­
      construction?

     Response: The industry has said that taking turbines out of operation after they’re built is
     not a viable mitigation option because of the risk of such a possibility would make it
     impossible (or prohibitively expensive) to get financing for a project. The solution arrived
     at in Washington State was to list (at the pre-permit stage) options for operational changes
     that may be implemented to deal with mortality should it appear during post-construction
     monitoring.

      Comment: There seems to have been much thought put into the Washington guidelines;
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      they should be used as a template for other states.

     Has Washington State thought about statewide monitoring/review?

     Response: The State is paying for eco-regional studies, but lack of staff is a real constraint.
     However, WDFW does have a staff biologist who helps developers put together the
     information they need for the permitting process.

     Comment: The issue of conducting three years of pre-construction studies keeps coming
     up, and the idea of a three-year standard goes way back before USFWS guidelines. It is
     considered important for studying critical high-use habitat areas. However, as has been
     noted here today, when you have good data another three years worth is not necessary, and
     where you don’t have high risk you don’t need three years of studies.

     In Maine it is entirely up to the developer to decide who gets involved in the site
     assessment process and whether to conduct pre-construction studies. Which is closer to the
     current norm, Maine or Washington State?

     Response: Washington is definitely a leader for this type of regulation, and thus ahead of
     the norm.

     Might the lack of mitigation demands for disturbed lands motivate developers to disturb an
     area and then come back later and identify the site for wind development without
     mitigation requirements?

     Response: There is enough trust between parties in Washington State that this is not
     viewed as a problem.

      Has the allowance of less than one full year ofpre-project monitoring as outlined in the
     guidelines been an issue for concern?

     Response: Pre-permit assessment in most current cases in Washington State has involved a
     review of existing information and contacting WDFW, with at least one year of pre­
     construction studies and, in some cases where there is a critical season, two years of data
     for that season.




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                           DISCUSSION OF RESEARCH NEEDS
      The Facilitator asked participants for their overall reaction to the research that has been
      presented during this workshop. Questions addressed by workshop participants included
      the following:

          •   How do you develop trust and confidence in the research?
          •   What are some of the specific gaps in our understanding of wind energy’s impact
              on birds and bats?
          •   How do we prioritize and proceed with closing the data/research gaps? How do we
              “connect the dots” and bring various research and mapping efforts together?
          •   Given gaps in the data, what are the critical questions we need to answer to make
              project decisions now? How do we track/influence the policies that will shape wind
              energy development?

                 How do you develop trust and confidence in the research?

      The first part of the discussion centered on the credibility and accessibility of research
      being done. Participants considered what guidance is available for protocol development
      and whether protocols and study results should be peer-reviewed. A peer review
      requirement raises several issues, including questions of confidentiality for proprietary
      information, what it takes to get research published, and the importance of timely reporting
      of research results - including findings of “no significant impact.” Participants concluded
      that the issue is not whether research is peer reviewed, but whether it is a) credible, and b)
      accessible. (It was noted, however, that the peer review process does provide both
      credibility and accessibility in a way that no other process does.)


     Guidance available for developing research protocols.
     While industry has funded most of the research to date, one participant noted that some of
     the results we have been looking at come from publicly-funded research (e.g., NREL,
     CEC), and that the industry-funded research follows largely the same protocols. Another
     participant cited the NWCC’s stakeholder-developed “Methods and Metrics” document
     (Studying Wind Energy-Bird Interactions: a Guidance Document) which was intended to
     facilitate the comparison of results from different studies. This guidance document is now
     three years old, and it would be useful to get feedback so that it could be updated.

      Questions and comments related to NWCC’s Guidance Document:
      1) Are the protocols described in the guidance document applicable to all terrestrial sites?

     Response: Yes, but not to offshore sites. (See Jette Gaarde’s presentation on offshore
     development in Denmark.)

      2) Guidance document could be revised to address offshore research methodologies as well

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      as new imaging technologies - but the basic research principles apply no matter where
      you’re doing the research.

      3) Are people using this document as intended? Are they drawing the correct inferences?

     Response: The document just provides a toolbox; agencies have to draw the inferences.

     Issue of peer review and the confidentiality and timeliness of research.
     One participant noted that Phase I assessment protocols could be reviewed by an
     independent body (without publication), which also could review the inferences drawn
     from the results of Phase I studies. Another agreed that it would be helpful to get protocols
     as well as actual studies peer reviewed. A third pointed out that “we have to be clear about
     what is meant by peer review. Many documents that are peer-reviewed still wind up in
     gray literature; we’re talking about peer-reviewed literature.”

      Confidentiality
      With respect to confidentiality, one participant recommended considering the FIFRA
      process - EPA is dealing with proprietary information. The nature of the chemical is not
      even revealed to reviewers, yet a technical review committee process can review the
      science without breaching confidentiality. Other participants said it was best to proceed
      with caution when engaging the Federal or state governments in the review of proprietary
      information.


       The research may be valid, but is it publishable?
      The question was raised whether the kind of work being presented here would qualify to
      get into peer-reviewed scientific journals, or whether “we have to look for a different
      venue for “applied” science studies.” Response: There are many high quality journals
      (e.g., Ecological Applications) that publish applied research.

     Reports that are useful to industry may not meet article standards, noted one research
     consultant. “Those of us who publish long reports have an obligation to summarize the
     information in a series of publishable reports, and go the publication/peer review route.”
     Another consultant observed that it takes a long time to get a research article published.
     “When we do a monitoring study, we try to get the information out there as soon as
     possible. [Researchers] may need to do three to four sites before [they] can get the
     information into a scientific journal.”

      A participant with experience both as a research consultant and as an associate journal
      editor acknowledged that “an awful lot of what we do is not publishable^ But we do have
      to start publishing in refereed journals.” However, as a consultant, he and his staff can’t
      afford to make publication (as opposed to billable work) their focus. “We’re not in the
      academic arena, so it is problematic.”

      How do we reconcile the need for review with the need for timely decision­
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      making?
      When it comes to wind energy project developments, timely decision-making is important,
      sometimes a statutory requirement. One participant emphasized the importance of having
      access to reports as they come out. (“We need to avoid ‘paralysis by analysis.’”)

      Suggestions:

      1) Some research would add to the scientific knowledge base without necessarily having to be
          tied to a particular project’s development. Night radar monitoring, for example, would be
          useful to help us learn more about the ratio of flyover rates to mortality data.
      2) A common post-construction monitoring practice is to have a Technical Review Committee.
          Is that an appropriate level of review?
      3) A variation on this suggestion was described as “pseudo” peer review by stakeholder
          committees when permitting requirements create time pressure.
      4) It might be useful for this group to establish its own publishing forum.
     Other participants followed up on this last idea. One made the point that, while the peer
     review process takes time, a group of people such as those represented at this Workshop
     could “certify” research findings and make them accessible. It was suggested that the
     NWCC could be a central repository for research, providing access to the information, with
     a review process being conducted in parallel. Such a forum also would enable researchers
     to publish findings of “no significant impact,” which might be of legitimate interest to the
     industry, agencies, and environmental groups, but not to scientific journal editors. (One
     consultant noted that an article which reported an absence of fatalities at Vansycle Ridge
     was rejected as not having a sample size large enough.)

     One participant noted that the two main issues are credibility and accessibility - both of
     which are necessary. “We need to think creatively as a community about how to provide
     credibility for a body of work, an agreed-upon process for conferring credibility.” Because
     accessibility is sometimes at odds with getting stuff published in peer-reviewed literature,
     this participant suggested various other outlets, including Web-related activities, access to
     technical reports with associated databases (e.g., via NREL), etc. A “technical working
     group” of half-a-dozen qualified individuals (perhaps set up by a group such as was
     gathered for this workshop) could perform the function of a peer review committee. It was
     suggested that the committee could even publish the review comments, allowing the work
     itself to be presented as it is.

      Another participant summed up this discussion by noting that “peer review is just a tool to
      make sure you have good science. Good science, not peer review, is what we really care
      about.”

      What are some of the specific gaps in our understanding of wind energy’s impact
      on birds and bats?
      This question yielded a wide range of responses.


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     How do birds detect turbines? There is a presumption is that it’s visual, but do they use
     sound? Under what conditions do birds not detect turbines? Are there things that can be
     done to make sounds that would help birds avoid turbines?

      When during the night do fatalities occur? Do they occur early, when birds are leaving
      habitat, during mid-stream, or when birds are putting down? Need to know more about the
      impact of weather and how birds interact with lights and objects.

     Responses: 1) We need to collect concurrent information on weather, and passage rates in
     zone of exposure and mortality. That will help us to predict weather impact. 2) Diurnal use
     should also be collected concurrently.

     Are bigger turbines necessarily betterfor birds and bats? What about lighting? Look at
     Podolsky’s Avian Risk of Collision (ARC) model determining risk of birds flying through
     different rotor swept areas. We can expect to get more definitive answers about red strobe
     lights from Paul Kerlinger’s Michigan study and from other studies; this will be very
     valuable.

      Studies ofgrouse are needed. Two participants underscored this point, citing the need to
      look at prairie grouse in particular, look at the impact of human activity on grasslands,
      other grouse habitat impact.

      We need to know more about cumulative ejfects of windfarm development.

      1) Can we start to model what would happen to bird and bat populations if we were to start
             building out wind energy potential?

      2) We should look at wind energy’s cumulative effects in the larger context - i.e., the
             impact on wildlife of all power generation technologies.

     Information about migration patterns means looking at the bigger picture.

     Some research requires a more proactive statewide approach, as opposed to project­
     specific studies. For example, it would be useful to the wind industry and consultants, as
     well as to wildlife and permitting agencies, to learn more about avian-wind interactions in
     the context of migratory behavior (e.g., use of stopover habitat). Such information would
     help agencies know what additional sitework needs to be done for a given project. People
     are already working on this (e.g., the US Geological Survey’s science support program),
     we need to help pull this together. The National Fish & Wildlife Foundation’s state
     wildlife program grant is another example (see www.nfwf.org).

      We need more controlled experiments.

      Example of an experiment to test the effect of lighting on bird impacts, where a controlled
      experiment was actually built in to a project.

      Offshore and coastal wind development should be studied.

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     We need to learn about the impact of offshore wind energy facility construction and
     operation on whales, how artificial reefs would affect marine wildlife, etc.
     So little is known about the coast (e.g., coastal Texas). It would be good to see some
     research on coastal sites.
      Other Areas of Research on Which to Focus:
         • We need more data from the Eastern US, especially about birds’ use of ridges,
            passes, gaps.
         •   Bats - Don’t forget the Bat Conservation International (BCI) research needs that
             have been identified.
         •   Crippling events and other “hidden” impacts - In the case of pesticides, for every
             bird that’s killed, at least one is sub-fatally impacted. We don’t seem to be
             measuring this for wind impacts, because it’s hidden. (Also, what about the impact
             of electro-magnetic fields on birds?)
         •   We don’t know that much about HOW birds and bats are being killed. Are they
             running into towers? Running into blades? Guy wires?

         How do we prioritize and proceed with closing the data/research gaps?

      How do we “connect the dots” and bring various research and mapping efforts together?

     Noting that “this is an ongoing process,” one participant suggested that, rather than have
     workshop participants vote on research priorities, it might be better to set up an ongoing
     committee that tracks research priorities.

     Referring again to the issue of who funds the research, a participant argued for working to
     get Federal and state governments to partner with industry to help close some of these
     research gaps.

     Who connects the dots?
     Another participant suggested that we might be able to “get smarter sooner” by looking at
     existing sources of data and how they might be tied together. With respect to the
     Appalachian ridges, for example, there are NEXRAD stations with data concurrent with
     radar studies that we’ve done already; if we can figure out how to “tie the data together,”
     maybe we can learn what we need to know without doing another year of radar studies.”
     This idea was greeted with enthusiasm, although one researcher noted that the NEXRAD
     technology has severe limitations for detecting birds, particularly in mountainous areas; it
     is more useful along coastal areas.

      The Workshop Facilitator noted that people are starting use GIS to map bird migration and
      wind resource information in some parts of the country. “The question is, who connects the
      dots?”

      One approach has been to map “areas of concern” - geographic areas where development
      either should not take place, or would require careful pre-development study to assess risk.
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      Yet focusing on “areas of concern” tends to be a somewhat piecemeal approach, and some
      environmentalists would argue for a more proactive approach.

      Audubon has introduced the “important bird areas” (IBA) concept at the state, national,
      and continental levels. Forty-six states have IBA work ongoing, and some 5800 IBAs have
      so far been identified in this country. The National Audubon Society will be able to put
      together a national picture in a few years, which will help developers plan and also bring
      stakeholders together on the ground. (In a similar vein, the state of Pennsylvania has
      started implementing IMAs - Important Mammal Areas - and other states are thinking of
      establishing them as well.)

      There are a number of people using NEXRAD to create regional maps as well as bird
      migration traffic maps for the entire US (maps showing density and direction of
      movement). There is a proposal in to the National Oceanic and Atmospheric
      Administration (NOAA) to develop a spatial model that looks at all the risk factors to
      migratory birds.

      A participant representing The Nature Conservancy reported that the Conservancy has
      invested a lot in “biodiversity areas” but that “we don’t have a good handle on bird and bat
      ‘fly-ways’ or movement corridors. It isn’t the wind industry’s job to do this, but we need to
      close that gap.”

      The group concluded that it is the NGOs that are taking the lead in coming up with the
      information—e.g., population numbers from IBA programs, the Natural Heritage Program
      (now NatureServe), the Nature Conservancy’s biodiversity programs. These are the dots
      that need to be connected, and a lot of that information is starting to come together.


                    What are the Critical Questions We Need to Answer?

      Given gaps in the data, what are the critical questions we need to answer to make project
      decisions now? How do we track/influence the policies that will shape wind energy
      development?

     Noting that “we’ll probably never have all the information we need,” a participant asked,
     “How do we react to wind development decisions that need to be made, given that there
     are and will always be gaps? What is an acceptable risk? Is it the same for all species?
     What are the questions we need answered to make project decisions?”

     Another participant reminded the group that, from the industry’s standpoint, the question
     of bird and bat mortality is just one of the risks to be considered. How do we balance the
     need to assess the potential risk to birds and bats with developers’ need to “cap” or
     somehow manage the risk of having to shut down turbines once they are up and operating?

      Areas of agreement
      Workshop participants agreed that, among the human activity-related threats to birds and
      bats, wind energy is at the margin. Nevertheless, it is important to understand where on the
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      margin it is. Other areas of agreement included:

         • Need to address site selection criteria as well as guidance on site development.
         • Need to be prepared with reasonable, practical protocols for studying proposed
             offshore sites.
         •   Research information needs to be both credible and readily available.
         •   Both habitat loss and mortality matter.
         •   There is a need for tools, techniques, metrics to address bats
         •   Do we need to develop a national strategy?




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                CONCLUDING OBSERVATIONS AND NEXT STEPS
     The Workshop concluded with a discussion led off by David Blockstein of the National
     Council for Science and Environment. Facilitator Abby Arnold then asked Workshop
     participants to brainstorm suggestions for next steps.


                                    Concluding Observations

                           Discussion led by David E. Blockstein, Ph.D.
                           National Councilfor Science and Environment

     Reconciling wind energy development with minimizing impact on birds and bats: a
     tractable problem
     Dr. Blockstein began the discussion by offering some observations about the state of
     conversation and collaboration among the participants of the Wind Energy and Birds/Bats
     Workshop. Having commended the participants on engaging in this process, and having
     noted that all aspects of the issue were represented and that everyone seemed committed to
     working together in good faith, Dr. Blockstein observed that the group seems to be at a
     good point because there has been some development of wind energy that has allowed an
     assessment of its potential and its potential problems. Where research has been done, it
     generally has been conducted carefully. He noted that, even at places such as Altamont
     Pass and Mountaineer where excessive mortality has occurred, it appears to be related to
     specific turbines. Thus with additional analysis, the community may be able to pinpoint
     causes of avian mortality at Altamont Pass and Mountaineer and thus be able to determine
     ways to prevent future incidents there and elsewhere. Given these observations, Dr.
     Blockstein expressed the opinion that the challenge of how to move forward with wind
     power development while minimizing impacts on birds, bats and other wildlife is “very
     tractable.”

     How do we create a process to do move the science forward in a productive way?
     Dr. Blockstein suggested an alternative approach to simply prioritizing the list of research
     needs brainstormed by the group. The National Council for Science and Environment
     (NCSE) received funds in 2001 to put together a National Commission on Science for
     Sustainable Forestry (NCSSF). NCSSF is a results-oriented program with a mandate to
     provide practical information and approaches that serve the needs of forest managers,
     practitioners and policymakers. The program’s mission is to improve the scientific
     basis for the development, implementation, and evaluation of sustainable forestry in the
     United States. This commission consists of a science panel as well as a stakeholder panel
     including a State forester and representatives of the US Forest Service, industry, and
     environmental NGOs. Dr. Blockstein noted that the group has been able to identify the key
     issues around sustainable forestry and the state of science to date, and to make a plan for
     what can practically be done to improve sustainable forestry within a five-year time frame.
     The Commission has received foundation funding that it has re-granted on a peer-reviewed
     basis to research, synthesis and tool-development projects with a goal of providing the
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      knowledge to improve management on the ground (see www.ncse.org/ncssf).

     Dr. Blockstein emphasized that he was not implying that this example was a perfect
     analogue for the challenge facing the wind/avian parties. His primary point was that
     workshop participants had already come together as individuals, and that they may want to
     work on formalizing their relationship - perhaps by creating a partnership to meet the
     research needs discussed and to move forward to provide the basis for wind energy that
     does not cause problems for wildlife.

     Facilitator Abby Arnold noted that the NWCC Wildlife Workgroup provides some of the
     role that Dr. Blockstein described. However, she said it may need to be more formalized
     and that environmentalists should be more involved than they are at the moment.
     Nevertheless, the NWCC Wildlife Workgroup could provide the framework for doing this
     although research funding would have to be sought via other avenues.


                                              Next Steps

                              Brainstorming Session led by Abby Arnold,
                                           RESOLVE, Inc.
      The following ideas were suggested by participants as follow -up actions to carry forward the
      WORK presented AND DISCUSSED AT THE WIND ENERGY BIRDS/BATS WORKSHOP.


         •   Synthesize existing research/information.
         •   Synthesize “on-the-ground”/cutting edge and new research/information.
         •   Develop communication tools for the field/issue area.
         •   Organize a meeting with state wildlife departments and regulatory agencies.
         •   Potentially use NWCC Wildlife Workgroup as a platform to launch a more
             formalized internal organization process around the Wind-Birds/Bats issue:
         •   Flesh out and define parameters of research questions;
         •   Conduct analysis of gaps in research funding;
         •   Conduct analysis of state (and possibly county) level permitting
             policies/regulations to gain understanding of current wind power landscape; and
         •   Examine/analyze NGO policies to determine which organizations should work
             together on mapping.
         •   Recruit new members for the NWCC Wildlife Workgroup.
         •   Determine how funds will be generated to carry out future research, either by
             workshop participants or by a potential NWCC-affiliated group. Identify funding
             sources for this endeavor.
         •   What can this group do to influence, modify, or create state or national law and
             policies regarding the development of wind power facilities?
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         •   Facilitate interstate communication on wind-bird/bat issues between State agencies
             (wildlife, utility, regulatory).




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                           APPENDIX A: RESEARCH TOPICS


         General Tasks:
         •   Review and update NWCC methods and metrics document.
                o Add Offshore?
                o Add Newer Technologies?
         •   Work on gaining consensus regarding peer review protocols for monitoring studies.
                o What kind of “peer review” is appropriate, credible, feasible?
                         ■ Type
                                •   Methods and Protocols
                                •   Site Specific research
                                •   Long-term questions
                         ■ Location
                                •   Journals
                                •   Web (NREL, NWCC, elsewhere?)
                o Look to other models such as FIFRA.


         Existing Science Gaps and Research Questions for the Future:
         • Are newer bigger breeds of turbines “safer” for birds and bats than older smaller
             turbines?
         •   How do birds detect turbines?
         •   How/Why do birds not detect turbines?
         • Are there technological ways to help birds detect turbines?
         •   When during the night do fatalities occur: leaving, in route, putting down?
         •   How does weather, especially low ceilings, affect birds?
         •   What models are available and how can they help predict risk (e.g., Richard
             Podolsky’s Avian Risk of Collision model)?
         •   What is the relationship between nocturnal passage rates at or below turbine
             heights, weather, diurnal use and bird mortality at turbines?
         •   Direct and indirect human impacts on habitat for grassland Prairie Grouse.
         •   What are the cumulative effects of windows, buildings and other man-made
             structures on bird/bat populations? How are bird/bat populations defined?
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         •   What are the cumulative effects of wind development on bird/bat populations?
         •   What is the overall impact of all power generation technologies on wildlife?
         •   Initiate proactive state-wide survey efforts.
         •   Develop more controlled experiments on aspects such as turbine lighting and
             mitigation measures.
         •   Determining impacts of offshore wind farm construction (before, during and after)
             on whales, migrating songbirds, and bats. What is the effect of artificial reefs?
         • Analyze gaps in research funding. Which issues are being funded and how much is
             being spent by various entities/institutions?
                 o Private
                 o Federal: FWS, USGS, DOE, NOAA
                 o   States
         •   How can we compress time frame of research and still produce accurate results?
         •   Who can help connect the dots between developments and “areas of concern”?
                 o NGOs, Natural Heritage, State with TNC (diversity mapping), States,
                   Federal Gov.^ overlaying maps?
         •   Develop “red, yellow, green” areas for development at regional level.
         •   Where are the “important bird areas”? Where are the “important bat areas”?
         •   Where are the fly-ways for birds and bats?
         • Need data on diurnal and nocturnal use of ridges, passes, notches. Need data on the
             same geographic features under different weather scenarios.
         •   What is an acceptable risk in terms of bird and bat mortality? When is an estimate
             suitable?
         •   Follow-up with BCI bat research.
         •   What is the risk cap for shutting down turbines and still being financially viable?
         •   How do we measure “hidden” events (i.e. Injury/crippling of birds/bats).
         •   Is there a magnetic field around the grid of a wind farm and will it impact
             birds/bats?
         •   We need to gather more data around the coasts. What are the risks and how should
             they be assessed?
         • How exactly are birds and bats being killed?
         •   Develop Risk Assessment model.



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                      APPENDIX B: MEETING PARTICIPANTS
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                         APPENDIX C: WORKSHOP AGENDA
      The following is the draft agenda circulated before the workshop and accepted by the
      attendees at the beginning of the workshop.

      Tuesday May 18, 2004

      7:30-8:15 am      Registration

      8:15-8:40         Introductions
                        [Tom Gray, American Wind Energy Association and Gerald
                        Winegrad, American Bird Conservancy]
                            • What are the questions that bring us to this meeting?

      8:40-8:50         Review Purpose of Meeting, Agenda, Ground Rules
                        [Abby Arnold, RESOLVE]
                           • Purpose of meeting
                           • Review agenda
                           • Review ground rules for meeting discussions

      8:50-9:40         Wind Industry Project Development
                        [Tom Gray, American Wind Energy Association and Sam Enfield,
                        Atlantic Renewable Energy Corporation]
                        Presentations 8:50-9:25
                                   ♦ State of the Wind Industry in 2004 and projected
                                      development: Where are turbines operating and
                                      planned?
                                   • Criteria which determine qualifications of candidate
                                      sites
                                   • Project and turbine design features influencing avian
                                      risk

                         Questions and Answers 9:25-9:40

       9:40-10:45       Pre-Development Project Risk Assessment
                        [Andy Linehan, CH2MHill and Dick Curry, Curry & Kerlinger]
                        Presentations 9:40-10:30
                           • Practices and methodologies for assessing risk to birds and bats
                               at candidate project sites.
                           • Examples of predevelopment siting evaluation requirements set
                               by states or federal agencies.

                        Questions and Answers 10:30-10:45

      10:45-11:05      Break
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      11:05-12:00pm    Monitoring Wind Turbine Project Sites for Avian Impacts.
                       [Wally Erickson, West, Inc.]
                       Presentation 11:05-11:35
                        • How many existing wind energy projects are or have been
                           monitored for avian impacts? Are there case examples of
                           requirements for such monitoring? options for how to design and
                           implement scientifically sound monitoring programs for avian
                           mortality--how is monitoring conducted (frequency, duration, time
                           of year), and are results made public?
                        • Metrics for measuring impacts.

                       Questions and Answers 11:35-12:00

      12:00-12:30      Lunch

                       12:30-1:00Lunch Speaker and Discussion: Why Avian Impacts Are
                       A Concern In Wind Energy Development.
                       [Gerald Winegrad, American Bird Conservancy]

      1:00-1:45        What Can We Learn From Areas That Have Been Developed I
                       Altamont Wind Resource Area
                       [Carl Thelander, BioResource Consultants]
                        Presentation 1:00-1:30
                        • What does the existing science tell us about wind turbine impacts
                           to birds at Altamont: mortality, avoidance, direct habitat impacts
                            from terrestrial wind projects, species and numbers killed, per
                           turbine rates/per MW generated, impacts to listed T& E species
                            and U.S. FWS Birds of Conservation Concern, and California
                            listed species?
                        • How is avian habitat affected at Altamont, and do birds avoid
                           turbine sites? Are birds being attracted to turbine strings?
                        • What factors contribute to direct impacts on birds by wind turbines
                            at Altamont? How do use, behavior, avoidance and other factors
                            affect risk?

                        Questions and Answers 1:30-1:45




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      1:45-2:30        What We Can Learn From Areas that Have Been Developed II
                       Direct Impacts to Birds at New Generation Wind Plants Outside of
                       California
                       [Wally Erickson, West, Inc.]
                        Presentation 1:45-2:15
                        • What does the existing science tell us about land-based wind
                           turbine impacts to birds outside of California: mortality,
                           avoidance, direct habitat impacts from terrestrial wind projects,
                           species and numbers killed, per turbine rates/per MW generated,
                           impacts to listed T& E species and U.S. FWS Birds of
                           Conservation Concern, and state listed species?
                        • What factors contribute to direct impacts on birds by wind
                           turbines? How do use, behavior, avoidance and other factors
                           affect risk?
                        • Are there sufficient data for wind turbines and avian impacts for
                           projects in the eastern U.S., especially on ridge tops?
                        • Regional Factors Affecting Impacts (California, Northwest, Mid­
                           west, East)
                                      o Habitat, use, behavior, and other differences.
                                      o State of data about direct wind impact on birds in
                                          different regions.

                       Questions and Answers 2:15-2:30

      2:30-3:15        Indirect (non-fatality) and 1333633430395
                                                             Impacts on Birds from Wind
                       Development
                       [Dale Strickland, West, Inc]
                        Presentation 2:30-3:00
                        • How is avian habitat affected, and do birds avoid turbine sites?
                        • Discussion of impacts from habitat fragmentation, disturbance, and
                           site avoidance from wind turbines, roads, transmission facilities,
                           and other related construction.
                        • How is avian habitat affected, and do birds avoid turbine sites?
                        • Do birds habituate to the presence of turbines?
                        • Regional Factors Affecting Indirect Impacts (California,
                           Northwest, Mid-west, East)
                                      o Habitat, use, behavior, and other differences.
                                                 o State of data about indirect wind impact
                                                     on birds in different regions
                                                 o Species specific differences

                       Questions and Answers 3:00-3:15

      3:15-3:30        Break
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      3:30-4:30        Offshore Wind
                       [Jette Gaarde, Elsam Engineering and Bonnie Ram, Energetics]
                        Presentations 3:30-4:15
                      • Summary of existing studies from operating wind turbine projects in
                         Denmark, including birds, fish and mammals; Lessons from offshore
                         developments in Europe
                      • Brief update on current permit applications in the US for offshore
                         wind projects; Lessons in Europe that may be applied in the US

                       Questions and Answers 4:15-4:30

      4:30-5:45        Bat Ecology Related to Wind Development and Lessons Learned
                       About Impacts on Bats from Wind Development
                       [Tom Kunz, Boston University and Greg Johnson, West, inc.]
                        Presentations 4:30-5:30
                        • Lessons learned about direct and indirect impacts on bats.
                        • What is planned to address these issues?
                        • What does the existing science tell us about land-based wind
                           turbine impacts to bats: mortality, avoidance, direct habitat
                           impacts from terrestrial wind projects, species and numbers killed,
                           per turbine rates/per MW generated impacts to listed T& E
                           species?
                        • Is there sufficient data for wind turbines and bat impacts for
                           projects in the eastern U.S., especially on ridge tops?
                        • What does the existing science tell us about off-shore wind turbine
                           impacts to bats: mortality, avoidance, direct habitat impacts from
                           off-shore European wind projects? What lessons learned in
                           Europe can be applied to the U.S.

                        Questions and Answers 5:30-5:45

      5:45-6:30        What Do We Know About Cumulative or Population Impacts?
                       [Paul Kerlinger, Curry & Kerlinger, Al Manville, U.S. Fish and
                       Wildlife Service, Bill Kendall, U.S. Geological Service]
                        Presentations 5:45-6:00
                        • What is currently known?
                        • What laws apply?
                        • Usefulness of population modeling
                        • What sources of mortality should be included in cumulative
                           impacts?
                        • Comparison of impacts from different modes of energy generation
                        • Beyond birds and bats
                        • What is needed?

                       Questions and Answers 6:00-6:30
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      6:30-8:00      Adjourn to Reception/Dinner
      Wednesday May 19, 2004

      8:30-9:15am      Observations, Insights, Questions from Day One
                       [Abby Arnold, RESOLVE, facilitated group discussion]

      9:15-10:15       Avian Migration and Implications for Wind Power Development in
                       the Eastern U.S.
                       [Sarah Mabey, North Carolina State University and Brian Cooper,
                       ABR, Inc.]
                       Presentations 9:15-10:00
                       • What do we know about avian migration, particularly in the Eastern
                           U.S.?
                       • Summary of radar studies at wind sites in the Eastern U.S.
                                  o Mount Storm
                                  o Clipper Wind
                                  o Others

                       Questions and Answers 10:00-10:15

      10:15-10:45      What Have Studies of communications Towers Suggested
                       Regarding the Impact of Guy Wires and Lights on Birds and Bats?
                       [Paul Kerlinger, Curry & Kerlinger]
                        Presentation 10:15-10:30
                        • Lessons learned from communication towers about guy wire and
                           light impacts on birds and bats and other issues.

                        Questions and Answers: 10:30-10:45

      10:45-12:15pm    Avoiding, Minimizing, and Mitigating Avian and Bat Impacts
                       [Carl Thelander, BioResource Consultants, Paul Kerlinger, Curry &
                       Kerlinger]
                       Presentations 10:45-12:00
                       • What Have We Learned About:
                              o Location/Siting Evaluations to Minimize Avian and Bat
                                  Impacts
                              o Construction and Operation
                              o Lighting
                              o Alignment of facilities
                       • What Have We Learned From Operating Turbines and Mitigation
                          Of Impacts Where Unavoidable: Altamont Experience?
                       • Where Impacts Occur, Should There Be Mitigation Measures Such
                          As Habitat Creation, Land Conservation, etc.

                         Questions and Answers 12:00-12:15
      WIND Energy & Birds Bats workshop Proceedings                            Appendix C



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      12:15-1:30        Lunch

      1:30-2:30        Development and Application of Guidelines for Siting,
                                Constructing, Operating and Monitoring Wind Turbines
                       [Al Manville, US Fish and Wildlife Service and Greg Hueckel WA
                       Department of Fish and Wildlife]
                       Presentations: 1:30-2:15
                       • An examination and comparison of the U.S. FWS Voluntary
                           Guidelines (May 2003) and the Washington Department of Fish and
                           Wildlife Guidelines (August 2003) for wind projects.
                       • Is there a need or desire for uniform national or state criteria?
                           Should there be uniform requirements/guidelines/check-lists for the
                           siting, operation, monitoring, and mitigation to prevent/minimize
                           avian, bat and other wildlife impacts? Why or why not?

                       Questions and Discussion 2:15-2:30

      2:30-2:45      Break

      2:45-5:00        Outstanding Research Needs
                       [Tom Kunz, Boston University and Group Discussion]
                       • What are the outstanding research needs that need to be addressed?
                       • Is there a need for continued sharing on information/research on
                          wind energy and avian and bat impacts? How should we continue
                          this dialogue?

      5:00-5:30        Break for Good Food and Beverages

      5:30-6:30        Summation
                       Where can we agree?
                       • What are the avian and bat impacts from wind energy?
                       • What can be done to prevent or at least minimize avian and bat
                         impacts from wind energy
                       • What are remaining issues to be resolved or addressed?
                          o How do we propose to address these issues?

      6:30-7:00        Next Steps
                       • In light of the discussion throughout the two days, are there items
                          we should pursue collectively?
                       • What are the NWCC plans for additional collaborative work and
                          where do the issues we have discussed fit in?

      7:00pm           Adjourn Meeting



      WIND Energy & Birds Bats workshop Proceedings                                Appendix C



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 Modernizing Federal Forest Management To
 Mitigate and Prepare for Climate Disruption:
  Science-based Recommendations to The Obama Administration in
  Response to The President’s November 1, 2013 Executive Order:
   Preparing the United States for the Impacts of Climate Change




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    Ernie Niemi, Economist with Natural Resource Economics Inc. and Co-Chair FFCC
  Jim Furnish, Former Deputy Chief of the Forest Service and Senior Advisor to the FFCC




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       Modernizing Federal Forest Management To
       Mitigate and Prepare For Climate Disruption
      Science-based Recommendations to The Obama Administration in Response to
                   The President’s November 1, 2013 Executive Order:
               Preparing the United States for the Impacts of Climate Change

   The Federal Forest Carbon Coalition (FFCC) is a first-of-a-kind consortium of national,
   regional, and local organizations that believe the management of federal forests must be
   reoriented and modernized to emphasize stabilizing the climate and preparing for climate
   change and other natural disturbances. FFCC members are focused on forests, biodiversity,
   fisheries, rivers, faith and spirituality, Native American treaty rights, youth, rural
   communities, and climate disruption.

   In this document, the FFCC members listed on page 5 offer recommendations on the
   policies, programs, regulations, and practices that the Departments of Interior and
   Agriculture and other federal forest management agencies should adopt to meet the goals
   of President Obama’s Climate Action Plan of June 2013, and the requirements of President
   Obama’s Executive Order 13653, of November 1, 2013: Preparing the United States for the
   Impacts of Climate Change. The FFCC’s recommendations specifically focus on the EO’s dual
   requirements that federal agencies: a) “^complete an inventory and assessment of
   proposed and completed changes to their land- and water-related policies, programs, and
   regulations necessary to make the Nation's watersheds, natural resources, and ecosystems,
   and the communities and economies that depend on them, more resilient in the face of a
   changing climate^”; and b) “^focus on program and policy adjustments that promote the
   dual goals of greater climate resilience and carbon sequestration, or other reductions to the
   sources of climate change.”

   The FFCC commends President Obama for issuing the Executive Order. It is very timely
   because federal forests can and must play an important role in responding to the urgent
   needs—described in this year’s reports from the U.S. National Academy of Sciences, the
   Intergovernmental Panel on Climate Change, and the National Climate Assessment—for (i)
   large and rapid reductions in greenhouse gas emissions to prevent runaway climate
   disruption and (ii) increased resilience to climate impacts. Federal agencies have taken
   some positive steps to address these needs by, for example, quantifying some carbon stocks
   and analyzing changes in carbon held in federal forests. However, assessing carbon is not
   sufficient. The agencies must quickly and definitively elevate their efforts to the scale of the
   climate crisis by amending existing policies, programs, and regulations and adopting new
   ones to reduce the sources of climate change and increase resilience to climate and other
   natural disturbances, as the President’s Executive Order requires.


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   The necessity for new forest-management regimes to satisfy the requirements expressed in
   the President's Executive Order is also great because most of the policies, programs and
   regulations that shape the management of federal forests were adopted well before the
   risks of runaway climate change were so well understood. Consequently, many either offer
   little direction for how federal agencies should manage forests to minimize the release of
   carbon emissions and prepare for climate impacts, or promote activities that produce the
   opposite effects, contrary to the goals of the President's Executive Order. In addition, many
   of the tools used by, as well as the training and expertise of most of the personnel of federal
   forest management agencies, reflect conditions that existed prior to today's understanding
   of the climate crisis. This has led many agencies to apply timber management principles
   and practices to carbon management, when in fact they are very different issues that
   require a different mindset, goals, policies, regulations, programs, and management tools.

   Similarly, many commercial, recreational, and other uses of federal forests were
   established before the risks of runaway climate disruption became well-known.
   Consequently, many uses and practices often exacerbate rather than diminish these risks.
   For the sake of the current and all future generations, it is essential to rapidly modernize
   the way federal forests are managed and utilized to reduce the profound ecological,
   economic, and social risks associated with uncontrolled climate disruption.

   The FFCC recommendations are framed around six interrelated goals that we believe offer
   an appropriate set of organizing principles for modernizing federal forest management in
   an era of climate change, now and in the future. We believe these goals and principles are
   fully consistent with the suite of existing laws that govern federal forest management:

    I. Recognize carbon as a significant public resource and establish carbon and
         climate change-centered goals for all decisions affecting federal forest management.
    II. Maintain the existing stocks of carbon on federal forests, including carbon in live and
         dead materials, above and below ground.
    III. Increase the amount of carbon stored on federal forests.
    IV. Enhance, consistent with goals I, II, and III, the resilience of federal forests to climate
         change-related and other natural disturbances.
    V. Generate social, economic, and ecological co-benefits consistent with goals I, II, III, and IV.
    VI. Fully account for the benefits and costs of any decreases or increases in atmospheric
         carbon dioxide and other greenhouse gases in all forest-related policies, programs,
         regulations, and development proposals.

   The FFCC encourages CEQ and OMB to use our recommendations to evaluate the proposals
   put forward by the Departments of Interior and Agriculture, and all other federal forest
   management agencies. Whenever an agency's proposals differ from the FFCC's
   recommendations, the FFCC recommends that CEQ and OMB require the agencies to
   produce comprehensive, transparent scientific and economic analysis demonstrating the
   validity of and factual basis for their alternative approach. These steps will lay a solid
   science-based foundation for accomplishing the President's substantive objectives of
   reducing the risk of runaway climate change, and will also help establish the leadership of
   the President and the Executive Branch globally in addressing the climate crisis.


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                           Summary of FFCC Recommendations

   The FFCC recommends that The White House and all federal forest management agencies
   adopt the following goals, policies, regulations, and practices:

   Goal I: Recognize Carbon As A Significant Public Resource and Establish Carbon and
           Climate Change?Centered Goals For All Decisions Affecting Federal Forest
           Management.

   Goal II: Maintain the Existing Stocks of Carbon on Federal Forests, Including Carbon in
            Live and Dead Materials, Above and Below Ground

   Specific Recommendations:

      A. Permanently withdraw high5biomass forested areas nationwide from further
         commercial timber harvest and other development activities.

      B. Authorize commercial timber harvest and other development activities in other
         mature forests only when analysis shows the carbon benefits exceed the full costs
         over the mid5term (i.e. 20540 years).

      C. Establish in planning rules a requirement to designate and conserve forested areas
         with higher than average carbon biomass.

   Goal III: Increase the Amount of Carbon Stored on Federal Forests

   Specific Recommendations:
      A. Prevent management activities, including but not limited to timber harvests that
         would reduce increases in carbon stocks on a federal forest.

      B. Increase the carbon stored on federal forests by reducing human disturbances.

   Goal IV: Enhance, Consistent with Goals I, II, and III, The Resilience Of Federal Forests
            To Climate Change?Related and Other Natural Disturbances

   Specific Recommendations:
      A. Use principles of conservation biology as the basis for increasing the resilience of
         federal forests, including restoration of more natural fire regimes in mesic and xeric
         forests, away from human habitation and infrastructure.

      B. Where needed, prioritize forest thinning in the immediate vicinity of human
         habitation and infrastructure and avoid thinning elsewhere unless analysis shows
         net carbon benefits, over the mid5term (i.e. 20540 years).



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      C. Prohibit the burning and salvage logging of dead wood in high biomass and mature
         forests.

      D. Place a 55year moratorium on new leases for fracking for oil and natural gas on
         federal forests to allow for an assessment of hydrofracking consequences and the
         values at risk on our national forests.

      E. Deny proposals to extract biomass for energy or to harvest timber for wood products
         unless analysis shows net carbon benefits over the mid5term (i.e. 20540 years).

      F. Significantly reduce carbon emissions generated by the use of fossil fuels in forest5
         related activities.

   Goal V: Generate Social, Economic, and Ecological Co-Benefits Consistent With Goals I,
           II, III, and IV.

   Specific Recommendations:

      A. Increase the supply of ecosystem services compatible with storing carbon on federal
         forests.

      B. Promote carbon5conservation and restoration jobs consistent with climate and
         ecological goals.

      C. Realign forest5related payments to local governments to reflect the direct value of
         storing carbon and the value of the co5benefits of other ecosystem services provided
         by forests.

   Goal VI: Fully Account For The Benefits and Costs of Any Decreases or Increases in
            Atmospheric Carbon and Other Greenhouse Gasses In All Forest-related
            Policies, Programs, Regulations, and Practices.

   Specific Recommendations:

      A. Publicly and consistently highlight the need to alter federal forest policies and
         management to reduce the risks of climate change.

      B. Invest in and build the capacity of federal forest management agencies to
         understand the science and manage for carbon storage and climate resilience.

      C. Require scientific, comprehensive, transparent analysis of the ecological, social, and
         economic costs of changes in carbon due to all management activities before
         approval.




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               FFCC*Member Organizations*Endorsing These*Recommendations

   Southeast Alaska Conservation Council
   Natural Resources Defense Council
   Interfaith Moral Action on Climate
   Kids Vs. Global Warming/I Matter
   Virginia Forest Watch
   American Bird Conservancy
   Geos Institute
   Great Old Broads for Wilderness
   Colorado Mountain Club
   Oregon Wild
   The Resource Innovation Group
   National Sierra Club
   Glacier Climate Action
   Conservation Northwest
   North Cascades Conservation Council
   Klamath5Siskiyou Wildlands Center
   Southern Oregon Climate Action Now
   Los Padres ForestWatch
   The Coast Range Association
   The Tribal Environmental Policy Center
   Klamath Forest Alliance
   Epic5Environmental Protection Information Center
   High Country Conservation Advocates
   Western Watersheds Project
   Center for Rural Affairs
   RESTORE: The North Woods
   Swan View Coalition
   Umpqua Watersheds
   South Umpqua Rural Community Partnership (SURCP)
   Pacific Rivers Council
   Mid Klamath Watershed Council
   Cascadia Wildlands
   Utah Rivers Council
   The Clinch Coalition
   Hells Canyon Preservation Council
   Rock Creek Alliance
   Save Our Cabinets
   The Wildlife Center
   Golden Eagle Audubon Society
   WildEarth Guardians
   Forests Forever
   Sheep Mountain Alliance
   San Luis Valley Ecosystem Council
   Western Colorado Congress
   Snowriders International
   EcoFlight




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                      Federal Forest
                        Carbon Coalition ±



   Modernizing Federal Forest Management
 To Mitigate and Prepare For Climate Disruption
      Detailed Recommendations to The Obama Administration
              From The Federal Forest Carbon Coalition




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   Goal I:    Recognize Carbon as a Significant Public Resource and Establish
              Carbon and Climate Change?Centered Goals for All Decisions
              Affecting Federal Forest Management.

   Recent reports by the National Academy of Science, Intergovernmental Panel on Climate
   Change, and the U.S. Global Change Research Program make clear that climate change is
   already having significant impacts in the U.S., and that major rapid changes are needed to
   reduce the risks of runaway climate change. Because federal forests store large amounts of
   carbon, and managerial decisions for these forests can determine how well they continue to
   play this vital role, all federal forest management agencies should be required to recognize
   carbon as a significant public resource and adopt clear carbon and climate change5centered
   goals.

   The FFCC therefore recommends that the Departments of Interior and Agriculture and all
   other federal forest management agencies adopt goals to maintain existing carbon stocks
   while also increasing carbon stored, especially where it is harmonious with other multiple5
   use objectives, such as clean water, high quality habitat for fish & wildlife, recreation, and
   scenic values. These goals should direct forest management agencies to do whatever is
   possible to harmonize carbon storage and climate resilience, resolving conflict in favor of
   carbon storage because uncontrollable climate change will overwhelm resilience measures
   while causing devastating impacts for all of humanity, now and in the future.




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   Goal II:       Maintain the Existing Stocks of Carbon on Federal Forests,
                  Including Carbon In Live and Dead Materials, Above and
                  Below Ground


   A. Permanently Withdraw High-Biomass Forested Areas Nationwide From Further
      Commercial Timber Harvest and Other Development Activities.

   Runaway climate change will eventually devastate the U.S. and global economy and
   diminish the resilience of federal forests. To reduce these risks, quick and decisive action is
   needed to prevent, whenever feasible, the release of carbon into the atmosphere. Federal
   forests must be a core element of this action. The National Forests, alone, currently hold
   more than 10 billion metric tonnes of carbon. Research suggests that, if managed
   appropriately, the nation’s terrestrial ecosystems could offset as much as 40% of these
   emissions.1 While this total includes agricultural and other lands, the FFCC will limit its
   recommendations to federal forests.

   A vital, early action needed to reduce carbon emissions is to prevent, whenever
   feasible, the release of stored carbon on federal forests. The largest amount of carbon on
   federal forests is found in high5biomass forests, as defined by Krankina et al.2 Protecting
   high5biomass forest areas is an essential starting point for any scientifically credible forest
   response to the President’s Executive Order 13653.

   The FFCC specifically recommends that all federal forest management agencies
   immediately withdraw all high5biomass forests on federal lands from further commercial
   timber harvest, road building, post5fire logging, and other development activities. Agencies
   should use the definition and process described by Krankina et al. to identify these areas. 3

   B. Authorize Commercial Timber Harvest and Other Development Activities in Other
      Mature Forests Only When Analysis Shows The Carbon Benefits Exceed the Full Costs
      over the mid-term (i.e. 20-40 years).

   Mature forested areas, as defined by federal forest management agencies, also provide
   opportunities for maintaining carbon stocks on federal lands. The release of carbon from
   these areas must also be avoided. The FFCC therefore recommends that commercial
   harvest, road building, and other development activities should be avoided in moist mature
   forests, and authorized in other forests only after federal agencies have completed
   scientific, comprehensive, transparent analysis that shows that the carbon benefits of the
   activities substantially exceed the costs.

   Two recent publications illustrate an approach for estimating the economic value of the
   carbon stored or emitted under forest5management alternatives. One publication estimates
   the social cost of carbon, i.e., the value of the economic damage that will result from the
   emission of one metric tonne of carbon dioxide or, conversely, the value of the damage that


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   will be prevented by sequestering the same amount.4 The mid-level estimates range from
   about $33 in 2015 to $71 in 2050 (2007 dollars).

   The second publication, by forest scientists at Oregon State University, estimates the
   amount of carbon dioxide that would be emitted or sequestered under forest-management
   alternatives for federal lands managed by the Northwest Forest Plan (NWFP).5 This
   research traced carbon stores on these lands from 1960 until the adoption of the NWFP in
   1993, and then projected carbon stores under five alternatives: industrial logging with 60-
   year rotations, logging with 120-year rotations, logging with 200-year rotations,
   conservation with the thinning and fire-management currently allowed by the NWFP, and
   conservation with current level of thinning and restoration of historical fire regimes. The
   researchers did not assess an alternative with no thinning. The modeling found that,
   through 2100, the first of the alternatives (60-year rotations) would convert the greatest
   amount of forest carbon to atmospheric carbon dioxide, and the last of the alternatives
   (thinning and fire restoration) would store the most carbon.

   The graph below shows the annual results for lands in Oregon, measured in Mg of carbon
   per hectare per year. These results, converted to the equivalent annual metric tonnes of
   carbon dioxide emitted or sequestered and multiplied by the social cost of carbon for each
   year, can support a comparison of the carbon-related social costs, or benefits, of one
   alternative versus another.




   Such a comparison would provide only an initial estimate of the carbon-related costs or
   benefits of one alternative relative to another. Additional consideration should be given to
   accounting for, even if qualitatively, major sources of uncertainty in the analysis. The
   analysis also should transparently account for other effects, such as the value of each
   alternative's effects on clean water, habitat, and other co-benefits of carbon stored by
   federal forests, as well as for effects not included in the estimates of the social cost of
   carbon. These include effects, like those associated with the acidification of freshwater and
   seawater resulting from rising atmospheric carbon dioxide levels, that cannot be
   monetized with currently available information.




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   C. Establish in Planning Rules a Process to Classify, Designate, and Conserve Forested
      Areas With High Carbon Stocks.

   The growing risks of runaway climate change mean that the long-term conservation of
   forested areas with high carbon stocks must become a top priority for federal forest
   management agencies.

   FFCC therefore recommends that a process be initiated to incorporate into planning rules a
   new land use classification that leads to the designation and permanent conservation of
   forested areas with high carbon stocks. The FFCC also recommends that a formal process
   be established to define the criteria that will be used to determine such classifications and
   to nominate forest areas that satisfy these criteria. While the criteria are being established,
   the FFCC recommends using levels above regional forest biomass averages for specific
   forest types to determine relative significance of carbon stores because similar techniques
   have been used in the literature (Krankina et al. in press). 6

   Establishing a new classification for the conservation of forested areas with high carbon
   stocks is consistent with both the National Forest Management Act (NFMA) and the Federal
   Land Policy and Management Act (FLPMA). The NFMA language (16 U.S.C. § 1603) states,
   for example, that "the Secretary of Agriculture shall develop and maintain on a continuing
   basis a comprehensive and appropriately detailed inventory of all National Forest System
   lands and renewable resources. This inventory shall be kept current so as to reflect changes
   in conditions and identify new and emerging resources and values” (italics added). The
   emergence of climate change certainly reflects new conditions and scientists have
   identified high-biomass forests as an incredibly important emerging resource and value.




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   Goal III:    Increase the Amount of Carbon Stored In Federal Forests

   A.   Prevent management activities, including but not limited to timber harvests that
        would reduce increases in carbon stocks on a federal forest.

   The FFCC strongly believes that federal forest management agencies must adopt policies,
   programs, regulations, and practices to increase carbon sequestration on federal forests
   through practices while also maintaining the existing stocks of carbon. In other words,
   actions to accelerate the sequestration of carbon from the atmosphere must not increase
   the release of carbon currently stored in the trees and soils of federal forests.

   A starting point for achieving this goal is to prevent deforestation from development
   activities, unsustainable timber harvests, and other actions that would degrade a forest’s
   ability to sequester and store carbon. The FFCC therefore recommends that policies,
   programs, and regulations be adopted to prevent deforestation resulting from road
   building, energy production, and other development activities, as well as the conversion of
   forests to pasture, or scrub lands. The FFCC opposes policies and projects that would
   reduce a forest’s capacity to sequester and store carbon.

   B. Increase the carbon stored on federal forests by reducing human disturbances.

   Older forests sequester and store additional carbon as they age. Thus, increasing rotation
   ages and lengthening the interval between commercial timber harvests will, over time,
   increase carbon stored in forests. By contrast, harvesting trees in short rotations generally
   reduces the amount of carbon held in a forest, especially when fully accounting for the
   damage to soils and biodiversity often created by heavy equipment and the emissions
   generated by the equipment and other practices associated with commercial timber
   harvest. 7

   The FFCC therefore recommends that federal forest management agencies increase forest
   growth by reducing both the frequency and intensity of human disturbances. This will also
   increase the resilience of federal forests to climate and other natural disturbances by
   increasing the diversity of vegetation and age classifications. In addition, longer rotations
   will significantly enhance ecological co5benefits such as habitat diversity and cleaner
   supplies of water and reduced risk of landslides and flooding for downstream agricultural
   and urban uses.




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   Goal IV:      Enhance, Consistent with Goals I, II, and III, The Resilience of
                  Federal Forests to Climate Change?Related and Other Natural
                  Disturbances.



   A.     Use Principles of Conservation Biology, Including Restoration of More Natural
          Fire Regimes in Mesic and Xeric Forests, As the Basis for Building the
          Resilience of Federal Forests

          Conservation biology is a "mission-oriented crisis" multidisciplinary science that has developed
          to address the loss of biological diversity (Soule 1986)

   Climate change presents a new set of challenges for federal forests that traditional forest­
   management principles and practices do not adequately address. For example, respected
   conservation biologist Reed Noss states:

          "Among the land-use and management practices likely to maintain forest biodiversity and
          ecological functions during climate change are (1) representing forest types across
          environmental gradients in reserves; (2) protecting climatic refugia at multiple scales; (3)
          protecting primary forests; (4) avoiding fragmentation and providing connectivity, especially
          parallel to climatic gradients; (5) providing buffer zones for adjustment cf reserve boundaries;
          (6) practicing low-intensity forestry and preventing conversion of natural forests to
          plantations; (7) maintaining natural fire regimes; (8) maintaining diverse gene pools; and (9)
          identifying and protecting functional groups and keystone species. Good forest management in
          a time of rapidly changing climate differs little from good forest management under more
          static conditions, but there is increased emphasis on protecting climatic refugia and providing
          connectivity." 8

   Similarly, recommendations made by the Climate Leadership Initiative at the University of
   Oregon in its 2008 Framework for Integrative Preparation Planning include 9:

          •   Reduce anthropogenic stress in anticipation of increased climate stress, which means less
              logging, less roads, less weeds, etc.
          •   In the face of uncertainty, "no regrets" decisions are preferable.
          •   Maintain diversity of native species, genes, and ecosystem composition and structure.
          •   Maintain self-organized ecosystem resilience and resistance.
          •   Maintain natural disturbance regimes such as recurrent wild fire and flood plain
              inundation.
          •   Maintain connectivity for wildlife interaction with food supply and migration to more
              suitable habitat under new climate conditions.
          •   Complementarity - this concept captures the co-benefits that climate change preparation
              strategies will create by improving wildlife habitat, biodiversity, water quality, carbon
              storage, scenic values, and other "ecosystem services."
          •   Equity should be adhered to across generations, among human communities and between
              human and natural systems.



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          •   Humility requires recognizing that interventions to prepare ecosystems for climate change
              should be informed, limited, and strategic.
          •   Abundance and redundancy will spread the risks cf habitat loss due to climate change
              spatially across landscapes.

   In many cases these principles conflict with traditional approaches to federal forest
   management. However, the risks of runaway climate change are large and growing. The
   FFCC therefore recommends that all federal forest5management agencies use the principles
   stated above, and other principles and strategies of conservation biology, as the basis for
   efforts to build the resilience of federal forests nationwide to climate change5related and
   other natural disturbances.

   B. Where Needed, Focus Fire-Related Forest Thinning in the Immediate Vicinity of
      Human Habitation and Infrastructure and Avoid Thinning Elsewhere Unless Analysis
      Shows Net Carbon Benefits over the Mid-term (20-40 years).

   The FFCC recognizes that on5going and expected future changes in climate will continue to
   increase the risk of disturbances, such as fire and insect infestation, or as more intense
   droughts and other changes in growing conditions retard the growth of or kill trees.
   Species distribution shifts are also likely in response to climate change over decades to
   centuries. In addition, the FFCC recognizes the hazards of wildfires for communities and
   essential built infrastructure, and that members of the public often have a visceral reaction
   to wildfire, especially when a fire threatens their lives or property.

   However, it is important to remember that fire has in the past and continues today to play a
   major role in maintaining forest diversity and resilience. While recent studies have shown
   an increase in the onset and length of the fire season, and in the extent of wildfires in
   certain places, some research suggests that in most locations there is an overall deficit in
   wildfire compared to historical conditions.10 In addition, as climate becomes more of a top5
   down driver of fire behavior, thinning will become less effective and will require increasing
   effort over large landscapes, thereby increasing carbon emissions above the level released
   by even severe fire.

   The FFCC therefore recommends that, as much as possible, a goal of federal forest5
   management agencies should be to avoid interfering with the return of more natural forest
   fire regimes. The FFCC also recommends that, when it is needed, forest thinning aimed at
   reducing the risk of wildfire be limited to the immediate vicinity of structures inhabited by
   people, and to critical built infrastructure where concerns about human safety and
   economic risk are greatest, reduced fuel loads are shown to impact the survival of
   structures and infrastructure, and thinning treatments can be readily maintained.

   A growing body of research has raised significant questions about the need for and the
   carbon implications of, thinning treatments. A good summary of some of these questions is
   provided below. It is excerpted from “Wildland fire emissions, carbon, and climate: Seeing
   the forest and the trees - A cross5scale assessment of wildfire and carbon dynamics in fire5



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   prone, forested ecosystems” recently published in the Journal ForestEcology and
   Management 11:

     “The stochastic and variable nature of fires, the relatively fine scale over which fuels treatments
     are implemented, and potentially high carbon costs to implement them suggest that fuel
     treatments are not an effective method for protecting carbon stocks at a stand level (Reinhardt
     et al., 2008; Reinhardt and Holsinger, 2010). For example, in fire5prone forests of the western US,
     because of the relative rarity of large wildfires and limited spatial scale of treatments, most
     treated areas will not be exposed to wildfire within the 10-25 year life expectancy of the
     treatment (Rhodes and Baker, 2008; Campbell et al., 2012; North et al., 2012). Further, some
     studies show that the difference in carbon emissions between low5severity and high5severity fire
     is small when scaled across an entire wildfire because consumption of fine surface fuels
     associated with low5severity fire occurs across broad spatial extents, while consumption of
     standing fuels associated with high5severity fires occurs in small patches within the larger
     wildfire perimeter (Campbell et al., 2012). Fuel treatments designed to reduce wildfire severity
     and wildfire5related carbon emissions have carbon costs in the form of fossil fuel emissions from
     harvesting activities, transportation of removed material, and milling waste (North et al., 2009).
     In addition, because probability of fire increases with time since fire, fires cannot be excluded
     indefinitely from fire5prone forests, and large surface and ladder fuel loads associated with long5
     unburned stands are more likely to result in high5severity wildfires and large carbon releases
     (Peterson et al., 2005; Stephens et al., 2009a). High carbon stocks resulting from fire exclusion
     and in5growth, particularly in forests adapted to frequent fire, are unlikely to be sustainable
     (Hurteau et al., 2011).

     “Fires confer ecological benefits that may (e.g., nutrient release and redistribution and
     stimulation of plant growth, increased productivity in soil systems from decomposition of
     burned material, initiation of vegetation succession and forest regeneration, increased
     availability of resources for surviving trees) or may not (e.g., increased plant species richness,
     creation of critical wildlife habitat, biodiversity and heterogeneity) be directly measurable in
     units of carbon (Habeck and Mutch, 1973; Boerner, 1982; Delong and Tanner, 1996; Hirsch et al.,
     2001; Saab et al., 2004; Turner et al., 2004; Hutto, 2008; Keane et al., 2009; Schoennagel et al.,
     2009). In addition, suppression of wildfires in fire5prone landscapes, while initially increasing
     forest carbon density (Canadell and Raupach, 2008), may increase vulnerability of systems to
     transformation; i.e., reduce resistance (Walker et al., 2004; Briske et al., 2006; Pausas and
     Keeley, 2009). Because of inherent difficulties in tracking long5term benefits of treatments,
     recent papers have suggested that we should question not how forests can be managed for
     carbon, but whether they can be managed for carbon, especially using current management
     practices (Mitchell et al., 2009; Campbell et al., 2012; Bowman et al., 2013).”

   Because scientific questions that have been raised about the degree to which forests in
   many regions of the nation are actually outside of their natural fire regime, and because
   questions have been raised about efficacy of forest thinning as a tool to reduce the risks of
   wildfire and associated loss of carbon, the FFCC recommends that fire-related thinning on
   federal forests be limited to the structure/infrastructure zone described above, with the
   goal of reducing the risks of fire to people, structures, and infrastructure and to areas
   where, and to the extent, clearly needed to preserve critical habitats or ecosystem
   components.




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   C. Prohibit The Burning and Salvage Logging of Dead Wood in High Biomass and
      Mature Forests

   While it is often assumed that salvage logging provides ecological benefits, significant
   scientific questions have been raised about the efficacy of this practice. For example, it is
   often assumed that salvage logging focuses only on dead trees. In practice, however,
   salvage logging typically includes harvesting live green trees as well, which reduces carbon
   stored on federal lands. It is often wrongly assumed that burned or other dead trees do not
   store significant carbon for long periods of time. In addition, carbon emissions are
   generated from harvesting equipment, transportation of material, milling, and wood
   waste.12 Due to the heavy equipment used, salvage logging also often damages or kills
   native seedlings, compacts and disturbs soils, releases sediment into streams, and produces
   other impacts that reduce the resilience of forests.13

   The replanting and establishment of forest monocultures also typically follow salvage
   logging. This results in conditions that are less resilient to climate change5related and other
   natural disturbances. Complex native forests that develop naturally after disturbance are
   more resilient to climate change and much more biodiverse than simplified plantations.14

   In addition, scientific questions have been raised about the effectiveness of salvage logging
   as a fuel reduction strategy because evidence indicates that it often makes forests more
   prone to damage in subsequent fires.15 For example, the 2014 report by the
   Intergovernmental Panel on Climate Change states that16:

          ... [R]educing emissions from deforestation and degradation may also yield co-benefits for
          adaptation by maintaining biodiversity and other ecosystem goods and services, while
          plantations, if they reduce biological diversity may diminish adaptive capacity to climate
          change (e.g., (Chum et al., 2011). Primary forests tend to be more resilient to climate change
          and other human induced environmental changes than secondary forests and plantations
          (Thompson et al., 2009). The impact of plantations on the carbon balance is dependent on the
          land use system they replace, while plantation forests are often monospecies stands, they may
          be more vulnerable to climatic change (see IPCC WGII Chapter 4)... Adaptation measures in
          return may help maintain the mitigation potential of land use systems. For example, projects
          that preventfires and restore degraded forest ecosystems also prevent release of GHGs and
          enhance carbon stocks (CBD and GiZ, 2011).... Forest and biodiversity conservation, protected
          area formation, and mixed species forestry based afforestation are practices that can help to
          maintain or enhance carbon stocks, while also providing adaptation options to enhance
          resilience offorest ecosystems to climate change (Ravindranath, 2007)...

   For these reasons, the FFCC recommends that salvage logging be prohibited in high5
   biomass forest areas, and allowed in other forests only after a comprehensive, transparent
   assessment shows a high likelihood that the carbon benefits of the proposed project
   substantially outweigh the costs. Such an outcome might be possible, for example, where
   salvage logging can be accomplished using horse logging or other reduced5impact
   techniques with low carbon emissions, and short hauls to a mill.




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   In addition, the FFCC recommends prohibiting the purposeful combustion of dead wood
   (slash burning) in high5biomass areas of federal forests.

   D. Place a 5-Year Moratorium on New Leases for Fracking for Oil and Natural Gas On
      Federal Forests To Allow For An Assessment Of Hydrofracking Consequences And
      The Values At Risk On Our National Forests

   The FFCC recommends that a 55year moratorium be established on new leases and renewal
   of dormant leases for the purpose of fracking for oil and natural gas on federal forests to
   allow for an assessment of hydrofracking consequences and the values at risk on our
   national forests. When a lease has already been executed the FFCC recommends that every
   possible method be used to monitor the project and to minimize the ecological impacts to
   the extent possible.

   Existing laws and policies provide sufficient foundation for this recommendation. U.S.
   Forest Service policy states that withdrawing lands from mineral leasing shall be requested
   only in circumstances where there are sensitive, unique surface resources that cannot be
   adequately protected under current public laws and federal regulations. For example, areas
   within limits of incorporated cities or wilderness areas are closed to leasing. The Federal
   Government’s Mining and Minerals Policy of 1970 states that the Forest Service is directed
   to provide commodities for current and future generations while continuing to sustain the
   long>term health and biodiversity of ecosystems. The Federal Land Policy and Management
   Act of October 21, 1976 requires that public lands be managed in a manner that will protect
   the quality of scientific, scenic, historical, ecological, environmental, air and atmospheric,
   water resource, and archeological values; that, where appropriate, will preserve and protect
   certain public lands in their natural condition; that will provide food and habitat for fish and
   wildlife and domestic animals; and that will provide for outdoor recreation and human
   occupancy and use.
   The FFCC believes these requirements provide sufficient cause55and authority55to prohibit
   future leases for fossil fuel extraction on federal forests.

   In addition, the natural gas and oil generated by fracking on federal forests constitutes only
   a tiny fraction of the energy used in the U.S. However, the risks to the climate, ecosystems,
   and biodiversity as well as the resilience of federal forests to climate related and other
   natural disturbances resulting from fracking are great. The Obama Administration will
   demonstrate its commitment to maintaining the health and resilience of federal forests and
   addressing the climate crisis by prohibiting new leases and the renewal of dormant leases
   for fracking for natural gas.

   E. Deny Proposals to Extract Biomass for Energy or to Harvest Timber for Wood
      Products Unless Analysis Shows Net Carbon Benefits over the Mid-term (20-40
      years).

   The Obama Administration has voiced a great deal of support for the idea of forest biomass
   as a source of energy that generates fewer greenhouse gas emissions than fossil fuels while


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   also providing jobs and income. Similarly, claims have been made that the use of wood for
   construction materials leads to lower carbon emissions than the use of aluminum and steel.
   However, many scientific questions have been raised about the validity of both claims and
   both run the risk of reducing the resilience of federal forests.
   The FFCC therefore recommends that scientific, comprehensive, transparent analysis of
   proposed biomass energy development and timber harvest projects intended to provide
   wood for construction be completed before any such proposals are approved. The
   assessments should unequivocally show that the carbon benefits of the proposed projects
   substantially outweigh the costs over the mid5term (i.e. 20540 years).

   In concept, harvesting and burning wood derived from certain forests as a source of energy
   could reduce fossil fuel emissions. Similarly, in concept, using wood in construction could
   lead to increased carbon stores. However, research has not substantiated these claims. To
   the contrary, a synthesis of research concluded that the benefits of logging forests for
   biomass energy or to substitute for other construction materials could be more than offset
   by reductions in stored forest carbon.17

   In addition, the carbon benefits of biomass energy would accrue only if it actually
   substitutes for fossil fuels. When the regional electrical grid already contains substantial
   amounts of clean renewable energy (e.g. wind, solar), or when biomass energy is merely
   added on to energy generated by fossil fuels rather than substituting for it, the carbon
   benefits would be small to none. 18 In addition, incentives for and investment in current,
   inherently inefficient wood burning technologies detracts from development of much5
   needed advanced clean energy sources.

   The risks of runaway climate change are now so great that the White House and federal
   forest management agencies should take a precautionary approach and make every effort
   to avoid mistakes that lead to the release of more carbon from federal forests. For this
   reason the FFCC recommends that biomass energy proposals and timber harvest for wood
   product proposals be approved only if compelling evidence is provided on a case5by5case
   basis through comprehensive verifiable scientific assessments that the projects generate
   net climate and ecological benefits over 20540 years.

   F. Significantly Reduce Emissions Generated By The Use of Fossil Fuels In Forest-
      Related Activities

   The FFCC recommends that fossil fuels used by federal forest managers, timber operators,
   recreational users, tourists, and others in conjunction with commercial and non5
   commercial activities on federal forests be substantially reduced. The combustion of fossil
   fuels associated with management, commercial, and noncommercial activities on federal
   lands contributes to climate disruption that increases the risk of large scale natural
   disturbances that undermine the resilience of federal forests. In addition, the greenhouse
   gas emissions generated by long transportation distances often associated with wood and
   pulp industries contribute to climate disruption and thus add greater risks to federal
   forests.19 The FFCC therefore believes that the social costs of carbon resulting from


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   management, commercial, and noncommercial activities on federal forests should be
   assessed through scientific, comprehensive, transparent analysis. Emissions should then be
   minimized by policies requiring a reduction in the use of vehicles and heavy equipment, a
   shift to clean, renewable fuels, the use of public transportation for recreation and other
   noncommercial purposes, and other similar strategies.




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   Goal V:      Generate Social, Economic, and Ecological Benefits Consistent
                 With the Goals I, II, III, and IV


   A. Increase the Supply of Ecosystem Services Compatible with Storing Carbon on
       Federal Forests

      Healthy forest ecosystems are ecological life-support systems. Forests provide a full suite ofgoods
      and services that are vital to human health and livelihood, natural assets we call ecosystem
      services.20

   The FFCC recommends that federal forest-management agencies acknowledge that the
   storage of carbon on federal forests provides multiple ecosystem services vital to human
   health and livelihood, and use their efforts to conserve and increase carbon stores to
   optimize the supply of compatible ecosystem services. Maintaining existing stocks of
   carbon, increasing carbon sequestration, and maintaining or enhancing the resilience of
   federal forests will have positive social and economic co-benefits by increasing the supply
   of the many critical ecosystem services associated mainly with federal forests. For example,
   conserving forests and forested areas with high carbon values can generate numerous co­
   benefits, such as habitat for wildlife, soil productivity, pollination, and clean water. 21
   Improvements in the quality of river water by protecting high biomass watersheds, for
   instance, can increase the value of water flowing from federal lands to communities
   downstream. Reforesting areas that were at one time naturally covered with trees but can
   be proven to not be naturally regenerating on their own can prevent erosion and reduce
   the risk of floods that affect ecosystems and communities downstream.

   B. Promote Carbon-Conservation and Restoration Jobs Consistent With Climate and
      Ecological Goals

   The FFCC recommends that rural economic and community development policies and
   programs be amended or adopted to expand and capitalize on opportunities to generate
   jobs and other economic benefits associated with conserving and restoring the carbon
   stored by federal forests. Most of these opportunities stem from the need to restore the
   ability of federal forests to generate the ecological, social, and economic co-benefits
   associated with carbon stores. These opportunities include, but are not limited to jobs
   associated with outdoor recreation, wildlife-viewing, fishing, tourism, stream restoration,
   and fisheries restoration on federal forests. The FFCC suggests that the Small Business
   Administration, the Economic Development Administration, and other rural development
   agencies investigate the possibility of using programs like the Business and Industry
   Guaranteed Loan Program and the Rural Economic Development Loan and Grant Program,
   and others, to achieve these ends.

   In some cases activities that maintain existing pools of carbon, increase stored carbon, and
   build the resilience of federal forests to climate and other disturbances might reduce
   timber harvest jobs. If this occurs, the White House, Departments of Interior and


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   Agriculture, and all other federal forest management agencies should acknowledge that
   these activities generate economic and social benefits for families, businesses, and
   communities locally, nationally, and globally, now and in the future. Rather than continuing
   to support logging and associated jobs that contribute to climate disruption, programs
   should be established to temporarily support timber workers financially and in other ways
   (e.g. retraining assistance) to help them make the transition to industries and jobs that are
   consistent with the goals of the President’s EO and the recommendations found in this
   document.

   C. Realign Forest-Related Payments to Local Governments to Reflect the Direct Value of
      Storing Carbon and the Value of the Co-Benefits Of Other Ecosystem Services
      Provided by Forests

   Local governments containing or adjacent to federal forests have, in recent years, received
   payments of about $4005600 million through three programs. One entails the sharing of
   revenue derived from the sale of timber and other resources. The Secure Rural Schools and
   Community Self5Determination Act (SRS) provides money to rural counties and schools
   affected by declines in timber5sale revenues. Payments in Lieu of Taxes (PILT) help offset
   losses in property taxes due to non5taxable Federal lands within their boundaries. These
   payments provide a significant portion of the budget resources for many local
   governments, but high variability in the levels of payment, and uncertainty about whether
   or not they will materialize at all, can disrupt the provision of local services. The structure
   of the payments to counties also creates incentives for local governments and residents to
   call for a commodity5based approach for managing federal forests, even if the overall costs
   to Americans as a whole outweigh the benefits.

   The FFCC therefore recommends that, if forest5related payments to counties continue, they
   should reflect the new emphasis on storing carbon on federal forests as well as the
   provision of other ecological services generated by forests. Specifically, the FFCC
   recommends that the Executive Branch draft and work diligently to secure the passage of
   legislation that would modify forest5related payments to local governments so they reflect
   the value of the services federal forests provide all Americans by storing carbon that if
   released into the atmosphere would cause harm locally, nationally (and globally) for
   centuries to come, and by generating the numerous other ecological co5benefits that
   accompany carbon storage such as habitat improvements for fisheries and other forms of
   biodiversity, enhanced water quality and quantity for downstream users, reduced risks of
   landslides and siltation, and more.


   This value is large. For example, the mid5level estimate by the Interagency Working Group
   on the Social Cost of Carbon of the monetizable damage from the emission of carbon
   dioxide is about $50 (in current dollars) per metric tonne over the next few years. This
   amount suggests that, if the 10 billion metric tonnes of carbon currently stored on national
   forests were emitted to the atmosphere, the monetizable damage would total about $2
   trillion. If even one percent of the carbon stored on federal forests were released into the


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   atmosphere each year the annual monetizable damage would be around $20 billion.
   Managing federal forests to hold onto the stored carbon helps prevent this damage. Further
   advantages would materialize from managing them to store additional amounts of carbon.
   Moreover, this number does not reflect many types of damage from carbon dioxide
   emissions, such as those associated with acidification of freshwater and seawater, nor does
   it incorporate the value of co5benefits, such as improvements in water quality, habitat, and
   recreational opportunities in mature and old5growth forests.

   Basing forest5related payments to counties on the value of the services all Americans
   receive from stored carbon and its co5benefits, would have several advantages over the
   current system. It would better reflect the true value of the federal forests and the
   importance of managing them to optimize their value. It also would provide more stable
   payments, insofar as the value of stored carbon and its co5benefits likely will not
   experience the fluctuations associated with the commodities underlying current payments.




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   Goal VI:       Fully Account For The Benefits and Costs of Any Decreases or
                  Increases In Atmospheric Carbon and Other Greenhouse
                  Gasses In All Forest?related Policies, Programs, Regulations and
                  Development Proposals.


   A. Publicly and Consistently Highlight the Need to Alter Federal Forest Policies and
      Management To Reduce The Risks of Climate Change.

   The President’s Executive Order 13653 states that the federal government must focus on
   program and policy adjustments that promote the interlinked goals of greater climate
   resilience and reductions to the sources of climate change. At present, achieving these goals
   will be difficult because few members of the general public, community leaders, forest
   users, or elected officials understand the critical role that forests in general, and U.S. federal
   forest in particular, can and must play in regulating the climate. Even many federal forest
   management agencies today believe they are responsible for developing alternatives that
   address goals for timber, listed species, water supplies, and recreation, while only
   “analyzing” the effects on climate change. Many agencies do not believe they have a
   responsibility to reduce the sources of climate change by protecting existing stocks of
   carbon, or manage for other goals described in this document.

   To meet the twin goals of reduce the sources of climate change and improve the nation’s
   resilience to climate change described in President Obama’s Executive Order, the FFCC
   therefore recommends that CEQ and all federal forest management agencies make it a top
   priority to continually apprise forest users, communities, elected officials, and all federal
   forest management agency personnel about the need to fully account for the social costs of
   carbon in all practices, programs, regulations and policies. In addition, a relentless
   education program should be instituted to let the public, commercial, and recreational
   interests know that many long5standing federal forest policies, programs, regulations,
   policies and uses must be altered to address the recommendations described in this report
   and respond to the climate crisis by leaving as much carbon as possible in the ground and
   in the foliage.

   B. Invest In and Build The Capacity Of Federal Forest Management Agencies To
      Understand The Science And Manage For Carbon Storage and Climate Resilience

   For over a century scientists have known that additional atmospheric greenhouse gasses
   would alter the Earth’s climate. However, definitive evidence of serious human5induced
   climate change has emerged in just the past few decades. Consequently, the Departments of
   Interior and Agriculture and other federal forest management agencies are in step learning
   curves about how to manage for carbon and climate disturbances. The agencies have a few
   scientists that truly understand carbon management. However, most agency scientists as
   well as management and field personnel do not have the training or expertise in this field.
   As a result, many federal forest management agencies are applying knowledge and


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   practices applicable for timber production to carbon management, as if they were the same
   thing. They are not, and the failure to grasp this and do what is needed to change the
   situation is likely to produce very serious ecological, social, and economic consequences.

   The FFCC recommends that the White House make a concerted effort to build the capacity
   of all federal forest management agencies to thoroughly understand the issues and develop
   tools to conserve existing carbon stocks while increasing carbon storage and achieve the
   other goals described in this document.

   An immediate step the Obama Administration can take is to organize scientific symposiums
   where federal agency scientists join with scientists from academic and non5profits with
   expertise in forest carbon to present and debate research with the goal of ensuring that the
   best and most recent science drives federal forest management. This action is urgently
   needed because major discrepancies exist between the science used by many federal forest
   agencies—as well as much of the science described in the forest chapter of the National
   Climate Assessment55and the scientific research on forest carbon management emerging
   from academic and non5profit researchers. In addition, in response to the risks of wildfire
   some federal agencies are proposing large5scale forest thinning projects, even though
   emerging scientific research indicates they are likely to be counterproductive. The Obama
   Administration can demonstrate its commitment to using sound science to respond to the
   climate crisis by rapidly convening symposiums to close the gap between the best5available
   science and ongoing forest management.

   In the mid5 and longer term, in addition to new policies, programs, and regulations,
   building capacity will require significant investments in new tools, substantial education
   and retraining to help existing agency personnel become carbon literate, and the hiring of
   many new employees with expertise in forest carbon conservation and management.

   C. Require Scientific, Comprehensive, Transparent Analysis of the Carbon Costs of
      Management Activities Before Approval

   Many of the recommendations described in this document include a call for
   comprehensive, transparent assessments of the full carbon costs and benefits of policies,
   programs, regulations and practices. Too often, commercial timber harvest, road building,
   and other development proposals as well as ill5informed restoration projects are approved
   because they are assumed to have little to no effect on forest carbon.

   The FFCC therefore recommends that the White House, Departments of Interior and
   Agriculture, and other agencies adopt a precautionary policy and require, as part of NEPA
   and other policies, that comprehensive, transparent analysis of the full carbon costs and
   benefits of forest5related policies, programs, regulations, and development proposals be
   completed before they are approved. This analysis should compare the proposed action
   against others, including another without it, comprehensively account for the action’s
   annual net effects on atmospheric carbon dioxide (or other greenhouse gases), and
   describe the social costs (benefits) associated with any annual increase (decrease) in


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   atmospheric carbon dioxide. This description should estimate the present value of the
   monetizable social costs and benefits of each scenario using the estimates of the
   Interagency Working Group on Social Cost of Carbon, 22 provide a detailed, qualitative
   descriptions of costs and benefits that cannot be monetized, and clearly assess the risks if
   costs turn out to be higher than expected.

   Each analysis should reflect the best available science regarding the ecological, social, and
   economic effects of carbon emitted from or sequestered by federal forests, select proper
   baseline and systems boundaries, include the social costs of carbon as determined by the
   Office of Management and Budget or other sources, and compare the effects “with and
   without” management activities such as timber harvest rather than “before or after” they
   are implemented (i.e. quantify not only how much carbon currently exists and how much
   additional carbon could be add in the absence of timber harvest and other management
   activities).

   The economic values at stake are large. For example, the mid5level estimate of the
   monetizable damage from the emission of carbon dioxide is about $50 per metric
   tonne over the next few years. This amount suggests that, if the 10 billion metric tonnes of
   carbon currently stored on national forests were emitted to the atmosphere, the
   monetizable damage would total about $2 trillion. If even one tenth of the carbon held on
   federal forests is released into the atmosphere that damage would be in the range of $200
   billion. Managing federal forests to hold onto the stored carbon helps prevent this damage.
   Further advantages would materialize from managing them to store additional amounts of
   carbon. Moreover, this number does not reflect many types of damage from carbon dioxide
   emissions, such as those associated with acidification of freshwater and seawater, nor does
   it incorporate the value of co5benefits, such as improvements in water quality, habitat, and
   recreational opportunities in mature and old5growth forests.
   Estimates of the monetizable social costs of carbon are available from the Interagency
   Working Group on Social Cost of Carbon, United States Government. 2013. Technical
   Support Document: -Technical Update of the Social Cost of Carbon for Regulatory Impact
   Analysis - Under Executive Order 12866.23 Assessments should also acknowledge the
   importance of social costs of carbon dioxide emissions that have not yet been monetized,
   such as the costs associated with acidification of freshwater and seawater.




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                                                                              Footnotes

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      Rio Grande National Forest Supervisor’s Office
      Attn: Forest Plan Revision
      1803 W. Highway 160
      Monte Vista, CO 81144

      RE: Public Comment for The Rio Grande National Forest Plan: Proposed Action,
      September 2016

      Dear Mr. Mike Blakeman and Ms. Erin Minks:

              Conejos Clean Water (CCW) thanks the Rio Grande National Forest (RGNF) and the
      United States Department of Agriculture (USDA) for the opportunity to comment on the
      Scope of Analysis for the Rio Grande Forest Plan.
              Please accept this as a formal statement of concerns and recommendation from
      CCW related to the plan. CCW is a 501(c)(3) non-profit citizens’ group, based in Antonito,
      Colorado, that is incorporated under the laws of the State of Colorado.
              CCW attended the informal meetings the past twelve months hosted by the RGNF.
      Please accept these substantive comments and incorporate into the draft forest plan for
      further public input.
              Thank you for your careful consideration of CCW’s concerns and recommendations.
      Please keep us informed of any upcoming public meetings. We can be reach via email at
      info@cccwater.org or via phone at 719.580.0920.

      Respectfully submitted,

      CCW Forest Planning Committee

     Reyes Garcia
     Reyes Garcia                   Maury Grimm                    Andrea T. Guajardo
     CCW Board Chair                CCW Board Treasurer            CCW Board Secretary

      Encl: (1) Conejos Clean Water Comments on The Rio Grande National Forest Plan:
      Proposed Action, September 2016

      cc:
      Larry Crowder - State Senator
      Ed Vigil- State Representative
      Brenda Felmlee- Representative for U.S. Congressman Scott Tipton
      Charlotte Bobicki - Representative for U.S. Senator Michael Bennet
      Cathy Garcia - Representative for U.S. Senator Cory Gardner
      Steve McCarroll - Conejos County Commissioner Board Chair




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                  Conejos Clean Water Comments on
                           The Rio Grande
                        National Forest Plan:
                          Proposed Action
                                 September 2016




          The mission of Conejos Clean Water is to build public awareness and
       encourage advocacy and education around environmental, social, economic,
               and food justice issues in the Conejos Land Grant Region.

                                  Conejos Clean Water
                                    304 River Street
                                     P.O. Box 153
                                  Antonito, CO 81120

                                 Phone: 719.580.9280
                                 Mobile: 719.580.0740
                                                                     Enclosure (1)



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                 Background of Conejos Clean Water and Relationship to Affected
                                      Environment

               Conejos Clean Water’s (CCW) relationship to the affected environment is
      associated to the long tenure of human habitation in the region. In June of 2010,
      concerned citizens incorporated into a Colorado non-profit organization called
      Conejos County Clean Water, Inc. CCW incorporated to promote awareness around
      health and environmental issues that affect residents in Conejos County, as a vehicle
      for protecting public health, and to responsibly manage natural resources. CCW is
      comprised of ranchers, teachers, small business owners, and concerned citizens.
      Since incorporating, we not do business as CCW, have a nine-member Board of
      Directors, and over 402 general members. We have expanded our mission to build
      public awareness and encourage advocacy and education around environmental,
      social, economic, and food justice issues in the Conejos Land Grant Region, which
      encompasses present day Conejos, Alamosa, Rio Grande, and Saguache Counties.
               The San Luis Valley (SLV; the Valley) in south central Colorado is one of the
      largest sub-alpine Valleys in the world, encompassing over 8,100 square miles.
      Hemmed in on the west by the San Juan Mountains, and on the east by the Sangre de
      Cristo Mountains, the SLV ranges in elevation from 7,000 to over 14,000 feet, and
      contains the headwaters of the Rio Grande River. The Rio Grande River rises in the
      San Juan Mountains to the west of the SLV, flows south into New Mexico and Texas
      and empties into the Gulf of Mexico.
               The SLV has many unique biological features, including areas identified as
      Natural Heritage areas, and is home to six endemic insect species.
               The SLV is 122 miles long and 74 miles wide. This largely agrarian and
      ranching community has a relatively stable population. Many of the residents are
      eighth-generation. The oldest Catholic parish in Colorado, Nuestra Senora de
      Guadalupe (Our Lady of Guadalupe) lies at the southern end of Conejos County.
      Conejos County and Alamosa County are part of the Sangre de Cristo National
      Heritage Area (NHA). About fifty-eight percent (58%) of Conejos County’s
      population is of Indo Hispano heritage, and pride in that heritage is evident in
      everything from the names of the rivers, mountains, and towns, to the local
      Spanish/English radio station. The median household income is less than half the
      national average at $37,357.
               The SLV is known for its potatoes and alfalfa, and grows barley, lettuce,
      wheat, peas, quinoa, and spring grains. It has been a farming and ranching
      community for over 150 years, and many residents work in agriculture, following in
      the footsteps of their parents and grandparents. Many of the farmers and ranchers
      still practice traditional methods. The SLV is the highest irrigated mountain plateau
      in the world with about 7,000 high capacity wells, over half of which are irrigation
      wells.
               The SLV contains over 5 million acres, of which 3.1 million acres—about 59
      percent—are publicly owned (Forest Service, BLM, Fish & Wildlife Service, National
      Park Service, or state). This land control configuration creates an important


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      relationship between the public and private sectors regarding air and water quality
      issues, and water and groundwater quantity issues, in the SLV.


                                Purpose and Need for Action

      CCW recognizes this is a National Forest Management Act (NFMA) and understands
      the USDA aims to formulate a plan to manage the Rio Grande National Forest,
      respectfully submitting the following comments and recommendations for
      consideration.




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                                     Ecological Resources

      Under the Strategic Domain, in all the Desired Conditions of Ecological Resources
      (Biological Diversity, Air, Timber Resources, Range Vegetation, Noxious
      Weeds, Water and Aquatic Resources, Soils and Special Forest Products), there
      is not one mention of livestock management nor logging’s potential impacts on the
      Forest’s Ecological Resources and to meet the Desired Conditions of the most
      important aspects of our National Forests.
              CCW recommends this section address livestock management/reduction by
      prohibiting over-lot grading—promoting conservation of existing soils and
      vegetation—using dust inhibitors on open ground, and evaluating potential wildfire
      and logging impacts and benefits for forest and soil health. In addition, CCW
      recommends installing PM2.5 air monitors on the southeastern most inlet to the SLV
      to monitor contaminant in migration to the SLV to achieve the Desired Conditions.
              In our region, the Mexican spotted owl (Strix occidentalis lucida) can be
      endangered by logging. In addition, the large rigs traveling up and down the Forest
      Service roads cause siltation in the streams and increase the invasibility of Noxious
      Weeds, decreasing Biological Diversity and Range Vegetation. 1
              In the Rio Grande National Forest - Assessment 5 At-risk Species - Executive
      Summary it states that the riparian damage done in the forest is attributed to
      Moose. In 2013, there were estimated 2300 Moose in Colorado, up 35% over two
      years. If that growth continued, the moose population for the entire state of
      Colorado would be around 8000. In Grand Mesa, one of the release areas, “Only 3%
      of locations [of Moose] since 2005 have been in willow or riparian areas.”2 It is
      unknown how many Moose inhabit the Rio Grande National Forest, but obviously, a
      study needs to be done. CCW is certain the riparian damage seen in the RGNF is
      mostly due to cattle, and their numbers most likely exceed 8000 head.
              An Oregon study found that, “By dispersing seeds into and throughout
      communities, livestock facilitate invasion of entire landscapes.... In addition, range
      developments such as water tanks and ponds, and the roads constructed to access
      them, act as loci for weed spread. These disturbed sites are highly invasible and act
      as conduits for invasion into surrounding communities. Given that livestock graze
      70% of the land area of the West_ and carry viable seeds for as long as ten days,
      they are undoubtedly major vectors of nonindigenous plant seeds.” The article
      concludes, “Preferential grazing of native plant species over non-indigenous species
      by livestock, combined with livestock’s disturbances of soils, microbiotic crusts,
      mycorrhizae, nutrients, and fire cycles, will likely keep these communities open to
      invasion and prevent community recovery. Not until plant communities and soils
      are allowed to recover their natural defenses such as healthy, deep-rooted native
      plants and intact microbiotic crusts will the spread and dominance of
      nonindigenous weeds in the American West be reduced or reversed.”3
              Thirty-one backcountry lakes and streams were selected in a study in
      California “that would stratify the risk based on use by backpackers, pack animals,
      commercial grazing animals, or natural unaffected wilderness areas.” The study
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      found that coliform bacteria was detected “in 14 of 31 sites (45%). Eight sites had
      high levels of coliforms. All 8 of these sites correlated with heavy human use or
      commercial grazing. Coliforms were identified as Escherichia coli. In addition, 1
      sample contained Yersinia entercolitica. All samples contained expected amounts of
      normal aquatic bacteria, including Pseudomonas spp, Rahnella aquatilis, Serratia
      spp, and other nonpathogenic species of Yersinia in concentrations of 600 to 10 000
      colony-forming units per 100 mL. The study concluded that “coliform bacteria were
      found at nearly half of the sampling sites. High coliform levels correlated with high-
      impact human use or cattle grazing.”4
             Regarding soil, “Cows are important agents of geomorphological change. On
      the uplands, heavy grazing compacts the soil, reduces infiltration, increases runoff,
      and increases erosion and sediment yield. However, light and moderate grazing
      have effects that are much less significant. In riparian zones, grazing decreases
      erosional resistance by reducing vegetation and exposing more vulnerable
      substrate. Trampling directly erodes banks, thus increasing turbulence and
      consequent erosion.” 5

            CCW would also like to let the USDA know that soils in the area are shallow.
      Some residents experience sand and dust blowing around and near the forest. CCW
      maintains that soil health is of utmost importance in the SLV. Additional
      recommendations regarding soils are as follows;

             •      Prohibit a loss of remaining soil structure by using advanced soil
             structure by using advanced soil mitigation techniques including carbon-
             capture mechanisms.

             •    Prohibit typical over-lot grading (100% soil disturbance) and
             promote conservation of intact patches, stabilizing disturbances
             immediately, and conserving and reusing topsoil materials immediately.

             •      Study wind, sand and dust deposits from the forest and access the
             negative impacts on the agrarian community.

             •      Promote livestock grazing that mimics ancient herds to replenish low
             lying grasslands that sequester carbon.

              Some of the plants collected for human use are also consumed by birds, wild
      ungulates and livestock. “Data from southern Colorado on overlap between summer
      cattle diets and winter-spring diets of 3 wild ungulates indicate dietary overlap of
      52% for cattle and elk as opposed to 25% for cattle and mule deer and 18% for
      cattle and pronghorn (Bailey and Cooperrider 1982).”6
              For example, up the Los Pinos, Road 118, Elderberry (Sambucus spp) thrives
      and is considered to have edible berries as well. It “is a useful range plant for
      domestic livestock but is not equally palatable during all seasons. It usually receives
      limited browsing in the spring and to a much greater extent in the late summer and


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      fall.”7 Along the roadside in 2016, which is not inhabited by Elk when the cattle are
      ranging, the berries of Sambucus racemosa were completely consumed.
               Elderberry often inhabits riparian zones, “Livestock grazing can alter
      vegetative structure and composition of riparian habitat. Overgrazing by livestock
      and big game frequently changes plant species composition and growth form,
      density of stands, vigor, seed production of plants, and insect production.”7
      Valeriana acutiloba is a medicinal plant that can be found mostly in riparian areas
      and in stream beds in the Rio Grande National Forest. “Both cattle and sheep are
      very fond of valerian at nearly any time during the summer^. Early in the season
      the flowers, leaves, and lower portion of the stem are consumed; later in the
      summer only the flowers and leaves are eaten.8 Again, along the streambeds
      adjacent to road 118, Valerian was often found with flower heads bitten off and the
      riparian area trampled and pugged by cow hooves.
               Of note, in the study on Osha (Ligusticum porteri),9 “livestock, particularly
      sheep, and big game make considerable use of this species in spring and summer.
      It is highly sought out at all dates (Hermann 1966; Kufeld and others 1973; USDA
      Forest Service 1937). Seeded areas should not be grazed for at least 2 years
      following planting. Established stands should be allowed to produce seed
      periodically, as reproduction is entirely from seed.”10 In the Research Natural Area
      on Road 118 and surrounding areas, although it appeared that the Osha was rarely
      foraged, neither by cattle or wildlife, having cattle in the RNA may be impacting
      monitoring.

       1 Livestock Impacts on Riparian Ecosystems and Streamside Management Implications... A Review, J. Boone
      Kauffman and W. C. Krueger Journal of Range Management Vol. 37, No. 5 (Sep., 1984)
      2 http://cpw.state.co.us/learn/Pages/MooseReintroductionProgram.aspx
      3"Livestock Grazing and Weed Invasions in the Arid West” by A. Joy Belsky Ph.D. and Jonathan L. Gelbard April
      2000 A SCIENTIFIC REPORT PUBLISHED BY THE OREGON NATURAL DESERT ASSOCIATION
      4"Coliform and Pathologic Bacteria in Sierra Nevada National Forest Wilderness Area Lakes and Streams”
      Robert W. Derlet, MD; James R. Carlson, PhD; Mikla N. Noponen, MD From the Departments of Internal Medicine
      (Dr Derlet), Pathology, and Medical Microbiology Lab (Dr Carlson), University of California, Davis, School of
      Medicine, Sacramento, CA; and US Indian Health Service, Tuolumne County, CA (Dr Noponen)
      5 “The cow as a geomorphic agent — A critical review”--Stanley W. Trimble, Alexandra C. Mendel
      6 FORAGE ALLOCATION FOR ELK AND CATTLE, ALLEN Y. COOPERRIDER, Wildlife Biologist, U.S. Bureau of Land
      Management,
      Denver Service Center (D-470). Building 50, DFC, Denver, CO
       7 https://plants.usda.gov/plantguide/pdf/cs_sanic4.pdf
      8 USDA Bulletin 545, IMPORTANT RANGE PLANTS: THEIR LIFE HISTORY AND FORAGE VALUE. By Arthur W.
      Sampson, Plant Ecologist, Forest Service. October 18, 1917
      9 http://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd480528.pdf
      10 http://www.fs.fed.us/rm/pubs/rmrs_gtr136_2/rmrs_gtr136_2_425_466.pdf




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                                                 Social Resources

      Under the Strategic Domain, Desired Conditions for Social Resources, Research
      Natural Areas, the Forest Plan Revision states:

      Several Research Natural Areas (RNAs) represent a variety of ecosystems in the
      Sangre de Cristo and San Juan Mountains. Ecosystems represented are typical plant
      associations that occur on the Forest, from the lowest elevations up through the
      alpine zone.

      CCW recommends this section address invasive weed management/reduction,
      recreational use, educational use, livestock grazing and logging impacts—as noted
      in Ecological Resources above—as additional means to achieve the Desired
      Conditions.

      “The prime consideration for managing RNAs is preserving natural conditions and
      processes. RNAs are protected against human activities that directly or indirectly
      modify their ecological integrity: they may serve as controls for manipulative
      research elsewhere.
              The National Forest where the RNA is located has direct responsibility for
      on-the-ground management activities in the RNA (granting access, maintaining
      gates, fencing, signage, etc.) Research, observation, and educational uses of the RNA
      are the responsibility of the US Forest Service Rocky Mountain Research Station
      within their 12-state territory.
              The overall goal of RNA management is to maintain the full suite of ecological
      processes associated with the natural communities and conditions for which the
      RNA was designed to protect. Attention is being placed on restoration of natural
      processes such as fire, and control of invasive alien species which alter the
      composition and functioning of natural communities.”1

      “Research natural areas are permanently protected and maintained in natural
      conditions for the purposes of conserving biological diversity, conducting non-
      manipulative research and monitoring, and fostering education. Research natural
      areas are managed to maintain the natural features for which they were established
      and to maintain natural processes.”2


      1 http://www.fs.fed.us/rmrs/about-mas
      2 http://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd489288.pdf




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                                        General Infrastructure

      In the draft Rio Grande National Forest Plan revision for Reservoirs and Ponds
              Drinking Water and Waste Water

             CCW recommends that in the Objectives section of the Plan revision, a high
      priority and proactive approach needs to be in place to restore/enhance riparian
      areas, with specific measurements and milestones to include livestock management,
      to address and achieve not only the Forest Wide Desired Conditions for Ecological
      Resources but the Forest Wide Goals.

             In a report from Wildlands Defense, it was found that “nearly all surface
      waters in the West are fouled with livestock wastes that produce harmful
      waterborne bacteria and protozoa such as Giardia.” 1

             And, a 1998 GAO report found that “^widespread repetition of the successful
      riparian area improvements is not likely in the foreseeable future for two primary
      reasons. First, while^. the Forest Service have issued policy statements that endorse
      restoration of riparian areas, both agencies-because of budgetary restrictions-have
      substantially reduced the number of skilled staff essential to carrying out these
      policies. Second, some of the field staff, especially at BLM, believe that if their
      proposed actions for restoring riparian areas are opposed by ranchers, managers
      will not support the field staff. Until these staffing and institutional barriers are
      overcome, the pace of riparian area improvements is likely to be slow.” It was
      recommended in the report that “[The] Forest Service should take several steps to
      enhance their riparian area improvement efforts, including establishing measurable
      goals for miles of riparian areas to be restored and measuring progress made
      toward those goals.” 2

             Roads: The road system continues to serve as adequate access for the public
      to enjoy the Forest. Road construction is limited, and the amount of reconstruction
      has decreased. Road closure is emphasized in some areas to enhance wildlife
      habitat, soil, and water resources.

             CCW recommends the Objectives section of the Plan revision address a
      method to measure and control siltation caused by heavy logging equipment to
      achieve not only the Forest Wide Desired Conditions for Ecological Resources but
      the Forest Wide Goals.


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      1 (Suk, T., J. L. Riggs, B. C. Nelson. 1986. Water contamination with giardia in backcountry areas in Proc. of the
      National Wilderness Conference. Gen. Tech. Rep. INT-212. USDA-Forest Service, Intermountain Res. Stn. Ogden,
      UT: 237-239). In addition, “Livestock grazing is the single largest contributor to non-point source pollution in
      New Mexico, accounting for approximately 15 percent of the water quality impairments statewide. (J. Rankin.
      Plan to take better care of water quality is earning accolades; conservationists disagree. Albuquerque Journal
      (May 15, 2005)).
       2 “PUBLIC RANGELANDS: Some Riparian Areas Restored but Widespread Improvement Will Be Slow”
      http://archive.gao.gov/d16t6/136218.pdf. (n.d.).




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                    Natural History and Cultural Resources Management
                       From the Perspective of Environmental Justice

      In the section of the 20-Year Plan Revision for the Rio Grande National Forest
      (RGNF) entitled “Needs for Change” (Version 7, July 2016), Assessment 13: “Social,
      Cultural and Economic Resources,” there is a quote from interviewee Dennis Lopez,
      who “stressed the need to identify land grant descendants [in order] to provide
      them with special use permits.” The “need” Mr. Lopez—a multi-generational native
      of the village of Capulin and a universally recognized as a preeminent cultural
      historian of the SLV—emphasized in the interview accurately and in very few words
      focused attention on one of the most deep-rooted yet unfulfilled aspirations of
      residents of the San Luis Valley who are, indeed, those “descendants.”1
              Because the region served by CCW is defined by the domain encompassed
      within the Conejos Land Grant in accordance with which Mexico authorized the first
      SLV settlements on the west side of the Rio Grande, and because CCW exists in large
      measure to articulate and fulfill the requirements of environmental justice, our
      officers believe the need expressed by Mr. Lopez must serve as a framework for
      conceptualizing in ideal terms how the RGNF serves the needs of those who make
      use of the RGNF for subsistence purposes.
              In general, this framework recognizes the need for continuation of traditional
      livestock grazing patterns consistent with the natural principle of transhumanism,
      which also establishes the seasonal and cultural work patterns practiced by Indo­
      Hispano ranchers. But this framework also, at least implicitly, acknowledges the
      origination of traditional subsistence practices of transhumanism in the principle of
      communal land tenure in contrast to private ownership. Thus, the issuance by the
      RGNF of the kind of “special use permits” Mr. Lopez recommended would tend not
      only to ensure the continuance of Indo-Hispano ranching traditions but would
      hopefully also tend to ensure the survival, within generations of families, of cultural
      traditions that promote healthy, life-sustaining interaction with the natural world.
              Within this framework of offering “special use permits” to descendants of the
      original land grantees, allocation of permits for livestock grazing especially—but
      also for woodcutting, hunting, fishing and other subsistence practices—would re­
      enforce the cultural practices that prove to be the most desirable in terms of
      fostering overall ecosystem health within multiple-use areas of the forest.
              It must be noted that because the rationale for offering “special permits” that
      allow these “descendants” to operate in these multiple use areas rests on principles
      of both natural (ecosystem) and cultural health and sustainability, proposals to
      create wilderness areas should not supersede the prioritizations of use outlined and
      recommended above.
              As a sidebar, we also recommend that the RGNF increase the number of
      roads that would be used for domestic wood-cutting by locals since it has been
      brought to our attention that at present motorized access to the wood-gathering
      areas is becoming more and more inadequate. Please keep in mind the protective


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      measures we outlined in Infrastructure above while accommodating the need by
      locals to utilize and access existing and new roads.


      1 http://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd480528.pdf




                                                Conclusion

      Conejos Clean Water, as an environmental, social and economic justice organization
      serving the Conejos Land Grant Region, recognizes the cultural, heritage and
      socioeconomic importance of our forests and public lands to the San Luis Valley
      communities.
             Technologies have changed and are changing. Use of the forest resources
      continue to grow as population increases and the potential and far-reaching effects
      of climate change are just now being realized.
             Within that context, we are urging a balanced approach, one that recognizes
      the human impact on these resources—the causes of water, air, soil and the
      degradation of biological diversity—not just the symptoms.




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    From:             Brady Van Matre
    To:               FS-RGNF forest plan
    Subject:          Rio Grande Travel Plan
    Date:             Tuesday, September 27, 2016 12:25:00 PM



    Dear Forest Service,

    In your considerations for the forest travel plan, please keep as mush multi-use single track and jeep
    road open as possible. Motorized recreation has been marginalized enough in this state, we have
    plenty of wilderness and no motorized land available for those who cannot share access with other
    user groups, but not near enough public access off road opportunities. Please keep our trails open.

    Sincerely,
    Brady Van Matre

    Van Matre Construction, L.L.C.
    (303)668-2222 (mobile)
    (303) 664-1264 (office)
    104 E Simpson St
    Lafayette, CO 80026
    brady1@vanmatreconstruction.com




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    From:              CTVA Action Committee
    To:                FS-RGNF forest pian
    Cc:                ctva action@q.com
    Subject:           CTVA Comments for the Rio Grande Forest Pian EIS
    Date:              Wednesday, October 12, 2016 7:57:32 PM
    Attachments:       CTVA Comments Rio Grande Forest Pian 10 12 2016.pdf



    We have assembled the following information and issues from our members and other
    motorized recreationists for the project record. We appreciate the opportunity to provide our
    comments for the Rio Grande Forest Plan EIS. We enjoy riding our OHVs on primitive trails
    and roads on all multiple-use land managed by the Rio Grande National Forest. Forest Service
    managed land provides a significant source of these OHV recreational opportunities.

    Thank you for considering our comments.

    Sincerely,

    /s/ CTVA Action Committee on behalf of our 240 members and their families and friends
                                             [1]
    Capital Trail Vehicle Association (CTVA)
    P.O. Box 5295
    Helena, MT 59604-5295



    [1]
         CTVA is also a member of Montana Trail Vehicle Riders Association (mtvra.com), Blue Ribbon Coalition
    (sharetrails.org), and New Mexico Off highway Vehicle Alliance (nmohva.org),. Individual memberships in the
    American Motorcycle Association (ama-cycle.org), Citizens for Balanced Use (citizensforbalanceduse.com),
    Families for Outdoor Recreation (ffor.org), Montana 4X4 Association, Inc. (m4x4a.org), Montana Multiple Use
    Association (montanamua.org), Snowmobile Alliance of Western States (snowmobile-alliance.org), Treasure State
    Alliance, and United Four Wheel Drive Association (ufwda.org)




                                                                                 Rvsd Plan - 00003399
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    From:               Zach Neal
    To:                 FS-RGNF forest plan
    Subject:            Rio Grande Forest Revision
    Date:               Wednesday, October 12, 2016 7:03:59 PM


    To whom it may concern,
      My name is Zach Neal and I have been coming to Creede and the Rio Grande National forest for my entire life.
    Since I was a kid I remember hiking with my family and friends on the trails surrounding our cabin. I was in town
    this past week and caught wind of the potential changes that are up for discussion regarding the mountains and areas
    surrounding this town. It caught me off guard to hear that there was even discussion about changing something that
    has been right for so many years. For generations in my family people have visited and loved every second of their
    time spent here. No one has ever rendered the idea of that maybe the forest and natural area should change. No one
    has ever said I would like to not be able to hike across that mountain or venture down to that river. This place is
    truly magical and a special place to so many that have come across it. I want to keep this place sacred as it should be
    kept. I want to bring my grandkids here in 50 years and tell them that this is how it was when I was their age. Not
    tell them that in my day, you could hike and explore as far as the eye can see, and then have to explain why no one
    is allowed on those trails or anymore or in those woods right across from the cabin. I wanted to express my feelings
    and let everyone who this may concern know that there is no reason to fix what isn't broke. This valley and the
    people that live here and visit here cherish it and love nature and everything that comes with it. We want to keep this
    place timeless and keep it the way is has been for generations before and for generations to come. I hope this helps
    and I hope this doesn't fall onto deaf ears. Please don't change rules and regulations of a place that doesn't require
    changing. Creede and the mountains that surround it are special to me and have been apart of my life for as long as I
    remember. I one day would like to share this with all of my family and pass it down for generations long after me.
    Thank you for your time.




                                                                                       Rvsd Plan - 00003400
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    From:              Travis
    To:                FS-RGNF forest plan
    Subject:           Forest Plan Revision
    Date:              Thursday, October 13, 2016 9:38:33 AM




    Comments: I support the needed change B3 to allow for more adaptive management, I support B4 management
    approaches that consider local values and partnership opportunities, I support B5, I do not support any additional
    Wilderness, I do not support any Wild and Scenic designations, I fully support the the 2012 Planning Rule approach!
    Respectfully Travis Smith

    Sent from my iPhone




                                                                                    Rvsd Plan - 00003401
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    From:               Laughlin - DNR, Amy
    To:                 FS-RGNF forest plan
    Cc:                 Linda Bassi; Suzanne Sellers - DNR
    Subject:            Scoping Materials_CWCB Instream Flow Files
    Date:               Friday,   October   21, 2016 11:24:43 AM
    Attachments:        CWCB      ISF Rio   Grande NF.dbf
                        CWCB      ISF Rio   Grande NF.pri
                        CWCB      ISF Rio   Grande NF.sbn
                        CWCB      ISF Rio   Grande NF.sbx
                        CWCB      ISF Rio   Grande NF.shp
                        CWCB      ISF Rio   Grande NF.shp.xml
                        CWCB      ISF Rio   Grande NF.shx



    Hello

    The Department of Natural Resources, including the Colorado Water Conservation Board,
    submits the attached shapefiles for the CWCB instream flow reaches that intersect any part of the Rio Grande National
    Forest.

    Please let me know if you have any questions.

    Best,
    Amy


    Amy Laughlin
    Policy Advisor
    Executive Directors Office




    P 303.866.3311 x 8671 | F 303.866.2115 | C 720.662.4778
    1313 Sherman Street, Room 718, Denver, CO 80203
    amy.laughlin@state.co.us | www.colorado.gov/DNR




                                                                                      Rvsd Plan - 00003402
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                                  United States Department of the Interior
                                                 NATIONAL PARK SERVICE
                                                 National Trails Intermountain Region
                                                   324 South State Street, Suite 200
                                                      Salt Lake City, Utah 84111


   IN REPLY REFER TO: Revision of the Land Management Plan for the Rio Grande National Forest, Colorado


   October 24, 2016

   Erin Minks
   Forest Planner
   Rio Grande National Forest’s Supervisor’s Office
   Attn: Forest Plan Revision
   1803 W. Highway 160
   Monte Vista, CO 81144

   Dear Ms. Minks,

   Thank you for the notice of intent that you are preparing to revise the Rio Grande National Forest Plan. Based on
   the information provided on the project website it would appear that the Old Spanish National Historic Trail is
   located within the northeast portion of the project area. As the federal co-administrators (alongside the Bureau of
   Land Management) we would like to request consulting party status in the forest plan revision process.

   Please don’t hesitate to contact me should you need clarification or additional information. I can be reached via
   phone (801-741-1012 ext 115), email (jill jensen@nps.gov) or the address listed above for future notices regarding
   this project.




                                                                                   Sincerely,




                                                                                   Jill Jensen
                                                                                   Archaeologist

   Cc:
   Rob Sweeten, Co-administrator Old Spanish National Historic Trail
   Bureau of Land Management
   Utah State Office
   440 West 200 South, Suite 500
   Salt Lake City, UT 84101-1345




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                                                                                        American Rivers
                                                                                        Rivers Connect Us'^
          October 25, 2016


          Rio Grande National Forest
          Forest Plan Revision
          1803 U.S. Highway 150
          Monte Vista, Colorado 81132


          To: Rio Grande National Forest Supervisor's Office
          Attention: Forest Plan Revision


          American Rivers is pleased to submit the following comments on the Rio Grande
          National Forest Plan revision.

          Qualifications and interest
          American Rivers, its partner organizations, and their members have carefully researched
          both the field and documented values of free-flowing rivers across the Rio Grande
          National Forest. They also are readily available to discuss and clarify the comments
          below, regarding management protections for potential wild & scenic rivers (w&s), and
          to provide other assistance and information as may be useful to you.

          Legal and procedural requirements
          The 2012 forest planning rule requires the forest to the eligibility of free-flowing streams
          for potential inclusion in the National Wild & Scenic Rivers System. A river is eligible if
          it is free-flowing and has at least one river-related outstandingly remarkable value of
          national or regional significance (ORVs). Segments found eligible must include a
          preliminary classification (wild, scenic, or recreational; 16 U. S. C. 1273(b), FSH
          1909.12 section 82.8).
          Chapter 80 of Forest Service Handbook (FSH) 1909.12 provides detailed guidance on the
          required inventory of eligible rivers and on interim management of those rivers to protect
          their ORVs and free-flowing nature. The forest is required to inventory all rivers named
          on a standard USGs 7.5-minute quadrangle map to determine and document their
          eligibility. In doing so, the forest must provide opportunities for public participation and
          utilize the best available scientific information. The plan must provide plan
          components—including standards and guidelines—for all eligible river corridors “to
          protect the values that provide the basis for their suitability for inclusion” in the w&s
          rivers system. Projects and activities must not adversely modify eligible rivers’ free-
          flowing character, must protect their ORVs, and must maintain their preliminary
          classification of wild, scenic, or recreational.
          We are very pleased to see that additional segments will be considered, ones that were
          not studied for the previous plan revision, and nine segments on the Baca Tract, which
          the RGNF acquired since the last revision. Streams for which conditions have changed



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      should also be identified and considered for eligibility, along with streams with unique
      ecological features as noted below. (See FHS 1909.12, section 82.2.)
      Four to five miles of tributaries to the Rio De Los Pinos are found w&s eligible in the
      Carson National Forest Plan, Environmental Assessment for Amendment 11, Appendix B
      at 201, including the Osier Fork from its boundary with the Tierra Amarilla Grant to the
      Colorado state line. The Osier Fork enters the Rio de los Pinos in Colorado, and the
      Colorado length of that stream should be evaluated for eligibility.
      Segments referenced above have numerous outstandingly remarkable values. Ibid. It is
      likely that these values also occur along the portions of these rives in Colorado.
      The forest should similarly review wild & scenic assessments and management in the
      context of similar actions and provisions already undertaken by adjacent federal land­
      management agencies including segments of streams shared with the forest.
      Also, the forest should review existing streamflow protections provided by the State of
      Colorado Stream and Lake Protection Program (instream flow water rights), and
      consider for wild & scenic eligibility streams included in that program. State instream
      flow water rights also provide new opportunities for federal-state cooperation,
      complementing and justifying w&s eligibility findings. Specific state-protected streams
      that should be considered or retained for w&s eligibility include:
              • Alamosa River headwaters
              • Alder Creek
              • Bear Creek
              • Beaver Creek
              • Cross Creek
              • East Fork Pinos Creek
              • Elk Creek
              • El Rito Azul
              • Embargo Creek
              • John’s Creek
              • Lake Fork Conejos River
              • Lost Mine Creek
              • Middle Fork Conejos River



      1 This amendment was approved January 26, 2002.



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               • Middle Fork Saguache Creek
               • North Fork Conejos River
               • North Fork Saguache Creek
               • Pinos Creek
               • Saguache Creek
               • South Fork Camero Creek
               • South Fork Saguache Creek
               • Treasure Creek
               • Wannamaker Creek
               • West Alder Creek
               • West Fork Pinos Creek
      In addition, the forest should again review the 300+ river segments first inventoried in
      preparation of the 1996 L&RMP using at least two screens: a) investigation of potential
      changed circumstances that could not make select segments w&s eligible, and b)
      reconsideration of river values and river corridor values in the context of current regional
      and national array of river-related natural values. Streams of particular interest include
      Lake Fork Conejos River, South Fork Conejos River, and Rio Grande River additional
      segments (including the segment from Stony Pass to Rio Grande Reservoir, portions of
      which are within the Weminuche Wilderness).
      River segments identified in the 1996 plan as eligible, including the six segments eligible
      for wild designation2, must be retained as eligible.
      All eligible segments must be managed to retain their eligibility. See 219.10(b)(1)(v).
      The revised plan should correct management prescription errors applied, in the 1996 plan,
      to wild & scenic-eligible Saguache Creek, which was classified as w&s wild. While other
      wild-classification eligible streams are currently managed under 1.5 Eligible Wild River,
      seven miles of Saguache Creek are managed under 3.4 Eligible Scenic River. This
      discrepancy in management prescriptions has consequences relative to mineral
      withdrawal, oil & gas leasing, ROS, motorized travel, and roadless status (including
      distinction between upper and lower tier roadless). The new plan should affirm the wild
      classification of eligible Saguache Creek and correspondingly adjust protective
      prescriptions accordingly.
      Related, the plan should ensure that all eligible streams and corridors are consistently
      categorized and managed to highest available prescriptions. Further, the forest should


      2 See 1996 Forest Plan at IV- 8.



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      affirm existing eligibility study classifications and ORVs and, where appropriate,
      recommend upgrades to classifications and the list of identified ORVs.
      In keeping with the planning rule requirement to consider best available scientific
      information, review connections to key species and plant communities, as provided by
      Colorado Natural Areas Program, Natural Heritage Program, Rocky Mountain Wild,
      among others.

      The Colorado Natural Heritage Program (CNHP) published, in April 2016, a relevant
      report, Fen Mapping in Rio Grande National Forest. That report defines fens as ground­
      water fed wetlands that typically support sedges and low stature shrubs, and identifies
      potential fen areas within the forest, including a total of 2,532 likely fen areas in the
      forest. The report highlights in particular three watersheds with very high numbers of
      likely fens: Elk Creek; Headwaters of Alamosa River; Ute Creek.
      While these fens rely most directly on groundwater, the interplay between groundwater
      and surface flows in streams is likely enough that nearby streams should be carefully
      studied for protection as part of the forest’s fen assessment. Specifically, the following
      streams should be considered or retained for wild & scenic eligibility (or, if currently
      eligible, should retain that eligibility), focusing on the possible ORVs of fens and related
      plant communities:
             Elk Creek watershed
             • Elk Creek
             • Rio Colorado
             • South Elk Creek


             Alamosa River Headwaters
             • Bitter Creek
             • Cascade Creek
             • Cataract Creek
             • Iron Creek
             • Gold Creek
             • Prospect Creek
             • Treasure Creek


             Ute Creek watershed



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                 • East Ute Creek
                 • Middle Ute Creek
                 • West Ute Creek
                 • Ute Creek
          The CNHP also published, in October 2012, a report entitled Assessment of Wetland
          Condition on the Rio Grande National Forest. That report generally found the condition
          of sampled wetlands in the forest to be excellent to good, including 30 sampled riparian
          shrublands. Those riparian wetlands support a variety of willow types and mountain
          alder, varying with elevation. Highest concentrations of wetlands are in alpine and sub­
          alpine zones.
         The following alpine streams should be studied or retained for wild & scenic eligibility
         (or, if currently eligible, should retain that eligibility), focusing on stream-supported
         wetlands and the plant communities they support in order to recognize and protect those
         values:
                 • Benito Creek
                 • Halfmoon Creek
                 • Machin Creek
                 • Headwaters Middle Fork Saguache Creek
                 • Headwaters South Fork Saguache Creek
                 • Spring Creek
                 • Twin Peaks Creek
                 • Wannamaker Creek
                 • Whale Creek
                 • Adams Fork
                 • North Fork (Conejos)
                 • Middle Fork (Conejos)
                 • Rito Azul
                 • Mesa Creek
                 • Rito Hondo
                 • Spring Creek
                 • Willow Creek


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              • Bear Creek
              • Pole Creek
              • Rio Grande above Rio Grande Reservoir
              • West Fork Pole Creek
      When considering streams for wild & scenic eligibility study, the forest should reference
      CNHP listings of riparian-dependent rare plants in the vicinity. For RGNF, these may
      include Barneby’s fever-few, blue-eyed grass, Bodin milkvetch, broadfruit, bur-reed,
      Colorado watercress, marsh-meadow Indian-paintbrush, mud sedge, slender spiderflower,
      small-winged sedge.
      The forest should also use data and analyses prepared by CNHP for Potential
      Conservation Areas location within the forest, including reports entitled Adams Fork of
      Conejos River, Baca Grande and Reserve, Conejos River at Platoro, Conejos River at
      Spectacle Lake, Conejos River Springs, El Rito Azul, Elephant Rocks, Great Sand
      Dunes, Pole Creek, Ra Jadero Canyons, Rio Grande at Pole Creek Mountain, Rito Hondo
      Creek, Saguache Creek, Sangre de Cristo Creek, Sangres Alluvial Fan, South Fork of the
      Conejos River and Hansen Creek, Upper Medano Creek, Upper Pole Creek, and Zapata
      Falls.
       The forest should also evaluate for w&s eligibility streams that contain Rio Grande
       cutthroat trout, or that once contained that fish, or that contain habitat suitable to assisting
       with that fish’s recovery. Additional information for this purpose is available in the Rio
       Grande Cutthroat Trout Conservation Strategy 2013, and the Conservation Agreement
      for Rio Grande Cutthroat Trout 2013, both prepared in cooperation among the states of
       Colorado and New Mexico and the U.S. Forest Service.


      Thank you very much for your careful consideration of these comments.


      Sincerely,




      Matt Rice
      Director, Colorado River Basin Program
      American Rivers
      1536 Wynkoop St, Denver, CO 80202
      303-454-3395
      mrice@americanrivers.org




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                         Montrose Forest Products, LLC
                        P.O. Pox 1149, Montrose. CO                T: f970J 249-08/2


   October 25, 2016


   Mr. Dan Dallas, Forest Supervisor
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144

   SUBJECT: RGNF Forest Plan Proposed Action Comments

   Dear Mr. Dallas:

   Montrose Forest Products, LLC has been very involved with the Rio Grande National Forest
   Plan Revision including participating in meetings during the assessment, wilderness
   evaluation, and development of the proposed action. Recognizing the importance of
   providing useful comments for the Proposed Action, we hereby submit the following:

   Objectives and Desired Conditions
   First, we appreciate the desire to increase the emphasis on Objectives and Desired
   Conditions, rather than primarily focusing on Standards and Guidelines. We feel that an
   over-emphasis on Standards and Guidelines won’t necessarily allow for flexibility over the
   long-term and may not achieve the desired conditions. But, as the draft EIS and draft
   revised plan are developed, we would like to see not only the desired conditions, but also
   an explanation of the mechanisms that will be used to achieve them over time.

   Forest-wide Goals
   Overall, we are very supportive of the three primary goals listed in the Proposed Action.

   With regards to Goal #1, we would like to see additional language included that discusses
   management. In order to protect and restore watershed health, water resources, and the
   systems that rely on them, many parts of the forest will need active management. Using the
   word "protect" without a discussion on the need for management may lead to some
   confusion with the public. We recommend inserting language on the number of
   watersheds that are currently threatened due to high fire danger, insects and disease, etc.,
   with a follow up that explains the role of management in achieving restoration.

   Concerning Goal #2, we are very supportive and appreciate the language describing the
   need to "aggressively diversify age classes and structure, serai stage, and habitat classes" to
   provide a wide variety of benefits. That being said, we are concerned that achieving the




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   desired conditions laid out in Goal #2 may be difficult given the limitations with the
   Southern Rockies Lynx Amendment thus our comments on Lynx on page 6 of this letter.

   Given that Goal #3 is to "actively contribute to social and economic sustainability/' we
   recommend the following language be inserted:
      • Provide a predictable supply of forest products over time that 1) helps maintain or
          create processing capacity and infrastructure in local communities and 2) is
          consistent with achieving desired conditions on national forest lands.

   Forest-wide Desired Conditions
      • Biological Diversity - we can support the language in the first paragraph regarding
         "disturbance frequencies similar to those that result from natural disturbances" for
         many areas of the RGNF, but not for suited timberlands. One size does not fit all, and
         we recommend that you go into considerably more detail on forestwide desired
         conditions to distinguish between desired conditions for suited timberlands and
         other lands. Specifically, we recommend that you identify desired conditions for
         habitat, structure, and pattern for suited timberlands.
      • Timber Resources - rather than saying the forest is "capable" of sustaining timber
         harvest, we recommend you say it will be managed to provide sustained timber
         harvest where appropriate. With regards to "some harvest operations are designed
         to mimic natural disturbance events or processes," we do not agree that managing
         suited timberlands to "mimic natural disturbances" is appropriate. Below are some
         specific desired conditions we recommend for the timber resources:
             • The removal of wood products (sawtimber, roundwood, firewood, etc.) and
                 other forest products (Christmas trees, pine cones, greenery, etc.)
                 contributes to ecological, social, and/or economic sustainability and
                 associated desired conditions, A mix of timber products responsive to
                 existing, new, and changing markets is provided.
             • Lands identified as suitable for timber production have a regularly scheduled
                 timber harvest program. Where appropriate, thinning or other types of
                 stand treatments are used to increase tree growth and create additional
                growing space for the desirable tree species, to address forest resilience
                 objectives, and reduce mortality and fuel loading. Lands are adequately
                restocked within 5 years of final regeneration harvest, following a site­
                 specific silvicultural prescription.
     • Fire - we do not agree with the statement "the role of fire in ecosystem dynamics is
         recognized and sponsored" with regard to suitable timberlands. We recommend full
         suppression objective for fires on suitable timberlands. Specifically, we desire initial
         response to wildfires generally favors suppression to protect suited timberlands,
         including aggressive initial attack to keep fires as small as possible and strategies
         and tactics to minimize fires burning into the area.




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   Objectives
   As mentioned above, we are very supportive of the concept of Objectives and Desired
   Conditions. While we recognize that the list provided on page 13 is not yet complete, we
   recommend the following objective for timber;
      • Forest products produced from the Rio Grande NF average at least 50,000 ccf
          annually for the first decade.

   Additionally, we propose the following strategies to help achieve this objective:
      • Prioritize harvest of trees killed by the spruce beetle epidemic.
      • Offer a mix of forest product size, species, and quality that will maintain or increase
          forest products companies’ capacity to utilize products from the Rio Grande NF.
      • When possible, integrate the timber and fuels programs to meet overlapping or
          common goals.
      • As the merchantability of trees killed by spruce bark beetles declines, supplement
          sale of dead trees with sale of green trees.

   Geographic Areas
   We feel that having both geographic areas and management areas is redundant and is just
   making extra work in the process. We think just having management areas would be
   better, and less confusing.

   Fire Management Zones
   While we agree with the use of fire for resource benefit in theory, we are very concerned
   about burning up suitable timber acres that fall under the Restoration and Protection Zone
   (FRB-RP). We recommend that this section should include more detail with regards to
   management processes on suitable timber acres. With only 17% of the forest being
   suitable, we definitely do not want to see acres go up in smoke for "resource benefit."

   General Forest Geographic Area
   First, we recommend breaking this section into two sections: General Forest, and Suitable
   Timber Acres. This distinction is very important and the language within each section
   should discuss the differences.

   For the suitable timber acres, we feel strongly that the highest priority/objective for these
   acres should be timber output That being said, we feel that stating or implying that
   vegetation management is for wood production or to benefit other resources is a false
   premise. It is very possible to have wood production and benefits to other resources.
   Rather than using the word "sustainable" in this section, we recommend including the
   language from FSH 1909.12 - Chapter 60 that explains the legalities of timber harvest on
   National Forest Lands, "Sustainable" is over-used and poorly understood and given the
   current level of mortality, we feel it is best to not use this word. Additionally, we
   recommend this section include a transition plan for when the forest moves from salvage to
   harvest green timber. It is important that this forest plan includes a transition plan in
   order to maintain industry. Furthermore, given that the level of mortality will be a moving
   target until the epidemic is over, we would prefer not to see a specific time frame discussed




                                                                    Rvsd Plan - 00003414
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   ( 10 years], but rather a range. Ideally, the revised Forest Plan would outline a timber sale
   program that maximizes harvest levels now while the material is still valuable, while
   recognizing that forest harvest levels will decrease in the long-term.

   Also, we are not comfortable with the statement "the Forest plans to continue to salvage
   harvest at approximately the same levels.” We would rather that the revised forest plan
   and DEIS acknowledges their current capacity while including language that would allow
   salvage harvest at higher levels if opportunities arise.

   Management Areas
   First, we found this section to be a little confusing and not well arranged. To make the
   table easier to understand, we recommend the following:
       • Locating Table 1.4 at the start of this section.
       • Put the different management area discussions in chronological order.
       • Rather than having 4 different categories for timber related activities, we suggest:
              o Suited Timberlands
              o Timber Harvesting Allowed

   Furthermore, Management Area 3.3 is discussed in the text, but does not show up on Table
   1.4. Also, Management Area 3.5 and 3.6 should show that timber harvesting is allowed, and
   Management Area 4.4 should show that TSI is allowed. Finally, we recommend adding
   language to the Management Areas that allow timber harvesting to make that clear.

   5.13 - Forest Products
   While we are supportive of most of the language found within Management Area 5.13, we
   are concerned that statements such as "full range of activities” and "all succession stages
   are represented" portrays a false picture given the current limitations of the SRLA. We are
   very concerned that a full range of activities, as well as achieve a diversity of ages, densities,
   and sizes, will not be possible due to the SRLA. Again, see our Lynx comments on page 6.

   Furthermore, we are concerned by the last two sentences in the second paragraph
   regarding old growth and mature stands. Given that only 17% of the RGNF is suited
   timberlands in the current forest plan, we generally recommend that forestwide old growth
   objectives be achieved outside the suited timberiands. We don’t understand the intent of
   the last sentence in that paragraph or how it will be incorporated into forest plan direction,
   therefore, we recommend that sentence be deleted.

   Finally, we recommend the following desired conditions be incorporated into this
   management area:

      •   The area provides scheduled wood fiber production, including sawtimber, posts and
          poles, and firewood. Disturbed areas are evident across the landscape and vary in
          size and shape.
      •   The age class of stands is evenly distributed within the normal rotation age.




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      •   On suited timberlands, commercially valuable timber products are produced by
          maintaining acceptable stocking levels and rates of growth, as well as favoring
          commercial tree species.
      •   Lands in this management area are managed with a strong multiple use emphasis.
      •   A variety of silvicultural techniques and harvest systems are used to restore
          ecological function, structure, and composition, and provide products and services.
          Silvicultural treatments and prescribed fire are used to meet multiple resource
          objectives, as well as to achieve and maintain vegetation conditions and desired fuel
          levels to reduce the threat to key values from wildfire.
      •   A variety of cover types are represented, with commercial species given priority,
      •   Desired Snags - in areas where timber harvest or other management activity is
          implemented, an average of 2-3 snags greater than 10" dbh averaged over 1,000
          acres.
      •   Desired Coarse Woody Debris - 15 to 20 tons per acres of coarse woody debris over
          6” in diameter in areas where timber harvest or other management activity is
          implemented.

   Standards and Guidelines
   We recommend removing the "timber removal on a sustained yield basis" because we do
   not support that restriction/requirement given the current forest condition and high level
   of mortality.

   Adaptive Management Domain
   In the third paragraph, after "Administrative Change," we recommending the following
   language: "Other changes may require a forest plan amendment. Any changes would be
   done in compliance...."

   Process Related Comments
   The following two sections, while related to the Proposed Action, are primarily comments
   related to the forest plan revision process. We are very concerned how Species of
   Conservation Concern and Canada lynx are being dealt with during the revision process.

   Species of Conservation Concern

   As we commented in our April 18, 2016 letter, according to the 2012 Planning Rule, Species
   of Conservation Concern are: "a species, other than federally recognized threatened,
   endangered, proposed, or candidate species, that is known to occur in the plan area and for
   which the regional forester has determined that the best available scientific information
   indicates substantial concern about the species capability to persist over the long-term in
   the plan area.”

   As we further commented, the rationale for many of the species on the draft list of RGNF .
   SCCs was inadequate to include many of those species on the list of Draft RGNF SCCs.
   Based on the information provided to date by the RGNF and the Regional Office, we find
   that to still be true. For example;




                                                                   Rvsd Plan - 00003416
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          -Northern Goshawk - the rationale for inclusion as an SCC discusses "uncertainty",
          but not "substantial concern" about capability to persist over the long-term in the
          plan area.

          -American Marten - the rationale for inclusion as an SCC discusses "uncertainty”, but
          not "substantial concern" about capability to persist over the long-term in the plan
          area.

          -Wahatoya Creek larkspur - according to the rationale for inclusion as an SCC, this
          plant is not documented in the plan area. Further, there is no finding of "substantial
          concern" about capabilily to persist over the long-term in the plan area.

          -King*s campion - according to the rationale for inclusion as an SCC, there is only one
          record of occurrence on the RGNF and that was from 1995; further, there is a
          comment that the occurrence on the RGNF "may be a peripheral occurrence."
          Finally, there is no finding of "substantial concern" about capability to persist over
          the long-term in the plan area.

   Conceptually, we agree with removal of species "not known to occur" or "lack of substantial
   concern for persistence" on the RGNF as discussed on page 6 of the Regional Forester's
   August 17, 2016 letter. Based on information released to date by the RGNF and the
   Regional Office, we believe there are additional species that should be removed for those
   same reasons, and we request that that be done prior to analysis and release of the DEIS
   and draft revised plan.

   We are very concerned by the sentence in the second paragraph on page 6 of the Regional
   Forster's August 17, 2016 SCC letter stating that there were no public comments on the SCC
   list other than the comments from Defenders of Wildlife. That's not accurate, IFA’s April
   18, 2016 letter also addressed SCCs, but apparently did not receive the same consideration
   as the comments from the Defenders of Wildlife. Therefore, we request that the RGNF and
   the Regional Office review and give IFA’s comments on SCCs the same consideration as the
   comments from Defenders of Wildlife.

   We respectfully request additional information that has been developed regarding
   "presence" or "substantial concern" since the Assessment, as well as explanations for
   adding/deleting species from the SCC list.

   Lynx
   As we discussed in our February 3, 2016 letter, the SRLA Record of Decision requires the
   Forest Service to review and reconsider the direction in the SRLA when the forest plans for
   each of the affected national forests is revised. We view the revision of the RGNF forest
   plan as an opportunity to consider what has been learned since the SRLA was approved,
   and, using that information, to update the lynx direction in the revised forest plan.
   We are especially concerned about the costs of all the “accounting" requirements for LAUs
   and acres required by the SRLA and the restrictions on implementing "a full range of



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   silvicultural treatments" contained in the SRLA. We are very disappointed that the
   Proposed Action neither acknowledges nor addresses the restrictions and requirements of
   the SRLA, and appears to ignore the requirement to "review and reconsider” die SRLA
   direction during the forest plan revision. Again, we refer you to our recommendations in
   the February 3, 2016 letter. In particular, we recommend that you analyze to what extent
   can lynx habitat needs can be satisfied through the "coarse filter” using some combination
   of Objectives and Desired Conditions to achieve lynx habitat needs.

   We appreciate your consideration of these comments and suggestions as you move
   forward with the Forest Plan Revision process. 1 would be happy to discuss these
   comments if you have any questions.

   Sincerely,
   MONTROSE FOREST PRODUCTS, LLC




   Resource Forester




                                                                  Rvsd Plan - 00003418
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                      COLORADO
                      Department of Agriculture




   October 26, 2016

   Mr. Dan Dallas, Forest Supervisor
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144


   Dear Mr. Dallas:

   The Colorado Department of Agriculture (CDA) submits the following comments regarding the
   Rio Grande National Forest Plan Proposed Action (PA).

   CDA’s mission is to strengthen and advance Colorado agriculture; promote a safe, high quality,
   and sustainable food supply; and protect consumers, the environment, and natural resources. The
   agriculture industry contributed $7.5 billion in cash receipts to the Colorado economy in 2014.’
   With our commitment to Colorado’s agriculture industry in mind, we offer the following
   cpmments regarding the PA.

   CDA supports management of National Forest System (NFS) lands under the principles of
   multiple use and sustained yield as congressionally mandated by the Multiple-Use and
   Sustained-Yield Act of 1960^ and further codified by the National Forest Management Act of
   1976-^ (NFMA). NFMA provides clear direction regarding the equality of multiple uses,
    ‘Y-pi^ovide for multiple use and sustoiued yield of the products aud services obtained therefrom
   in accordance with the Multiple-Use Sustained-Yield Act of 1960, and in particular, include
   coordination of outdoor recreation, range, timber, watershed, wildlife andfish, and
   wilderness....    Coordinate is defined as equal in rank, quality, or significance^. Through
   NFMA it is clear Congress intended that NFS planning coordinate and consider each of the listed
   multiple uses equally.

   The PA provides desired conditions from the 1996 forest plan that specifically include
   management for a variety of different recreation types, timber harvest, healthy watersheds,
   habitat for wildlife and fish, and wilderness. The description for range is relegated to the desired


   'National Agricultural Statistics Service, Colorado Field Office. Colorado Agricultural Statistics 2U15. Online:
   https://www.nass.usda.gov/Statistics _by_State/Colorado/Publications/AnnuaUStatisticaCBiilletin/index.php
   2 16 use §528-531
   3 16 use §1601-1614
     16 use § 1604(e)(1)
    http://www.merriam-webster.com/dictionary/coordinate

                                  305 Interlocken Parkway, Broomfield, CO 80021   P 303.869.9000   F 303.466.2867
    j                                                                                      www.colorado.gov/ag

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                                                                                      Rvsd Plan - 00003419
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   sjeral stages for vegetation with no mention of commercial livestock grazing. CDA proposes a
   desired condition for range similar to that of timber resources as follows:
             “Herbaceous vegetation is capable of sustaining livestock grazing for the benefit of local
    I       communities while also helping to achieve other desired conditions. “
   As the PA is developed into a draft forest plan, goals, objectives, and guidelines specific to
   livestock grazing will need to be established and included.
    I                              .                         ....
   The PA includes four geographic areas: general forest, primitive wilderness, roadless, and
   specially designated. Geographic areas are comprised of different management areas that each
   have a different emphasis and direction. Table 1.4 Allowable activities in the proposed
   Management Areas, page 34 in the PA, indicates authorized grazing is allowed in all
   management areas except 2.2 Research Natural Areas and 8.22 Ski-based Resorts. The
   exclusion of grazing for management area 2.2 indicated in Table 1.4 contradicts the text on page
   25 where the PA states, “Livestock grazing is an appropriate and authorized use when it is not in
   direct conflict with resources values that prompted establishment of the area. ’’ Table 1.4 should
   be corrected to acknowledge the importance of livestock grazing in Research Natural Areas.
   Additionally, CDA advances that livestock grazing should not be completely excluded from
   Management Area 8.22 or any other management area because of the utility of livestock grazing
   as a vegetation management tool.

   desired conditions described for noxious weeds are not stated in terms of what the desired
   condition is that the forest is trying to achieve. Desired conditions should be consistent with
   CDA’s Rules Pertaining to the Administration and Enforcement of the Colorado Noxious Weed
   Acd for List A and List B species, which describes specific management rules for each noxious
   weed species and is updated annually.

   Goals, objectives, and guidelines established for noxious weeds in the draft forest plan should
   include significant, quantifiable reductions in population sizes, geographic extent, and impact of
   List A and List B noxious weed species on NFS lands. There should also be provisions to
   include the use of state-approved biological control agents as one of the tools available to
   manage noxious weeds and requirements for interagency coordination with CDA and county
   weed managers on noxious weed inventories, data sharing, technology transfer, treatment
   applications, and monitoring. Geographic and management area descriptions should provide
   guidance for how noxious weeds will be managed within a specific area, unless it is explicitly
   stated elsewhere that this is a forest-wide management direction.

   CDA supports science based natural resource management that maintains healthy watersheds and
   provides for multiple uses. This management regime would help achieve the stated goals of
   watershed health, sustainable ecosystems, and social and economic contributions of the forest to
   surrounding communities. It is important that standards and guidelines be developed to
   coordinate these goals and not prioritize them.


    I

    8 CCR 1206.2




                                                                        Rvsd Plan - 00003420
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   Thank you for the opportunity to provide input on this important matter. Please continue to keep
   us informed about the Rio Grande National Forest Plan Revision so that we can remain engaged
   in this important process. Contact Mr. Les Owen at 303-869-9032 or les.owen@state.co.us for
   questions about these comments.




   Don Brown
   Commissioner




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   Continental Divide Trail Coalition
   October 2016


   October 26, 2016
   Dan Dallas
   Forest Supervisor
   Rio Grande National Forest


   RE: Public Comment on Revision of Rio Grande Forest Plan

   Dear Supervisor Dallas,

   Thank you for the opportunity to comment on the proposed project on the Rio Grande
   National Forest. We are happy to assist you with this process and help you strive for the
   highest quality outcome possible.

   The Continental Divide Trail Coalition (CDTC) was formed to work with the federal land
   management agencies in the completion, management and protection of the Continental Divide
   National Scenic Trail (CDNST). The CDTC is a 501(c)(3) nonprofit organization with 2000
   members nationwide. To date, CDTC has been successful in coordinating volunteer stewardship
   to improve and complete the CDT, building positive relationships with the federal land managers
   and local trail focused groups, organizing special events to help educate the Public about the
   CDT, implementing an Adopt-A-Trail and Gateway Community Program, and encouraging
   Congress to continue to appropriate $5 million in funding specific for the CDT in the Forest
   Service budget. In May, 2014, CDTC signed a Memorandum of Understanding to establish our
   role as a national organization working in partnership with the US Forest Service on behalf of the
   Continental Divide National Scenic Trail.
   Background
   The Continental Divide National Scenic Trail (CDNST) was designated by Congress in 1978
   as a unit of the National Trails System. The 3,100 mile CDNST traverses the Continental Divide
   between Mexico and Canada. It travels through 25 National Forests, 21 Wilderness areas, 3
   National Parks, 1 National Monument, 8 BLM resource areas and through the states of Montana,
   Idaho, Wyoming, Colorado and New Mexico. The vision for the CDNST is a primitive and
   challenging backcountry trail for the hiker and horseman on or near the Continental Divide to
   provide people with the opportunity to experience the unique and incredibly scenic qualities of
   the area.

   National Scenic Trails, like the CDNST, are created to conserve the nationally significant scenic,
   historic, natural and cultural qualities of the area. In addition, these trails are designed for
   recreation and the enjoyment of these very special places.

   The CDT Experience is defined in the Continental Divide National Scenic Trail Study Report as
   an “intimate one, where one can walk or ride horseback across vast fields of wildflowers and
   contemplate a story dating from the dawn of earth’s history^along the way the tranquility of the
   alpine meadows, verdent forests and semi—desert landscape overwhelms anyone who passes
   that way. The Trail would provide the traveler his best encounter with the Continental Divide—

   1    Continental Divide Trail Coalition: Comments Revised Rio Grande Forest Plan Revision

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   Continental Divide Trail Coalition
   October 2016
   its serenity and pure air—and would supply for every trail traveler some of the world’s most
   sublime scenes.” (Study Report; page 18)

   CDNST Comprehensive Plan Direction:
   The CDNST Comprehensive Plan was set forth as policy in 2009. This policy direction is the
   implementation of the National Trails System Act and is the over-arching policy that should be
   incorporated into Forest Plan direction and project proposal evaluation. CDTC has identified a
   need for change in the Rio Grande Forest Plan to incorporate the direction as stated in the 2009
   CDNST Comprehensive Plan to achieve the desired condition of the CDNST. This includes
   incorporation of FSM 2353.42 and 2353.44b.

   General comments regarding the Rio Grande Forest Plan Assessment Report:

       1. There is a need to reconsider the overall management and direction in the Rio Grande
           Forest Plan for the CDNST.
       2. There is a need to review new uses allowed along the CDNST route in order to prevent
           substantial interference to the nature and purpose for which the Trail was created. This
           would include the establishment of monitoring programs and LAC type management
           actions prior to allowing any new uses, to ensure the Nature and Purpose for which the
           Trail was created are not negatively impacted by such uses.
       3. There is a need to establish and incorporate a monitoring program (consistent with the
           CDNST Comprehensive Plan) for the CDNST that addresses uses and carrying capacity
           of the Trail and its corridor.
       4. There is a need to update and incorporate the Scenery Management System for the forest
           with specific consideration of the existing and high potential route segments for the
           CDNST, specifically in the Cochetopa Hills.
       5. There is a need to review the inclusion and support of volunteer stewards and youth corps
           partners in the management, maintenance, and construction of the CDNST in the Rio
           Grande National Forest.
       6. There is a need to ensure identification, provision, development, and access to water
           resources for users along the CDNST in the Rio Grande National Forest.
       7. There is a need to update the Recreation Opportunity Spectrum classifications and adjust
           the total acres in each class in the revised forest plan specifically for the CDNST across
           the forest.
       8. There is a need for a clear and explicit direction statement that describes forest policy on
           the inclusion of recreational use on the CDNST.
       9. There is a need to provide forest direction on the management of snowmobiles/over-snow
           vehicles
       10. There is a need for an inventory of existing CDNST trailheads and access points to
           ensure that appropriate access to the CDNST is provided. This includes the development
           of consistent Trailhead design across all Rio Grande Forest Areas across which the
           CDNST Corridor traverses.
       11. There is a need to address the CDNST as a Corridor and special designation area in the
           revised forest plan and reflect the corridor on maps and Forest information resources.
       12. There is a need to address permitting for large and/or recurring special /recreational
           events, including competitive events and shuttle services along the CDNST Corridor.


   2    Continental Divide Trail Coalition: Comments Revised Rio Grande Forest Plan Revision

                                                                        Rvsd Plan - 00003423
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   Continental Divide Trail Coalition
   October 2016
          This should include evaluation of the carrying capacity of the Trail Corridor to sustain
          such uses and their impacts to the nature and purposes for which the CDNST was created.
      13. There is a need to update and address existing and proposed energy and utility
          developments, as well as extraction activities along the CDNST Corridor in the Rio
          Grande National Forest.
      14. There is a need to include a management for the CDT as specified by the new Forest
          Plan Component Document recently approved by the USFS guiding management f the
          CDT across all US Forest Service Units.
      15. There is a need for the preparation of a unit plan that will establish the Trail Class,
          Managed Uses, Designed Uses, and Design Parameters, as well as uses that are
          prohibited, on trail segments.
      16. There is a need to relocate the CDNST off of roads and ensure the intent of the 2009
          Comprehensive Plan direction is met. CDTC encourages the following factors be
          included in this process:

          a. It is the intention of Congress for the Continental Divide National Scenic Trail to be a
             primitive and challenging non-motorized trail traversing the Continental Divide from
             Canada to Mexico.
          b. New CDNST construction should link to existing non-motorized segments of trail, or
             a plan should be in place to address the motorized uses on either end in the near
             future in order to meet the intent of the CDNST as a non-motorized trail.
          c. All agencies should plan and construct the CDNST to include the following
             characteristics:
             • Built to a non-motorized standard - Fully accessible for foot and equestrian use.
                  Portions accessible for mountain bikes where appropriate and consistent with Unit
                  Plan direction
             • Challenging - Requiring a need for self-reliance and backcountry skills.
             • Located through the most primitive, diverse and undeveloped landscapes on or
                  near the Continental Divide.
             • Accesses or is routed near nationally significant scenic, historic, cultural and
                  natural features.
             • Allows for an opportunity to view dramatic or unique scenery.
             • Allows for an opportunity to view wildlife.
             • Provides appropriate access to water sources.
             • Developed to the most simple, yet high quality standard.

   Thank you for the opportunity to comment and participate in the ongoing process to revise the
   Rio Grande Forest Plan. We look forward to working with the entire Forest staff and ensuring
   the CDNST remains a high quality recreational resource across the Rio Grande National Forest.

   Sincerely,

    Te^re-sa A na M artine^z /s/

   Teresa Ana Martinez
   CDTC Director

   3    Continental Divide Trail Coalition: Comments Revised Rio Grande Forest Plan Revision

                                                                       Rvsd Plan - 00003424
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   Continental Divide Trail Coalition
   October 2016
   cc: Brenda Yankoviak, Acting CDNST Program Administrator; Jim Wolf, Director Continental
   Dlivde Trail Society

   enclosures: USFS CDT Plan Components, Communication Plan and Regional Forester Letter




   4   Continental Divide Trail Coalition: Comments Revised Rio Grande Forest Plan Revision

                                                                 Rvsd Plan - 00003425
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                      COLORADO
                      Department of Agriculture




   October 26, 2016

   Mr. Dan Dallas, Forest Supervisor
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144


   Dear Mr. Dallas:

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   management for a variety of different recreation types, timber harvest, healthy watersheds,
   habitat for wildlife and fish, and wilderness. The description for range is relegated to the desired


   'National Agricultural Statistics Service, Colorado Field Office. Colorado Agricultural Statistics 2U15. Online:
   https://www.nass.usda.gov/Statistics _by_State/Colorado/Publications/AnnuaUStatisticaCBiilletin/index.php
   2 16 use §528-531
   3 16 use §1601-1614
     16 use § 1604(e)(1)
    http://www.merriam-webster.com/dictionary/coordinate

                                  305 Interlocken Parkway, Broomfield, CO 80021   P 303.869.9000   F 303.466.2867
    j                                                                                      www.colorado.gov/ag

    i
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   sjeral stages for vegetation with no mention of commercial livestock grazing. CDA proposes a
   desired condition for range similar to that of timber resources as follows:
             “Herbaceous vegetation is capable of sustaining livestock grazing for the benefit of local
    I       communities while also helping to achieve other desired conditions. “
   As the PA is developed into a draft forest plan, goals, objectives, and guidelines specific to
   livestock grazing will need to be established and included.
    I                              .                         ....
   The PA includes four geographic areas: general forest, primitive wilderness, roadless, and
   specially designated. Geographic areas are comprised of different management areas that each
   have a different emphasis and direction. Table 1.4 Allowable activities in the proposed
   Management Areas, page 34 in the PA, indicates authorized grazing is allowed in all
   management areas except 2.2 Research Natural Areas and 8.22 Ski-based Resorts. The
   exclusion of grazing for management area 2.2 indicated in Table 1.4 contradicts the text on page
   25 where the PA states, “Livestock grazing is an appropriate and authorized use when it is not in
   direct conflict with resources values that prompted establishment of the area. ’’ Table 1.4 should
   be corrected to acknowledge the importance of livestock grazing in Research Natural Areas.
   Additionally, CDA advances that livestock grazing should not be completely excluded from
   Management Area 8.22 or any other management area because of the utility of livestock grazing
   as a vegetation management tool.

   desired conditions described for noxious weeds are not stated in terms of what the desired
   condition is that the forest is trying to achieve. Desired conditions should be consistent with
   CDA’s Rules Pertaining to the Administration and Enforcement of the Colorado Noxious Weed
   Acd for List A and List B species, which describes specific management rules for each noxious
   weed species and is updated annually.

   Goals, objectives, and guidelines established for noxious weeds in the draft forest plan should
   include significant, quantifiable reductions in population sizes, geographic extent, and impact of
   List A and List B noxious weed species on NFS lands. There should also be provisions to
   include the use of state-approved biological control agents as one of the tools available to
   manage noxious weeds and requirements for interagency coordination with CDA and county
   weed managers on noxious weed inventories, data sharing, technology transfer, treatment
   applications, and monitoring. Geographic and management area descriptions should provide
   guidance for how noxious weeds will be managed within a specific area, unless it is explicitly
   stated elsewhere that this is a forest-wide management direction.

   CDA supports science based natural resource management that maintains healthy watersheds and
   provides for multiple uses. This management regime would help achieve the stated goals of
   watershed health, sustainable ecosystems, and social and economic contributions of the forest to
   surrounding communities. It is important that standards and guidelines be developed to
   coordinate these goals and not prioritize them.


    I

    8 CCR 1206.2




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   Page 3
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   Thank you for the opportunity to provide input on this important matter. Please continue to keep
   us informed about the Rio Grande National Forest Plan Revision so that we can remain engaged
   in this important process. Contact Mr. Les Owen at 303-869-9032 or les.owen@state.co.us for
   questions about these comments.




   Don Brown
   Commissioner




                                                                     Rvsd Plan - 00003428
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   October 27, 2016



   Rio Grande National Forest’s Supervisor’s Office
   Attn: Forest Plan Revision
   1803 W. Highway 160
   Monte Vista, CO 81144


   Via e-mail: rgnf_forest_plan@fs.fed.us


   Re: Conservation Recommendations to the Rio Grande National Forest for Consideration in the Land
   Management Plan Revision

   Dear Forest Plan Revision Team:

   The undersigned organizations are pleased to submit to the Forest Service a recommendation for
   consideration in one or more alternatives in the Environmental Impact Statement (EIS) for the Rio
   Grande National Forest Land Management Plan revision.


   We recommend that the Rio Grande National Forest identify some form of special management in the
   Plan Revision to facilitate landscape connectivity for wildlife for the following two areas: the Spruce
   Hole/Osier/Toltec Landscape and Wolf Creek Pass Linkage Area. The Spruce Hole/Osier/Toltec
   Landscape contains 39,500 acres of the Rio Grande National Forest. It is bounded on the north by the
   Conejos River as well as Highway 17, which also creates the western boundary. For the purposes here,
   the southern boundary is the Colorado-New Mexico state line where the Rio Grande National Forest
   meets the Carson National Forest. The Wolf Creek Pass Linkage Area is bounded on either side of
   Highway 160 eastern approach to Wolf Creek Pass by major watershed and topographic divides. It
   includes about 22,300 acres on the Rio Grande National Forest, and there are additional lands on the
   adjacent San Juan National Forest.


   Strategies that seek to maintain or restore connectivity between protected or otherwise intact natural
   areas are now considered critical to biodiversity conservation (Hilty et al. 2006, Miller & Hobbs 2002,
   Taylor et al. 2006). The recently completed (and approved) Colorado State Wildlife Action Plan (SWAP)
   identifies 159 Species of Greatest Conservation Need, which includes 55 Tier 1 Species. The following
   Tier 1 SWAP species are also listed in the RGNF Draft Assessment 5 as species of conservation concern
   (in addition to the federally listed species): Rio Grande cutthroat trout, Rio Grande chub, Rio Grande
   sucker, Boreal toad, Northern leopard frog, Golden eagle, Southern white-tailed ptarmigan, Gunnison
   prairie dog, wolverine, and Townsend's big-eared bat.


   The Rio Grande National Forest also provides very important migration corridors for big game species
   (elk, mule deer and bighorn sheep) that are considered "important species" in the Draft Assessment 5.
   We appreciate and concur with the statements in the Draft Assessment 5 that their corridors are




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   important and must be managed and that mule deer and elk are among the nine management indicator
   species.


   Properly designed networks of wildlife linkage areas represent a key strategy to mitigate the negative
   impacts of habitat fragmentation and help wildlife species adapt to climate change. Conservation
   scientists have now long agreed that “the preponderance of evidence is that corridors almost certainly
   facilitate travel by many species” (Beier and Noss 1998). Many analytical frameworks for prioritizing
   specific habitat corridors that require preserved landscape connectivity have been formulated (e.g.,
   Bunn et al. 2000, Compton et al. 2007, Carroll et al. 2011, McRae et al. 2008, Walker & Craighead 1997),
   and this area of conservation science continues to undergo intense growth. Although the particulars of
   wildlife response to climate change are largely unknown (Root 2003, Travis 2003, Jarema et al. 2009),
   establishment of landscape connectivity via corridors is the most frequently cited strategy for combating
   the impacts of climate change on biodiversity (Heller & Zavaleta 2009).


   The substantive requirements of the 2012 Planning Rule require the Forest Service to include plan
   direction, incorporating standards and guidelines, to maintain and restore connectivity. 36 C.F.R. §
   219.8(a). In fact, managing for connectivity is a required element in three principal sections of the rule:
   sustainability (219.8(a)(1)), species diversity (219.9(a)(1)), and multiple uses (219.10(a)(1)). Designing,
   designating and protecting wildlife corridors and linkage areas should be an important dimension of
   Forest Service land planning to mitigate the compounding and simultaneous impacts of habitat
   fragmentation and climate change. Identifying some form of special management in the Plan Revision to
   facilitate landscape connectivity for wildlife in the Wolf Creek Linkage Area and Spruce
   Hole/Osler/Toltec Landscape will help ensure the Rio Grande National Forest complies with planning
   rule’s substantive requirement to provide for connectivity.


   Please contact us if you have any questions.


   Sincerely,



   Suzanne O'Neill
   Executive Director
   Colorado Wildlife Federation




   Brian Kurzel
   Regional Executive Director - Rocky Mountain Regional Center
   National Wildlife Federation




                                                                               Rvsd Plan - 00003430
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                                                                                  October 27,2016




Mr. Dan Dallas
Rio Grande National Forest
1803 W. Highway 160
Monte Vista, CO 81144

The Southern Rockies Lynx Amendment (5LRA) requires review when a forest plan is revised. As the Rio Grande National
Forest (RGNF) goes through the plan revision process we would suggest consideration of several factors and to the
extent discretion is allowed, make land management decisions based on the best scientifically defensible data available.

    1.   Lynx were reintroduced in about the year 2000, with the support and permission of private land owners and
         under the watchful eye of many who wondered how things would turn out. Future efforts to reintroduce
         species that have disappeared from this area may depend on the experience with Lynx. The SRLA is one
         outcome that has affected that experience. A healthy forest and healthy watershed seams to provide the best
         natural habitat for Lynx and its primary food source, the Snowshoe Hare. Public acceptance and public support
         seams to provide the best climate for success of this and future efforts of this type. By comparison. Elk were
         reintroduced many years ago with very little change to forest management. The outcome has been
         tremendously successful.

    2.   Considering that about 52% of the RGNF is in either Wilderness or Roadless Area designation and is for the most
         part completely natural habitat and also in the higher elevations preferred by Lynx and Snowshoe Hare
         populations, and considering that in Canada and other areas north of the RGNF Lynx and Snowshoe Hare
         populations are significantly higher per acre in areas that have smaller percentages of "natural habitat", the
         question becomes, "How much should be sacrificed for this species that disappeared from the area once and
         has now been reintroduced?" We would encourage management decisions to be made based on the overall
         health of the forest and the watershed while providing reasonable use of the forest.

    3.   We consider biodiversity to be an indicator of forest health. We encourage the forest managers to incorporate
         flexibility into the forest plan that will allow for implementation of management tools that can be responsive to
         new information as it becomes available and when unforeseen changes to forest conditions occur, while
         allowing for longterm sustainable economic endeavors using forest products and recreation.




Thanks for your consideration




Zeke Ward, Executive Director
Rio Grande Watershed Emergency Action Coordination Team
zeke@rweact,org
719’480-1813




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                                                                                   October 27, 2016




Mr. Dan Dallas
Rio Grande National Forest
1803 W. Highway 160
Monte Vista, CO 81144




The Rio Grande Watershed Emergency Action Coordination Team, (RWEACT), brings together local, state, and federal
agencies, organizations, and individuals to develop an effective, coordinated approach for immediate actions addressing
fire-caused hazards resulting in the protection of human life, property, and the natural health of the Rio Grande
watershed and its environment. In commenting on the proposed forest plan revision it is our intention to continue the
commitment to partnerships developed in response to a devastating fire and engage in collaborative efforts to future
actions of benefit to us all. We acknowledge decision making authority rests entirely with the forest managers and we
express our appreciation for being invited to participate in the process and exchange information and ideas.

We have already submitted our comments on the "Need for Change" document and only wish to point out the
document is well crafted and much effort was expended to reflect issues brought by the public and the difficulty
presented by competing interests was overcome to the extent possible. This document is the principal driver for the
rest of the process. Our principal interest is in pursuing watershed health by protecting it where healthy conditions exist
and restoring to the extent possible where degradation has occurred. We encourage incorporating into the plan the
greatest flexibility to employ management practices with a view to long term results in the face of changing conditions.

The process for creating inventories for Wilderness designation. Roadless designation, and Wild and Scenic designation
was largely dictated by policy at the federal level, I think we all agree that the forest managers followed the guidelines
and were very thorough in developing the inventories. As we go through the assessment and evaluation of these
inventories we would encourage taking into consideration ail of the consequences that will result from these
designations. Having the greatest possible variety of management options is preferable to taking those options out of
play with severely limiting use designations. Certainly Wilderness and Roadless areas have value but the question
becomes, "How much of the forest should be Wilderness?"

The 3 Forest-wide goals are very well stated and we are completely in agreement. The reference in Goal 1 to the
National Forest Reserve Act of 1891 is as relevant today as it was then. President Roosevelt stated many times, "The
forests must be preserved and managed for all the people for all time." Protecting and restoring watershed health and
water resources is entirely consistent with that statement. The key words in Goal 2 are, "... sustainable, resilient...." In
Goal 3, "...social and economic stability...connect citizens to the land...", these are primary components of the mission of
RWEACT,

Under Forest-wide Desired Conditions we are generally in agreement with some noteworthy exceptions. Under the
heading of Biological diversity our preference would be to engage in voluntary efforts to promote Habitat Conservation
Plans and avoid compliance issues with the Endangered Species Act. With the Wild and Scenic Rivers the "outstandingly
remarkable" definition is very broad and too subjective and this designation could limit watershed restoration efforts



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and conflict with water rights and irrigation practices. Again it is understood that these policies come from the federal
level and the hope is that there is some discretion that can emerge in analysis and evaluation.

Finally it is our experience that collaboration and cooperation generally produces better outcomes than adversarial
processes. It is our desire to continue this partnership with the Forest Service and assist in ways that are appropriate
and productive.



Thanks for your consideration




Zeke Ward, Executive Director,
Rio Grande Emergency Action Coordination Team
;eke@rweact.org
719-480-1813




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              TRI-STATE GENERATION AND TRANSMISSION ASSOCIATION, INC.
              HEADQUARTERS:           P.O. BOX 33695        DENVER, COLORADO 80233-0695                 303-452-6111



                                                             October 27,2016



      U.S. Department of Agriculture
      Rio Grande National Forest Supervisor’s Office
      Attention: Forest Plan Revision
      1803 West Highway 160
      Monte Vista, CO 81144


      RE:     Notice of Intent to prepare an Environmental Impact Statement for the Revision of the Land
              Management Plan for the Rio Grande National Forest


      Dear Forest Supervisor:

              Tri-State Generation and Transmission Association, Inc. (Tri-State) appreciates the opportunity to
      submit the following scoping comments associated with the Forest Service’s (FS), Rio Grande National
      Forest’s proposed Revision of the Land Management Plan (LMP) and associated Environmental Impact
      Statement (EIS).


               Tri-State is a not-for-profit wholesale electric power supplier to 43 not-for-profit member electric
      distribution cooperatives and public power districts, which serve over one million customers in an
      approximately 200,000 square-mile territory, largely in rural Colorado, Nebraska, New Mexico and
      Wyoming. Tri-State's transmission system includes nearly 5,600 miles of high-voltage transmission lines,
      and an extensive network of substations, telecommunications facilities, maintenance centers and field
      offices that help us control and maintain a reliable and secure electric power delivery system. Tri-State's
      owned and contracted portfolio of electric energy is derived from a mix of coal, natural gas, oil,
      hydroelectric, wind and solar located throughout its four-state member service territory. Tri-State owns
      and operates power plants in Colorado and New Mexico, and receives a share of power from plants in
      Arizona, New Mexico, and Wyoming. Tri-State owns and operates coal mines in Colorado and
      separately holds financial interest in other mines in Colorado and Wyoming that produce coal for our
      various coal-fired power plants.


               Tri-State is one of several owners in a telecommunication facility within the Rio Grande National
      Forest (RGNF). We currently utilize Forest Road 630 along with several other public roads to access the
      Agua Ramon Mountain telecommunication site for operations and maintenance purposes (See
      Attachment 1). It is critical to Tri-State that access to our existing facility is accommodated in the LMP
      revision process in order for us to respond to communication and electrical related emergencies/outages
      and to perform routine operation and maintenance activities. Motorized vehicle access to and
      maintenance of telecommunication facilities is crucial to Tri-State’s ability to comply with the reliability
      standards promulgated by the North American Electric Reliability Council.




 AN EQUAL OPPORTUNITY/AFFIRMATIVE ACTION EMPLOYER           CRAIG STATION          ESCALANTE STATION   NUCLA STATION
                                                            P.O. BOX 1307          P.O. BOX 577        P.O. BOX 698
  A Touchstone Energy" Cooperative                          CRAIG, CO 81626-1307   PREWITT, NM 87045   NUCLA, CO 81424-0698
                                                            970-824-4411
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      U.S. Department of Agriculture
      October 27, 2016
      Page 2



              Tri-State’s electric power delivery system, including telecommunication sites, is critical to the
      general public’s welfare. Any short-term, intermittent loss of electric power delivery or communications
      could result in significant and catastrophic hazards affecting public health and safety. Loss of life,
      property, or natural resource values can also occur as a secondary effect of power delivery system failure.
      Continuous, safe, reliable delivery of power to end-users is a critical function in our society and
      maintaining safe and permanent access to this infrastructure is a key component to maintaining this
      system reliability.


              Tri-State submits these scoping comments requesting that the FS analysis in the EIS includes our
      existing infrastructure and associated access as part of the affected environment and that the EIS evaluate
      potential economic and/or public safety consequences from potential LMP revisions. Our overall hope is
      that the final LMP revisions will have no effect on our ability to operate and access the existing Agua
      Ramon Mountain site. If system or non-system access roads we currently use may be closed and/or
      restricted, we further request that the FS consider an alternative whereby the type of motorized vehicle
      use conducted by Tri-State and similar electric and telecommunication companies that may share use of
      the above-mentioned infrastructure, be specifically allowed.


              Tri-State appreciates the opportunity to provide scoping comments on the proposed LMP revision
      process and EIS. As the alternatives are further developed and refined, Tri-State would be happy to
      further engage with the FS to discuss the maintenance of our access needs where relevant to the proposed
      action. Should you have any questions about these comments, please contact Chris Reichard at (303)
      452-6111.




                                                             Barbara A. Walz
                                                             Senior Vice President
                                                             Policy and Compliance
                                                             Chief Compliance Officer


      BAW:CR:dbr


      Attachment 1:    Location of the Agua Ramon Mountain telecommunication facility and access roads




 AN EQUAL OPPORTUNITY / AFFIRMATIVE ACTION EMPLOYER


  A Touchstone Energy'Cooperative
                                                                                 Rvsd Plan - 00003437
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                                  RESPONSIBLE LAND
October 28, 2016                    STEWARDSHIP
Rio Grande National Forest’s Supervisor’s Office
Attn: Forest Plan Revision
1803 W. Highway 160
Monte Vista, CO 81144

       Via e-mail: rgnf forest plan@fs.fed.us

RE: Scoping Comments on the Rio Grande National Forest Plan Revision

Dear Forest Plan Revision Team:

Please accept these comments from the Chama Peak Land Alliance (“CPLA”) on the Rio Grande
National Forest Plan revision. The Chama Peak Land Alliance is a diverse group of conservation-
minded landowners committed to embracing and practicing responsible land, water and wildlife
stewardship in southern Colorado and northern New Mexico for the benefit of our tri-cultural heritage
and for generations to come. Our landowners responsibly manage and cooperate with partners on 1.4
million acres of land, with a vision of creating a continuous, intact landscape being managed with
conservation in mind.

We support environmentally responsible and sustainable resource management that ensures a thoughtful
and holistic approach to provide healthy, diversified and sustainable ecosystems, economies, and
wildlife populations. CPLA engages in a wide variety of efforts to improve land management so that
headwater forests, streams, wildlife and other natural resources will flourish.

A fundamental tenet of our work is protecting and restoring landscape-scale connectivity. Our goal is to
work across 1.4 million acres of private, public, tribal, and state lands to create a connected landscape
for the benefit of a multitude of species, and to provide a strong and healthy outdoor environment to
support our rural economy and agricultural way of life.

Habitat connectivity and wildlife corridors allow wildlife to move across jurisdictions and are critical to
the viability of many species, including mule deer and elk. Game species, in particular, are an important
economic driver for many of our communities in northern New Mexico. Keystone species such as
Canada lynx and bear also need habitat connectivity to move from summer to winter grounds as well as
to ensure ecological balance and healthy landscapes.
              -------    --- -- .■ ■ ■I                                               -------- -            1
                                 1309 East Third Ave. #8 | Durango, CO 81301
                           chamapeak@gmail.com | www.chamapeak.org | 1-888-445-7708

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 With the added stress of climate change, habitat connectivity becomes even more critical. Climate
 change poses a risk to the forest’s ecosystem integrity and may obstruct habitat corridors, creating a
 need to manage the forest to allow for species migration. Intact ecological zones connected to each other
 can buffer these changes and allow species to adapt to changingconditionsin order to maintain
 continuous wildlife habitat.

 As such, we would like to provide comments on thescope of the Rio Grande National Forest Planthat
 focuses on: 1) identifying and protectingwildlife corridors, and2) utilizingthe best available science to
 identify those corridors.

Implementation of these two goals will require analyzing alternatives that establish wildlife corridors to
provide for connectivity based on the best available science; adopting standards and guidelines to ensure
permeability is maintained; and coordinating with landowners, tribes, conservation non-profits, and
other state and federal agencies when planning for connectivity.

We would especially like to see connectivity amongthe national forests as a goal of the plan. Since the
Carson and Santa Fe National Forests in New Mexico are both undergoing plan revisions, it is ideal
timingto coordinate betweenforests andthis will be key to maintaining connectivity across jurisdictions
and across Forest Service regions.

In terms of using the best available science, we would like to bring the following data sources to your
attention:
    • A study by Tom Watts1 that compiles connectivity data for mule deer and elk in southern
        Colorado and northern New Mexico (this study is being updated with new information and will
        be available in the fall of 2016);
    • A map made by the Chama Peak Land Alliance compiling existing wildlife corridors in the
        CPLA region (please see page 3) and displays the cross-jurisdictional nature ofwildlife
        movement, even between national forests; and
    • The New Mexico Natural Heritage Program2 wildlife corridors report entitled “Wildlife
        Doorways,” that was just published in March of this year.

Thank you for your time and consideration. Please don’t hesitate to contact me with any questions or
comments about our thoughts on the plan revision.

Sincerely,



  Monique/DiGiorgio, Executive Director
  970-335-8174 | chamapeak@gmail.com


1 Watts, Tom. November 2014. A COMPILATION OF MULE DEER AND ELK POPULATION DATA FOR THE SAN
JUAN/CHAMA BASIN. Online at http: //www .chamapeak.org/pdf/W atts FINAL % 20REPORT-2014.pdf

2Natural Heritage New Mexico. Wildlife Doorways. March 2016.
                                                                                                          2
                                   1309 East Third Ave. #8 | Durango, CO 81301
                             chamapeak@gmail.com | www.chamapeak.org | 1-888-445-7708

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WILDLIFE MIGRATION OF MULE DEER AND ELK IN THE CPLA REGION
GIS data was collected from the Southern Ute Indian Tribe, Jicarilla Apache Nation, and Chama Peak
Land Alliance, and is available upon request.




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                               1309 East Third Ave. #8 | Durango, CO 81301
                         chamapeak@gmail.com | www.chamapeak.org | 1-888-445-7708

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                              Intermountain Forest Association
                                     2218 Jackson Blvd, Ste 10, Rapid City, SD 57702
                                          605-341-0875 Fax 605-341-8651




                                                                                October 28, 2016

   Mr. Dan Dallas
   Rio Grande NF
   1803 W. Highway 160
   Monte Vista, CO 81144

   Dear Mr. Dallas:

   Following are comments from the Intermountain Forest Association on the Proposed
   Action for the revision of the Rio Grande NF Forest Plan:

   Objectives and Desired Conditions
   First, we support an increased emphasis on Objectives and Desired Conditions over
   Standards and Guidelines. We feel that an over-emphasis on Standards and Guidelines
   won’t necessarily allow for flexibility over the long-term and may not lead to achievement
   of the desired conditions. As the draft EIS and draft revised plan are developed, we would
   like to see not only the desired conditions, but also an explanation of the mechanisms that
   will be used to achieve them over time.

   Forest-wide Goals
   Overall, we support the three primary goals listed in the Proposed Action, with the
   following modifications of the detailed discussion:

   With regards to Goal #1, we would like to see additional language included that discusses
   management. In order to protect and restore watershed health, water resources, and the
   systems that rely on them, many parts of the forest will need active management. Using the
   word “protect” without a discussion on the need for management may lead to some
   confusion. We recommend inserting discussion about the number of watersheds that are
   currently threatened due to high fire danger, insects and disease, etc., with a follow up that
   explains the role of management in restoration.

   Concerning Goal #2, we support and appreciate the language describing the need to
   “aggressively diversify age classes and structure, seral stage, and habitat classes” to provide
   a wide variety of benefits. However, we are concerned that achieving the desired



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   conditions laid out in Goal #2 may be difficult given the limitations with the Southern
   Rockies Lynx Amendment, thus our comments about Lynx on page 6 of this letter.

   Given that Goal #3 is to “actively contribute to social and economic sustainability,” we
   recommend the following language be inserted:
      • Provide a predictable supply of forest products over time that 1) helps maintain or
          create processing capacity and infrastructure in local communities and 2) is
          consistent with achieving desired conditions on national forest lands.

   Forest-wide Desired Conditions
      •   Biological Diversity - we can support the language in the first paragraph regarding
          “disturbance frequencies similar to those that result from natural disturbances” for
          many areas of the RGNF, but not for suited timberlands. One size does not fit all, and
          we recommend that you go into considerably more detail on forestwide desired
          conditions to distinguish between desired conditions for suited timberlands and
          other lands. We specifically recommend that you identify desired conditions for
          habitat, structure, and pattern for suited timberlands.
      •   Timber Resources - rather than stating that “the vegetative structure on the RGNF is
          “capable” of sustaining timber harvest”, we recommend stating that “the vegetative
          structure on the RGNF will be managed for desired conditions and timber harvest.”
          With regards to “some harvest operations are designed to mimic natural
          disturbance events or processes,” we don’t generally agree that managing suited
          timberlands to “mimic natural disturbances” is appropriate. Following are some
          additional desired conditions we recommend for Timber Resources:
              • The removal of wood products (sawtimber, roundwood, firewood, etc.) and
                  other forest products (Christmas trees, pine cones, greenery, etc.)
                  contributes to ecological, social, and/or economic sustainability and moves
                  the forest toward desired conditions. A mix of timber products responsive to
                  existing, new, and changing markets is provided.
              • Lands identified as suitable for timber production have a regularly scheduled
                  timber harvest program. Where appropriate, thinning or other types of
                  stand treatments are used to increase tree growth and create additional
                  growing space for the desirable tree species, to address forest resilience
                  objectives, and reduce mortality and fuel loading. Lands are adequately
                  restocked within 5 years of final regeneration harvest, following a site­
                  specific silvicultural prescription.
      •   Fire - we do not agree with the statement “the role of fire in ecosystem dynamics is
          recognized and sponsored” with regard to suitable timberlands. We recommend full
          suppression objective for fires on suitable timberlands. Specifically, we recommend
          that initial response to wildfires would generally favor suppression to protect suited
          timberlands, including aggressive initial attack to keep fires as small as possible and
          strategies and tactics to minimize fires burning into the area.




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   Objectives
   As mentioned above, we support an increased emphasis on Objectives and Desired
   Conditions. We recommend the following Objective for Forest Products:
      • Forest products produced from the Rio Grande NF average at least 50,000 ccf
          annually for the first decade.

   Additionally, we propose the following strategies to help achieve this objective:
      • Prioritize harvest of trees killed by the spruce beetle epidemic.
      • Offer a mix of forest product size, species, and quality that will maintain or increase
          forest products companies’ capacity to utilize products from the Rio Grande NF.
      • When possible, integrate the timber and fuels programs to meet overlapping or
          common goals.
      • As the merchantability of trees killed by spruce bark beetles declines, supplement
          sale of dead trees with sale of green trees.

   Geographic Areas
   We feel that having both geographic areas and management areas is redundant and is just
   making extra work in the process. We think just having management areas would be
   better, and less confusing.

   Fire Management Zones
   While we agree with the use of fire for resource benefit in theory, we are very concerned
   about burning up suitable timber acres that fall under the Restoration and Protection Zone
   (FRB-RP). We recommend that this section include more detail with regards to
   management processes on suitable timber acres. With only 17% of the RGNF being
   suitable, we definitely do not want to see acres go up in smoke for “resource benefit.”

   General Forest Geographic Area
   First, we recommend breaking this section into two sections: General Forest, and Suitable
   Timberlands. This distinction is very important and the language within each section
   should discuss the differences.

   For the suitable timberlands, we feel strongly that the highest priority/objective for these
   acres should be timber management and outputs. Implying that vegetation management is
   for wood production or to benefit other resources is a false premise; we recommend
   management for wood production and benefits to other resources.

   Rather than using the word “sustainable” in this section, we recommend summarizing the
   language from FSH 1909.12 - Chapter 60 that explains the legalities of timber harvest on
   National Forest Lands. Given the current level of mortality on the RGNF, a discussion of
   “sustainable” in the traditional sense of “non-declining even flow” just doesn’t fit. We also
   recommend a discussion about a transition from salvage to harvest of green timber as the
   dead trees lose merchantability. It is important that the revised forest plan include a
   transition plan to maintain forest industry infrastructure. Ideally, the revised Forest Plan


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   would outline a timber sale program that maximizes harvest levels now while the material
   can still be utilized for sawtimber, while recognizing that forest harvest levels will decrease
   in the long-term.

   Finally, we are uncomfortable with the statement “the Forest plans to continue to salvage
   harvest at approximately the same levels.” We would rather that the revised forest plan
   and DEIS acknowledges their current capacity while including language that would allow
   salvage harvest at higher levels if opportunities arise.

   Management Areas
   First, we found this section to be a little confusing. To make the section easier to
   understand, we recommend the following:
       • Locating Table 1.4 at the start of this section.
       • Put the different management area discussions in chronological order.
       • Rather than having 4 different categories for timber related activities, we suggest:
               o Suited Timberlands
               o Timber Harvesting Allowed

   Furthermore, Management Area 3.3 is discussed in the text, but does not show up in Table
   1.4. Also, Management Area 3.5 and 3.6 should show that timber harvesting is allowed, and
   Management Area 4.4 should show that TSI is allowed. Finally, we recommend adding
   language to the Management Areas that allow timber harvesting to make that clear.

   5.13 - Forest Products
   While we are supportive of most of the language found within Management Area 5.13, we
   are concerned that statements such as “full range of activities” and “all succession stages
   are represented” portray a false picture given the current limitations of the SRLA. We are
   very concerned that a full range of activities, as well as achieve a diversity of ages, densities,
   and sizes, will not be possible due to the SRLA. Again, see our Lynx comments on page 6.

   Furthermore, we are concerned by the last two sentences in the second paragraph
   regarding old growth and mature stands. Given that only 17% of the RGNF is suited
   timberlands in the current forest plan, we generally recommend that forestwide old growth
   objectives be achieved outside the suited timberlands. We don’t understand the intent of
   the last sentence in that paragraph or how it will be incorporated into forest plan direction,
   therefore, we recommend that sentence be deleted.

   Finally, we recommend the following desired conditions be incorporated into this
   management area:

      •   The area provides scheduled wood fiber production, including sawtimber, posts and
          poles, and firewood. Disturbed areas are evident across the landscape and vary in
          size and shape.
      •   The age class of stands is evenly distributed within the normal rotation age.




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      •   On suited timberlands, commercially valuable timber products are produced by
          maintaining acceptable stocking levels and rates of growth, as well as favoring
          commercial tree species.
      •   Lands in this management area are managed with a strong multiple use emphasis.
      •   A variety of silvicultural techniques and harvest systems are used to restore
          ecological function, structure, and composition, and provide products and services.
          Silvicultural treatments and prescribed fire are used to meet multiple resource
          objectives, as well as to achieve and maintain vegetation conditions and desired fuel
          levels to reduce the threat to key values from wildfire.
      •   A variety of cover types are represented, with commercial species given priority.
      •   Desired Snags - in areas where timber harvest or other management activity is
          implemented, an average of 2-3 snags greater than 10” dbh averaged over 1,000
          acres.
      •   Desired Coarse Woody Debris - 15 to 20 tons per acres of coarse woody debris over
          6” in diameter in areas where timber harvest or other management activity is
          implemented.

   Standards and Guidelines
   We recommend removing “timber removal on a sustained yield basis” because that
   restriction/requirement doesn’t seem applicable given the very high proportion of dead
   trees on the RGNF.

   Adaptive Management Domain
   In the third paragraph, after “Administrative Change,” we recommending the following
   language: “Other changes may require a forest plan amendment. Any changes would be
   done in compliance^.”

   Process Related Comments
   The following two sections, while related to the Proposed Action, are primarily comments
   related to the forest plan revision process. We are very concerned how Species of
   Conservation Concern and Canada lynx are being dealt with during the revision process.

   Species of Conservation Concern

   As we commented in our April 18, 2016 letter, according to the 2012 Planning Rule, Species
   of Conservation Concern are: “a species, other than federally recognized threatened,
   endangered, proposed, or candidate species, that is known to occur in the plan area and for
   which the regional forester has determined that the best available scientific information
   indicates substantial concern about the species capability to persist over the long-term in
   the plan area.”

   As we further commented, the rationale for many of the species on the draft list of RGNF
   SCCs was inadequate to include many of those species on the list of Draft RGNF SCCs.
   Based on the information provided to date by the RGNF and the Regional Office, we find
   that to still be true. For example:


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          -Northern Goshawk - the rationale for inclusion as an SCC discusses “uncertainty”,
          but not “substantial concern” about capability to persist over the long-term in the
          plan area. Further, there are no references to Best Available Scientific Information.

          -American Marten - the rationale for inclusion as an SCC discusses “uncertainty”, but
          not “substantial concern” about capability to persist over the long-term in the plan
          area. Further, there are no references to Best Available Scientific Information.

          -Wahatoya Creek larkspur - according to the rationale for inclusion as an SCC, this
          plant is not documented in the plan area. Further, there is no finding of “substantial
          concern” about capability to persist over the long-term in the plan area.

          -King’s campion - according to the rationale for inclusion as an SCC, there is only one
          record of occurrence on the RGNF and that was from 1995; further, there is a
          comment that the occurrence on the RGNF “may be a peripheral occurrence.”
          Finally, there is no finding of “substantial concern” about capability to persist over
          the long-term in the plan area.

   We generally agree with removal of 26 (unidentified) species that are “not known to occur”
   or for which there is “lack of substantial concern for persistence” on the RGNF as discussed
   on page 6 of the Regional Forester’s August 17, 2016 letter. Based on information released
   to date by the RGNF and the Regional Office, we believe there are additional species that
   should be removed for those same reasons, and we request that that be done prior to
   analysis and release of the DEIS and draft revised plan.

   We are very concerned by the sentence in the second paragraph on page 6 of the Regional
   Forster’s August 17, 2016 SCC letter stating that there were no public comments on the SCC
   list other than the comments from Defenders of Wildlife. That’s not accurate. IFA’s April
   18, 2016 letter also addressed SCCs, but apparently did not receive the same consideration
   as the comments from the Defenders of Wildlife. Therefore, we request that the RGNF and
   the Regional Office review and give IFA’s comments on SCCs the same consideration as the
   comments from Defenders of Wildlife.

   We respectfully request additional information that has been developed regarding
   “presence” or “substantial concern” since the Assessment, as well as explanations for
   adding/deleting species from the SCC list.

   Lynx
   As we discussed in our February 3, 2016 letter, the SRLA Record of Decision requires the
   Forest Service to review and reconsider the direction in the SRLA when the forest plans for
   each of the affected national forests is revised. We view the revision of the RGNF forest
   plan as an opportunity to consider what has been learned since the SRLA was approved,
   and, using that information, to update the lynx direction in the revised forest plan.
   We are especially concerned about the costs of all the “accounting” requirements for LAUs
   and acres required by the SRLA and the restrictions on implementing “a full range of


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   silvicultural treatments”, including timber harvest, contained in the SRLA. We are very
   disappointed that the Proposed Action neither acknowledges nor addresses the restrictions
   and requirements of the SRLA, and appears to ignore the requirement to “review and
   reconsider” the SRLA direction during the forest plan revision. Again, we refer you to our
   recommendations in the February 3, 2016 letter. In particular, we recommend that you
   analyze to what extent can lynx habitat needs can be satisfied through the “coarse filter”
   using some combination of Objectives and Desired Conditions to achieve lynx habitat
   needs.

   Thank you for your consideration. We would be happy to discuss these comments and
   recommendations with you at your convenience.

   Sincerely,

   Thomas A. Troxel
   Thomas A. Troxel
   Executive Director




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   CHAMA BASIN WATERSHED PROTECTION AREA

   Proposed Designated Area
   Rio Grande National Forest                             22,900 acres
   Conejos Peak Ranger District



   General Description

   Chama Basin is a large, intact roadless area that encompasses the entirety of the Chama River's
   headwaters not already included within the South San Juan Wilderness. The Chama River is the
   largest source of municipal water supply for the majority of New Mexico's urban population.
   Vast tracts of aspen cover much of the basin, and the Rio Chama at its center is a healthy
   montane riparian forest of willow, cottonwood, and alder.

   Chama Basin has been the focus of prior management actions to enhance its value as an intact
   and undisturbed headwaters watershed. In 2011, the Rio Grande NF completed acquisition of
   the mineral rights, consolidating surface and mineral estates under federal jurisdiction and
   thereby assuring compatible management. Chama Basin has previously been evaluated as
   possessing high potential for oil and gas resources. Federal ownership of the mineral estate
   allows complete discretion to the Forest Service about future mineral leasing.



   Watershed values

   The proposed Chama Basin Watershed
   Protection Area consists primarily of the
   21,600-acre Chama Basin Colorado Roadless
   Area, which is primarily an Upper Tier area.
   The area is managed for both non­
   motorized and motorized recreation, and
   cattle and sheep grazing occurs. The basin is
   a compact, confined watershed bounded on
   three sides by high ridges and escarpments,
   with only a single road providing access to
   the southern edge of the basin. (USDA
   Forest Service Colorado Roadless Rule,
   2012)

   The uppermost headwaters of the East Fork of the Rio Chama are situated in the adjacent,
   upstream South San Juan Wilderness. The uppermost headwaters of the West Fork arise within
   the adjacent, upstream Banded Peak Ranch, which is managed compatibly for watershed
   protection under a conservation easement.




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   Over 10 miles of streams within Chama Basin have been determined eligible for inclusion with
   the Wild and Scenic Rivers System. These include both the East Fork and West Fork of the Rio
   Chama, as well as 5 miles of Archuleta Creek. The streams were categorized under the Scenic
   classification, even though the entirety of these segments is inaccessible by road. The 4-5 miles
   of the Rio Chama mainstem should similarly be recognized as eligible for inclusion as a scenic
   river. (Rio Grande LRMP FEIS, 1996)

   Wildlife and Botanical Values

   The area sees high use by lynx, a threatened species. Boreal owl and goshawk, two sensitive
   species, have been documented in the area. Bald eagles use the area in the summer.

   The Rio Chama Potential Conservation Area identified by Colorado Natural Heritage Program is
   entirely contained within the proposed watershed protection area. The Rio Chama PCA is a 191-
   acre site of High Biodiversity Significance identified for its montane riparian forest. The basin's
   broad floodplain has large amounts of alluvium, abandoned river channels, and downed logs
   that create a very dynamic, active riparian system. Biodiversity elements of specific interest
   include mountain willow (Salix monticola)/mesic graminoid montane riparian willow carr, and a
   narrowleaf cottonwood/thinleaf alder (Populus angust.folia/Alnus incana) montane riparian
   forest. (CHNP Potential Conservation Area Report, 2015)

   Boundary, Size, and Access

   The proposed Chama Basin Watershed Protection Area is a well-defined and confined
   watershed. The watershed protection area encompasses 22,900 acres, of which about 21,600
   acres is an Upper Tier Colorado Roadless Area. The western rim and eastern rim of the area are
   the watershed divides. The northern boundary is the national forest boundary or the wilderness
   boundary, with the uppermost mile or two of the West Fork and East Fork located within
   adjacent conserved private land (Banded Peak Ranch) or adjacent designated wilderness (South
   San Juan). The southern boundary is the national forest boundary. Forest Road 121 provides
   access to the southern, lower reaches of the Rio Chama at the forest boundary. A system of
   motorized trails (Archuleta Creek and West Fork) and non-motorized trails (Rio Chama and East
   Fork) provide access to the area's interior.

   Proposed Management

   Specific management direction is proposed to ensure primacy of watershed protection as
   follows:


      •   The Chama Basin Watershed Protection Area must be found unsuitable for oil and gas
          leasing and mineral material sales, and made discretionary no lease for watershed
          protection purposes. The area also needs to be withdrawn from mineral entry.




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      •    Management direction must include prohibition on road construction and limitations on
           tree removal consistent with Upper Tier management prescribed by the Colorado
           Roadless Rule, 36 CFR Part 294.43(b), 294.42(b).


      •    Motorized and mechanized vehicle use can only occur on designated routes that are
           located and managed to minimize impacts to watershed values. Best management
           practices are in place on all access routes and monitored regularly to ensure
           effectiveness.


      •    Eligible Wild and Scenic Rivers must be managed to preserve their eligibility for
           designation under the Wild and Scenic Rivers Act. Management direction must include
           no new roads or expanded motorized access, no water impoundments or diversions, no
           mineral leasing or extraction, and no new surface disturbing activities.
               o The classification of the East Fork of the Rio Chama should be changed to Wild to
                    reflect its condition as a primitive watershed inaccessible by motorized access.
               o The Rio Chama mainstem, from the confluence of the two forks downstream to
                    the national forest boundary, should additionally be identified as an eligible river
                    under the Scenic or Recreational classification.

      •    Develop an interpretive program for the area that educates visitors on the special
           character and watershed values of the area.

   Information Resources

   Topic                                 Data Source
   Biodiversity                          CHNP PCA Report, 2015
   Roadless area                         USDA Forest Service Colorado Roadless Rule, 2012
   Wild and Scenic Rivers                Rio Grande LRMP Final EIS, 1996




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                      Chama Basin Watershed Protection Area




                              0   1    2 Miles




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      October 28, 2016


      Rio Grande National Forest
      Forest Plan Revision
      1803 W. Highway 160
      Monte Vista, CO 81132

      RE: Proposed Action

      To Whom it May Concern,
      With this letter and attachments, Cumbres Nordic Adventures LLC, and owners
      Mary Ann DeBoer and Patrick Hogan are submitting comments concerning the Rio
      Grande National Forest’s Proposed Action.
      We own and operate the Spruce Hole Yurt on the Conejos District and live in Chama,
      New Mexico. Mary Ann is president of the Chama Valley Outdoor Club, and the Race
      Director for the Chama Chile Ski Classic, which operates under a special use permit
      with the RGNF. Mary Ann is also a member of the New Mexico Cross Country Ski
      Club. We are both members of Chama Peak Land Alliance and the San Luis Valley
      Ecosystem Council.
      We will be commenting on the following areas and topics:

         1. Spruce Hole Area
         2. Winter Recreation and the new Over Snow Vehicle rule and regulations
         3. Cumbres/LaManga Winter Recreation Plan
         4. Chama Basin watershed
         5. Wildlife corridor between the Rio Grande NF and the Carson NF
         6. Continental Divide Trail and Cumbres & Toltec Railroad Special Interest
            Areas
         7. Wolf Creek Pass Linkage Landscape Zoological Area proposed designated
            area

      Spruce Hole Area
      We are pleased that lands west of the Spruce Hole road are in a roadless and upper
      tier roadless designation in the Proposed Action plan. This area is important habitat
      for lynx and other wildlife. We often see snowshoe hares, weasels, martens, fox, and
      bear near the yurt, and we also see lynx tracks in the area and up on Pinrealosa
      ridge.
      Winter Recreation & OSV Rules

      We were happy to see that the Forest Service will be re-evaluating forest land
      suitability for over the snow vehicle use (RGNF Need for Change A1). To locate
      lands that are suitable for OSV use, it will be important to identify areas that:



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      1. Minimize damage to soil, watershed, vegetation, and other public land resources,
      2. Minimize harassment of wildlife or significant disruption of wildlife habitat, and
      3. Reduce conflicts between motorized use and other existing or proposed
      recreational uses

      Here is a list of criteria to consider when evaluating lands for OSV suitability that
      will help minimize damage to the environment and reduce user conflicts. These
      criteria are included in the report “Snowmobile Best Management Practices for
      Forest Service Travel Planning, April 2015”, published by the Winter Wildlands
      Alliance. It has been peer reviewed and appeared in the Journal of Conservation
      Planning, 2016, Volume 12:1-28. We recommend that you use this information
      when developing suitability criteria and have attached a copy of the “Snowmobile
      Best Management Practices”.

      Recreation and Social Considerations

         1. Identify as unsuitable for OSV use, areas where recreational conflict may
            occur. These include areas that are popular or historically used by cross­
            country skiers and snowshoers, areas around backcountry yurts or huts, and
            popular backcountry ski slopes, in order to maintain quiet use areas.
         2. Locate OSV areas outside proposed Wilderness Areas, Wilderness Study
            Areas and Research Natural Areas
         3. Locate OSV suitable areas that have easily enforceable boundaries using
            topographic (like a drainage or ridgetop) or geographic (like one side of a
            road or another) boundaries.
         4. Locate OSV suitable areas where they do not bisect non-motorized areas.
         5. Ensure that non-motorized areas and trails that are accessible to skiers,
            snowshoers and other quiet users, are deemed unsuitable for OSV use,
            especially in areas where there are few non-motorized opportunities. These
            include areas that are close to plowed access points and trailheads, in
            contiguous non-motorized blocks, in both front-country and back-country
            settings and in areas sheltered from noise from motorized areas.
            Snowmobiles can travel long distances away from trailheads and plowed
            access roads, but skiers and snowshoers are generally day users, often
            traveling no more than 3 to 5 miles (6-10 miles roundtrip) away from a
            trailhead, unless they are traveling hut to hut (or yurt to yurt).

      Wildlife Considerations:

         1. Identify areas as unsuitable for OSV travel where there is potential for
            snowmobile disturbance of key wildlife such as lynx or bighorn sheep.
         2. Maintain large un-fragmented, undisturbed and connected blocks of
            forestland and alpine habitat, and important wildlife corridors, as unsuitable
            for OSV.
         3. Identify OSV suitable areas in areas that are bounded by natural features
            (topography and natural vegetation cover) to provide visual and acoustic
            barriers, and to ensure that secure habitat is maintained for wildlife.




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      Water Quality, Soils and Vegetation Considerations:

         > OSV suitability should also include temporal restrictions (season opening
             and closure) and snow depth requirements in order to protect water quality,
             soils and vegetation. Require a minimum snow depth of at least 18 inches
             for off-trail use and a minimum snow depth of 12 inches for groomed trails.
             When evaluating lands for OSV suitability, consider the dates that
             snowmobiles use an area and/or if an area receives adequate snowfall to
             maintain minimum snow depths.

         2     . Restrict snowmobile use on wetlands, riparian areas and sensitive meadows
      Cumbres/LaManga Winter Recreation Plan and Voluntary Separation
      Program

      It is our understanding that Winter Travel Management will not take place until
      after the Forest Plan is completed, which could be 2 to 3 years from now. We are
      really concerned about this, because the current Cumbres/LaManaga Winter
      Recreation Plan and Voluntary Separation program that is in place is not working
      very well for many of the skier/quiet use winter recreation areas that are in the plan
      and on the map. It is important that pro-active management of the current
      Cumbres & LaManga Winter Recreation program takes place to preserve the
      few accessible winter skier/quiet use areas that remain.
      Better management and signage to improve the current Winter Recreation Plan will
      help with future Winter Travel Management planning, by getting everyone used to
      the idea that there are motorized, snowmobile and non-motorized, quiet use areas,
      even though the current plan is voluntary.

      The following is a summary of what is happening in each skier/quiet use area that
      are on the Winter Recreation Plan and what we think needs to be done in the next 2
      to 3 years to make the voluntary separation plan work better to preserve some of
      these quiet use areas.

      The following areas are on the Cumbres & LaManga Winter Recreation brochure
      and map, which is attached for your reference.

         > North of Red Lake Road [FSR114J & Grouse Creek Yurt: This area is
             designated as a skier/quiet use area and the area south of FSR114 is
             designated as a mixed use (snowmobiles and skiers) area. The area north of
             FSR 114 has significant snowmobile use, and it seems that there is no regard
             for the quiet use designation. The kiosk and map posted on Hwy. 17 has not
             helped to keep snowmobiles out of this area, because usually only skiers see
             the map and not the snowmobilers. Overall, this is a very difficult area to
             manage without extra maps and signs.
             Recommendations: Post signs at the beginning of the road that show the
             road as a division between the skiing/quiet use area and mixed use area. For
             instance, “Skiers, Right of Road” and “All Users, Left of Road”. Since the



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            south side of the FSR 114 is a mixed use area, and an area where skiers
            follow a trail to the Grouse Creek Yurt, it is important that this area remain
            open to skiers. Placing the Winter Recreation map at the beginning of FSR
            114, would help to educate snowmobilers about the voluntary separation
            plan.
               In the future, the Grouse Creek area and FSR 114 should become all quiet
            use and non-motorized. It will be easier to manage this way.

         > Neff Mountain: Snowmobile use in and near Neff Mountain and Neff
            Mountain yurt is increasing. Instead of going in at the trailhead by the
            highway, snowmobiles access FSR 116 from the private land in Los Pinos and
            then travel onto the road and continue towards Trujillo Meadows. Once they
            are on FSR 116, they also go off the road into the skier/quiet use area,
            especially in areas where the road crosses open meadows.
               They are also accessing the area around Neff Mountain yurt, on a closed
            road (just off of FSR 116) and through a broken gate. This gate had a “road
            closed” sign on it, which discouraged snowmobiles from entering until it was
            covered by snow. But now the gate is no longer visible at any time during the
            winter because it is broken. The gate used to discourage snowmobiles from
            going to the yurt and Neff Mountain bowl (a popular area for backcountry,
            telemark and alpine touring skiers). In recent years, though, snowmobiles
            have even been seen above and below the Neff Mountain bowl and
            occasionally they have ridden through the bowl itself.
               On the winter recreation map, FSR 116 marks the north boundary of the
            Neff Mountain skier/quiet use area. On the map, it appears that this road
            was meant to be a part of the skier/quiet use area, since it borders lands that
            are not identified as either skier/quiet use or snowmobile use.
               Historically, FSR 116 was used by skiers & snowshoers, and was
            designated as a road for skiers to use in the original voluntary separation
            program promoted by Carlos Pinto, District Ranger for the Conejos District in
            the late 1990’s (see attached copy of this plan). The owner of the Neff
            Mountain yurt would like to see the road and access to the yurt become non­
            motorized again.

            Recommendations: Be clear about the boundaries of the Neff Mountain
            area for skiers/quiet use. Place signs at the highway and at the other end
            (coming off of Trujillo meadows) of FSR 116 that say “Skiers Use this Road”.
            Place a tall fence, a string of banners and/or signs to mark the boundary of
            the skier/quiet use area, at the places on FSR 116 where snowmobiles access
            the road off of the private land in the Los Pinos area.
               Place signs along the FSR 116 to mark the boundary of the skier/quiet use
            area, especially where the road crosses open meadows, to discourage those
            snowmobilers who do end up on the road accidently or purposely.
               Fix the gate and re-establish the road closure and sign, on the road that
            goes off of FSR 116 to the Neff Mountain yurt and bowl areas.




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         > Spruce Hole: Historically, Spruce Hole has also been an area for skiers and
            quiet use. Road 108 into Spruce Hole, was part of the original voluntary
            separation program promoted by Carlos Pinto, District Ranger in the late
            1990’s and early 2000’s.
               This is one of the few areas where snowmobiles generally stay out. It has
            become very popular with skiers and our yurt business has grown in the last
            couple of years. Some of our customers tell us that this is the only place
            where they can get away from snowmobiles and find peace and quiet.
            Spruce Hole is geographically separated from other winter recreation areas,
            which is one reason why it has been successful as a skier/quiet use area.
            There is a sign on the kiosk at the trailhead that says “Skiers Use this Road”,
            which we think has been very helpful in keeping snowmobiles out of the area
            last season. Another reason we think that snowmobiles have stayed out, is
            that the parking area is usually not large enough to turn a trailer around in.
            Occasionally, snowmobiles will travel up FSR 108, and even more rarely do
            they travel on the road (FSR 108A) past the yurt, which is closed with a gate
            and a “Road Closed” sign. Last year, though, the gate was damaged by wood
            cutters.
               Occasionally, snowmobiles also travel up and over Pinrealosa ridge into
            the Spruce Hole area.

            Recommendation: Continue to manage this area as a skier/quiet use area.
            It is working fairly well. Fix the gate with the “Road Closed” sign on FSR
            108A. Monitor snowmobile use during and after the logging that is
            scheduled for the next two years in the Spruce Hole area.
                A simple chain link gate at the beginning of FSR 108 by the highway, to
            discourage motorized traffic, could be helpful.

         > Flat Mountain & Trujillo Meadows: The area around Trujillo Meadows yurt is
            constantly being used by snowmobiles, while the area around Flat Mountain
            Yurt has fewer snowmobiles, most likely due to the private land that is
            between the yurt and a mixed use area. There appear to be no geographic or
            topographic features that keep the Flat Mountain/Trujillo Meadows
            skier/quiet use area separated from the mixed (motorized & non-motorized)
            area. The area is separated by a straight line on a map only.

            Recommendations: To encourage non-motorized use of this ski/quiet use
            area, the Forest Service needs to sign the boundaries of the area, especially
            on the FSR 118.1C where the boundary crosses the road.

         > Tanglefoot Curve Railroad Area: This skier/quiet use designated area is
            south of Hwy. 17 and follows the Railroad tracks along “Tanglefoot Curve”.
            This area is heavily used by snowmobiles and the “skier/quiet use”
            designation on the maps has been useless. Many skiers, though, still enjoy
            skiing in this area.




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             Recommendations: Signs should be put up that say “Skiers Use Tracks” or
             signs should be put up along the boundary of the area that say “Skiers Use
             this Area”. Even though this area is used heavily by snowmobiles, signage
             like this will alert the snowmobilers that skiers are in the area.

         > Race Site (Below Windy Point): This area is the site of the Chama Chile Ski
             Classic. It has been designated as a Quiet Use area and has been closed to
             winter motorized traffic for a period of 5 years, beginning the 2014/2015
             season. This area is generally free of snowmobiles except when trails are
             being groomed for the Chama Chile Ski Classic. Snowmobiles occasionally
             come in from the private land on the south side of Hwy. 17 by way of the
             railroad tracks. Snowmobiles also come in over the top of the ridge on the
             north and western end of this area, or by the railroad tracks coming down off
             Cumbres Pass.
             Recommendations: Extend the motorized closure of this area, beyond 5
             years, and keep it as a non-motorized winter use area until the Winter Travel
             Management planning is completed. Continue to post no snowmobile signs
             (snowmobile with a red slash) at the parking area kiosk and fence. In
             addition, post no snowmobile signs alongside the railroad tracks where the
             tracks come in off of Hwy. 17 and where they come into the area from the top
             of Cumbres Pass.

      Chama Basin Watershed

      We would like to support the establishment of the Chama Basin area as a Watershed
      Protection Area (Specially Designated Area) as proposed by the San Luis Valley
      Ecosystem Council and the Wilderness Society.
      First we would like to thank the Forest Service for acquiring the oil and gas, and
      mineral rights under the Chama Basin in 2011. This was a very important
      acquisition for the long-term protection of this watershed and the water it provides
      to the people in the state of New Mexico, from Chama all the way down to
      Albuquerque.

      In addition, this area is part of a greater landscape that is connected to large parcels
      of private land that are managed for their wildlife values under conservation
      easements or plans. The broader landscape includes the Edward Sargent’s State
      Wildlife area to the south, which is a calving area for elk in the spring.

      Please consider the following recommendations for this area:
      * Now that the Forest Service owns the minerals rights, make the surface
      management congruent with the minerals management. This area must be found
      unsuitable for oil and gas leasing and mineral material sales, in order to protect the
      water resources.

      * Work with adjacent private land owners to manage the watershed appropriately
      and the regional landscape for wildlife and ecosystem health.



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      * Since the Forest Service has already designated this area as an Upper Tier Roadless
      area, fire management should be in fire management zone FRB-M or a Maintenance
      Zone (pg. 15, Proposed Action). We support this type of fire management since it
      will be important to manage it to avoid a catastrophic fire in a watershed area. We
      do not support any additional road building in this area, though.

      Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area:
      We are in favor of the establishment of the Spruce Hole/Osier/Toltec Zoological
      Area as a specially designated area on the RGNF, as proposed by the San Luis Valley
      Ecosystem Council and the Wilderness Society (see attachment). This proposed
      wildlife corridor connects to lands on the Carson National Forest and then onto the
      Rio Grande Del Norte National Monument to potentially create a larger landscape to
      benefit wildlife into the future. Similar corridor and land connection proposals
      have been made by New Mexico citizens, to the Carson National Forest and the Rio
      Grande del Norte National Monument.

      It is critical that the Rio Grande National Forest coordinate and work with Carson
      National Forest and the Rio Grande Del Norte National Monument to protect
      landscapes across state and jurisdictional lines to protect crucial connected habitat
      for large game species and carnivores, including the big horn sheep and lynx, which
      are protected species.

      A vision for this landscape is outlined in the document - Wildlife Doorways:
      Supporting Wildlife Habitat Connectivity Across Borders in the Upper Rio Grande
      Watershed, written by Esteban Muldavin and Rayo McCollough from the Natural
      Heritage New Mexico program and the Biology Department and Museum of
      Southwestern Biology at the University of New Mexico, March 2016. Muldavin and
      McCollough have identified an area they call the “Northern Taos Plateau” that
      includes the proposed Spruce Hole/Osier/Toltec Zoological Area and connected
      areas to the south and west on the Carson National Forest and the Rio Grande del
      Norte National Monument. Togther, these areas represent a variety of landscapes
      and elevations, and habitat for the movement of wildlife. In addition, these areas
      protect widely diverse habitats and ecosystems.

      Continental Divide Trail & Toltec Railroad Special Interest

      We support the Forest Services designation of the CDT trail and the Cumbres and
      Toltec Scenic Railroad as a Special Interest Area. Both the Continental Divide Trail
      and the Cumbres and Toltec Scenic Railroad are important to the tourist-based
      economy of Chama, NM. Chama is a gateway community for the CDT trail and many
      thru hikers stop in Chama to rest, buy food and stay overnight. The Forest Service
      has worked with the Cumbres & Toltec RR in the past to mitigate fire danger, while
      keeping the RR running.




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      Wolf Creek Pass Linkage Landscape Zoological Area
      We are in favor of the establishment of the Wolf Creek Pass Linkage Landscape
      Zoological Area as a specially designated area on the RGNF, as proposed by the San
      Luis Valley Ecosystem Council and the Wilderness Society (see attachment). We
      recognize the importance of protecting large, landscapes as habitat connections for
      lynx and other wildlife.

      Thank you for the opportunity to participate in the Forest Planning process. We
      look forward to continued involvement with the Rio Grande National Forest.
      Sincerely,

      Mary Ann DeBoer
      Patrick S. Hogan

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      Literature & Information Cited:
      Switalski, A. 2016. Snowmobile Best Management Practices for Forest Service Travel Planning: A
      Comprehensive Literature Review and Recommendations for Management - Introduction to Snowmobile
      Management and Policy. Journal of Conservation Planning. 12: 1-7.

      Switalski, A. 2016. Snowmobile Best Management Practices for Forest Service Travel Planning: A
      Comprehensive Literature Review and Recommendations for Management - Water Quality, Soils, and
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      Switalski, A. 2016. Snowmobile Best Management Practices for Forest Service Travel Planning: A
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      Conservation Planning. 13-20.

      Switalski, A. 2016. Snowmobile Best Management Practices for Forest Service Travel Planning: A
      Comprehensive Literature Review and Recommendations for Management - Winter Recreational Use
      Conflict. Journal of Conservation Planning. 12: 21-28.

      Cumbres & LaManga Winter Recreation brochure & map, Rio Grande National Forest

      Let’s Work Together, Winter Recreation Voluntary Separation Program Flyer and Map, Carlos Pinto,
      District Ranger, Conejos Peak Ranger District

      Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area, Proposed Designated Special Interest
      Area




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      Chama Basin Watershed Protection Area, Proposed Designated Area

      Wolf Creek Pass Linkage Landscape Zoological Area, Proposed Designated Area

      Wildlife Doorways: Supporting Wildlife Habitat Connectivity Across Borders in the Upper Rio Grande
      Watershed, by Esteban Muldavin and Rayo McCollough, Natural Heritage New Mexico, Biology
      Department and Museum of Southwestern Biology at the University of New Mexico, March 2016.




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   SPRUCE HOLE/OSIER/TOLTEC LANDSCAPE CONNECTIVITY ZOOLOGICAL AREA

    Proposed Designated Special Interest Area
    Rio Grande National Forest                          39,500 acres
    Conejos Peak Ranger District



   General Description

   Restoring and maintaining wildlife habitat connectivity within and beyond the National Forest is
   vital for allowing wildlife to migrate, and recover wide-ranging carnivore populations.
   Connectivity is especially important in the face of climate change because it enables species
   that are already stressed to move more easily through the landscape. The proposed corridor
   provides crucial connected habitat for large game species including mule deer, elk, pronghorn,
   and Rocky Mountain bighorn sheep as well as large carnivores such as Canada lynx, mountain
   lions, and black bears. The Rocky Mountain bighorn sheep is a Species of Conservation Concern
   (SCC), and the Canada lynx is protected as threatened under the U.S. Endangered Species Act.
   The proposed corridor connects to a similar proposal made by New Mexico citizens to the
   Carson National Forest and the Rio Grande del Norte National Monument. Through an “all
   lands” approach to coordination, the Forest Service and partners have a unique and inspiring
   opportunity to establish a landscape-scale linkage that can benefit wildlife on into the future.

   Wildlife Habitat Connectivity Values

   The proposed connectivity zoological
   area is a key movement path for wide-
   ranging species between southern
   Colorado and Northern New Mexico.
   Natural Heritage New Mexico identified
   this area as the northern reach of the
   Northern Taos Plateau Wildlife
   Movement Focal Area that spans through
   the RGNF, Carson National Forest, and
   the Rio Grande del Norte National
   Monument that is managed by the
   Bureau of Land Management (Muldavin
   and McCollough 2016). Mule deer and elk
   migrate through the area, and Rocky
   Mountain bighorn sheep make seasonal
   shifts to summering and wintering            A newly released Canada lynx explores his new home in the Rio
   habitat there.                               Grande National Forest. © Richard Reading


   Protecting remaining intact habitat large enough to allow freedom of movement for these
   iconic species has never been more important. Habitat loss, deterioration, and fragmentation




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   have caused Colorado's mule deer population to decline. This is cause for concern, because
   significant numbers of families, particularly in the local area, rely on the species for food.
   Disease and habitat loss have put Colorado's bighorn population in jeopardy. Designation of the
   corridor as Zoological Area would help maintain and restore ecological conditions necessary for
   bighorn to persist in the Forest and beyond the plan area.

   Canada lynx have used this corridor since they were reintroduced by Colorado Parks and
   Wildlife in 1999. Having an established population of lynx back in Colorado is a source of pride
   for all wildlife lovers in the state. Protecting linkages for lynx is incredibly important for their
   long-term viability, and especially now following the large spruce bark beetle outbreak on the
   forest. Lynx are stressed by climate change, timber harvesting, roads, and winter recreation.
   Establishing the corridor will reduce some of these stresses on lynx.

   Additional Biodiversity Values

   Managing the Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area to maintain
   and restore habitat connectivity would benefit an array of at-risk and special interest species
   along with those identified above. Several RGNF SCCs are likely to occur in the area including
   boreal owl, peregrine falcon, Brewer's sparrow, flammulated owl, golden eagle, olive-sided
   flycatcher, bald eagle, Rio Grande cutthroat trout, Gunnison's prairie dog, among others,
   Ripley's milkvetch, slender cliffbreak, Plumber's cliff fern, Colorado divide whitlow grass, and
   many flowered gilia. The area may provide recovery habitat for federally protected species such
   as Mexican spotted owl, Southwestern willow flycatcher, yellow-billed cuckoo, and New Mexico
   meadow jumping mouse. Some of the migratory birds that likely use habitats in the area on a
   seasonal basis include ferruginous hawks (though some are non-migratory), black swifts, sage
   sparrows, burrowing owls, Cassin's finches, Grace's warblers, Gray vireos, juniper titmouse,
   Lewis's woodpeckers, loggerhead shrikes, long-billed curlews, mountain plovers, pinyon jays,
   and Virginia's warblers.

   Three Colorado Natural Heritage Program Potential Conservation Areas (PCAs) overlap with
   proposed connectivity zoological area. These include the Cascade Creek PCA at Osier and Osier
   Creek PCA, which were identified for Rio Grande cutthroat trout habitat, and the Rito Hondo
   Creek PCA, identified for its occurrences of Ripley's milkvetch.

   The proposed connectivity zoological area overlaps the Spruce Hole - Sheep Creek Upper Tier
   Roadless Area which contains over 3,000 additional acres of ecosystems types that are not well
   represented in the Forest's designated protected areas system. Under-represented ecosystems
   include grasslands and dry mixed conifer forest (The Wilderness Society, 2016).

   Boundary, Size, and Access

   The Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area contains 39,500 acres of
   the Rio Grande National Forest. It is bounded on the north by the Conejos River as well as Highway 17,
   which also creates the western boundary. For the purposes here, the southern boundary is the




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   Colorado-New Mexico state line where the Rio Grande National Forest meets the Carson National
   Forest. Of course, this political boundary does not demarcate where wildlife movement stops, and a
   shared management strategy for maintaining and restoring habitat connectivity between the Forests is
   encouraged.


   Proposed Management

   The Spruce Hole/Osier/Toltec Landscape Connectivity Zoological Area is proposed for
   designation in order to enhance landscape-level habitat connectivity for large game and large
   carnivores, such as Canada lynx. Specific management direction includes:

      •   Management actions should be driven by the primary need to ensure continued or
          enhanced habitat connectivity and viability of the zoological area for wildlife movement.

      •   Activities currently authorized by the agency in this zoological area shall coexist with
          wildlife movement, migration and dispersal. Changes to current activities and
          infrastructure may be required if found incompatible with the area's wildlife values.

      •   Where possible, augment wildlife values through purchase from willing sellers,
          exchange, transfer or donation of additional acreage of crucial wildlife habitat for their
          migration, movement and dispersal. Acquired lands are to be managed consistent with
          the corridor's standards and guidelines.


      •   Winter, including over-snow vehicle use, and summer recreation activities should
          conform to best available scientific knowledge for mitigating impacts to at-risk and
          other sensitive wildlife species.

      •   Do not authorize new permanent roads within the corridor in order to maintain
          unfragmented habitat for wildlife migration and dispersal.

      •   Establish road and motorized trail density standards within the management area to
          conform to the best scientific recommendations, generally less than one mile per square
          mile (Lyon 1979; Van Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Reed
          et al. 1996; Strittholt and DellaSala 2001; Davidson et al. 1996). Ensure that there will be
          no net increases in densities above a scientific credible threshold. If these densities do
          not exist today, the Forest Service will develop a strategy to achieve them.

      •   All temporary roads are removed and the lands and waters on which they were located
          are restored to natural conditions within one year of the termination of the purpose for
          which they were established.

      •   Decommission and reclaim unauthorized routes and unneeded system roads.




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      •   Establish and implement in a timely manner mitigation standards for existing roads and
          Highway 17 to facilitate movement of wildlife including a reduction in mortality of
          wildlife from vehicle collisions (modified from BLM 2012: 2-55). Coordinate with CDOT
          on planning and projects.

      •   Limit disturbance footprint resulting from vegetation management activities within the
          corridor spatially and temporally (e.g., establish maximum width and acres of any one
          ground disturbance, and limit total acreage of ground disturbance at any one time)


      •   Minimize fencing for livestock and make all fences wildlife friendly. Coordinate with
          permittees to identify fencing that is not critical for livestock operations; fencing that is
          not critical for livestock operations and that is impeding wildlife movement is removed.
          Any new livestock fencing that is installed should be constructed in a manner that will
          minimize disruption to wildlife movement, taking into consideration seasonal migration
          and water resources.


      •   Preclude the granting of new right-of-ways for energy development that would
          negatively impact wildlife, their habitat and its connectivity.

      •   Withdraw the corridor from location and entry under the Mining Law, subject to valid
          existing rights.

      •   Access to inholdings must be maintained at no greater than current standards, and
          reduced or avoided entirely if possible.

      •   The Connectivity Zoological Area must be discretionary no oil and gas leasing, although
          there is low likelihood of oil and gas occurrence in this location. It should be withdrawn
          from mineral entry.




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   Information Resources

    Topic or Data                Data Source
    wildlife movement and        Muldavin, E. and R. McCollough. 2016. Wildlife Doorways: Supporting Wildlife
    wildlife connectivity        Habitat Connectivity Across Borders in the Upper Rio Grande Watershed. Natural
    opportunity data             Heritage New Mexico and University of New Mexico. March.
                                 Center for Native Ecosystems. 2006. Linking Colorado’s Landscapes Species
                                 Movement Arrows.
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    Ecosystem representation     The Wilderness Society, 2016. Ecosystem Representation Report. Attached as
                                 Appendix 2 to letter submitted by The Wilderness Society et al on September 6, 2016
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                                 U.S. Fish and Wildlife Service. Information for Planning and Conservation (IPaC).
                                 https://ecos.fws.gov/ipac/.
    CNHP Potential               Colorado Natural Heritage Program. CNHP Potential Conservation Areas Reports.
    Conservation Areas           http://www.cnhp.colostate.edu/download/gis/pca reports.asp#_c.
    Colorado human population    Svaldi, Aldo. 2015. Colorado’s population jumped by 101,000 in 12 months. Denver
                                 Post. June 13: http://www.denverpost.com/2015/12/22/colorados-population-
                                 jumped-by-101000-in-12-months-2/.
    mule deer and elk wildlife   Big Game Movement, NM Dept. of Game & Fish
    movement data                Elk Migration Patterns, CO Parks and Wildlife 2014
                                 Mule Deer Migration Patterns, CO Parks and Wildlife 2014
                                 Elk Linkage Modeled Southern, Rockies Ecosystem Project/Center for Native
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                                 Colorado Parks and Wildlife. The Story of Colorado’s Mule Deer.
                                 https://cpw.state.co.us/Documents/MuleDeer/ColoradosMuleDeerStory.pdf.
    Rocky Mountain bighorn       Bighorn Overall Range, CO Parks and Wildlife 2014
    sheep                        Bighorn Severe Winter Range, CO Parks and Wildlife 2014
                                 Bighorn Summer Concentration Area, CO Parks and Wildlife 2014
    pronghorn                    Pronghorn Overall Range, CO Parks and Wildlife 2014
                                 Lynx Denning and Winter Habitats, SW CO U.S. Forest Service
    Canada lynx                  Lynx Habitat Other, SW CO U.S. Forest Service
                                 Lynx Potential Habitat, CO Parks and Wildlife 2014
                                 Lynx Linkage Modeled, Southern Rockies Ecosystem Project/Center for Native
                                 Ecosystems 2009
    mountain lion                Mountain Lion Overall Range, CO Parks and Wildlife 2014
    black bear                   Black Bear Fall Concentration, CO Parks and Wildlife 2014
    wolf                         All Species Movement Arrows, Southern Rockies Ecosystem Project
    peregrine falcon nesting     Colorado Natural Heritage Program 2014
                                 Colorado Oil and Gas Conservation Commission 2008
                                 Colorado Parks and Wildlife 2014
    Gunnison’s prairie dog       Gunnison’s Prairie Dog Overall Range, CO Parks and Wildlife 2014
    Brazilian free-tailed bat    Overall Range, CO Parks and Wildlife 2014
    Rio Grande cutthroat trout   Colorado Natural Heritage Program




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    Route density standards   Davidson, Diane W., William D. Newmark, Jack W. Sites, Jr., Dennis K. Shiozawa, Eric
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                              Journal of Wildlife Management. 50(1): 95-102.
                              VanDyke, F. G., Brocke, R. H., and Shaw, H. G. (1986a). Use of Road Track Counts as
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   WOLF CREEK PASS LINKAGE LANDSCAPE ZOOLOGICAL AREA

   Proposed Designated Area
   Rio Grande National Forest                             22,300 acres
   Divide Ranger District



   General Description

   The Wolf Creek Pass Linkage Zoological Area is the most important wildlife linkage zone in the
   San Juan Mountains. It is situated in the very heart of the San Juan Core Area for lynx, which
   comprises the core reintroduction area and the most expansive lynx habitat in the Southern
   Rockies. The Wolf Creek Pass linkage has been frequently utilized by lynx, and presumably may
   be important for other species such as pine marten, boreal owl, and wolverine in the future.

   The proposed Zoological Area includes the most complex management landscape on the Rio
   Grande National Forest. Much of the area has experienced severe mortality from spruce beetle,
   and the largest wildfires in the recent history of the San Juan Mountains have occurred in close
   proximity. The linkage area includes designated wilderness, Colorado Roadless Areas, and the
   Continental Divide National Scenic Trail, but it also incorporates a permitted ski area, a busy
   highway corridor, private inholdings, water impoundments, high recreation use both winter
   and summer, and past and present timber harvests. Moreover, the viability of the linkage area
   will be tested in the future by rapidly changing habitat conditions. The combination of spruce
   beetle epidemic, large intense wildfires, and climate change will impose new stresses in this
   area.

   A Zoological Area designation will
   focus the needed management
   attention on this crucial landscape
   for wildlife and landscape
   connectivity and emphasize the
   priority of juggling many competing
   human activities in order to
   preserve the viability of the linkage.
   The area was originally identified in
   the Southern Rockies Lynx
   Management Direction as a “lynx
   linkage area,” which are “areas of
   movement opportunity” and “can
   be maintained or lost by
   management activities.” (Forest
   Service 2008 at Appendix D)




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   Linkage values

   The Forest Service has previously succinctly defined the critical significance to lynx of the Wolf
   Creek Pass linkage:

          Lynx are heavily using the Wolf Creek Pass Lynx Linkage area as a dispersal corridor and
          the viability of this linkage is important to the recovery of lynx in Colorado. The linkage
          spans a forested swath over the Continental Divide between large blocks of highly
          effective subalpine habitat. Lynx denning and established home ranges have been
          identified to the north and south of the Wolf Creek Pass Lynx Linkage. The linkage is part
          of the Colorado Division of Wildlife's “Core Research Area” in the San Juan Mountains,
          recognized as the largest continuous block of high quality lynx habitat in the state and
          where the CDOW focused their 10-year lynx monitoring and research efforts. (Village at
          Wolf Creek FEIS, 2014)

   Managers concur that maintaining landscape-level habitat connectivity may be paramount to
   maintaining a viable population because of the patchy, discontinuous distribution of lynx
   habitat in the Southern Rockies Ecosystem. For that reason, landscape linkages must be
   available to allow lynx movements between adjacent mountain ranges. Linkage areas are areas
   of movement opportunities. They exist on the landscape and can be maintained or lost by
   management activities or developments. (Village at Wolf Creek FEIS 2014; Southern Rockies
   Lynx Amendment 2008)

   The Wolf Creek Pass Linkage Zoological Area includes significant portions of two Colorado
   Roadless Areas, both managed as Upper Tier. A portion of the Trout Mountain-Elk Mountain
   roadless area is located immediately north of Highway 160, and the western half of the Fox
   Mountain roadless area is incorporated within the southern half of the linkage area.

   The Continental Divide National Scenic Trail corridor defines the southern border of the linkage
   area. The trail corridor is managed to provide high-quality scenic, primitive hiking and
   equestrian opportunities. (Forest Service Manual 2350, 2009)

   Two Potential Conservation Areas identified by the Colorado Natural Heritage Program are
   located largely within the Wolf Creek Pass Landscape Linkage Special Interest Area boundary.
   The Haven of the Reflected Moonwort PCA is in the subalpine zone near the Continental Divide.
   It is ranked as High Biodiversity Significance for its occurrences of the moonwort family. The
   Pass Creek at South Fork Rio Grande PCA is ranked as a Moderate Biodiversity Significance site
   owing to an historic Rio Grande cutthroat trout population. (CHNP PCA Reports, 2015)

   Boundary, Size, and Access

   The proposed Wolf Creek Pass Linkage Zoological Area is bounded on either side of Highway
   160 eastern approach to Wolf Creek Pass by major watershed and topographic divides. It
   includes about 22,300 acres on the Rio Grande National Forest, and there are additional lands




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   on the adjacent San Juan National Forest.

   Proposed Management

   The Wolf Creek Pass Linkage Zoological Area is proposed for designation in order to ensure its
   conservation as a landscape-level habitat connectivity for lynx and other wildlife. Specific
   management direction includes:


      •   Management actions must be driven by the primary need to ensure continued or
          enhanced habitat connectivity and viability of the linkage area for wildlife movement.

      •   The Wolf Creek Pass Linkage Zoological Area must be discretionary no oil and gas
          leasing, although there is low likelihood of oil and gas occurrence in this location. It
          should be withdrawn from mineral entry.

      •   Management direction must include prohibition on road construction and limitations on
          tree removal for the two roadless areas consistent with Upper Tier management
          prescribed by the Colorado Roadless Rule, 36 CFR Part 294 Subpart D.


      •   Do not authorize new permanent roads within the corridor in order to maintain
          unfragmented habitat for wildlife migration and dispersal.


      •   Decommission and reclaim unauthorized routes and unneeded system roads.

      •   Establish road and motorized trail density standards within the management area to
          conform to the best scientific recommendations, generally less than one mile per square
          mile (Lyon 1979; Van Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Reed
          et al. 1996; Strittholt and DellaSala 2001; Davidson et al. 1996). Ensure that there will be
          no net increases in densities above a scientific credible threshold. If these densities do
          not exist today, the Forest Service will develop a strategy to achieve them.

      •   All temporary roads are removed and the lands and waters on which they were located
          are restored to natural conditions within one year of the termination of the purpose for
          which they were established.


      •   Establish and implement in a timely manner mitigation standards for existing roads and
          Highway 160 to facilitate movement of wildlife including a reduction in mortality of
          wildlife from vehicle collisions (modified from BLM 2012:2-55). Coordinate with CDOT
          on planning and projects.


      •   Limit disturbance footprint resulting from vegetation management activities within the
          corridor spatially and temporally (e.g., establish maximum width and acres of any one
          ground disturbance, and limit total acreage of ground disturbance at any one time)




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      •    Winter and summer recreation activities must conform to best available scientific
           knowledge for mitigating impacts to lynx and other sensitive wildlife species, and, if
           necessary be limited spatially and/or temporally.

      •    Changes in operation or permit boundaries of Wolf Creek Ski Area must be designed to
           avoid new impacts to use of linkage corridor.


      •    Access to inholdings and new recreation developments must be maintained at no
           greater than current standards, and reduced or avoided entirely if possible.


      •    Coordinate with grazing permittees to identify fencing that is not critical for livestock
           operations. Fencing that is not critical for livestock operations and that is impeding
           wildlife movement is removed. Any new livestock fencing that is installed should be
           constructed in a manner that will minimize disruption to wildlife movement, taking into
           consideration seasonal migration and water resources.

   Information Resources

   Topic            Data Source
   Lynx             Village at Wolf Creek FEIS, 2014
   Biodiversity     CHNP PCA Report, 2015
   Roadless area    USDA Forest Service Colorado Roadless Rule, 2012
   Wildlife         Bureau of Land Management. 2012a [BLM]. Lower Sonoran and Sonoran National
   crossings        Monument Proposed Resource Management Plan and Final Environmental Statement. June
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                    office/eplanning/planAndProjectSite.do?methodName=dispatchToPatternPage&currentPag
                    ejd=21457. Accessed 04/11/2016.
   Route density    Davidson, Diane W., William D. Newmark, Jack W. Sites, Jr., Dennis K. Shiozawa, Eric A.
   standards        Rickart, Kimball T. Harper, and Robert B. Keiter. 1996. Selecting Wilderness Areas to
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                    Dakota. Grand Forks, ND.
                    Lyon, L. J. 1979. “Habitat Effectiveness for Elk as Influenced by Roads and Cover.” Journal of
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                    Stritthold, J.R., and D.A. DellaSala. 2001. Importance of Roadless Areas in Biodiversity
                    Conservation in Forested Ecosystems: A Case Study—Kalmath-Siskiyou Ecoregion, U.S.A.
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                    VanDyke, F. G., Brocke, R. H., Shaw, H. G., Ackerman, B. B., Hemker, T. P., and Lindzey, F. G.
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                VanDyke, F. G., Brocke, R. H., and Shaw, H. G. (1986a). Use of Road Track Counts as Indices
                of Mountain Lion Presence. Journal of wildlife Management. 50(1):102-109.




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                      Wolf Creek Pass Landscape Linkage Area




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                         Rio Grande Water Conservation District
                         8805 Independence Way • Alamosa, Colorado 81101
                         Phone: (719) 589-6301 • Fax: (719) 589-4331
                                 Protecting & Conserving San Luis Valley Water



                                           October 28,2016


  SENT VIA EMAIL

  Mr. Dan Dallas
  Rio Grande National Forest
  Attn: Forest Plan Revision
  rgnf_forest_pl an@fs. fed.us

         Re: Revisions to Rio Grande National Forest Plan

  Dear Mr. Dallas,

          Pursuant to the public notice published on September 12, 2016 in the Federal Register,
  the Rio Grande Water Conservation District (“RGWCD” or “District”) respectfully submits the
  following comments on the potential revisions to the Forest Plan for the Rio Grande National
  Forest.

           The Colorado General Assembly created the Rio Grande Water Conservation District
  (“RGWCD” or “District”) in 1967. §§ 37-48-101 - 195, C.R.S. hi creating the District, the
  General Assembly declared that because the conservation of the water of the Rio Grande and its
  tributaries for beneficial use and the construction of reservoirs, ditches, and works for such
  purposes are of vital importance to the growth and development of the entire area and the welfare
  of all its inhabitants and that, to promote the health and general welfare of the State of Colorado
  an appropriate agency for the conservation, use and development of the water resources of the
  Rio Grande and its tributaries should be established and given such powers as may be necessary
  to safeguard for Colorado all waters to which the state of Colorado is equitably entitled. § 37­
  48-101, C.R.S. In furtherance of the General Assembly’s charge, the District has long worked to
  protect and conserve the waters of the Rio Grande basin for current and future water users,
  including individuals, entities and government agencies. The District also has a long history of
  cooperation and collaboration with Federal Agencies to the benefit of both the people of the San
  Luis Valley and the Agencies.

         As stated in previous comments, the RGWCD urges you to not modify any of the
  provisions of the current Forest Plan that relate to water, water resources or water rights. The
  Rio Grande National Forest is in the unique position of having been granted a comprehensive
  decree for Federal Reserved rights to meet the purposes of the National Forest reservation in a
  case entitled “Concerning the Application for Water Rights of the United States of America,

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   Case No. 81CW183 (Consolidated), Findings of Fact, Conclusions of Law, Judgment and Decree
   (March 30, 2000).” The Forest Service has acknowledged the importance of the 81CW183
   decree and the benefits it provides to the Forest. See Rio Grande National Forest, An Update to
   the Biological Assessment and Biological Evaluation of the 1996 Rio Grande National Forest
   Revised Land and Resource Management Plan in Support of the Proposed Environmental
   Assessment to add MIS (April 2003) at p.44. Upsetting this settlement of the United States’
   claims to water by attempting to take additional actions regarding the water resources within the
   Forest will not help the Forest Service or the resources of the Forest itself, and will likely result
   in long-term harm to those same values.

           As you are aware, in 1979 the United States Department of Agriculture and the
  Department of Justice, after being properly served pursuant to the McCarran Amendment, 43
  U.S.C. § 666, filed for all existing claims for reserved water rights for National Forest purposes
  within Water Division No. 3. Although numerous water users and groups, including the
  RGWCD, filed statements of opposition opposing these claims, the parties worked diligently
  over many years to achieve a settlement that decreed water rights to the Forest Service. This
  result is in marked contrast to other areas in Colorado and the Western United States where
  opposition to Forest Service claims has resulted in court rulings denying many of the Forest
  Service’s claims. The Forest Service should recognize and be cognizant of this record of
  collaboration, unique to the San Luis Valley, that allowed the Forest Service to acquire Reserved
  water rights with the cooperation of the water users of the Valley; to upset that long-standing
  collaborative effort at this point would be a grave mistake.

         First, revisions to the Forest Plan in the area of water resources or water rights is not
  necessary as the 81CW183 Decree fulfills the Forest Purposes. In that case the parties agreed
  and the Court decreed that:

          the quantities of water decreed to the United States herein are fully sufficient to
          fulfill any and all federal reserved instream flow water rights under existing
          federal law and all appropriative instream flow water rights that the United States
          may be entitled to for the Gunnison and Rio Grande National Forest within
          Colorado Water Division No. 3....Except as provided in Paragraph 24.d., the
          United States agrees that, in the future, it will not claim additional appropriative
          instream flow water rights, in Colorado Water Division No. 3 for National Forest
          purposes.

  81 CW 183 Decree, If 14 (emphasis added). Further:

          [o]n the basis of existing information as of the date of this decree and subject to
          paragraph 34 below, the signatories to this decree agree that the instream flows
          decreed to the United States herein also satisfy fully any need for instream flows
          in the Gunnison and Rio Grande National Forests in Water Division No. 3 for:
                  a.      maintaining, improving, protecting and minimizing damage to the
                          following:
                  (1)     Riparian ecosystems, which includes stream dependent wetlands;
                  (2)     The natural physical function of stream channels;


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                  (3)    Viable and diverse populations of fish and wildlife, including all
                          habitat necessary for such populations;
                  (4)     Scenic and aesthetic conditions and values;
                  (5)    Public opportunities for outdoor recreation;
                  (6)     Soil conservation and preservation of quality of soil resources;
                  b.     Range uses; and
                  c.     Prevention and control of forest fires.

  81CW183 Decree, ^16,

          Under these terms of the Decree, the Forest Service has already agreed that the Federal
  Reserved Water Rights decreed therein satisfy all purposes of the Forest reservation. The
  District is not aware of any changes in Federal law or policy since the entry of the Decree that
  would require the Forest Service to attempt to change the water resources portion of Forest Plan
  to meet those changes in policy or law. To do so without the specific and unambiguous
  Congressional requirement could result in the loss of both the decreed water rights as well as the
  good relationships the Forest Service has built up with the water users of the Valley over the past
  decades.

           Second, attempting to revise the Forest Plan to seek to acquire more than is provided for
   in the 81CW183 Decree will only serve to break down the long-standing spirit of cooperation
  between the Forest Service and the water users of the San Luis Valley. Water is a very
   contentious issue across the Western United States, as the Forest Service has experienced first­
  hand many times. Even without the participation or claims of a federal agency, disputes over
  water can use up resources that could be better allocated elsewhere and engender bad blood for
  years, if not generations. Despite this long-standing “tradition” of fighting over water, the Forest
  Service and the water users of Valley were able to come together and find a solution to protect
  the forest and assure the Forest Service met its statutory mandates while preserving the rights
  and reasonable expectations of the Valley’s water users. This was not easy to accomplish and, in
  fact, it was a long and hard road to reach the agreement embodied in the 81 CWl 83 Decree. It is
  likely this agreement would not have occurred without the good relationship between the Forest
  Service, the District and the water users. The Decree was reached because of the trust that had
  been built up; trust that was hard won over the years and continues through this day. The Forest
  Service and the Valley enjoy a relationship that may be unique throughout the west - one of
  mutual trust and respect. However, if the Forest Service were to renege on any portion of the
  agreement that resulted in the 81 CW 183 Decree, that trust would likely be irreparably damaged.
  The RGWCD considers the Forest Service to be a great partner in protecting the water resources
  and the water users of the San Luis Valley and does not want to see that partnership damaged by
  an attempt by the Forest Service to take any actions that would be at variance with the express
  terms of the 81 CW 183 Decree.

          Third, as a practical matter, changing the Forest Plan will not result in any additional
  flows within the Forest itself or provide any additional flows to the values or resources
  downstream of the Forest Boundary. The National Forests within Water Division No. 3 are
  located high above the vast majority of water users within the San Luis Valley. The very limited
  number of non-federal water rights at, or above, the Forest boundary have already been
  recognized and the existence of these structures embodied in the stipulation to 81 CWl 83, The

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